Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 1 of 439 Page ID #:1
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 2 of 439 Page ID #:2
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 3 of 439 Page ID #:3
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 4 of 439 Page ID #:4
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 5 of 439 Page ID #:5
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 6 of 439 Page ID #:6
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 7 of 439 Page ID #:7
     Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 8 of 439 Page ID #:8



 1                                            TABLE OF CONTENTS
 2

 3                                                                                                                       Page
 4
      I.     INTRODUCTION ...........................................................................................1
 5
      II.    NATURE AND SUMMARY OF THE ACTION ..........................................2
 6

 7    III.   JURISDICTION AND VENUE....................................................................14

 8    IV.    THE PARTIES ..............................................................................................15
 9
             A.       Plaintiffs ..............................................................................................15
10
             B.       Defendants...........................................................................................22
11

12                    1.       Countrywide Defendants ..........................................................22
13                    2.       The Officer Defendants.............................................................23
14
                      3.       KPMG LLP ...............................................................................27
15
      V.     FACTUAL BACKGROUND AND SUBSTANTIVE
16
             ALLEGATIONS............................................................................................28
17
             A.       Countrywide’s Mortgage Business .....................................................28
18

19           B.       Countrywide’s Goal Of Market Dominance .......................................31
20           C.       Countrywide’s Undisclosed Abandonment Of Prudent
21                    Underwriting Standards.......................................................................34
22                    1.       Countrywide, And Mozilo In Particular, Regularly
23                             Highlighted The Company’s Superior And
                               Disciplined Underwriting Standards That
24                             Purportedly Generated Quality Loans ......................................34
25
                      2.       Countrywide Approved Virtually Every Loan
26                             Without Regard To Risk ...........................................................41
27
                      3.       Countrywide’s Substantial Use Of “Exceptions” .....................55
28

                                                                 i                                              COMPLAINT
     Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 9 of 439 Page ID #:9



 1                4.       Defendants Failed To Disclose The Extent Of
 2
                           Their Use Of “Liar Loans” And The Resulting
                           Fraud .........................................................................................71
 3
            D.    Countrywide Misled Investors About The
 4
                  Creditworthiness Of Pay-Option ARM Borrowers.............................75
 5
            E.    Countrywide Misled Investors About Increased 100%
 6
                  Financing And HELOC Risks.............................................................87
 7
            F.    Countrywide’s Secret Internal Definition Of “Prime”.......................90
 8

 9          G.    Countrywide Engaged In Widespread Predatory And
                  Fraudulent Loan Origination Practices ...............................................99
10

11    VI.   DEFENDANTS CAPITALIZED ON THE FRAUD..................................114

12          A.    Countrywide’s Compensation Structure ...........................................114
13
            B.    Defendants’ Substantial Insider Selling ............................................116
14
      VII. DEFENDANTS’ MATERIALLY FALSE AND
15         MISLEADING STATEMENTS AND OMISSIONS.................................124
16
            A.    The Company’s False Statements Regarding 2003
17                Results ...............................................................................................125
18
                  1.       2003 Form 10-K......................................................................125
19

20
            B.    The Company’s False Statements Regarding 2004
                  Results ...............................................................................................128
21
                  1.       First Quarter 2004 Form 8-K ..................................................128
22

23                2.       First Quarter 2004 Conference Call........................................129
24                3.       First Quarter 2004 Form 10-Q ................................................132
25
                  4.       Amended First Quarter 2004 Form 10-Q/A ...........................133
26

27                5.       Second Quarter 2004 Form 8-K..............................................134

28                6.       Second Quarter 2004 Conference Call ...................................135

                                                            ii                                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 10 of 439 Page ID #:10



 1             7.       Second Quarter 2004 Form 10-Q............................................136
 2
               8.       Amended Second Quarter 2004 Form 10-Q/A .......................138
 3
               9.       Third Quarter 2004 Form 8-K.................................................139
 4

 5             10.      Third Quarter 2004 Conference Call ......................................140
 6             11.      Third Quarter 2004 Form 10-Q...............................................141
 7
               12.      Amended Third Quarter 2004 Form 10-Q/A..........................143
 8
               13.      Year End 2004 Form 8-K .......................................................144
 9

10             14.      Year End 2004 Conference Call .............................................144
11             15.      2004 Form 10-K......................................................................146
12
         C.    The Company’s False Statements Regarding 2005
13             Results ...............................................................................................149
14
               1.       March 15, 2005 Piper Jaffray Conference ..............................149
15

16
               2.       First Quarter 2005 Form 8-K ..................................................152

17             3.       First Quarter 2005 Conference Call........................................153
18
               4.       First Quarter 2005 Form 10-Q ................................................155
19
               5.       May 24, 2005 Countrywide Analyst Meeting ........................156
20

21             6.       June 2, 2005 Sanford Bernstein & Co. Strategic
                        Decisions Conference .............................................................159
22

23
               7.       Second Quarter 2005 Form 8-K..............................................160

24             8.       Second Quarter 2005 Conference Call ...................................161
25
               9.       Second Quarter 2005 Form 10-Q............................................164
26
               10.      September 13, 2005 Lehman Brothers Financial
27                      Services Conference................................................................166
28
               11.      Third Quarter 2005 Form 8-K.................................................168
                                                         iii                                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 11 of 439 Page ID #:11



 1             12.      Third Quarter 2005 Conference Call ......................................168
 2
               13.      Third Quarter 2005 Form 10-Q...............................................169
 3
               14.      Year End 2005 Form 8-K .......................................................171
 4

 5             15.      Year End 2005 Conference Call .............................................172
 6             16.      2005 Form 10-K......................................................................173
 7
         D.    The Company’s False Statements Regarding 2006
 8             Results ...............................................................................................177
 9
               1.       March 21, 2006 Piper Jaffray Conference ..............................177
10
               2.       March 30, 2006 Financial Equity Investor’s Forum...............178
11

12             3.       First Quarter 2006 Form 8-K ..................................................181
13             4.       First Quarter 2006 Conference Call........................................181
14
               5.       First Quarter 2006 Form 10-Q ................................................182
15

16
               6.       May 17, 2006 American Financial Services
                        Association Finance Industry Conference For
17                      Fixed Income Investors...........................................................185
18
               7.       May 31, 2006 Sanford C. Bernstein Strategic
19                      Decisions Conference .............................................................187
20
               8.       Second Quarter 2006 Form 8-K..............................................188
21
               9.       Second Quarter 2006 Conference Call ...................................189
22

23             10.      Second Quarter 2006 Form 10-Q............................................190

24             11.      September 12, 2006 Equity Investor’s Forum........................192
25
               12.      September 13, 2006 Fixed Income Investor Forum ...............193
26
               13.      Third Quarter 2006 Form 8-K.................................................198
27

28             14.      Third Quarter 2006 Conference Call ......................................198

                                                         iv                                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 12 of 439 Page ID #:12



 1              15.      Third Quarter 2006 Form 10-Q...............................................200
 2
                16.      Year-End 2006 Form 8-K .......................................................202
 3
                17.      Year-End 2006 Conference Call.............................................203
 4

 5              18.      2006 Form 10-K......................................................................205
 6        E.    The Company’s False Statements Regarding 2007
 7              Results ...............................................................................................209

 8              1.       March 6, 2007 Raymond James Institutional
 9                       Investor Conference ................................................................209

10              2.       March 13, 2007 CNBC Interview And March 22,
                         2007 “Mad Money” Interview ................................................210
11

12              3.       First Quarter 2007 Form 8-K ..................................................212
13              4.       First Quarter 2007 Conference Call........................................212
14
                5.       April 26, 2007 AFSA 7th Finance Industry
15                       Conference ..............................................................................215
16
                6.       First Quarter 2007 Form 10-Q ................................................218
17

18
          F.    The Company’s False Registration Statements And
                Prospectuses For Countrywide’s Offerings Of Debt And
19              Preferred Securities ...........................................................................221
20
                1.       Series B Medium-Term Notes ................................................221
21
                2.       6.25% Subordinated Notes Due May 15, 2016 ......................223
22

23              3.       7% Capital Securities..............................................................224
24   VIII. COUNTRYWIDE’S FINANCIAL STATEMENTS WERE
25         MATERIALLY MISSTATED IN VIOLATION OF GAAP .....................226

26        A.    Countrywide’s Financial Statements Were Materially
27              Misstated In Violation Of GAAP......................................................226

28              1.       Risk Factors.............................................................................228

                                                          v                                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 13 of 439 Page ID #:13



 1              2.       Countrywide Inflated Earnings By Recording An
 2
                         Inadequate Allowance For Loan Losses.................................231

 3              3.       Countrywide Inflated Earnings By Overvaluing Its
                         Retained Interests From Securitizations .................................252
 4

 5              4.       Countrywide Inflated Earnings By Overvaluing Its
                         Mortgage Servicing Rights .....................................................258
 6

 7              5.       Countrywide Inflated Earnings By Failing To
                         Properly Reserve For Representations And
 8                       Warranties ...............................................................................267
 9
                6.       Countrywide’s Internal Controls Over Financial
10                       Reporting Were Ineffective.....................................................272
11
     IX.   KPMG’S NEGLIGENT OR RECKLESS FAILURE TO
12         CONDUCT AUDITS IN ACCORDANCE WITH GAAS.........................278
13
           A.   The Standards Of GAAS And The AICPA Audit &
14              Accounting Guide..............................................................................279
15
           B.   KPMG’s Responsibility To Plan And Perform The
16              Audits Of Countrywide’s Financial Statements As It
                Relates To Fraud ...............................................................................281
17

18         C.   Financial Statement Misstatement Risk Factors (“Red
                Flags”) In 2004..................................................................................287
19

20              1.       Red Flag: Implementation Of Aggressive Goal To
                         Capture 30% Market Share.....................................................288
21

22              2.       Red Flag: Improper Documentation For Loans,
                         Misclassification Of Subprime Loans As Prime
23                       Loans And Management Overrides ........................................289
24
                3.       Red Flag: 99% Increase In Nonprime Loans, 108%
25                       Increase In ARM Loans, 71% Increase In HELOC
26                       Loans .......................................................................................291

27              4.       Red Flag: ALL As A Percentage Of LHI
28
                         Remained Flat Despite Increase In Higher Risk
                         Loans .......................................................................................292
                                                         vi                                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 14 of 439 Page ID #:14



 1             5.       Red Flag: Increase In MSR Balance, But Decrease
 2
                        In Valuation Allowance ..........................................................294

 3             6.       Red Flag: Based On Credit Risk Increases, Flawed
                        Assumptions Used To Value RI .............................................296
 4

 5       D.    Financial Statement Misstatement Risk Factors (“Red
               Flags”) In 2005..................................................................................297
 6

 7             1.       Red Flag: Implementation Of Countrywide’s
                        Exception Processing System .................................................298
 8

 9             2.       Red Flag: Shocking 335% Increase In Pay-Option
                        ARM Loan Origination...........................................................300
10

11             3.       Red Flag: 99% Increase In HELOC Delinquencies ...............302

12             4.       Red Flag: Despite Increased Credit Risks, ALL As
13
                        A Percentage Of LHI Decreased.............................................303

14             5.       Red Flag: Increase In Prime Rate From 2004 ........................303
15             6.       Red Flag: Valuation Allowance For Impairment Of
16                      Countrywide’s MSRs Dropped From 11% To Only
                        3% Of Gross MSRs.................................................................304
17

18             7.       Red Flag: Decrease In Net Lifetime Credit Losses
                        And Unreasonable Weighted Average Life Of
19                      Retained Interests....................................................................304
20
               8.       Red Flag: 27% Drop In New R&W Provisions As
21                      A Percentage Of Relevant Securitizations..............................305
22
         E.    Financial Statement Misstatement Risk Factors (“Red
23             Flags”) In 2006..................................................................................307
24
               1.       Red Flag: Accumulated Negative Amortization On
25                      Pay-Option ARMS Increased 775% .......................................307
26
               2.       Red Flag: 87% Increase In HELOC Delinquencies ...............308
27
               3.       Red Flag: ALL As A Percentage Of LHI
28                      Remained Flat .........................................................................309
                                                      vii                                          COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 15 of 439 Page ID #:15



 1               4.      Red Flag: No Modification To Fair Value
 2
                         Assumptions Used In MSR Model .........................................310

 3               5.      Red Flag: Historical Performance Used To
                         Calculate Fair Value Of Retained Interests ............................311
 4

 5               6.      Red Flag: Insufficient R&W Reserve Relative To
                         Skyrocketing Delinquency Rates............................................313
 6

 7         F.    KPMG Failed To Require Countrywide To Correct
                 Materially Misstated Disclosures ......................................................314
 8

 9         G.    KPMG’s Failure To Issue Adverse Opinions On
                 Countrywide’s Self-Assessment Of Internal Control Over
10               Financial Reporting And On The Effectiveness Of
11               Countrywide’s Internal Control Over Financial
                 Reporting Based On KPMG’s Audits ...............................................317
12

13   X.    COUNTRYWIDE’S UNDISCLOSED UNDERWRITING
           AND LOAN ORIGINATION PRACTICES EXPOSED IT TO
14         UNDISCLOSED CREDIT RISKS AND LIQUIDITY RISK ....................322
15
     XI.   INVESTORS BEGIN TO LEARN THE TRUE FACTS
16         ABOUT COUNTRYWIDE, CAUSING ITS SECURITIES
17
           PRICES TO PLUMMET DESPITE DEFENDANTS’
           EFFORTS TO CONCEAL THE TRUTH...................................................326
18
           A.    Corrective Disclosures ......................................................................328
19

20               1.      July 24, 2007 Partial Corrective Disclosure ...........................329
21               2.      August 2, 2007 Partial Corrective Disclosure ........................335
22
                 3.      August 14-16, 2007 Partial Corrective Disclosure .................339
23

24               4.      October 24, 2007 Partial Corrective Disclosure .....................348

25               5.      January 8-9, 2008 Partial Corrective Disclosure ....................352
26
                 6.      March 8, 2008 Partial Corrective Disclosure..........................356
27
     XII. DEFENDANTS’ CONDUCT CAUSED PLAINTIFFS’ LOSS.................357
28

                                                     viii                                        COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 16 of 439 Page ID #:16



 1   XIII. PLAINTIFFS RELIED UPON DEFENDANTS’ FALSE AND
 2
           MISLEADING STATEMENTS AND OMISSIONS.................................365

 3   XIV. TOLLING OF THE STATUTE OF LIMITATIONS .................................366
 4
     XV. INAPPLICABILITY OF STATUTORY SAFE HARBOR........................368
 5
     XVI. AS COUNTRYWIDE’S SUCCESSOR, BANK OF AMERICA
 6        IS LIABLE FOR COUNTRYWIDE’S ACTIONS.....................................369
 7
     XVII. CLAIMS FOR RELIEF...............................................................................379
 8

 9   COUNT I VIOLATIONS OF SECTION 10(b) OF THE
         EXCHANGE ACT AND RULE 10b-5 PROMULGATED
10       THEREUNDER (AGAINST COUNTRYWIDE, MOZILO,
11       SAMBOL, AND SIERACKI) .....................................................................379

12   COUNT II VIOLATIONS OF SECTION 10(b) OF THE
13
         EXCHANGE ACT AND RULE 10b-5 PROMULGATED
         THEREUNDER (AGAINST KPMG).........................................................382
14
     COUNT III VIOLATIONS OF SECTION 20(a) OF THE
15
         EXCHANGE ACT (AGAINST MOZILO, SAMBOL, AND
16       SIERACKI)..................................................................................................384
17
     COUNT IV VIOLATIONS OF SECTION 20A OF THE
18       EXCHANGE ACT (AGAINST MOZILO AND SAMBOL)....................385
19   COUNT V VIOLATIONS OF SECTION 11 OF THE SECURITIES
20       ACT BY PURCHASERS OF SERIES B MEDIUM-TERM
         NOTES (AGAINST COUNTRYWIDE, MOZILO, SAMBOL,
21       SIERACKI AND KPMG) ...........................................................................386
22
     COUNT VI VIOLATIONS OF SECTION 12(a)(2) OF THE
23       SECURITIES ACT BY PURCHASERS OF SERIES B
24       MEDIUM-TERM NOTES (AGAINST COUNTRYWIDE) .....................389

25   COUNT VII VIOLATIONS OF SECTION 15 OF THE
26       SECURITIES ACT BY PURCHASERS OF SERIES B
         MEDIUM-TERM NOTES (AGAINST MOZILO, SAMBOL,
27       AND SIERACKI)........................................................................................391
28

                                                            ix                                         COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 17 of 439 Page ID #:17



 1   COUNT VIII VIOLATIONS OF SECTION 11 OF THE
 2
         SECURITIES ACT BY PURCHASERS OF 6.25% NOTES
         (AGAINST COUNTRYWIDE, MOZILO, SAMBOL,
 3       SIERACKI AND KPMG) ...........................................................................393
 4
     COUNT IX VIOLATIONS OF SECTION 12(a)(2) OF THE
 5       SECURITIES ACT BY PURCHASERS OF 6.25% NOTES
         (AGAINST COUNTRYWIDE) ..................................................................395
 6

 7   COUNT X VIOLATIONS OF SECTION 15 OF THE SECURITIES
         ACT BY PURCHASERS OF 6.25% NOTES (AGAINST
 8
         MOZILO, SAMBOL, AND SIERACKI) ...................................................398
 9
     COUNT XI VIOLATIONS OF SECTION 11 OF THE SECURITIES
10       ACT BY PURCHASERS OF 7% CAPITAL SECURITIES
11       (AGAINST ALL DEFENDANTS) .............................................................399
12   COUNT XII VIOLATIONS OF SECTION 12(a)(2) OF THE
13       SECURITIES ACT BY PURCHASERS OF 7% CAPITAL
         SECURITIES (AGAINST COUNTRYWIDE AND CCV) .......................402
14

15   COUNT XIII VIOLATIONS OF SECTION 15 OF THE
         SECURITIES ACT BY PURCHASERS OF 7% CAPITAL
16       SECURITIES (AGAINST MOZILO, SAMBOL, AND
17       SIERACKI)..................................................................................................404

18   COUNT XIV SUCCESSOR LIABILITY AGAINST BANK OF
19
         AMERICA (AGAINST BANK OF AMERICA) ......................................406

20   XVIII. PRAYER FOR RELIEF.............................................................................407
21
     XIX. DEMAND FOR JURY TRIAL ...................................................................408
22

23

24

25

26

27

28

                                                             x                                         COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 18 of 439 Page ID #:18



 1   I.    INTRODUCTION
 2         1.     The Government of Guam Retirement Fund, American Century Funds
 3   (as defined below), Maryland State Retirement and Pension System, Montana
 4   Board of Investments, Norges Bank, the Nuveen Funds (as defined below), Royal
 5   Mail Pension Plan, Stichting Pensioenfonds Zorg en Welzijn represented by
 6   PGGM Vermogensbeheer B.V., SunAmerica Funds (as defined below), T. Rowe
 7   Price Funds (as defined below), Teacher Retirement System of Texas, Thrivent
 8   Funds (as defined below), TIAA-CREF Funds (as defined below), the California
 9   Public Employees’ Retirement System (“CalPERS”) and BlackRock Funds (as
10   defined below) (collectively “Plaintiffs”), by their undersigned counsel, for their
11   Complaint against Countrywide Financial Corporation (“Countrywide” or the
12   “Company”), Countrywide Capital V (“CCV”), Bank of America Corp. (“Bank of
13   America”), Angelo R. Mozilo (“Mozilo”), Countrywide’s former Chairman and
14   Chief Executive Officer (“CEO”), David Sambol (“Sambol”), its former Chief
15   Operating Officer (“COO”), and Eric P. Sieracki (“Sieracki”), its former Chief
16   Financial Officer (“CFO”) (collectively the “Officer Defendants”), allege the
17   following upon personal knowledge as to themselves and their own acts, and upon
18   information and belief as to all other matters.
19         2.     Plaintiffs’ information and belief as to allegations concerning matters
20   other than themselves and their own acts is based upon, among other things: (i)
21   review and analysis of documents filed publicly by Countrywide and certain
22   affiliates thereof with the United States Securities and Exchange Commission (the
23   “SEC”); (ii) review and analysis of press releases, news articles, and other public
24   statements issued by or concerning Defendants named herein; (iii) review and
25   analysis of research reports issued by financial analysts concerning Countrywide’s
26   securities and business; (iv) discussions with consulting experts; (v) other publicly
27   available information and data concerning Countrywide and its securities,
28   including information concerning investigations by federal and state governmental

                                                1                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 19 of 439 Page ID #:19



 1   agencies; (vi) investigations conducted by and through Plaintiffs’ attorneys, which
 2   included interviews of former Countrywide employees; (vii) review and analysis of
 3   news articles, media reports and other publications concerning the mortgage
 4   banking and lending industries; (viii) review and analysis of documents and
 5   information, including internal emails produced by Countrywide, deposition
 6   testimony provided by its former officers and employees, and settlements and final
 7   judgments in the related case brought by the SEC against the Officer Defendants,
 8   SEC v. Mozilo, Case No. 09-cv-03994 (JFW) (C.D. Cal.) (the “SEC Action”); and
 9   (ix) review and analysis of documents and information disclosed in other
10   litigations naming Countrywide or certain subsidiaries or affiliates as a defendant
11   or nominal defendant. Plaintiffs believe that substantial additional evidentiary
12   support for the allegations herein exists and will continue to be revealed after
13   Plaintiffs have a reasonable opportunity for discovery.
14   II.   NATURE AND SUMMARY OF THE ACTION
15         3.      This action concerns fraud perpetrated by Countrywide and its top
16   officers in a quest to triple Countrywide’s market share and enrich themselves at
17   the expense of the Company’s investors, including Plaintiffs.
18         4.      Defendants, including Countrywide, Mozilo, Sambol, and Sieracki,
19   blatantly issued materially false statements throughout the period between
20   March 12, 2004 and March 7, 2008, inclusive (the “Relevant Period”) regarding
21   the Company’s purportedly prudent, disciplined and superior underwriting and
22   loan origination practices. As detailed below, Defendants misled investors in a
23   number of ways regarding the impact of the Company’s shift away from traditional
24   loans and drive for market dominance. Among other things, contrary to their
25   assertions:
26                 x Countrywide failed to adhere to strict underwriting standards, and
27                    thus Defendants did not ensure that the loans originated by the
28                    Company were of high quality.       To the contrary, Defendants

                                               2                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 20 of 439 Page ID #:20



 1                decimated and abandoned Countrywide’s loan origination and
 2                underwriting standards by permitting a very significant increase of
 3                “exception” loans to the already loose standards;
 4             x Defendants knew that Countrywide’s stated income loan products,
 5                its Pay-Option adjustable rate mortgage (“ARM”) loans, its 100%
 6                financing loans and its Home Equity Lines of Credit (“HELOC”)
 7                loans were not prudently underwritten and were likely to suffer
 8                significant default delinquencies, but concealed these facts from
 9                Plaintiffs and other investors and frequently mischaracterized them
10                in Countrywide’s SEC filings as “prime” loans;
11             x Defendants concealed the fact that Countrywide’s internal
12                definition of “prime” was inconsistent with the industry definition
13                for that term, which rendered their statements about Countrywide’s
14                subprime exposure false and misleading;
15             x Countrywide engaged in widespread deceptive lending practices
16                during the Relevant Period. These practices garnered Countrywide
17                huge fees from borrowers who were extended loans they could not
18                repay, but exposed the Company and investors to undisclosed
19                long-term risks. As articulated by the Federal Trade Commission
20                (“FTC”) Chairman, Jon Leibowitz, Countrywide’s “was a business
21                model based on deceit and corruption and the harm caused to
22                American consumers is absolutely massive and extraordinary”;
23                and
24             x Defendants failed to properly increase the Company’s loan loss
25                reserves to reflect the increased risk in its portfolio, including for
26                loans that the Company held for investment as well as loans sold to
27                third parties for which the Company made certain representations
28                and warranties.      Defendants further inflated Countrywide’s

                                            3                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 21 of 439 Page ID #:21



 1                   earnings by overstating the value of the Company’s retained
 2                   interests (“RIs”) from securitizations, and overstating the value of
 3                   the Company’s mortgage servicing rights.
 4         5.     Meanwhile, at the same time Mozilo was defrauding unsuspecting
 5   investors and simultaneously forcing Countrywide to incur debt to buy back
 6   2.5 billion of its own shares through repurchase programs, he (and numerous
 7   other Countrywide officers and directors) was cashing in – exercising stock options
 8   by amending his insider trading plans multiple times and unloading over 13 million
 9   artificially inflated shares, at an average price of over $35, resulting in total
10   Relevant Period insider trading proceeds of nearly a half billion dollars.
11         6.     This is not a case about a mortgage lender that simply expanded its
12   loan offerings and underwriting guidelines during the housing bubble and fell
13   victim to the housing decline. Rather, while the market recognized that mortgage
14   lenders across the board were expanding their loan menus and underwriting
15   standards during the Relevant Period, Defendants repeatedly distinguished
16   Countrywide from competitors, including what they referred to as the “frothy”
17   subprime lenders, and assured the market that, unlike other mortgage lenders,
18   Countrywide’s drive for growth and expanded loan offerings did not come at the
19   cost of loan quality. Defendants repeatedly assured investors that Countrywide
20   produced high quality loans that were qualitatively different from those of its
21   competitors, who primarily engaged in riskier lending practices. While Defendants
22   appeared to provide sufficient information to satisfy analysts and the purchasers of
23   its mortgage-backed securities (“MBS”) that Countrywide was being fully
24   forthcoming, in truth, Defendants concealed from investors and analysts the true
25   impact of the Company’s growth strategy on the quality of its loans, and the
26   attendant substantial increase in Countrywide’s credit risk and liability exposure.
27   Unbeknownst to investors, Countrywide’s essential operations were completely at
28   odds with Defendants’ public statements.

                                                4                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 22 of 439 Page ID #:22



 1         7.     Historically, Countrywide was known as one of the nation’s largest
 2   mortgage lenders, which primarily offered traditional fixed-rate first-lien mortgage
 3   loans. Countrywide originated and purchased these loans, then packaged and sold
 4   pools of loans and securitizations to the “secondary market,” in order to generate
 5   income to fund its long-term capital needs. Because Countrywide’s loans were
 6   primarily conforming loans that met with the requirements of Government
 7   Sponsored Entities (“GSEs”), such as the Federal National Mortgage Association
 8   (“Fannie Mae”) and the Federal Home Loan Mortgage Corporation (“Freddie
 9   Mac”), they were considered safer investments by the secondary market and were
10   therefore sold at premium prices.
11         8.     Countrywide’s stated underwriting guidelines, and the enforcement
12   thereof, defined the Company’s risk profile and was of critical importance to its
13   operations, its investors, and its ability to sell loans to the secondary market. In
14   fact, the quality of Countrywide’s loans was the single most important aspect of its
15   business and operations. Indeed, Countrywide’s own internal guidelines confirmed
16   that the Company’s policy and underwriting philosophy was to “originate,
17   purchase, and deliver investment quality loans.” The term “investment quality
18   loan” was explicitly defined in Countrywide’s guidelines to mean a loan made to a
19   borrower “from whom timely repayment of the debt can be expected” and that “is
20   adequately secured by real property.”
21         9.     Beginning in 2003, Countrywide publicly disclosed its new goal to
22   overtake its competitors and capture “market dominance” with 30% market share
23   of the nation’s residential loan market.      Notwithstanding concerns raised by
24   analysts and others that this sudden increase in loan origination might translate into
25   a reduction in overall loan quality, Defendants repeatedly assured the public and
26   investors that their policies and procedures for underwriting loans were tightly
27   controlled, conservative, superior, disciplined, and “designed to produce high
28   quality loans.” Countrywide’s founder, CEO and Chairman, Mozilo, repeatedly

                                               5                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 23 of 439 Page ID #:23



 1   assured investors that “[w]e don’t see any change in our protocol relative to the
 2   quality of loans that we’re originating”; he was “not aware of any change of
 3   substance in [Countrywide’s] underwriting policies”; and Countrywide had not
 4   “taken any steps to reduce the quality of its underwriting regimen.”       Mozilo
 5   assured investors that “I will say this to you that under no circumstances will
 6   Countrywide ever sacrifice sound lending and margins for the sake of getting to
 7   that 30 percent market share.”1
 8           10.   As other lenders, notably subprime lenders, began to fail, Defendants
 9   continued to falsely portray Countrywide as uniquely positioned to capitalize on
10   any impending mortgage crisis because of its strict underwriting standards. Mozilo
11   even stated on CNBC that Countrywide would benefit from the housing crisis:
12   “this’ll be great for Countrywide at the end of the day because all of the
13   irrational competitors will be gone.”
14           11.   The truth, however, is that beginning in 2003, Countrywide changed
15   its business model to originate as many loans as possible by increasingly producing
16   subprime, nontraditional and risky loans while disregarding its underwriting
17   standards. As detailed below, Defendants knew that Countrywide was granting
18   exceptions “even more aggressive than our guidelines,” and they understood that
19   Countrywide “appear[ed] to have unacceptable risk on [its] balance sheet.”
20   Indeed, a former Countrywide board member and Secondary Markets Managing
21   Director confirmed in a deposition in the related SEC Action against Mozilo and
22   others that the “only” criteria for granting exceptions was whether or not the loan
23   could be sold into the secondary market. Moreover, according to his Expert
24   Report, Professor Richard K. Green, Ph.D. (“Professor Green”), an industry expert
25   who was prepared to testify in the SEC Action, calculated that one-quarter of
26   Countrywide’s loans in first quarter 2006, alone, were originated as exceptions to
27

28   1
         All emphasis added unless otherwise noted.
                                              6                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 24 of 439 Page ID #:24



 1   Countrywide’s underwriting standards; that more than one-third of the loans
 2   recommended for rejection by Countrywide’s own underwriting model were
 3   ultimately approved; and that Countrywide knowingly approved these loans to
 4   increase Countrywide’s share of the mortgage market. Based on his analysis,
 5   Professor Green concluded that from 2002 forward, Countrywide’s residential
 6   lending activities became increasingly risky, thereby exposing Countrywide to an
 7   increasing probability of borrower delinquency and default.
 8         12.    The Company publicly disclosed that, unlike “frothy” subprime
 9   lenders, it originated and underwrote only quality loans, including Pay-Option
10   ARM loans – which Mozilo publicly stated “represent the best whole loan type
11   available for portfolio investment from an overall risk and return perspective,” and
12   that “[t]he performance profile of this product is well-understood because of its 20-
13   year history, which includes ‘stress tests’ in difficult environments.” In truth,
14   however, Mozilo internally admitted that the Company was “flying blind” as to
15   how the Pay-Option ARM loans will perform. Mozilo further internally admitted
16   that he “personally observed a serious lack of compliance with our origination
17   system as it relates to documentation and generally a deterioration in the quality
18   of loans originated versus the pricing of those loan[s],” and that with respect to
19   Countrywide’s 80/20 loan product, “[I]n all my years in the business I have never
20   seen a more toxic product.”
21         13.    Moreover, to further conceal its greatly increased production of low
22   quality loans that had a high likelihood of turning delinquent, Countrywide
23   employed an internal, undisclosed definition of “prime” versus “subprime,” and, in
24   its public reports, classified loans as “prime” that clearly were subprime.
25         14.    When Countrywide executives recommended adding additional
26   disclosures in Countrywide’s SEC filings, those proposed disclosures were
27   repeatedly rejected and never disclosed. Countrywide’s increasing risk was so
28   great during 2006 that the Company’s Chief Risk Officer (“CRO”), John

                                               7                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 25 of 439 Page ID #:25



 1   McMurray (“McMurray”), indicated that he would be resigning due to his
 2   “concerns about the company’s risk philosophy” and “‘can’t say no’ policy.” The
 3   Company’s refusal to include the disclosures by McMurray even caused him to
 4   submit an “addendum” to his Sarbanes-Oxley Certification – however, the
 5   addendum was not disclosed to investors.
 6         15.   Eventually, Defendants could no longer hide the poor quality and
 7   deteriorating value of Countrywide’s mortgages. Investors learned the true state of
 8   Countrywide’s operations through a series of corrective disclosures beginning in
 9   July 2007, when Countrywide announced a $417 million impairment charge
10   largely on retained interests in Countrywide’s MBS. The Company also reported
11   that rising delinquencies reduced second quarter profit by $388 million. The
12   Company further revealed that it had been misclassifying loans as “prime” that the
13   industry would have properly viewed as “subprime” í leading analysts to remark
14   “The Kimono comes off; Prime is not what it seems” í and that it had
15   “recalibrated” its proprietary underwriting system and tightened its underwriting
16   guidelines, particularly with respect to subprime and home equity loans.
17         16.   Thereafter, a series of additional, partially corrective disclosures
18   revealed critical problems in Countrywide’s mortgage portfolio and operations –
19   including an increasing inability to obtain capital, a possible bankruptcy, and a
20   Federal Bureau of Investigation (“FBI”) probe of potential securities fraud. In
21   January 2008, in order to avoid bankruptcy, Countrywide agreed to be acquired by
22   Bank of America at a bargain-basement price.           The sale was closed on
23   July 1, 2008, at a price equal to $4.33 per share – a decline of more than 90% from
24   Countrywide’s $45 per share price peak during the Relevant Period and a mere
25   12% of the $35 average price at which Mozilo cashed out his shares.
26         17.   A substantial amount of evidence – some of which is detailed herein –
27   demonstrates that Mozilo and other high-level Countrywide executives were fully
28   aware of but failed to disclose, and in fact expressly authorized and engaged in,

                                              8                                 COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 26 of 439 Page ID #:26



 1   Countrywide’s risky lending practices. The scope of Defendants’ fraud is reflected
 2   by, and well-documented in, among other things:         (i) the SEC Action which
 3   resulted in a record penalty and disgorgement of substantial “ill-gotten gains” from
 4   Mozilo; (ii) regulatory actions initiated by multiple state attorneys generals, which
 5   resulted in settlements worth over $8 billion; (iii) numerous actions by investors in
 6   and insurers of Countrywide’s MBS, including a $1.6 billion settlement with
 7   Assured Guaranty to resolve the insurer’s representations and warranties claims
 8   and a recently announced $8.5 billion settlement for certain repurchase and
 9   servicing claims; (iv) additional demands that Countrywide repurchase defective
10   loans sold in breach of contractual representations and warranties or pursuant to
11   indemnification obligations; (v) a securities class action that recently settled for
12   $624 million; (vi) a derivative action that is currently on appeal to the Ninth
13   Circuit Court of Appeals; (vii) myriad consumer protection lawsuits brought by
14   defrauded homeowners; and (viii) the high number of delinquencies, defaults, and
15   foreclosures in Countrywide’s mortgages.
16         18.    As a result of these numerous actions and investigations (detailed
17   below), volumes of internal Countrywide documents, statistical evidence, and
18   other reliable sources have become available that evidence the falsity of the
19   statements and omissions alleged herein and Defendants’ knowledge in making
20   these false statements. Substantial evidence – trial, deposition, investigative, and
21   regulatory testimony and internal documents examined by Plaintiffs’ counsel, as
22   well as interviews of numerous former Countrywide employees conducted by and
23   through Plaintiffs’ counsel – reveals that while Defendants were publicly
24   disclosing Countrywide’s purportedly conservative, superior, disciplined loan
25   underwriting guidelines, they were aware of (and even ordered) the breakdown in
26   Countrywide’s procedures and the lack of compliance with Countrywide’s
27   underwriting guidelines in order to capture an unprecedented market share of
28   residential mortgage originations and enrich themselves.

                                               9                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 27 of 439 Page ID #:27



 1         19.   SEC Action: In June 2009, the SEC brought securities fraud and
 2   insider trading charges against Mozilo, Sambol, and Sieracki in federal court in the
 3   Central District of California.   Judge Walter, who oversaw the SEC Action,
 4   concluded that there is ample evidence of liability (which was produced and made
 5   publicly available) and denied Defendants’ motions for summary judgment. Judge
 6   Walter found that there is evidence that “Countrywide routinely ignored its
 7   official underwriting guidelines to such an extent that Countrywide would
 8   underwrite any loan it could sell into the secondary mortgage market.” SEC v.
 9   Mozilo, 2010 WL 3656068, at *10 (C.D. Cal. Sept. 16, 2010) (“Mozilo”) (“any”
10   emphasized in original). Judge Walter rejected Defendants’ argument that their
11   false statements were mere “puffery,” explaining that this case “present[s] the
12   extraordinary case where a company’s essential operations were so at odds with the
13   company’s public statements that [the statements] . . . are rendered cognizable to
14   the securities laws.” Id. at *11 (quoting In re Countrywide Fin. Corp. Sec. Litig.,
15   588 F. Supp. 2d 1132, 1153 (C.D. Cal. 2008) (“Countrywide”)). Judge Walter
16   concluded that “[i]n light of this evidence, a reasonable jury could conclude that
17   Countrywide all but abandoned managing credit risk through its underwriting
18   guidelines, that Countrywide would originate any loan it could sell, and
19   therefore that the statements regarding the quality of Countrywide’s
20   underwriting and loan production were misleading.” Id. at *10.
21         20.   After Judge Walter denied Defendants’ motions for summary
22   judgment and just days before trial, on October 15, 2010, the SEC announced a
23   historic settlement of the action against the three individuals. Mozilo agreed to a
24   settlement in the amount of $67.5 million – one of the largest individual SEC
25   settlements, including a $22.5 million penalty, which the SEC reports is “the SEC’s
26   largest ever financial penalty against a public company’s senior executive.”
27   Sambol and Sieracki agreed to pay an additional $5.65 million in penalties and
28

                                             10                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 28 of 439 Page ID #:28



 1   disgorgement. In addition, Mozilo agreed to be barred for life from serving as a
 2   director or officer of a public company, and Sambol agreed to a three-year ban.
 3         21.    Securities Class And Derivative Actions: Defendants have also been
 4   subject to derivative litigation as well as class action securities litigation, including
 5   the class case in which Plaintiffs excluded themselves in order to pursue this direct
 6   action. In the derivative case, in denying Defendants’ motions to dismiss, Judge
 7   Pfaelzer concluded that the “allegations create a cogent and compelling inference
 8   that the [Countrywide officers and directors] misled the public with regard to the
 9   rigor of Countrywide’s loan origination process, the quality of its loans, and the
10   Company’s financial situation – even as they realized that Countrywide had
11   virtually abandoned its own loan underwriting practices.” In re Countrywide Fin.
12   Corp. Deriv. Litig., 554 F. Supp. 2d 1044, 1057 (C.D. Cal. 2008) (“Countrywide
13   Deriv.”).   In addition, Judge Pfaelzer found that the numerous confidential
14   witnesses “paint a compelling portrait of a dramatic loosening of underwriting
15   standards in Countrywide branch offices across the United States,” representing “a
16   rampant disregard for underwriting standards.” Id. at 1058-59.
17         22.    Judge Pfaelzer rejected Defendants’ arguments that they were
18   oblivious of the widespread malfeasance at Countrywide, explaining: “[i]t defies
19   reason, given the entirety of the allegations, that these [defendants] could be
20   blind to widespread deviations from the underwriting policies and standards
21   being committed by employees at all levels.” Id. at 1082.
22         23.    Following her ruling in the derivative case, Judge Pfaelzer also
23   rejected Defendants’ motions to dismiss in the related securities class action. In a
24   112-page opinion, Judge Pfaelzer concluded that “Plaintiffs have created a cogent
25   and compelling inference of a company obsessed with loan production and market
26   share with little regard for the attendant risks, despite the company’s repeated
27   assurances to the market.” Countrywide, 588 F. Supp. at 1186. Since the filing of
28   the class plaintiffs’ Second Amended Complaint over two years ago, a tremendous

                                                11                                COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 29 of 439 Page ID #:29



 1   amount of additional information and internal Countrywide documents have
 2   become publicly available, some of which is detailed herein.
 3         In addition, in the direct action against Defendants brought by purchasers of
 4   Countrywide debentures, Judge Pfaelzer recently denied Defendants’ motions to
 5   dismiss and again rejected, among other arguments, Defendants’ “macroeconomic”
 6   loss causation and disclosure arguments. Centaur Classic Convertible Arbitrage
 7   Fund Ltd. v. Countrywide Fin. Corp., -- F. Supp. 2d --, 2011 WL 2504637 (C.D.
 8   Cal. June 21, 2011).
 9         24.   Mortgage-Backed Securities Litigation: Courts in at least two actions
10   have already sustained claims of fraudulent and negligent misrepresentations
11   against Countrywide with respect to the issuance of MBS between 2005 and 2007.
12   For example, fraudulent inducement claims brought by MBIA Insurance
13   Corporation (“MBIA”), a guarantor of Countrywide’s MBS, against Countrywide
14   based on Countrywide’s misrepresentations in ten MBS offering documents have
15   been sustained and affirmed on appeal. MBIA Ins. Corp. v. Countrywide Home
16   Loans, Inc., 2009 WL 2135167 (N.Y. Sup. July 8, 2009), affirmed in large part, --
17   N.Y.S. 2d --, 2011 WL 2567772 (N.Y.A.D. Jun 30, 2011). Similarly, on November
18   29, 2010, a Pennsylvania state court sustained claims brought by the Federal Home
19   Loan Bank of Pittsburgh against Countrywide for fraudulent and negligent
20   misrepresentation based on the purchase of five Countrywide MBS.            FHLB
21   Pittsburgh v. Countrywide Sec. Corp., No. GF09-018482 (Court of Common Pleas
22   of Allegheny County, Nov. 29, 2010).
23         25.   Former Countrywide Employee And Expert Testimony: As detailed
24   below, numerous Confidential Witnesses (“CWs”) from different levels, different
25   venues, and involved in different aspects of the Company’s operations corroborate
26   the dramatic and undisclosed nature of Countrywide’s shift from traditional to
27   high-risk mortgage lender. For example, a former Countrywide underwriter from
28   Florida described pressure from management to approve and push through as many

                                             12                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 30 of 439 Page ID #:30



 1   loans as possible. According to this former employee, as much as 80% of the
 2   loans originated at Countrywide involved significant variations from the
 3   underwriting standards that necessitated a signoff by management. A former
 4   underwriter from New York described how the Company extended loans to
 5   borrowers with spiraling debt to income ratios, and how the Company
 6   systematically sacrificed quality for quantity through its compensation structure. A
 7   former senior underwriter from California and a compliance auditor from Texas
 8   both described Countrywide’s policy of mischaracterizing loans as “prime” that
 9   were not prime, including loans to borrowers with recent bankruptcies or stated
10   incomes far beyond the norm for their professions. A diverse group of former
11   employees, from loan officers to compliance auditors, have confirmed that the
12   Company’s “no doc” loan products were openly abused. This included extending
13   loans outside the Company’s guidelines if it meant continuing to get referrals or
14   preventing business from going to competitors. Another former employee
15   uncovered in Plaintiffs’ investigation worked directly with Defendant Sambol to
16   create the computer system used to route risky loans out of the normal loan
17   approval system to ensure they were not rejected for violating the Company’s
18   stated underwriting guidelines. This former Executive Vice President also
19   confirmed that all top Countrywide executives received monthly reports issued by
20   the CRO’s department that measured the performance of Countrywide’s loans by
21   various metrics and adherence to theoretical underwriting guidelines. As a former
22   senior underwriter from Ohio put it: the Company’s “philosophy was that you
23   didn’t turn down loans” and employees “did whatever they had to do to close
24   loans.”
25         26.   These CW accounts, together with the mass of litigation and
26   investigations of Countrywide to date, provide a mosaic of the fraudulent lending
27   practices that pervaded Countrywide from the top down. As Judge Pfaelzer found
28   in sustaining the related shareholder derivative complaint, these witnesses “tell

                                             13                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 31 of 439 Page ID #:31



 1   ZKDW LV HVVHQWLDOO\ WKH VDPH VWRU\ í a rampant disregard for underwriting
 2   standards from markedly different angles.”
 3          27.   Evidence of the fraudulent conduct at Countrywide continues to be
 4   revealed, including in Bank of America’s 2010 Form 10-K, filed with the SEC on
 5   February 25, 2011, which provides detailed figures demonstrating that
 6   Countrywide loans originated during the Relevant Period are performing very
 7   poorly. For example, of the $293 billion outstanding principal balance of
 8   Countrywide loans originated between 2004-2008 sold to private (non-GSE)
 9   counterparties – i.e., in connection with securitizations or whole loan sales –
10   roughly $166 billion or 55% is severely delinquent or in default. Of this amount,
11   $27 billion or 16% is “prime” loans, $43 billion or 26% is Alt-A loans, and $50
12   billion or 30% is Pay-Option ARMs. Bank of America’s portfolio of loans
13   acquired from Countrywide is also performing exceptionally poor. Of $41.4
14   billion in Countrywide acquired loans, $15.5 billion or 37.5% is in the late stages
15   of delinquency and only $21.5 billion (about half) are current. A substantial
16   amount of the loans are to borrowers with “refreshed” Fair Isaac Credit
17   Organization (“FICOs”) below 620 and/or loan-to-value ratios (“LTVs”) greater
18   than 90%. Bank of America’s allowance for such loans increased $2.5 billion from
19   a year ago, to $6.3 billion.
20          28.   In addition, Bank of America agreed to pay $1.6 billion to settle
21   representation and warranty claims by Assured Guaranty, and recently agreed to
22   pay $8.5 billion to settle certain repurchase and servicing claims even before a
23   complaint was filed.
24   III.   JURISDICTION AND VENUE
25          29.   The claims asserted herein arise under Sections 11, 12(a)(2) and 15 of
26   the Securities Act of 1933 (the “Securities Act”), 15 U.S.C. §§ 77k, 77l and 77o,
27   Sections 10(b), 20(a) and 20A of the Securities Exchange Act of 1934 (the
28

                                             14                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 32 of 439 Page ID #:32



 1   “Exchange Act”), 15 U.S.C. §§ 78j(b), 78t(a) and 78t-1, and Rule 10b-5
 2   promulgated thereunder by the SEC, 17 C.F.R. § 240.10b-5.
 3         30.   This Court has jurisdiction over the subject matter of this action
 4   pursuant to Section 22 of the Securities Act, 15 U.S.C. § 77v, Section 27 of the
 5   Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §§ 1331 and 1337(a).
 6         31.   Venue is proper in this District pursuant to Section 22 of the Securities
 7   Act, Section 27 of the Exchange Act, and 28 U.S.C. §§ 1391(b), (c) and (d). Many
 8   of the acts and omissions charged herein, including the preparation and
 9   dissemination to the public of materially false and misleading information,
10   occurred in substantial part in the Central District of California. Countrywide
11   maintained its corporate headquarters and principal executive offices in this
12   District throughout the Relevant Period.
13         32.   In connection with the acts and conduct alleged herein, Defendants,
14   directly and indirectly, used the means and instrumentalities of interstate
15   commerce, including but not limited to the United States mails, interstate telephone
16   communications, and the facilities of national securities exchanges and markets.
17   IV.   THE PARTIES
18         A.    Plaintiffs
19         33.   The Government of Guam Retirement Fund (“Guam”) is a plaintiff in
20   this action. Guam purchased Countrywide securities during the Relevant Period
21   and suffered damages as a result of the violations pled herein. Plaintiff Guam
22   oversees approximately $1.6 billion in net assets (as of September 30, 2010) for
23   current and former government employees and their survivors.
24         34.   The following American Century Investment Management funds are
25   plaintiffs in this action: American Century Capital Portfolios, Inc. – Equity Index
26   Fund; American Century Quantitative Equity Funds, Inc. – Income & Growth
27   Fund; and American Century Variable Portfolios, Inc. – VP Income & Growth
28   Fund (collectively “American Century Funds”).           American Century Funds

                                                15                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 33 of 439 Page ID #:33



 1   purchased Countrywide securities during the Relevant Period and suffered
 2   damages as a result of the violations pled herein.
 3         35.    Maryland State Retirement and Pension System (“Maryland”) is a
 4   plaintiff in this action. Maryland purchased Countrywide securities during the
 5   Relevant Period and suffered damages as a result of the violations pled herein.
 6   Plaintiff Maryland administers survivor, disability and retirement benefits to its
 7   participants and manages approximately $37.5 billion of net assets (as of
 8   June 30, 2011).
 9         36.    Montana Board of Investments (“Montana”) is a plaintiff in this
10   action. Montana purchased Countrywide securities during the Relevant Period and
11   suffered damages as a result of the violations pled herein. Plaintiff Montana
12   administers a number of different loan programs to meet the needs of individual
13   businesses and local government and invests all state funds, including pension
14   funds and trust funds with net assets of $13.5 billion (as of June 30, 2011).
15         37.    Norges Bank is a plaintiff in this action. Norges Bank is responsible
16   for the management of Government Pension Fund Global with approximately $528
17   billion in assets (as of the end of the fourth quarter 2010). Norges Bank purchased
18   Countrywide securities during the Relevant Period and suffered damages as a
19   result of the violations pled herein.
20         38.    The following Nuveen Investments, Inc. funds are plaintiffs in this
21   action: Nuveen Equity Premium Opportunity Fund; Nuveen Growth Allocation
22   Fund, a series of Nuveen Investment Trust; Nuveen Multi-Manager Large-Cap
23   Value Fund, a series of Nuveen Investment Trust; Nuveen NWQ Large-Cap Value
24   Fund, a series of Nuveen Investment Trust; Nuveen NWQ Multi-Cap Value Fund, a
25   series of Nuveen Investment Trust; Nuveen Santa Barbara Dividend Growth Fund,
26   a series of Nuveen Investment Trust II; Nuveen Quality Preferred Income Fund;
27   Nuveen Multi-Strategy Income and Growth Fund 2; Nuveen Quality Preferred
28   Income Fund 2; Nuveen Quality Preferred Income Fund 3; and Nuveen Multi-

                                              16                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 34 of 439 Page ID #:34



 1   Strategy Income and Growth Fund (collectively “Nuveen Funds”). The Nuveen
 2   Funds purchased Countrywide securities during the Relevant Period and suffered
 3   damages as a result of the violations pled herein.
 4         39.    Royal Mail Pension Plan (“Royal Mail”) is a plaintiff in this action.
 5   Royal Mail purchased Countrywide securities during the Relevant Period and
 6   suffered damages as a result of the violations pled herein. Plaintiff Royal Mail is a
 7   pension fund managing approximately $38 billion (as of June 2011).
 8         40.    Stichting Pensioenfonds Zorg en Welzijn (“PFZW”) represented by
 9   PGGM Vermogensbeheer B.V. (“PGGM”) is a plaintiff in this action. PFZW is the
10   pension fund for the healthcare and welfare sector in the Netherlands, and the
11   second largest pension fund in Europe. As of first quarter end 2011, PFZW’s
12   assets (managed by PGGM) were €100.4 billion. PFZW invested in Countrywide
13   securities during the Relevant Period and suffered damages as a result of the
14   violations pled herein.
15         41.    The following SunAmerica Asset Management Corp. funds are
16   plaintiffs in this action: Strategic Multi-Asset Portfolio, a series of Anchor Series
17   Trust; Focus Growth Portfolio, a series of Seasons Series Trust; Large Cap
18   Composite Portfolio (merged into the Large Cap Growth Portfolio, a series of
19   Seasons Series Trust), a series of Seasons Series Trust; Large Cap Growth
20   Portfolio, a series of Seasons Series Trust; Large Cap Value Portfolio, a series of
21   Seasons Series Trust; Stock Portfolio, a series of Seasons Series Trust; Focused
22   Value Portfolio (renamed SunAmerica Strategic Value Portfolio), a series of
23   SunAmerica Focused Series, Inc. (renamed SunAmerica Series, Inc.); Equity Index
24   Portfolio, a series of SunAmerica Series Trust; MFS Total Return Portfolio, a series
25   of SunAmerica Series Trust; Asset Allocation Fund, a series of VALIC Company I;
26   Blue Chip Growth Fund, a series of VALIC Company I; Dividend Value Fund, a
27   series of VALIC Company I; and Stock Index Fund, a series of VALIC Company I
28   (collectively “SunAmerica Funds”).            The SunAmerica Funds purchased

                                              17                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 35 of 439 Page ID #:35



 1   Countrywide securities during the Relevant Period and suffered damages as a
 2   result of the violations pled herein.
 3         42.    T. Rowe Price Associates, Inc., on behalf of the following funds and
 4   trusts and on behalf of certain of its separately managed institutional clients and
 5   funds where it serves as investment manager or subadvisor (collectively “T. Rowe
 6   Price Funds”), are plaintiffs in this action: T. Rowe Price Equity Income Fund; T.
 7   Rowe Price Growth Stock Fund; T. Rowe Price Value Fund; T. Rowe Price Blue
 8   Chip Growth Fund; T. Rowe Price Equity Income Portfolio; T. Rowe Price Equity
 9   Index 500 Fund; T. Rowe Price Personal Strategy Growth Fund; T. Rowe Price
10   Personal Strategy Balanced Fund; T. Rowe Price Financial Services; T. Rowe Price
11   Growth & Income Fund; T. Rowe Price New America Growth Fund; T. Rowe Price
12   Personal Strategy Income Fund; T. Rowe Price Capital Opportunity Fund; T. Rowe
13   Price Blue Chip Growth Portfolio; T. Rowe Price New Income Fund; T. Rowe
14   Price Personal Strategy Balanced Portfolio; T. Rowe Price Short-Term Bond Fund;
15   T. Rowe Price Total Equity Market Index Fund; T. Rowe Price New America
16   Growth Portfolio; T. Rowe Price Balanced Fund; T. Rowe Price Institutional U.S.
17   Structured Research Fund; T. Rowe Price Institutional Large-Cap Core Growth
18   Fund; T. Rowe Price Inflation Focused Bond Fund; T. Rowe Price Georgia Tax-
19   Free Bond Fund; T. Rowe Price Equity Index 500 Portfolio; T. Rowe Price
20   Limited-Term Bond Portfolio; T. Rowe Price Structured Research Common Trust
21   Fund; T. Rowe Price Equity Income Trust; T. Rowe Price Equity Index Trust; T.
22   Rowe Price Stable Value Common Trust Fund; T. Rowe Price Growth and Income
23   Trust; Alaska Large-Cap Trust; T. Rowe Price Managed Bond Common Trust
24   Fund; T. Rowe Price Growth Stock Trust; T. Rowe Price Bond Index Trust; Alaska
25   Money Market Trust; and Alaska International Trust. The T. Rowe Price Funds
26   purchased Countrywide securities during the Relevant Period and suffered
27   damages as a result of the violations pled herein.
28

                                              18                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 36 of 439 Page ID #:36



 1         43.   Teacher Retirement System of Texas (“Texas Teachers”) is a plaintiff
 2   in this action.   Texas Teachers purchased Countrywide securities during the
 3   Relevant Period and suffered damages as a result of the violations pled herein.
 4   Plaintiff Texas Teachers provides retirement and related benefits for those
 5   employed by the public schools, colleges and universities supported by the State of
 6   Texas and manages net assets of approximately $95 billion (as of August 31,
 7   2010).
 8         44.   The following Thrivent Financial for Lutherans funds are plaintiffs in
 9   this action: Mr. Robert L. Kosnoski; Thrivent Financial for Lutherans; Thrivent
10   Financial for Lutherans Foundation; Kalamazoo Anesthesiology PSP FBO Dr.
11   Barbara A. Page; Thrivent Large Cap Value Fund, a series of Thrivent Mutual
12   Funds; Thrivent Large Cap Stock Portfolio, a series of Thrivent Series Fund. Inc.;
13   Thrivent Partner All Cap Portfolio, a series of Thrivent Series Fund, Inc.; Thrivent
14   Large Cap Value Portfolio, a series of Thrivent Series Fund, Inc.; Thrivent
15   Balanced Fund, a series of Thrivent Mutual Funds; Thrivent Large Cap Stock
16   Fund, a series of Thrivent Mutual Funds; Thrivent Large Cap Index Fund I, a series
17   of Thrivent Mutual Funds; Thrivent Large Cap Index Fund, a series of Thrivent
18   Mutual Funds; Thrivent Balanced Portfolio, a series of Thrivent Series Fund, Inc.;
19   Thrivent Large Cap Index Portfolio, a series of Thrivent Series Fund, Inc.; Thrivent
20   Financial Defined Benefit Plan Trust; Thrivent Core Bond Fund, a series of
21   Thrivent Mutual Funds; Thrivent Bond Index Fund, a series of Thrivent Mutual
22   Funds; Thrivent Bond Index Portfolio, a series of Thrivent Series Fund, Inc.;
23   Thrivent Income Fund, a series of Thrivent Mutual Funds; Thrivent Limited
24   Maturity Bond Fund, a series of Thrivent Mutual Funds; Thrivent Income
25   Portfolio, a series of Thrivent Series Fund, Inc.; Thrivent Limited Maturity Bond
26   Portfolio, a series of Thrivent Series Fund, Inc.; and Thrivent Life Insurance
27   Company (collectively, “Thrivent Funds”).        The Thrivent Funds purchased
28

                                             19                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 37 of 439 Page ID #:37



 1   Countrywide securities during the Relevant Period and suffered damages as a
 2   result of the violations pled herein.
 3         45.    The following Teachers Insurance and Annuity Association - College
 4   Retirement Services funds and accounts are plaintiffs in this action:      College
 5   Retirement Equities Fund Equity Index Account; College Retirement Equities
 6   Fund Global Equities Account; College Retirement Equities Fund Stock Account;
 7   TIAA-CREF Asset Management Commingled Funds Trust I Large Cap Value
 8   Fund; TIAA Separate Account VA-1 Stock Index Account; TIAA-CREF Funds
 9   Equity Index Fund; TIAA-CREF Funds Large-Cap Value Fund; TIAA-CREF
10   Funds Large-Cap Value Index Fund; TIAA-CREF Funds S&P 500 Index Fund;
11   TIAA-CREF Life Funds Large-Cap Value Fund; and TIAA-CREF Life Funds
12   Stock Index Fund (collectively “TIAA-CREF Funds”). The TIAA-CREF Funds
13   purchased Countrywide securities during the Relevant Period and suffered
14   damages as a result of the violations pled herein.
15         46.    CalPERS is a plaintiff in this action. Plaintiff CalPERS is an arm of
16   the State of California, operating pursuant to the California Constitution (Article
17   16, Section 17) and the California Government Code. Plaintiff CalPERS is the
18   largest state public pension fund in the United States and was established for the
19   benefit of California’s public employees in 1932. CalPERS is a defined benefit
20   retirement plan with assets totaling approximately $237 billion (as of July 11,
21   2011). CalPERS manages retirement benefits for more than 1.6 million California
22   public employees, retirees and their families.       CalPERS purchased shares of
23   common stock of Countrywide during the Relevant Period and suffered damages
24   as a result of the violations pled herein.
25         47.    Funds managed by BlackRock Financial Management, Inc. and its
26   advisory affiliates (collectively the “BlackRock Funds”), including but not limited
27   to the following funds, are plaintiffs in this action: Obsidian Master Fund Trust;
28   Ausgleichsfonds der Alters - und Hinterlassenenversicherung; Master S&P 500

                                                  20                        COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 38 of 439 Page ID #:38



 1   Index Series of Quantitative Master Series Trust; Equity Index Trust; Large Cap
 2   Value Index Trust of QA Collective Trust Series; Russell 1000 Alpha Tilts Fund B;
 3   Equity Index Fund; Alpha Tilts Fund B; iShares S&P 500 Index Fund; iShares
 4   Russell 1000 Value Fund; Russell 1000 Index Fund; Russell 1000 Value Fund;
 5   Russell 1000 Alpha Tilts BL; Active Stock Fund E; Ascent Life US Equity Fund;
 6   iShares S&P 500 Growth Fund; Barclays International Funds - USA Equity Fund;
 7   Russell 1000 Value Fund B; Russell 3000 Index Fund; US Alpha Tilts – Tokyo
 8   Pension Clients; NC R3000 Tilts Sep Acct; Russell 1000 Value Alpha Tilts Fund B;
 9   Equity Index Fund B; Large Capitalization Core Tilts Fund B; U.S. Equity Market
10   Fund B; Active Stock Master Portfolio; OMERS Russell 1000 Enhanced Index
11   Mandate; BlackRock CDN US Alpha Tilts Non-Taxable Fund; FMC-US R3000
12   Alpha Tilts U/A; iShares Russell 1000 Indx Fund; BlackRock CDN US Equity
13   Index Non-Taxable Fund; iShares Russell 3000 Index Fund; iShares Dow Jones
14   US Financial Sector Index Fund; CDP Alpha Tilts Separate Account; MSCI U.S.
15   Equity Index Fund B; NZ Super US Tilts; Lucent Eq Indx Sep Acct; Aquila Life
16   US Equity Index Fund; and Ascent Life US Equity Fund. The BlackRock Funds
17   purchased Countrywide securities during the Relevant Period and suffered
18   damages as a result of the violations pled herein.
19         48.    Particularized information regarding Plaintiffs’ purchases and sales of
20   Countrywide securities during the Relevant Period that Plaintiffs opted out of the
21   Class action have been confidentially provided to Defendants pursuant to the
22   requirements in the Class Notice and in connection with the Opt-Out letters
23   submitted by the undersigned counsel and deemed valid in the Class action on
24   behalf of each of the Plaintiffs, which are incorporated by reference herein. Such
25   purchases during the Relevant Period were at artificially inflated prices caused by
26   Defendants’ false statements and omissions as detailed herein. As a result of those
27   purchases of Countrywide securities during the Relevant Period, and Defendants’
28

                                              21                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 39 of 439 Page ID #:39



 1   wrongful conduct, Plaintiffs suffered substantial losses in an amount to be
 2   determined by proof at trial.
 3         B.     Defendants
 4                1.    Countrywide Defendants
 5         49.    Defendant Countrywide was, at all relevant times, a Delaware
 6   corporation with its principal executive offices located at 4500 Park Granada,
 7   Calabasas, California. Countrywide was a holding company which, through its
 8   subsidiaries, engaged in mortgage lending, mortgage banking, banking and
 9   mortgage warehouse lending, dealing in securities and insurance underwriting
10   throughout the United States. During all times relevant to this Complaint, its stock
11   was registered pursuant to Section 12(d) of the Exchange Act and was listed on the
12   New York Stock Exchange, and, until the demise of the Pacific Stock Exchange, it
13   was listed on that Exchange as well. On July 1, 2008, Countrywide merged into
14   and became a wholly owned subsidiary of Bank of America.
15         50.    Defendant Countrywide Capital V (“CCV”) is a Delaware Statutory
16   Trust and wholly owned subsidiary of Countrywide, created by Countrywide solely
17   for the purpose of issuing preferred securities. Countrywide guarantees all of
18   CCV’s offerings.
19         51.    Defendants Bank of America Corporation and its wholly owned
20   subsidiary that was created for the sole purpose of facilitating the acquisition of
21   Countrywide, Red Oak Merger Corporation (“Red Oak”; Red Oak and Bank of
22   America Corporation are collectively referred to herein as “Bank of America”) is a
23   successor to Defendant Countrywide. On July 1, 2008, Countrywide completed a
24   merger with Red Oak pursuant to an Agreement and Plan of Merger, dated as of
25   January 11, 2008, by and among Bank of America, Red Oak, and Countrywide.
26   Bank of America is a successor-in-interest to Countrywide, and is thus liable for
27   the conduct of Countrywide alleged herein.
28

                                             22                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 40 of 439 Page ID #:40



 1                2.    The Officer Defendants
 2         52.    Mozilo is a resident of Thousand Oaks, California. Mozilo,
 3   Countrywide’s co-founder, was Chairman of Countrywide’s Board of Directors
 4   starting in March 1999 and CEO starting in February 1998. He was also President
 5   of Countrywide from March 2000 through December 2003. Mozilo was a member
 6   of the Countrywide Board of Directors beginning in 1969, when Countrywide was
 7   founded, and served in other executive roles since then. He left Countrywide on
 8   July 1, 2008. During the Relevant Period, Mozilo disposed of over 13 million
 9   shares of Countrywide common stock in illegal insider sales for proceeds totaling
10   nearly a half-billion dollars. In October 2010, Mozilo settled securities fraud
11   claims brought against him by the SEC for $67.5 million, including a record $22.5
12   million penalty. The settlement also permanently bars Mozilo from ever again
13   serving as an officer or director of a publicly traded company.
14         53.    Sambol is a resident of Hidden Hills, California.           He was
15   Countrywide’s President and COO from September 2006 until its acquisition by
16   Bank of America in 2008.        Sambol was Countrywide’s Executive Managing
17   Director, Business Segment Operations and Chief Production Officer from April
18   2006 until September 2006, and Executive Managing Director and Chief of
19   Mortgage Banking and Capital Markets from January 2004 until April 2006.
20   Sambol was a member of the Countrywide Board of Directors from 2007 until July
21   2008. Sambol also held executive positions at certain Countrywide subsidiaries,
22   including Countrywide Bank and Countrywide Home Loans, Inc. During the
23   Relevant Period, Sambol sold over 1.6 million shares in illegal insider sales, for
24   proceeds totaling nearly $70 million. In October 2010, Sambol settled securities
25   fraud claims brought against him by the SEC for $5.52 million. As part of the
26   settlement, Sambol also agreed to be barred from serving as an officer or director
27   of a public company for three years.
28

                                              23                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 41 of 439 Page ID #:41



 1         54.   Sieracki is a resident of Studio City, California.      Sieracki was
 2   Countrywide’s CFO from the first quarter of 2005 until its acquisition by Bank of
 3   America in 2008. In October 2010, Sambol settled securities fraud claims brought
 4   against him by the SEC for $130,000.
 5         55.   Defendants Mozilo, Sambol, and Sieracki are collectively referred to
 6   herein as the “Officer Defendants” or “Individual Defendants.”
 7         56.   During the Relevant Period, Defendants Mozilo, Sambol, and Sieracki
 8   all worked at Countrywide’s headquarters in Calabasas, California. As detailed
 9   herein, the Officer Defendants were directly involved in the daily management of
10   all aspects of Countrywide’s core operations, including the Company’s policies,
11   procedures and standards for underwriting loans and the assessment and
12   management of credit risk. Moreover, Countrywide’s day-to-day management was
13   overseen by an Executive Committee whose members included the Officer
14   Defendants as well as the CRO, Chief Economist, Chief Legal Officer and head of
15   the Banking segment (Countrywide Bank), all of whom were executive officers of
16   the Company.
17         57.   Both Sambol and Sieracki were members of Countrywide’s Credit
18   Risk Committee which had quarterly meetings – some of which are described
19   below – wherein members were provided with detailed presentations highlighting
20   Countrywide’s increased credit risk.
21         58.   With respect to loan loss reserves in particular, Countrywide made
22   clear in its Form 10-K reports that “[o]ur senior management is actively involved
23   in the review and approval of our allowance for loan losses.” As stated in the
24   Company’s Form 10-K for 2006, executive management reviewed the Company’s
25   compliance with liquidity requirements on a monthly basis beginning in 2006:
26         To ensure compliance with the LMP [Liquidity Management Plan],
27         CHL, CSC and Countrywide Bank are required to maintain adequate
28         contingent liquidity regardless of conditions and to diversify funding

                                            24                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 42 of 439 Page ID #:42



 1         sources.      Each business unit has detailed metrics which are
 2         appropriate to its business line.        The metrics are compared with
 3         performance positions and reported to executive management
 4         monthly.
 5         59.     Countrywide    also   maintained      an   Asset/Liability   Committee
 6   (“ALCO”) during the Relevant Period that was comprised of “several of [the
 7   Company’s] senior financial executives” including the CRO. Additionally, ALCO
 8   was co-chaired by Sieracki. According to the Company’s Forms 10-K, ALCO,
 9   “ultimately” determined the Company’s valuation of retained interests and
10   mortgage servicing rights (“MSR”).        These filings made clear that “[s]enior
11   financial management exercises extensive and active oversight” of valuation of
12   retained interests and MSRs.
13         60.     During the Relevant Period, the Officer Defendants prepared,
14   reviewed, approved, ratified, signed and/or disseminated numerous documents,
15   including Countrywide’s SEC filings, which contained untrue statements of
16   material fact and/or omitted facts necessary to make the statements therein not
17   misleading.      Indeed, each of the Officer Defendants bore responsibility for
18   Countrywide’s periodic filings.
19         61.     In April 2004, Countrywide adopted a set of written Disclosure
20   Controls and Procedures governing the preparation of the Company’s periodic
21   reports (the “Disclosure Guidelines”). The Disclosure Guidelines established a
22   Disclosure Committee that was required to consult with the Executive Committee
23   with respect to “any matters of significance relating to the Company’s disclosure
24   and reporting obligations.” Sieracki joined the Disclosure Committee at least as
25   early as December 2005, and was the sole individual who was a member of both
26   the Disclosure Committee and the Credit Risk Committee.
27         62.     The Disclosure Guidelines required Countrywide “to disclose on a
28   timely basis any information that would be expected to affect the investment

                                               25                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 43 of 439 Page ID #:43



 1   decision of a reasonable investor or to alter the market price of the Company’s
 2   securities.” Countrywide’s financial reporting staff was required to:
 3         seek input from, and discuss with, the Divisional Officers information
 4         pertaining to the past and current performance and prospects for their
 5         business unit, known trends and uncertainties related to the business
 6         unit, [and] significant risks and contingencies that may affect the
 7         business unit.
 8         63.    To prepare the periodic filings, the senior vice president for financial
 9   reporting circulated to the head of each Countrywide division a questionnaire
10   (“MD&A Questionnaire”) that contained questions concerning the officer’s
11   division and the part of the previous period’s filing that concerned that division.
12   Countrywide’s business units used the MD&A Questionnaire as a report to provide
13   feedback on the quarter, and what may have changed that the Company should be
14   disclosing. Starting in the first quarter of 2006, the MD&A Questionnaire for
15   credit risk management was sent to the CRO and solicited information regarding a
16   number of topics related to credit risk, including (1) changes in the management of
17   credit risks; (2) environmental risks and uncertainties; (3) deterioration in loan
18   quality; and (4) changes in underwriting guidelines. After circulating the draft
19   MD&A Questionnaires to the divisions, the financial reporting group compiled
20   them and produced the first draft of the periodic report, which was reviewed and
21   edited by the chief accounting officer and the Deputy CFO. The revised draft then
22   went to the legal department and the senior managing directors responsible for
23   signing sub-certifications, as well as Sieracki, Sambol, and Mozilo.
24         64.    From the certifiers and the senior officers, the draft went to
25   Countrywide’s Board of Directors.       When all of the certifications had been
26   compiled, Sieracki and Mozilo were notified and they signed Sarbanes-Oxley
27   certifications. Mozilo and Sieracki both reviewed drafts and signed all of the
28   Forms 10-Q and 10-K and accompanying Sarbanes-Oxley certifications for fiscal

                                              26                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 44 of 439 Page ID #:44



 1   years 2005 through 2007, inclusive. (Mozilo signed Sabanes-Oxley certifications
 2   beginning in the second quarter of 2003.) Sambol also received and reviewed
 3   drafts of these documents, sub-certified the filings prior to his becoming President
 4   and COO, signed the Forms 10-Q for the third quarter of 2006 and all of the
 5   quarters in 2007, as well as the Form 10-K for year ended 2007. According to
 6   deposition testimony in the SEC Action by Countrywide’s former Deputy CFO (a
 7   partial transcript of which was produced in the SEC Action and reviewed by
 8   Plaintiffs’ counsel), Sambol and Sieracki were the two individuals on
 9   Countrywide’s Executive Committee “most closely involved with the SEC
10   reporting process.”2
11               3.     KPMG LLP
12         65.   Defendant KPMG LLP (“KPMG”) is, and at all relevant times herein
13   was, a public accounting firm with offices throughout the United States, including
14   in California. KPMG maintains its national headquarters at 345 Park Avenue, New
15   York, New York 10154.          KPMG served as Countrywide’s outside auditor
16   beginning on or about January 5, 2004. KPMG provided audit, audit-related, tax
17   and other services to Countrywide during the Relevant Period, which included the
18   issuance of audit opinions on the Company’s financial statements for the years
19   ended December 31, 2004, 2005 and 2006, and management’s assessments of
20   internal controls for the years ended December 31, 2005 and 2006, and opinions of
21   management’s     assessments    of   internal   controls   for   the   years   ended
22

23
     2
       As discussed in detail herein, Sambol and Sieracki actively participated in
24
     decisions to exclude disclosures from Countrywide’s SEC filings regarding the
25   Company’s widened underwriting standards, and Sambol was the individual whose
     decisions “trumped” and “slashed” such proposed disclosures advocated by the
26
     Company’s CRO, including for the 2006 Form 10-K and in the second quarter of
27   2007. In addition, Sambol directly participated in Countrywide’s 2006 and 2007
     securities offerings, but failed to take any action to correct false and misleading
28
     statements in the offerings documents, which he signed.
                                             27                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 45 of 439 Page ID #:45



 1   December 31, 2004, 2005 and 2006. KPMG consented to the incorporation by
 2   reference of its audit opinions on the Company’s financial statements and its
 3   opinion of management’s assessment of internal controls for the years ended
 4   December 31, 2004 and/or 2005, and 2006 in Countrywide’s Prospectus
 5   Supplement dated September 27, 2005, Registration Statement dated February 9,
 6   2006, Prospectus Supplement dated May 11, 2006, Amended Registration
 7   Statement dated October 27, 2006, and Registration Statement dated November 15,
 8   2007.
 9           66.   According to the June 23, 2010 deposition testimony of John R.
10   Taylor, produced in the SEC Action and reviewed by Plaintiffs’ counsel, KPMG
11   regularly discussed with the Company’s Financial Reporting personnel
12   Countrywide’s public disclosures. KPMG also participated in Board Audit and
13   Ethics Committee meetings and discussed disclosures contained in each of the
14   earnings releases and the Form 10-K and Form 10-Q filings that it audited (for
15   Forms 10-K) or reviewed (for Forms 10-Q), and reviewed and commented on
16   drafts of the Company’s Forms 10-K and Forms 10-Q.
17           67.   As detailed herein, each Defendant was the “maker” of false and
18   misleading statements and omissions alleged herein, in that he or it had ultimate
19   authority over the statements or omissions, including their content and whether and
20   how to communicate them.
21   V.      FACTUAL BACKGROUND AND
             SUBSTANTIVE ALLEGATIONS
22
             A.    Countrywide’s Mortgage Business
23

24           68.   For many years, Countrywide was one of the largest mortgage lenders
25   in the United States. Co-founded in 1969 by Defendant Mozilo, Countrywide
26   originated, sold, and serviced both prime and subprime mortgage loans. By 2005,
27   Countrywide grew to become the largest mortgage lender in the United States,
28   originating nearly $500 billion in mortgage loans. During 2006, Countrywide

                                             28                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 46 of 439 Page ID #:46



 1   originated or serviced approximately 17% of all residential mortgages in the
 2   United States, billing itself as “America’s #1 Home Loan Lender.”
 3         69.   Historically, Countrywide’s primary business had been originating
 4   traditional long-term, fixed-rate, first-lien and fully documented mortgage loans to
 5   prime borrowers. These so-called “conforming loan” mortgages met the guidelines
 6   for sale to GSEs, Fannie Mae and Freddie Mac, and were traditionally limited to
 7   mortgage loans no greater than $417,000 for a single family residence.
 8   Conforming loans, if properly underwritten and serviced, historically were the
 9   most conservative loans in the residential mortgage industry, with the lowest rates
10   of delinquency and default.
11         70.   Countrywide managed its business through five business segments:
12   Mortgage Banking, Banking, Capital Markets, Insurance, and Global Operations.
13   The Mortgage Banking segment was responsible for originating, purchasing,
14   selling, and servicing residential mortgage loans.      The Banking segment, a
15   federally chartered banking institution, took deposits and invested in mortgage
16   loans (including HELOCs), the majority of which were originated by the Mortgage
17   Banking segment. The Capital Markets segment specialized in underwriting and
18   trading MBS.     The Insurance Segment provided property, casualty, life and
19   disability insurance as well as reinsurance coverage to primary mortgage insurers.
20   The Global Operations segment licensed software to overseas mortgage lenders
21   and performed certain overseas administrative and loan servicing functions.
22         71.   During the Relevant Period, Countrywide’s Mortgage Banking
23   segment was its core business.     For the years 2004 through 2007, Mortgage
24   Banking generated 65%, 59%, 48% and 50% of the Company’s pre-tax earnings,
25   respectively. The Mortgage Banking, Banking and Capital Markets segments,
26   collectively, consistently generated more than 90% of the Company’s pre-tax
27   earnings during the Relevant Period. The operations of the three segments were
28   interrelated, with the loan origination process feeding the other divisions.

                                             29                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 47 of 439 Page ID #:47



 1   Countrywide would originate home loans in the Mortgage Banking division, retain
 2   a portion of those loans on the Company’s balance sheet as investments, mostly in
 3   the Banking division, and, during the Relevant Period, securitize and sell off the
 4   remainder of the mortgages or mortgage-related rights and obligations to third
 5   parties through the Capital Markets division.
 6          72.       The majority of loans underwritten and originated by Countrywide
 7   during the Relevant Period were pooled and resold to investors in the secondary
 8   mortgage market, through either securitizations or whole loan sales.              In
 9   securitizations, Countrywide sold interests in the pooled loans, i.e., MBSs. 3    In
10   whole loan sales, Countrywide sold pools of loans to investors and recorded gains
11   on the sales. Countrywide also performed the ongoing servicing functions related
12   to most of the mortgage loans it originated. Loans held for investment appeared as
13   assets on Countrywide’s balance sheet.
14          73.       Mortgage loan securitizations and whole loans sales were vital to
15   Countrywide’s financial success. Unlike major banking institutions that could hold
16   significant assets on their balance sheets long term, Countrywide needed to engage
17   in mortgage loan securitizations and, to a lesser extent, whole loan sales so that it
18   could remove the mortgage loan assets and potential liabilities from its balance
19   sheet. Not only did Countrywide’s securitizations and whole loan sales generate
20   well over $1 billion in pre-tax earnings, but the sale of these loans purportedly
21   transferred the risk of the borrowers’ default from Countrywide’s balance sheet to
22   third parties.
23

24
     3
25      Mortgage securitization involves the conversion of illiquid whole loans into
     bond-like instruments that trade in capital markets. Mortgage loan “pass-through”
26
     securities entitle the investor to payments from pools of mortgage loans. Although
27   the structure and underlying collateral of each offering varies, the basic principle
     remains the same: when borrowers make payments on the underlying mortgages,
28
     the cash flow is pooled and “passed through” to investors.
                                               30                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 48 of 439 Page ID #:48



 1         74.   Countrywide had significant short- and long-term financing needs in
 2   order to run its operations. Short-term financing needs (such as the costs of
 3   warehousing loans pending sale to the secondary market, providing mortgage
 4   warehouse credit to others, and related to MBS trading activities) were generally
 5   met through unsecured commercial paper and medium-term notes, asset-backed
 6   commercial paper, revolving lines of credit, short-term repurchase agreements,
 7   unsecured subordinated debt, junior subordinated debt and deposit-gathering.
 8   Long-term financing needs (such as investments in mortgage loans, investments in
 9   mortgage servicing rights and interests the Company retained in securitizations,
10   and hedging activity for interest rate risk) were funded primarily by the profits
11   earned from secondary market sales. Indeed, Countrywide relied substantially on
12   the secondary mortgage market (its primary source of liquidity) as a source of
13   long-term capital to support its mortgage banking operations. According to Forms
14   10-K filed by Countrywide during the Relevant Period, Countrywide’s primary
15   business objective was to ensure “ongoing access to the secondary market by
16   producing high quality mortgages and servicing those mortgages at levels that meet
17   or exceed secondary mortgage market standards.”
18         B.    Countrywide’s Goal Of Market Dominance
19         75.   Beginning in mid-2003, Countrywide, led by Mozilo and Sambol,
20   became intent on dominating the residential home loan market.           During a
21   conference call with analysts on July 22, 2003, Mozilo stated that the Company’s
22   goal was “to dominate the purchase market and to get our overall market share to
23   the ultimate 30% by 2006, 2007.” Mozilo reiterated during a January 27, 2004
24   earnings call that Countrywide intended to have a 30% share of the United States
25   mortgage market by 2008 and that its goal was “market dominance.”
26         76.   To promote growth and increase its market share, Countrywide moved
27   away from its historical core business of prime mortgage underwriting to
28   aggressively matching loan programs being offered by other lenders, even

                                            31                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 49 of 439 Page ID #:49



 1   monoline subprime lenders. This elevation of quantity over quality represented a
 2   major change in the Company’s corporate culture.                      According to a
 3   February 23, 2008 article in The Wall Street Journal, tensions between Sambol,
 4   who was emerging as a major force within the Company, and Countrywide’s risk
 5   managers as to the best strategy to grow Countrywide’s business, “boiled over” at a
 6   meeting of dozens of executives in the Company’s headquarters in late 2003.
 7   According to the article, the conflicts regarding how to grow the business were
 8   resolved as Sambol succeeded in imposing a new Company-wide mandate to
 9   originate more “non-conforming” loans to increase loan production across the
10   board.
11            77.   When specifically asked, however, whether Countrywide’s growth
12   strategy would adversely affect loan quality, Mozilo repeatedly assured investors
13   that there would be no compromise in loan quality. On July 22, 2003, Mozilo
14   assured the market:
15            Going for 30% mortgage share here is totally unrelated to quality of
16            loans we go after . . . . There will be no compromise by this company
17            in the overall quality of the product line . . . which manifests itself in
18            delinquencies and foreclosures. There will be no compromise in that
19            as we grow market share. Nor is there a necessity to do that.
20            78.   When Mozilo was asked during a March 15, 2005 analyst conference
21   sponsored by Piper Jaffray (“March 15, 2005 Conference”) how confident he was
22   that his goal of attaining a 30% market share was achievable, Mozilo reaffirmed
23   that “our objective is to dominate our industry” but assured the market: “I will say
24   this to you, that under no circumstances will Countrywide ever sacrifice sound
25   lending and margins for the sake of getting to that 30% market share.”
26            79.   Countrywide’s drive for growth worked. As discussed during an
27   internal Countrywide Credit Risk Committee meeting, the minutes of which were
28   publicly filed in the SEC Action and examined by Plaintiffs’ counsel, by

                                                 32                                COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 50 of 439 Page ID #:50



 1   April 2005, Countrywide was the “Market Leader” in four categories of subprime
 2   lending, and “Middle Market” in the remaining two categories. A March 2008
 3   Federal Reserve Bank of New York research paper entitled “Understanding the
 4   Securitization of Subprime Mortgage Credit,” identifies Countrywide as the third
 5   highest subprime loan originator, and the highest originator of subprime mortgage-
 6   backed securities, for 2006. Indeed, at its height, Countrywide had approximately
 7   $200 billion in assets, 62,000 employees, and issued in excess of $400 billion in
 8   residential mortgages each year. According to an October 24, 2007 The Wall Street
 9   Journal exposé, Countrywide originated over $490 billion in mortgage loans in
10   2005, over $450 billion in 2006, and over $408 billion in 2007. Countrywide
11   recognized pre-tax earnings of $2.4 billion and $2 billion in its loan production
12   divisions in 2005 and 2006, respectively. In 2005, Countrywide reported $451.6
13   million in pre-tax earnings from Capital Markets sales, representing 10.9% of its
14   pre-tax earnings; in 2006, it recognized $553.5 million in pre-tax earnings from
15   that division, representing 12.8% of its pre-tax earnings.
16         80.    In its 2006 annual report, Countrywide disclosed the fact that,
17   “[w]hile the overall residential loan production market in the United States has
18   tripled in size since 2000, from $1.0 trillion to $2.9 trillion at the end of 2006,
19   Countrywide has grown nearly three times faster, going from $62 billion in loan
20   originations in 2000 to $463 billion in 2006.”
21         81.    By increasing its origination of non-conforming and subprime loans
22   and diminishing and abandoning its underwriting standards between 2003 and
23   2006, Countrywide was able to originate many more loans in those years and
24   increase its market share, even as the U.S. residential real estate market leveled-off
25   and then declined.
26         82.    While Countrywide boasted to investors that its market share was
27   increasing, Company executives concealed that its market share increase came at
28   the expense of prudent underwriting guidelines. As a result, Countrywide’s share

                                              33                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 51 of 439 Page ID #:51



 1   price rose from $25.28 on December 31, 2003, to a high of $45.03 on February 2,
 2   2007, the same day that Mozilo amended his trading plan to add 1.28 million
 3   shares, and just five months before Countrywide publicly disclosed for the first
 4   time on July 24, 2007, that Countrywide had been employing a secret standard for
 5   classifying loans as subprime that differed materially from the accepted industry
 6   standard.
 7         C.    Countrywide’s Undisclosed Abandonment
 8
                 Of Prudent Underwriting Standards

 9               1.     Countrywide, And Mozilo In
                        Particular, Regularly Highlighted
10
                        The Company’s Superior And
11                      Disciplined Underwriting Standards
                        That Purportedly Generated Quality Loans
12

13         83.   Countrywide consistently assured investors during the Relevant
14   Period that the Company managed mortgage credit risk through rigorous standards
15   for origination, underwriting, and ongoing surveillance of high quality loans.
16   Countrywide also represented in SEC filings that the Company had a credit policy
17   that established standards for the determination of acceptable credit risks.
18   Countrywide portrayed its underwriting process as tightly controlled and
19   supervised, and “designed to produce high quality loans” through careful pre-loan
20   screening and post-loan auditing, appraisal and underwriting reviews.
21         84.   In particular, Countrywide’s Forms 10-K disclosed the Company’s
22   “proprietary underwriting systems in our loan origination process that improve the
23   consistency of underwriting standards, assess collateral adequacy and help to
24   prevent fraud, while at the same time increasing productivity.” In these public
25   filings, Countrywide also described an “extensive post-funding quality control
26   process” involving “comprehensive loan audits that consist of a re-verification of
27   loan documentation, an in-depth underwriting and appraisal review, and if
28   necessary, a fraud investigation.” This post-funding quality control process further

                                             34                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 52 of 439 Page ID #:52



 1   involved a “pre- and post-funding proprietary loan performance evaluation system”
 2   that “identifies fraud and poor performance of individuals and business entities
 3   associated with the origination of our loans.” According to Countrywide, “[t]he
 4   combination of this system and our audit results allows us to evaluate and measure
 5   adherence to prescribed underwriting guidelines with laws and regulations.”
 6         85.   Countrywide’s internal guidelines also confirmed the Company’s
 7   stated policy of originating “quality” loans. The guidelines, which have been
 8   produced by Countrywide in the SEC Action and examined by Plaintiffs’ counsel,
 9   stated at the beginning that it was the Company’s policy and underwriting
10   philosophy to originate “investment quality loans.”        The guidelines explicitly
11   defined an “investment quality loan” as “one that is made to a borrower from
12   whom timely payment of the debt can be expected, is adequately secured by real
13   property, and is originated in accordance with Countrywide’s Technical Manual
14   and Loan Program Guidelines.” For manually underwritten loans, the “guidelines”
15   similarly stated that it was the Company’s policy “to originate, purchase, and
16   deliver investment quality mortgages,” and explicitly defined “investment quality
17   mortgage” as “a mortgage loan that is made to a borrower from whom timely
18   payment of the debt can be expected, is adequately secured by real property, and is
19   originated in accordance with requirements of the purchase documents.”
20         86.   While Countrywide was rapidly developing its portfolio of HELOCs,
21   Pay-Option ARMs and other high-risk loans, Mozilo repeatedly emphasized the
22   Company’s purportedly superior underwriting skills to the market. When asked,
23   for example, about the inherent risks of originating alternative mortgage products
24   during an April 21, 2004 conference call (“April 21, 2004 Conference Call”),
25   Mozilo responded:
26         Sub-prime cannot be looked at generically. There is very, very good
27         solid subprime business and there is this frothy business that you
28         [refer] to . . . . [Y]ou can get so deep into this marginal credit that you

                                               35                                COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 53 of 439 Page ID #:53



 1         can have serious problems where you are taking 400 FICOs with no
 2         documentation; that is dangerous stuff.       So [I] think it is very
 3         important that you understand the disciplines that the Company
 4         had, particularly that Countrywide has, which are very strong
 5         disciplines in the origination of sub-prime loans. And maintaining
 6         that discipline is critically important to u s . . . . When you look at
 7         sub-prime, you have to look at it in various tranches, and we are at the
 8         high end of that tranche.
 9         87.    During the same conference call, an analyst asked whether
10   management was “comfortable” that subprime lending was a “long-term, profitable
11   business” given a number of large lenders’ recent exits from the industry. Mozilo
12   responded:
13         [W]e have successfully managed this product for years. And so I
14         think using what our competitors do as a barometer will put you
15         down the wrong path. We are a very different focused company that
16         understands this product very well, how to originate it, how to
17         manage it, how to underwrite, how to service it. And so we look
18         at . . . this sub-prime business as . . . one that has to be carefully
19         manage[d], but one that has a tremendous opportunity for us long into
20         the future, certainly through the balance of this decade and beyond.
21         88.    Similarly, Mozilo distinguished Countrywide from the rest of the
22   industry during the March 15, 2005 Conference, stating:
23         I’m deeply concerned about credit quality in the overall industry. I
24         think that the amount of capacity that’s been developed for
25         subprime is much greater than the quality of subprime loans
26         available. And so they’UH SXVKLQJ IXUWKHU GRZQ í DV , REVHUYH LW
27         they’re pushing further down the credit chain into the 500 FICOs and
28         below 550, 540, 530. And as you get down to those levels, it becomes

                                             36                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 54 of 439 Page ID #:54



 1         very problematic and I don’t think there’s any amount of money you
 2         can charge upfront to cover your losses on those type of loans.
 3         So I’m deeply concerned about everybody going into subprime. As I
 4         have said very often, there’s an old Yiddish expression that says when
 5         everybody goes to the same side of the boat, the boat tends to tip over.
 6         $QG ZH DUH í D ORW RI SHRSOH DUH JRLQJ WR WKH VDPH VLGH RI WKH ERDW
 7         So we’ve had to remain very disciplined in our subprime efforts. . . .
 8         So I have to separate it.        The overall industry I am troubled;
 9         Countrywide I’m not, because we have remained very disciplined in
10         our origination of subprime loans.
11         89.    Moreover, during a conference call with analysts on July 26, 2005
12   (“July 26, 2005 Conference Call”), Mozilo and Stanford L. Kurland (“Kurland”),
13   Countrywide’s former President, were asked to comment on a The Wall Street
14   Journal article reporting that lenders were loosening underwriting standards.
15   Mozilo reassured, however, that: “I’m not aware of any loosening of underwriting
16   standards that creates a less of a quality loan than we did in the past.”
17         90.    When asked during the Company’s July 26, 2005 Conference Call
18   whether “credit quality in the nonprime mortgage sector” was stable or worsening,
19   Mozilo confidently replied:
20         I think it’s stable. . . . I do participate every day in originations myself, and
21         it keeps me apprised of what’s happening. I think that that situation has
22         stabilized. I don’t see any deterioration in the quality of those loans being
23         originated.
24         91.    Other senior Countrywide officers reiterated that Countrywide had not
25   strayed from its underwriting standards, and would not do so in the future. For
26   example, in an April 2005 conference call with analysts, Mozilo responded to a
27   question about whether Countrywide had changed its underwriting protocols: “I
28   think [FICO scores, combined loan-to-value ratios, and debt-to-income ratios] will

                                               37                                COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 55 of 439 Page ID #:55



 1   remain . . . consistent with the first quarter and most of what we did in 2004. We
 2   don’t see any change in our protocol relative to the quality of loans that we’ll be
 3   originating.”
 4         92.     To further convince investors that Countrywide’s concerted shift
 5   toward riskier mortgage products would remain a relatively safe proposition, the
 6   Company stated publicly that it minimized credit risk by selling most of the loans
 7   it originated “and by retaining high credit quality mortgages in our loan
 8   portfolio.”
 9         93.     Each of these statements was false. In truth, as Mozilo and the Officer
10   Defendants were well aware, Countrywide had in fact abandoned any “discipline”
11   in the Company’s “subprime efforts” and was “pushing further down the credit
12   chain.”
13         94.     Indeed, in a September 1, 2004, email produced by Countrywide in
14   the SEC Action and examined by Plaintiffs’ counsel, Mozilo wrote to
15   Countrywide’s then Chief Credit Risk Officer:
16         As I look at production trends, not only at Countrywide, but also at
17         other lenders, there is a clear deterioration in the credit quality of
18         loans being originated over the past several years. In addition, from
19         my point of view, the trend is getting worse as the competition for
20         sub-prime, Alt-A and nonconforming in general continues to
21         accelerate.
22         95.     Mozilo further predicted in the same email that “the type of loans
23   currently being originated combined with the unprecedented stretching of all
24   aspects of credit standards could cause a bump in the road that could bring with it
25   catastrophic consequences.”        Consequently, Mozilo recommended that the
26   Company “seriously consider securitizing and selling . . . a substantial portion of
27   our current and future sub prime residuals.”
28

                                              38                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 56 of 439 Page ID #:56



 1         96.       Countrywide’s Risk Management department continuously had
 2   discussions with Countrywide’s loan production division, which reported to
 3   Sambol, about the credit concerns identified in September 2004. In fact, Risk
 4   Management conducted studies to identify relationships among certain credit
 5   variables and their effect upon the probability that a loan would go into serious
 6   delinquency or default. One finding of these studies, the results of which were
 7   shared with Sambol and Sieracki (and made public in SEC Action and reviewed by
 8   Plaintiffs’ counsel), was that the less documentation associated with a loan, the
 9   higher the probability of default.      Nevertheless, during the Relevant Period,
10   Countrywide continued to produce low and no documentation loans, expand its
11   underwriting guidelines, engage in various practices to evade those guidelines, and
12   systematically make exceptions to those guidelines. These facts were not disclosed
13   to investors.
14         97.       Risk Management alerted the Officer Defendants to the increases in
15   the Company’s credit risk. For example, at an April 6, 2005 meeting of the
16   Corporate Credit Risk Committee attended by Sambol, the minutes of which were
17   produced by KPMG and publicly filed in the SEC Action and reviewed by
18   Plaintiffs’ counsel, CRO McMurray reported that Countrywide’s non-conforming
19   loans originated in May 2002 were twice as likely to default as loans originated in
20   January 2000, and the risk of home equity lines of credit defaulting had doubled
21   over the past year, mainly due to the prevalence of reduced documentation in those
22   loans. McMurray also expressly reviewed a list of “exposures associated with
23   stated income loans,” and Rod Williams informed the participants that there is “not
24   an audit step” to address reduced documentation loans. The minutes further reveal
25   that the participants further discussed that “[t]he subprime product line continues to
26   expand and John McMurray noted that Countrywide is now a Market Leader on
27   four of the categories and Middle Market on the remaining two categories. At the
28

                                              39                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 57 of 439 Page ID #:57



 1   December meeting, Countrywide was Market Leader on two and Middle Market
 2   on four of the categories.”
 3         98.     Sambol and Sieracki also learned of the risks associated with the
 4   Company’s aggressive guideline expansion in meetings of other Company
 5   committees.    For example, Sieracki was a member of the asset and liability
 6   committee, and Sambol attended certain of its meetings. If a proposed guideline
 7   expansion had a modeled expected default rate in excess of 8%, the proposal had to
 8   be submitted to this committee for approval.           All proposed expansions to
 9   Countrywide’s subprime menu from late 2005 through 2006 presented an expected
10   default rate in excess of 8% and required approval of that committee. In June
11   2005, Sambol and McMurray exchanged emails (later made public in the SEC
12   Action and examined by Plaintiffs’ counsel), regarding the impact of
13   Countrywide’s underwriting guideline expansion. In that exchange, McMurray
14   admitted that “as a consequence of [Countrywide’s] strategy to have the widest
15   product line in the industry, we are clearly out on the ‘frontier’ in many areas.”
16   McMurray went on to note that the frontier had “high expected default rates and
17   losses.”
18         99.     Thus, contrary to Mozilo’s ringing public assurances, Countrywide
19   was indeed “sacrificing sound lending and margins for the sake of getting to that
20   30 percent market share.” Further, Mozilo and the Officer Defendants, contrary to
21   Mozilo’s statements, were “fully aware” of the Company’s “loosening of
22   underwriting standards” that created much lower quality loans than in the past.
23         100. Indeed, in an internal document disclosed in the SEC Action and
24   reviewed by Plaintiffs’ counsel titled “Areas of Concern – ‘Wall of Worries,’”
25   discussed during a February 13, 2007 Credit Risk Committee meeting,
26   unbeknownst to investors, one of the Credit Risk Committee’s “areas of concern”
27   was Countrywide’s “loan quality,” including “increased fraud,” “exception
28   underwriting,” “guideline drift,” “attribute deterioration,” and “appraisal quality.”

                                               40                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 58 of 439 Page ID #:58



 1         101. Moreover, in November 2007, Countrywide prepared a “lessons
 2   learned” analysis (produced and deemed admissible in the SEC Action over
 3   Defendants’ objections, and reviewed by Plaintiffs’ counsel).          This analysis
 4   included key observations from interviews of Countrywide’s employees and
 5   culminated in an internal presentation. In this analysis, Countrywide repeatedly
 6   admits that it was wholly focused on market share, including, for example:
 7            x “We were driven by market share, and wouldn’t say ‘no’ (to
 8                 guideline expansion).”
 9            x “Market share, size and dominance were driving themes . . . .
10                 Created huge upside in good times, but challenges in today’s
11                 environment.”
12            x “The focus of production was volume and margin, not credit risk.
13                 There was also massive emphasis on share.”
14                 2.    Countrywide Approved Virtually
                         Every Loan Without Regard To Risk
15

16         102. At the direction of the Officer Defendants in 2003, Countrywide
17   pursued a lending campaign that was characterized by chronic failures in standard
18   appraisal, underwriting and credit qualification practices.        Unbeknownst to
19   Countrywide’s investors, including Plaintiffs, from mid-2003 onward, concurrent
20   with the Company’s mission to achieve a 30% market share, Countrywide
21   continually loosened, ignored, and effectively abandoned its underwriting
22   guidelines.
23         103. While the Officer Defendants consistently hyped the Company’s
24   underwriting and credit qualification processes, the truth was that Countrywide had
25   actually lowered the Company’s FICO requirements and eased other qualifying
26   criteria to facilitate the approval of huge volumes of loans, regardless of the credit
27   quality of the loans or the magnitude of “exceptions” from the underwriting
28   standards that would need to be granted in order to fund the loans. Countrywide

                                              41                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 59 of 439 Page ID #:59



 1   and the Officer Defendants in fact were well aware that Countrywide had
 2   abandoned any discipline in these processes and had chosen quantity over quality
 3   in their quest to become the nation’s largest home lender. In pursuit of a dominant
 4   share of the market, unbeknownst to investors, Countrywide engaged in numerous
 5   practices that were directly contrary to its claims to prudent underwriting practices
 6   designed to produce high quality loans.       First, Countrywide had a matching
 7   strategy which instructed its loan production divisions to meet the guidelines of
 8   any competitor in the market, without applying that competitor’s credit risk
 9   mitigants. Second, in practice, Countrywide’s only criteria for producing a loan
10   was whether the loan could be sold into the secondary market. Third, as a result of
11   Countrywide’s “Make Every Loan” strategy, Countrywide issued a remarkably
12   high number of exception loans effectively ignoring and abandoning the
13   Company’s official underwriting standards and without regard to other
14   compensating factors.
15         104. Defendants also knew that Countrywide executives firmly believed
16   that Countrywide should include greater credit risk disclosures in its SEC filings.
17   Indeed, at least as early as March 2005, Countrywide’s Executive Vice President
18   Credit Risk Management, Christian Ingerslev (“Ingerslev”), advocated for
19   increased disclosures. According to a March 7, 2005 email produced in the SEC
20   Action and examined by Plaintiffs’ counsel, Ingerslev stated the following to
21   McMurray: “it’s frustrating to try and hold the line and then just be overridden
22   with whining and escalations, just reinforces that sales can have anything they
23   want if they yell loud enough to drew . . . [I] think we should start some regular
24   reporting of loans outside of guidelines, volume, % of business, and
25   delinquencies.”
26         105. In addition, during 2006, McMurray and Countrywide’s former
27   Managing Director of Financial Reporting, Gregory Hendry (“Hendry”), discussed
28   by email possible policy changes to Countrywide’s disclosures of credit risk

                                              42                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 60 of 439 Page ID #:60



 1   management. In response to Hendry’s email (produced in the SEC Action and
 2   examined by Plaintiffs’ counsel) stating that Hendry was in the process of drafting
 3   “more robust disclosures,” McMurray wrote “I’m a huge advocate of expanding
 4   our disclosures in this area, including adding information to the Qs ahead of the K .
 5   . . . In the meantime, can we please ‘beef up’ our disclosures in the following
 6   areas?” McMurray’s list included “house prices” and “credit guidelines.”
 7         106. The lack of control over risk was so great during the course of 2006
 8   that it led McMurray to indicate he would be submitting his resignation. On
 9   November 3, 2006, he wrote in an email (produced in the SEC Action and
10   examined by Plaintiffs’ counsel) to Countrywide’s Chief Information Officer
11   (“CIO”), Kevin Bartlett (“Bartlett”), that “I will be resigning my position.” Hand-
12   written notes on that email recount a subsequent discussion McMurray then had
13   with Sambol and Bartlett in which he notes his concern for “personal risk” and that
14   he did “not want to be blamed for products, guidelines, etc. that I never advocated
15   and often recommended again[st].               Concern about inadequate controls,
16   infrastructure, etc.” The notes further document McMurray’s “concerns about
17   company’s risk philosophy, Discussed ‘can’t say no’ culture, pressure from
18   matching and no brokering policies.”
19         107. In addition, handwritten notes (produced and deemed admissible over
20   Defendants’ objection in the SEC Action and examined by Plaintiffs’ counsel)
21   reveal that Sambol “slashed” some of McMurray’s proposed revisions to the credit
22   disclosures in the 2006 Form 10-K, especially those disclosures regarding
23   “widened guidelines for affordability.”
24         108. In August 2007, McMurray again suggested revisions to the
25   Company’s SEC filings – this time the Form 10-Q for the second quarter of 2007.
26   As admitted by Hendry, Countrywide’s former Managing Director of Financial
27   Reporting, during his July 26, 2010 deposition in the SEC Action (a partial
28   transcript of which was filed in the SEC Action and examined by Plaintiffs’

                                               43                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 61 of 439 Page ID #:61



 1   counsel), Hendry exchanged emails with McMurray in August 2007 wherein
 2   McMurray requested that Hendry include information in the prospective trends
 3   section of the Form 10-Q that would disclose the Company’s widened underwriting
 4   guidelines. Hendry admitted in his deposition that, in response, he wrote back to
 5   McMurray, stating that he did not make McMurray’s requested changes because he
 6   expected McMurray’s requested changes would be “trumped” by certain reviewers,
 7   including Sambol. Hendry’s August 7, 2007 email informing McMurray that he
 8   rejected his additional disclosures (produced in the SEC Action and examined by
 9   Plaintiffs’ counsel) ends with “P.S. Please discard this document once you are done
10   looking at it.”
11         109. As admitted by Sieracki during his July 30, 2010 deposition in the
12   SEC Action (a partial transcript of which was filed in the SEC Action and
13   examined by Plaintiffs’ counsel), Sieracki knew that when McMurray’s requested
14   disclosures were rejected, McMurray submitted an “addendum” to his second
15   quarter 2007 Form 10-Q Sarbanes-Oxley certification. The addendum, however,
16   was not included with the Form 10-Q filed with the SEC.
17                      a)     Countrywide’s “Matching Strategy”
18         110. A key driver of Countrywide’s aggressive expansion of its
19   underwriting guidelines was its “matching strategy,” also known as the
20   “supermarket strategy.”   The strategy committed Countrywide to offering any
21   product and/or underwriting guideline available from at least one “competitor,”
22   which included purely subprime lenders such as New Century and First Franklin,
23   even if that product or policy violated Countrywide’s stated underwriting
24   guidelines. Countrywide’s liberal use of any competitor’s “composite guideline”
25   made Countrywide’s loan origination practices “the most aggressive in the
26   industry.” Countrywide’s matching strategy was not limited to one single loan
27   product, or limited to subprime loans.
28

                                              44                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 62 of 439 Page ID #:62



 1         111. If Countrywide did not offer a product offered by a competitor,
 2   Countrywide’s production division invoked the matching strategy to add the
 3   product to Countrywide’s menu. For example, if Countrywide’s minimum FICO
 4   score for a product was 600, but a competitor’s minimum score was 560, the
 5   production division invoked the matching strategy to reduce the minimum required
 6   FICO score at Countrywide to 560.
 7         112. Unbeknownst to investors, Countrywide’s matching strategy allowed
 8   the Company’s loan production divisions to meet the guidelines of any competitor
 9   in the market, without applying that competitor’s credit risk mitigants. As a
10   result, Countrywide’s underwriting guidelines were a composite of the most
11   aggressive guidelines in the market.
12         113. Indeed, in 2005, 2006 and 2007, CRO McMurray repeatedly
13   internally expressed his concern over the potential impact of the “matching
14   strategy.” In a June 14, 2005 email publicly disclosed in the SEC Action and
15   examined by Plaintiffs’ counsel, McMurray warned Defendant Sambol and several
16   other Countrywide managing directors that:
17         As a consequence of CW’s strategy to have the widest product line in
18         the industry, we are clearly out on the ‘frontier’ in many areas.
19         While I’m sure you already know this, I think we should be very
20         deliberate since the outer boundaries are potentially controversial
21         and have high expected default rates and losses.
22         114. Ten days later, on June 24, 2005, McMurray sent another email to
23   Sambol and other managing directors, also publicly disclosed in the SEC Action
24   and examined by Plaintiffs’ counsel, expressing his strong reservations regarding
25   Countrywide’s practice of matching the “outer boundaries” of any competitor’s
26   most aggressive mortgage loan offerings, a practice which he noted was a “crucial
27   component of [Countrywide’s] corporate strategy.”        McMurray explained that,
28   “because the matching process includes comparisons to a variety of lenders, our

                                            45                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 63 of 439 Page ID #:63



 1   [guidelines] will be a composite of the outer boundaries across multiple lenders,”
 2   and that because comparisons are only made to competitor guidelines where they
 3   are more aggressive (e.g., high LTV/CLTV) and not used where they are less
 4   aggressive (e.g., stated doc loans), Countrywide’s “composite guides are likely
 5   among the most aggressive in the industry.” McMurray pointed out additional
 6   flaws in the matching strategy, such as Countrywide’s institutional inability to
 7   match other lender’s credit risk mitigants, i.e., even if Countrywide was inclined to
 8   do so.   McMurray concluded the email, which he sent to Sambol in several
 9   iterations, by cautioning that while he understood that the matching strategy was a
10   crucial component of Countrywide’s corporate strategy, at the same time, he
11   “wanted to be sure” management understood the extent of the strategy’s risk from a
12   credit perspective.
13         115. According to a November 2, 2006 email, also publicly disclosed in the
14   SEC Action and examined by Plaintiffs’ counsel, that was forwarded to Sambol,
15   McMurray informed Countrywide’s CIO, Bartlett, that the matching strategy had
16   caused Countrywide to cede its underwriting standards to the most aggressive
17   lenders in the market:
18         With this approach, our credit policy is ceded, on both a product-by-
19         product as well as item-by-item basis, to the most aggressive lenders
20         in the market. Do we want to effectively cede our policy and is this
21         approach ‘saleable’ from a risk perspective to those constituents who
22         may worry about our risk profile?
23         116. Shortly thereafter, McMurray sent a January 2, 2007 email to Seriacki
24   and other Countrywide managing directors, produced by Countrywide in the SEC
25   Action and examined by Plaintiffs’ counsel, containing a five-page outline why
26   delinquencies will increase and the impact this increase will have on
27   Countrywide’s financial results, specifying “widened guidelines” as one of the
28

                                               46                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 64 of 439 Page ID #:64



 1   principal reasons.4 McMurray forwarded the email later that day to others in
 2   Countrywide, including several accounting personnel, and confirmed that the
 3   outline was put together for Sieracki who in turned shared the outline with Sambol.
 4         117. McMurray testified in his deposition in the SEC Action (a partial
 5   transcript of which was reviewed by Plaintiffs’ counsel) that the matching strategy
 6   at Countrywide was a “corporate principle and practice that had a profound effect
 7   on credit policy” at Countrywide.      McMurray explained why Countrywide’s
 8   “matching strategy” ensured that Countrywide was the most aggressive originator
 9   in the market: “And so . . . if you match one lender on – on one – on certain
10   guidelines or for certain products and then you match a separate lender on a
11   different product or a different set of guidelines, then in my view the composite of
12   that – of that two-step match would be more – would be more aggressive than
13   either one of those competitor reference points viewed in isolation.” McMurray
14   repeatedly explained his view and the risks of the “matching strategy” to others
15   within Countrywide, including Defendant Sambol, but these concerns were
16   ignored.
17         118. Countrywide never disclosed to Plaintiffs or other investors that it had
18   a matching strategy that caused it to cede its credit policy to the most aggressive
19   lenders in the market. 5 Defendants knew – but failed to disclose – that the quality
20

21

22   4
        McMurray’s January 2, 2007 outline also addresses in detail the impact of
23   increased delinquencies on various aspects of Countrywide’s business (including
     both loans held for sale and loans held for investment), and includes various
24
     accounting considerations such as the setting of various types of loss reserves and
25   the adequacy of those reserves, and the valuation of the Company’s mortgage
     servicing rights.
26
     5
        As discussed below, although Countrywide arguably disclosed that they had a
27
     policy of “matching” competitors’ loan offerings, it never publicly disclosed that
28   the match was in fact a more aggressive iteration of competitors’ guidelines and
     that Countrywide disregarded the competitor’s credit risk mitigants. Without
                                             47                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 65 of 439 Page ID #:65



 1   of loans originated by Countrywide was deteriorating, and would continue to
 2   worsen. Indeed, a February 11, 2007 email from McMurray to Sambol (produced
 3   in the SEC Action and examined by Plaintiffs’ counsel) confirms that this strategy
 4   was not disclosed to anyone outside Countrywide:
 5         I doubt this approach would play well with regulators, investors,
 6         rating agencies etc. To some, this approach might seem like we’ve
 7         simply ceded our risk standards and balance sheet to whoever has
 8         the most liberal guidelines.
 9         119. In short, Defendants knew that the Company’s widened guidelines and
10   matching strategy increased the risk of defaults and delinquencies, yet
11   Countrywide’s periodic filings and other public statements concealed the
12   unprecedented expansion of underwriting guidelines and the attendant increased
13   credit risk. Indeed, Mozilo would later admit in his deposition testimony in the
14   SEC Action that it’s a “dangerous game to play” to match other companies’
15   underwriting guidelines.
16         120. Information that Countrywide was actually the most aggressive
17   lender in the industry would have been extremely material to analysts, Plaintiffs
18   and other investors. As Stifel, Nicolaus & Co., Inc. (“Stifel Nicolaus”) analyst
19   Brendler testified in the SEC Action, disclosure of the “matching strategy” “would
20   have been a very disturbing disclosure” because “to know that [Countrywide was]
21   basically seeking out the most aggressive policies and underwriting guidelines of
22   [its] competitors without consideration for other factors” meant that Countrywide
23   was “essentially creating a worst of the worst.”
24                      b)      Countrywide’s Loosened Underwriting
25         121. Between 2003 and 2006, Countrywide’s credit risk management
26

27
     understanding the true reach of the matching strategy, it was impossible to
28
     understand Countrywide’s true underwriting.
                                              48                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 66 of 439 Page ID #:66



 1   department (“Risk Management”) spent a significant amount of its time processing
 2   requests for expansions of the Company’s underwriting guidelines.
 3         122. Countrywide’s underwriting policy was based on the principle that no
 4   borrower should be turned away without at least four attempts to underwrite the
 5   loan. Loan applications were originally processed by an automated underwriting
 6   system known as “CLUES” (Countrywide Loan Underwriting Expert System).
 7   The CLUES system applied the principles and variables set forth in the
 8   Countrywide underwriting manuals and its loan program guide. CLUES applied a
 9   device known as the “underwriting scorecard,” which assessed borrower credit
10   quality by analyzing several variables, such as FICO scores, loan to value ratios,
11   documentation type (e.g., full, reduced, stated) and debt-to-income ratios. These
12   variables were weighted differently within the scorecard, depending upon their
13   perceived strength in predicting credit performance.      In underwriting a loan,
14   Countrywide loan officers entered an applicant’s information into CLUES, which
15   would (1) approve the loan; (2) approve the loan with caveats; or (3) “refer” the
16   loan to a loan officer for further consideration and/or manual underwriting. Thus,
17   the only possible results from automatic underwriting were an “accept” or a
18   “refer.”
19         123. The CLUES program regularly “referred” loans even if a requirement
20   of Countrywide’s guidelines had not been met or if CLUES calculated that the loan
21   presented an excessive layering of risk. Referred loans went to a loan officer for
22   further consideration or manual underwriting in the “Exception Processing
23   System” (“EPS”) “because it busted one or more of the program guidelines or
24   because of these red flags,” according to CRO McMurray. If the loan officer could
25   not rectify the problems and approve the loan in accordance with Countrywide’s
26   stated underwriting guidelines or some limited exceptions, the loan officer did not
27   reject the application. Rather, he or she would request an “exception” from the
28   guidelines from more senior underwriters at Countrywide’s loan production

                                             49                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 67 of 439 Page ID #:67



 1   structured lending desks (“Production SLD”), otherwise known as “the exception
 2   desk,” where yet another underwriter, with even more authority to waive guideline
 3   requirements, attempted to make the loan. If that attempt to make the loan failed,
 4   the loan was referred to Countrywide’s Secondary Markets Structured Lending
 5   Desk (“Secondary Markets SLD”), where no attempt was made to underwrite the
 6   loan at all, and the sole criteria for approving the loan was whether Secondary
 7   Marketing could sell the loan.
 8         124. In this third tier – implemented in early 2005 specifically to approve
 9   last-ditch exceptions to create the maximum amount of MBS – any loan
10   application would be approved as long as it met a single criteria: Could the loan be
11   completely resold in the secondary markets such that Countrywide could transfer
12   all of the risk? If the answer was yes, the loan would be approved, regardless of its
13   quality and the fact that it did not meet Countrywide’s underwriting guidelines.
14   Consequently, Countrywide’s underwriting system did not encourage prudent
15   underwriting and engender adherence to the Company’s stated underwriting
16   standards, but rather encouraged and facilitated the systematic abuse of
17   “exceptions” to avoid the Company’s stated underwriting guidelines.
18         125. Defendant Sambol summarized the theory behind the Secondary
19   Markets SLD in a February 13, 2005 email explaining that Countrywide “should
20   be willing to price virtually any loan that we reasonably believe we can
21   sell/securitize without losing money, even if other lenders can’t or won’t do the
22   deal.” In contrast to his public statements, as far back as September 1, 2004,
23   Mozilo circulated an email, produced by Countrywide in the SEC Action and
24   examined by Plaintiffs’ counsel, expressing concern over the “clear deterioration in
25   the credit quality of loans being originated over the past several years” and his
26   opinion that “the trend is getting worse.” In reaction to the worsening trend,
27   Mozilo stated that Countrywide should “seriously consider securitizing and
28

                                              50                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 68 of 439 Page ID #:68



 1   selling (NIMS) a substantial portion of our current and future sub prime
 2   residuals.”
 3         126. Before July 2005, the Secondary Markets SLD approved any loan
 4   which it believed could be resold and securitized, as long as that loan was a 30-
 5   year fixed rate mortgage or an 80/20 ARM. This changed in the summer of 2005.
 6   In a July 28, 2005 email sent by David Spector (“Spector”), Vice President, to
 7   Countrywide’s Managing Directors and Secondary Markets senior executives, that
 8   was produced by Countrywide in the SEC Action and examined by Plaintiffs’
 9   counsel, Spector stated that, as a result of “increased demand from Production for
10   exceptions on all products in general and on Pay Option loans in particular,” he
11   wanted to update them on “the changes we will be implementing going forward”:
12         As indicated in a previous note, when we first started the SLD, the
13         intent was to be able to offer at least one option for borrowers who
14         wanted exceptions to our underwriting guides. The thought was that
15         we would offer borrower exceptions in our two major loan programs:
16         30-year fixed rate and 5/1 ARMs. In addition, both of these programs
17         were set up for Alt A and as such we could price and sell under these
18         programs. While this process seemed to have worked well in the
19         past, we have been recently seeing increased demand from
20         Production for exceptions on all products in general and Pay Option
21         loans in particular.     In addition, Production has been expressing
22         frustration that we were only offering major exceptions for 5/1 ARMs
23         and 30-year fixed rates. As such, to the widest extent possible, we are
24         going to start allowing exceptions on all requests, regardless of loan
25         programs, for loans less than $3 million effective immediately.
26         The pricing methodology we will use will be similar to that which we
27         use for 30-year fixed rates and 5-1 Hybrids.         We will assume
28         securitization in all cases.

                                             51                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 69 of 439 Page ID #:69



 1                                          ***
 2         The methodology from a saleability point of view will also be similar
 3         to that used for 30-year fixed rates and 5-1 Hybrids. We will view the
 4         exception assuming securitization and will no longer take into account
 5         whole loan buyers. In the past, this has caused some exceptions to be
 6         declined for Ratios, Balances and LTV/CLTV combinations.
 7         Provided we can sell all of the credit risk (i.e. not be forced to retain
 8         a first loss piece due to a 80% LTV, 60 Back-end ratios $3 million
 9         loan) we will approve the loan as a salable loan. Finally, we will not
10         be reviewing loans from an underwriting point of view but will rather
11         be relying on Production to make certain that the loan [sic] meet all
12         other underwriting Guideline and well [sic] have been reviewed for
13         compliance acceptability and fraud.
14         127. Other internal documents confirm that Defendants knew that
15   Countrywide was granting exceptions “even more aggressive than our guidelines”
16   (May 22, 2005 email from McMurray to Sambol, produced in the SEC Action and
17   reviewed by Plaintiffs’ counsel), and that they understood that Countrywide
18   “appear[ed] to have unacceptable risk on [its] balance sheet” (Corporate Credit
19   Risk Committee Final Minutes June 28, 2005, produced by KPMG in the SEC
20   Action and reviewed by Plaintiffs’ counsel). In addition, McMurray reported that
21   “FNMA and FHLMC request repurchases on 14% and 22% of foreclosures,
22   respectively,” thus confirming that even in the lower-risk conventional conforming
23   market segment, Countrywide knew it had exposure to representation and warranty
24   breaches as early as 2005, long before housing market deterioration began.
25         128. Joshua Adler, a Secondary Markets Managing Director, confirmed in
26   an SEC Action deposition (a partial transcript of which was produced in the SEC
27   Action and reviewed by Plaintiffs’ counsel) that the Secondary Markets SLD did
28

                                              52                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 70 of 439 Page ID #:70



 1   not review loans from an underwriting point of view, but reviewed them for their
 2   securitization potential only:
 3         Q.     Do you know whether Countrywide sometimes originated loans
 4         that were considered to be exceptions to its underwriting guidelines?
 5         A.     We did.
 6         Q.     To your knowledge, was there a process by which such loans
 7         were approved?
 8                                            ***
 9         A.     There generally was, yes.
10         Q.     And what is your understanding of that process?
11         A.     Well, I was -- I was at the tail end of that process. There was –
12         we had guidelines, we had kind of core guidelines, and then we had
13         these shadow guidelines, which were the kind of the second tier
14         guideline, if you will. And then there was this third tier which
15         would come to me.          But essentially there were – the tiering of
16         guidelines related to the kind of the exception process. And there was
17         an underwriting, they called it, Structured Loan Desk process in the
18         divisions where loans would get referred to the Structured Loan Desk
19         if they were outside, I believe, of kind of the core guidelines. And
20         then if those loans were outside of even the shadow guidelines, then
21         they would be referred to Secondary Marketing to determine if the
22         loan could be sold given the exception that was being asked for.
23                                            ***
24         Q.     Was one of the criteria for granting exceptions at the
25         Secondary Loan Desk in Secondary Marketing whether or not the
26         loan could be sold into the secondary market?
27         A.     That was the only criteria that we followed.
28

                                               53                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 71 of 439 Page ID #:71



 1         129. To investors and the public, Countrywide and the Officer Defendants
 2   extolled the integrity and consistency of its automated CLUES system. In so
 3   doing, they bolstered the false impression that exception loans were underwritten
 4   in a safe manner that accounted for the risk associated with guideline exception.
 5   Although Countrywide and the Officer Defendants were eager to disclose
 6   Countrywide’s     “proprietary   underwriting   systems”   that   insured   “quality
 7   mortgages” and the management of credit risk, they failed to inform investors that
 8   the Company’s sole underwriting criteria was whether a loan could be sold. In
 9   truth, the Company’s increasingly wide underwriting guidelines and systemic
10   abuse of “exceptions” vastly increased the Company’s credit risk.
11         130. Indeed, in Countrywide’s 2007 “lessons learned” analysis produced
12   and publicly filed in the SEC Action and reviewed by Plaintiffs’ counsel,
13   Countrywide admitted the following:
14             x “With riskier products, you need to be exquisite in off-loading the
15                risk.   This puts significant pressure on risk management.        Our
16                systems never caught up with the risks, or with the pace of change.”
17             x “Not enough people had an incentive to manage risk.”
18   Countrywide further admitted it “could have avoided the situation” if it had “not
19   produce[d] risky loans in the first place.” Countrywide also admitted, however,
20   that such strategy was “not very appealing at the time,” and “would have hurt our
21   production franchise and reduced earnings.”
22         131. The loosening of Countrywide’s underwriting guidelines, and the
23   extent of the attendant increased credit risk, was not adequately disclosed to
24   investors, whether in Countrywide’s own public securities filings or securities
25   filings of other entities, such as MBS prospectuses filed by affiliated structured
26   investment vehicles (“SIVs”), which, based on investigations by Plaintiffs’
27   counsel, included numerous false and misleading statements, as well as false data
28   buried within pages of tables and statistics.

                                               54                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 72 of 439 Page ID #:72



 1         132. For example, prospectus supplements for MBS securitizations
 2   containing loans underwritten in nontraditional manners, such as based on reduced
 3   documentation, did not disclose that Countrywide expected these loans to
 4   experience rates of delinquency, foreclosure and bankruptcy that are higher, and
 5   that may be substantially higher, than those experienced by mortgage loans
 6   underwritten in a more traditional manner. Indeed, Professor Michael LaCour-
 7   Little, an industry expert who prepared an Expert Report publicly filed in the SEC
 8   Action and examined by Plaintiffs’ counsel, explained in his Expert Report that “in
 9   the course of my investigation, I reviewed three non-agency securitizations and the
10   related prospectuses issued by subsidiaries of CW. . . . While the documents
11   provide detailed information about the particular mortgage pool backing the
12   certificates and describe in detail how cash flows from the pool are distributed to
13   investors, they do not identify underwriting deficiencies, layered risk, exception
14   rates, instances of known borrower fraud, or CW management’s analysis of these
15   factors and their significance for CW’s future business prospects.”
16               3.     Countrywide’s Substantial Use Of “Exceptions”
17         133. As a result of its “Make Every Loan” strategy, Countrywide had an
18   extraordinarily high rate of exception loans. “Exceptions” or “exception loans” in
19   the mortgage industry are loans whose criteria fall outside the Company’s official
20   underwriting standards but are approved nonetheless.        Countrywide’s internal
21   underwriting guidelines instructed that “[e]xceptions must be considered and
22   approved in moderation.”
23         134. Confidential witnesses, expert statistical analyses, and Countrywide’s
24   internal documents provide compelling evidence that, under management’s
25   direction, approval of “exceptions” was the rule – regardless of the risk associated
26   with the loan – and in contravention of (i) Countrywide’s own policy that
27   exceptions could be considered and approved only in moderation; and (ii) the
28   Defendants’ public statements about Countrywide’s underwriting standards.

                                              55                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 73 of 439 Page ID #:73



 1         135. For example, an internal Countrywide presentation created by former
 2   Countrywide President and COO Sambol, submitted in a criminal prosecution of a
 3   former Countrywide loan officer (United States v. Partow, No. 06-CR-00104
 4   (HRH) (D. Alaska 2006)), listed the following objectives for the Exception
 5   Processing System:
 6                   x Approve virtually every borrower and loan profile
 7                      with pricing add-on when necessary.
 8                   x Identify alternative program to meet borrower needs.
 9                   x Process and price exceptions on standard products for
10                      high-risk products.
11
                     x Process exceptions for:
12
                        – Credit Scores
13
                        – LTV (loan-to-value) amount
14
                        – Cash out amounts
15
                        – Property types
16

17         136. Similarly, as detailed above, a former Countrywide board member and
18   Secondary Markets Managing Director confirmed in an SEC deposition (a partial
19   transcript of which was produced in the SEC Action and reviewed by Plaintiffs’
20   counsel) that the “only” criteria for granting exceptions was whether or not the
21   loan could be sold into the secondary market.            This was corroborated by
22   Confidential Witness 12 (“CW12”), a loan originator and then sales manager at a
23   Countrywide location in San Jose, California, who added that lending practices
24   were especially lax at Full Spectrum Lending (FSL), Countrywide’s subprime
25   lending division. According to CW12, at FSL “[it] was like ‘Got a pulse? Get a
26   loan.” “[P]eople with scores of 580 still [got] a stated product.”
27         137. Moreover, according to his Expert Report, Professor Richard K.
28   Green, Ph.D. (“Professor Green”), an industry expert who was prepared to testify

                                              56                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 74 of 439 Page ID #:74



 1   in the SEC Action, calculated that one-quarter of Countrywide’s loans in the first
 2   quarter 2006 alone were originated as exceptions to Countrywide’s underwriting
 3   standards; that more than one-third of the loans recommended for rejection by
 4   Countrywide’s own underwriting model were ultimately approved; and that
 5   Countrywide knowingly approved these loans to increase Countrywide’s share of
 6   the mortgage market. Based on his analysis, Professor Green concluded that from
 7   2002 forward, Countrywide’s residential lending activities became increasingly
 8   risky, thereby exposing Countrywide to an increasing probability of borrower
 9   delinquency and default. 6
10         138. The percentage of exception loans was reported to Sambol, as the
11   head of the production divisions and later as COO, and exception loans were a
12   topic of discussion at Credit Risk Management meetings at Countrywide. As
13   revealed by Sambol’s deposition testimony in the SEC Action (a partial transcript
14   of which was produced in the SEC Action and reviewed by Plaintiffs’ counsel),
15   every month, Countrywide produced a report called the “Credit Risk Leadership
16   Reporting Package” which measured various metrics of Countrywide’s loan
17   production, among them, the number of loans originated pursuant to exceptions to
18   the Company’s underwriting policies. The monthly reporting packages included
19   statistics on the number of exception loans being made by product category. Both
20   Sambol and Sieracki were members of and participated in Credit Risk Committee
21   meetings, Sambol from 2006 through 2007, and Sieracki from 2005 through 2007.
22         139. In May 2005, Sambol was made aware by McMurray of the likelihood
23   of significantly higher default rates on loans that were made on an exception basis.
24   In a May 22, 2005 email produced by Countrywide in the SEC Action and
25   examined by Plaintiffs’ counsel, McMurray warned Sambol that, regarding
26
     6
27     Professor Green’s conclusions were based on his analysis of a random sample of
     100,000 loans Countrywide originated during the approximately 10-year period
28
     from January 1998 through March 2008.
                                             57                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 75 of 439 Page ID #:75



 1   Countrywide’s approach to making exception loans: “the main issue to [sic] make
 2   sure everyone’s aware that we will see higher default rates . . . .” McMurray stated
 3   that “exceptions are generally done at terms even more aggressive than our
 4   guidelines,” and that “[g]iven the expansion in guidelines and growing likelihood
 5   that the real estate market will cool, this seems like an appropriate juncture to
 6   revisit our approach to exceptions.” He further predicted that a rise in defaults
 7   would trigger a rise in repurchase and indemnification requests from secondary
 8   market purchasers.     In response, the very next day Sambol requested that
 9   McMurray “set up a meeting” to discuss such issues further, including guideline
10   exceptions.
11         140. On June 28, 2005, Sieracki attended a Credit Risk Committee meeting
12   in which Countrywide’s failure to adhere to its own underwriting guidelines was
13   made abundantly clear. According to the meeting minutes (produced by KPMG in
14   the SEC Action) and testimony (produced in the SEC Action) examined by
15   Plaintiffs’ counsel, at this meeting, a presentation was given informing Sieracki and
16   others that 1/3 of the loans which were referred out of Countrywide’s automated
17   underwriting system violated “major” underwriting guidelines and 1/3 violated
18   “minor” guidelines. The presentation further informed that exception loans were
19   much riskier than loans originated pursuant to the Company’s stated underwriting
20   guidelines: exception loans greater than $650,000 were performing 2.8 times worse
21   than similar loans written within guidelines.         At the meeting, McMurray
22   emphasized that the three key pieces where CFC retained risk included “HELOC
23   and Sub prime residuals.”      The minutes further reveal that the participants
24   discussed “non-owner second home purchase loans. This category has nearly
25   tripled during the past two years. . . . Stan [Kurland] asked why we have 5% of
26   non-owner second home purchases at 95% CLTVs. Drew said production makes
27   exceptions to guidelines. Stan said we appear to have unacceptable risk on our
28   balance sheet from this type of loan.”

                                              58                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 76 of 439 Page ID #:76



 1          141. Further, the actual underwriting of exceptions was severely
 2   compromised. According to Countrywide’s official underwriting guidelines,
 3   exceptions were only proper where “compensating factors” were identified which
 4   offset the risks caused by the loan being outside of guidelines.          In practice,
 5   however, unbeknownst to investors, Countrywide used as “compensating factors”
 6   variables such as FICO and loan to value, which had already been assessed by
 7   CLUES in issuing a “refer” finding. For example, Confidential Witness 11
 8   (“CW11”), an underwriter for Countrywide at a branch in Denver, Colorado from
 9   2005 – 2007, confirmed that loans that had been flagged by CLUES in issuing a
10   “refer” finding were sometimes granted exceptions using compensating factors that
11   had already been evaluated by CLUES in making the refer finding, such as FICO,
12   LTV,    or cash down.      Although Countrywide disclosed that it was making
13   exceptions, it did not disclose that it did so without any real compensating factors.
14          142. Mozilo was well aware of the breakdown in Countrywide’s
15   procedures and the lack of compliance with Countrywide’s underwriting
16   guidelines. For example, in early 2006, HSBC exercised its contractual rights and
17   forced Countrywide to buy back many of the subprime 80/20 loans that it had
18   purchased from Countrywide. Many of the HSBC “kick-outs” of defaulted loans
19   were due to the fact that many of the underlying loans had been originated outside
20   of Countrywide’s underwriting guidelines.       Following the HSBC incident, on
21   April 13, 2006, Mozilo sent an email to Sieracki and Sambol that was produced by
22   Countrywide in the SEC Action and examined by Plaintiffs’ counsel, stating that he
23   had “personally observed a serious lack of compliance with our origination
24   system as it relates to documentation and generally a deterioration in the quality
25   of loans originated versus the pricing of those loan[s].”
26          143. At a March 12, 2007 Corporate Credit Risk Committee meeting,
27   attended by Sambol and Sieracki, Risk Management reported that 12% of the loans
28   reviewed through Countrywide’s internal quality control process were rated

                                               59                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 77 of 439 Page ID #:77



 1   “severely unsatisfactory” or “high risk,” and that one of the principal causes for
 2   such a rating was that loans had debt-to-income, loan to value, or FICO scores
 3   outside Countrywide’s underwriting guidelines. An additional 14% of the loans
 4   audited had document deficiencies. These statistics were reported in materials
 5   distributed at the meeting which were produced by Countrywide in the SEC Action
 6   and examined by Plaintiffs’ counsel.
 7         144. Sambol and Sieracki also attended a May 29, 2007 Credit Risk
 8   Committee meeting, the minutes of which were produced by Countrywide in the
 9   SEC Action and examined by Plaintiffs’ counsel, during which they were informed
10   that even as Countrywide had been purportedly tightening underwriting guidelines,
11   “loans continue[d] to be originated outside guidelines” primarily via the Secondary
12   Structured Lending Desk without “formal guidance or governance surrounding
13   Secondary SLD approvals.” A presentation made at the meeting, which was also
14   produced by Countrywide in the SEC Action and examined by Plaintiffs’ counsel,
15   included a recommendation from the credit management department that two
16   divisions “cease to grant exceptions where there is no major competitor offering
17   the guideline.” This highlighted for Sambol and Sieracki the existence of the
18   practice even as the Company was purportedly tightening guidelines.
19         145. The “exceptions” culture at Countrywide started at the top. Mozilo
20   himself was responsible for exception loans. Mozilo underwrote and approved
21   loans pursuant to a program coined as Friends of Angelo (“FOA”). Hundreds of
22   these “VIP” loans were given to government officials and regulators – including
23   multiple United States Senators and two former CEOs of Fannie Mae – on highly
24   favorable terms (such as reduced, noncompetitive interest rates) in an improper
25   attempt to influence them, potentially in violation of government ethical rules,
26   according to reports in The Wall Street Journal and scores of other media
27   publications. In many instances, Mozilo approved VIP loans that were in direct
28   contravention of Countrywide’s own credit policies and underwriting guidelines.

                                             60                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 78 of 439 Page ID #:78



 1   Countrywide’s CRO McMurray testified in the SEC Action that he attempted to
 2   change the practice of granting FOA loans, which was in place for most of his
 3   tenure at the Company, but his involvement “wasn’t warmly met” by Mozilo. In
 4   one instance, Mozilo criticized McMurray for becoming involved in loans that
 5   Mozilo had “already approved,” and admonished McMurray that Countrywide’s
 6   balance sheet was “big enough” for his FOA loans. McMurray’s testimony and the
 7   email chain in which Mozilo approved the subject loan – a cash-out refinance by
 8   TV personality Ed McMahon for 100% of the property’s then-current value of $4.5
 9   million done on a reduced documentation basis – was publicly filed in the SEC
10   Action and reviewed by Plaintiffs’ counsel.      The FOA loans are subject to
11   Congressional investigation.7
12         146. Defendants never disclosed to investors the high percentage of
13   exception loans Countrywide was making to its already aggressive underwriting
14   guidelines and without regard to compensating factors.8
15

16   7
         On February 16, 2011, the chairman of the United States House of
17   Representatives oversight committee, Daniel Issa (“Issa”), issued a subpoena to
     Bank of America for information about Countrywide’s FOA program. “This
18
     subpoena will allow us to obtain the information needed to answer the outstanding
19   public interest questions regarding the full size and scope of the VIP program. The
     American people have a right to know the totality of who participated in the
20
     Countrywide’s VIP program and what they did in return for access to it,” Issa said
21   in a prepared statement. On April 5, 2011, Congressman Issa sent a letter to
     Federal Housing Finance Agency (FHFA) General Counsel raising concern that
22
     173 Countrywide VIP loans given to 42 Fannie Mae and Freddie Mac employees,
23   including three former Fannie Mae CEOs, violated ethics rules and created a
     conflict of interest.
24
     8
        For example, even MBS offering documents represented that the underlying
25   Countrywide loans were “originated or acquired in accordance with Countrywide’s
26   underwriting standards,” noting only that “exceptions to Countrywide Home
     Loans’ underwriting guidelines may be made if compensating factors are
27   demonstrated by a prospective borrower.” Countrywide also represented that
28   “Countrywide Home Loans’ underwriting standards are applied . . . to evaluate the
     prospective borrower’s credit standing and repayment ability and the value and
                                             61                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 79 of 439 Page ID #:79



 1         147. As a result of widening its guidelines to be a composite of the most
 2   aggressive guidelines in the industry, and implementing an underwriting system
 3   that encouraged systemic exceptions to those already wide guidelines,
 4   Countrywide abandoned prudent underwriting.           That failure to appropriately
 5   underwrite its loans led to a serious deterioration in the quality of Countrywide’s
 6   loan production. This deterioration became evident, for example, in the post-
 7   closing audits of loan production performed by the Quality Control functions at
 8   Countrywide.     According to testimony provided in the SEC Action by a
 9   Countrywide Managing Director and examined by Plaintiffs’ counsel, the Quality
10   Control Audits could result in the ranking of four categories of loans: Severely
11   Unsatisfactory, High Risk, Document Deficiency, or Acceptable. High rates of
12

13
     adequacy of the mortgaged property as collateral.” Although Countrywide
14
     disclosed that each MBS could contain loans originated under “exceptions” to its
15   stated underwriting guidelines if “compensating factors” existed, Defendants failed
     to disclose Countrywide’s strategy of matching the guidelines of any competitor in
16
     the market, without applying that competitor’s credit risk mitigants, or its policy of
17   accepting without any underwriting any loan that could be securitized. Indeed,
     Countrywide falsely stated during investor conference calls that its policy was to
18
     “keep our exceptions low.” In addition, prospectus supplements filed by
19   Countrywide SIVs did not disclose what percentage of (or in many cases, whether
     any) securitized loans were approved pursuant to exceptions to Countrywide’s
20
     stated underwriting guidelines. Nor did the prospectus supplements define
21   anywhere the types of exceptions that Countrywide employed generally in the loan
     pool, or specifically for each loan. In fact, as confirmed by several senior
22
     executives at Countrywide, including executives directly involved in loan
23   securitizations, Countrywide never disclosed in any of the relevant offering
     documents or in any other public filings the amount of loans it was underwriting
24
     on an exceptions basis for any loan product or division. Paul Liu, an attorney who
25   worked for Countrywide and participated in the preparation of the offering
     documents, testified in the SEC Action that the prospectus supplements did not
26
     disclose the number or percentage of loans included in each securitization that
27   were underwritten pursuant to exceptions, or even in many cases whether any loans
     within that securitization were underwritten pursuant to exceptions – just that
28
     exceptions “may be made.”
                                              62                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 80 of 439 Page ID #:80



 1   Severely Unsatisfactory and High Risk loans were internally detected no later than
 2   2006 and 2007.      A “Severely Unsatisfactory Loan” defined by at least one
 3   Countrywide Managing Director as a loan that “was essentially outside of the
 4   guidelines” and “might not be expected to perform throughout the life of the loan”
 5   – in other words, a loan that should never have been made.
 6         148. Numerous confidential witnesses further confirm that Countrywide
 7   loosened and abandoned its underwriting standards.            Many of the same
 8   confidential witness accounts by former Countrywide employees are featured in
 9   the shareholders derivative complaint – In re Countrywide Fin. Corp. Deriv. Litig.,
10   Lead Case No. 07-CV-06293 (C.D. Cal. 2007). In denying Countrywide’s motion
11   to dismiss the derivative complaint, the court held that the “numerous confidential
12   witnesses” – whose accounts are detailed herein – “support a strong inference of a
13   Company-wide culture that, at every level, emphasized increased loan origination
14   volume in derogation of underwriting standards.” In drawing this inference, the
15   court noted that the allegations of misconduct came from Countrywide employees
16   (i) located throughout the United States; (ii) in varying levels of the Countrywide
17   hierarchy (including underwriters, senior underwriters, senior loan officers, vice
18   presidents, auditors, and external consultants); and (iii) employed at varying times.
19   In the court’s words, these witnesses “tell what is essentially the same story í D
20   rampant disregard for underwriting standards í IURP PDUNHGO\ GLIIHUHQW
21   angles.”
22         149. For example, according to Confidential Witness 1 (“CW1”), an
23   underwriter for Countrywide in the Jacksonville, Florida processing center
24   between June 2006 and April 2007, as much as 80% of the loans originated at
25   Countrywide involved significant variations from the underwriting standards that
26   necessitated a sign-off by management. According to CW1, Countrywide was very
27   lax when it came to underwriting guidelines. Management pressured underwriters
28   to approve loans and this came from “up top” because management was paid

                                              63                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 81 of 439 Page ID #:81



 1   based, at least in part, on the volume of loans originated. CW1’s manager told
 2   CW1 to approve as many loans as possible and push loans through. According to
 3   CW1, most loans declined by underwriters would “come back to life” when new
 4   information would “miraculously appear” – which indicated to CW1 that
 5   Countrywide was not enforcing its underwriting standards.
 6         150. According to Confidential Witness 2 (“CW2”), a senior underwriter in
 7   Roseville, California from September 2002 to September 2006, Countrywide
 8   would regularly label loans as “prime” even if made to unqualified borrowers
 9   (including those who had recently gone through a bankruptcy and were still having
10   credit problems). According to CW2, Countrywide’s lending practices got riskier
11   in 2006 and the Company was more lax in enforcing its underwriting policies
12   during that year.
13         151. According to Confidential Witness 3 (“CW3”), an underwriter from
14   Long Island, New York between March 2000 and January 2007, Countrywide
15   extended loans to individuals with increasing debt to income ratios. Initially, the
16   Company limited debt to income ratios to 38%, but this rose to 50%. According to
17   CW3, like CW1 and CW2, Countrywide branch managers’ compensation was tied
18   to loan origination volume and not the quality of the Company’s loans. Thus,
19   according to CW3, branch managers pushed originators to sell more loans despite
20   the riskiness of these loans. As such, the Company regularly sacrificed quality for
21   quantity.
22         152. According to Confidential Witness 5 (“CW5”), a former senior
23   underwriter at Countrywide in Independence Ohio, between August 2006 and April
24   2007, the Company’s “philosophy was that you didn’t turn down loans.”
25   According to CW5, the Company “did whatever they had to do to close loans”
26   including making exceptions to underwriting guidelines – everyone was motivated
27   to increase loan volume and “approv[e] things that should not have been
28   approved.”

                                             64                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 82 of 439 Page ID #:82



 1         153. According to Confidential Witnesses 14 (“CW14”), a former
 2   underwriter at Countrywide in Charlotte, North Carolina between 1997 and 2007,
 3   there was “a lot of pressure” on underwriters to approve a high volume of loans in
 4   order to keep their job. According to CW14, underwriters were held to a quota of
 5   at least eight files a day í preferably ten í and supervisors preferred more. The
 6   Regional VP told underwriters that “as long as you get a CLUES Accept” they
 7   should approve the loan, and “if you don’t do some bad loans, you’re not doing
 8   your job.” According to CW14, there were incentives at Countrywide to approve
 9   as many loans as possible regardless of quality, the primary incentive being
10   “keeping your job.” In fact, CW14 stated that s/he was ultimately let go for not
11   approving enough loans.
12         154. According to Confidential Witness 16 (“CW16”), who held various
13   positions at Countrywide between 2001 and 2006 including in the Registration
14   Department, Closing Department, and as a “conduit” between the back-office and
15   sales team at a Countrywide wholesale branch in Charlotte, North Carolina, the
16   volume of loans coming into her branch became very heavy – and average of 150
17   loans per day – “so there was pressure to do overtime and push loans through.”
18   According to CW16, underwriters were expected to meet a production quota of ten
19   loans per day. “If you didn’t meet the quota, you’d be fired.”
20         155. Moreover, according to Confidential Witness 7 (“CW7”), a former
21   Senior Loan Officer that worked in the Consumer Markets division of
22   Countrywide in the Atlanta, Georgia branch office between 2000 and August 2005,
23   if a borrower didn’t meet the guidelines for Countrywide’s loan products, loan
24   officers were instructed to approve the loan anyway if doing so would allow
25   Countrywide to continue receiving borrower referrals from a particular source.
26         156. According to Confidential Witness 13 (“CW13”), a former
27   underwriter at Countrywide’s Full Spectrum Lending Division from October 2005
28   until 2007, the underwriting practices at Countrywide were “pretty much ‘anything

                                              65                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 83 of 439 Page ID #:83



 1   goes’” and “there’s nothing we wouldn’t do.” CW13 worked as part of a team of
 2   eight or nine underwriters at a branch office in Chandler, Arizona. According to
 3   CW13, quality restrictions did not slow down this team. And while a quality
 4   review group was supposed to evaluate the loans, originators worked on a bonus
 5   system where negative quality ratings meant a deduction bonus points – and
 6   negative ratings were “few and far between.”
 7         157. The Company also masked the true riskiness of its loan originations
 8   by giving “prime loans” to persons who clearly did not qualify for prime loans.
 9   Confidential Witness 9 (“CW9”) was a Compliance Auditor II in Countrywide’s
10   Capital Markets, Plano, Texas facility from 2000 until October 2004. CW9’s job
11   was to audit loans that had previously been sold by Countrywide’s Capital Markets
12   department and were being returned to the Company (usually because the loans
13   had been originated in violation of the Company’s representations and warranties
14   provided to the purchaser at the time of sale). According to CW9, many of the
15   loans being returned to the Company were labeled “prime loans” but the borrower
16   was clearly not qualified for a prime loan.
17         158. According to CW9, the Company was making purportedly “prime
18   loans” to borrowers who had gone through bankruptcy within the past two years,
19   and the Company was making “prime loans” to borrowers whose stated income
20   was clearly beyond the norm for a person in the borrowers’ occupation.
21         159. According to CW9, in 2004 the Company was being forced to
22   repurchase an increasing number of loans that were already in default within sixty
23   days after being originated. Many of these loans – in which the borrower defaulted
24   within sixty days of the origination – were prime loans, but the borrower was
25   clearly a speculator. According to CW9, by 2004 there was an increasing number
26   of defaults by borrowers who were buying investment homes hoping to flip the
27   homes for a quick profit. These borrowers, according to CW9, often clearly could
28

                                              66                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 84 of 439 Page ID #:84



 1   not even afford the first payment on the loans unless they could put a renter in the
 2   home immediately (or flip the house at a profit).
 3         160. According to CW9, the Company’s failure to eliminate loans to
 4   speculators was just another example of how the Company was relaxing
 5   underwriting and origination procedures to facilitate increasing loan volume and
 6   report increasing earnings in the short-term.
 7         161. According to CW9, the culture in the Plano office was to “make
 8   numbers.” Loans coming back for repurchase showed a lack of management
 9   attention to proper procedures and adherence to qualification criteria. As alleged in
10   detail herein, Defendants knew Countrywide was extending substantial amounts of
11   loans that did not comply with the Company’s underwriting policies and
12   procedures.
13         162. According to Confidential Witness 10 (“CW10”), Defendant Sambol
14   clearly knew about the Company’s rampant deviations from its underwriting
15   policies and procedures – and endorsed this conduct. CW10 was an Executive
16   Vice President (“EVP”) of Production Operations and later an EVP of Process
17   Improvement. CW10 worked at Countrywide for seventeen years, leaving the
18   Company in October 2005.
19         163. As EVP of Process Improvement in 2005, CW10 worked directly with
20   Defendant Sambol to create the computer system (or “rules engine”), EPS,
21   described in detail above, that routed highly risky loans out of the normal loan
22   approval process and to a central underwriting group for evaluation. According to
23   CW10, the EPS identified loans that violated the Company’s underwriting
24   requirements. For instance, the EPS flagged loans in which the loan-to-value ratio
25   was too high when compared with the borrower’s FICO score. Flagged loan
26   applications were routed to Countrywide’s “Central Underwriting” group located
27   in Plano, Texas (the headquarters of the Retail Lending group).
28

                                              67                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 85 of 439 Page ID #:85



 1         164. However, according to CW10, loans identified by the EPS as violating
 2   the Company’s underwriting standards were not rejected. Rather, according to
 3   CW10, Defendant Sambol wanted the Company’s Central Underwriting group to
 4   review such loans to evaluate whether these loans should require a higher price (up
 5   front points) or a higher interest rate in light of the violation at issue. Central
 6   Underwriting entered information into the EPS about its decisions to approve such
 7   loans and charge additional fees to the borrower.
 8          165. Indeed, according to CW10, it was “evident” that one of
 9   Countrywide’s goals was to be able to fund any loan. According to CW10, senior
10   management didn’t want to have to turn down any loan applications because it
11   wanted to grow market share and didn’t want borrowers, mortgage brokers, or
12   other mortgage companies that sought warehouse lines of credit from Countrywide
13   to take their business to competitors. As a result, according to CW10, loans that
14   did not meet Countrywide’s underwriting standards were approved and funded
15   routinely. CW10 added that senior management’s philosophy was that if the risks
16   associated with a particular loan were simply “priced right,” Countrywide should
17   be able to fund any loan.
18          166. According to CW10, the data collected in the EPS was available to
19   top company executives either online or though system-generated reports. This
20   witness verified that Defendant Sambol had access to the EPS and could review the
21   data in it at any time.
22          167. Thus, according to CW10, Countrywide originated loans that did not
23   comply with the Company’s underwriting standards, and the Company’s EPS
24   provided Defendants with hard evidence of this practice.
25          168. In addition to the EPS, according to CW10, the Company’s CRO’s
26   department generated numerous other reports detailing all kinds of factors
27   measuring the performance of Countrywide’s loans, the Company’s adherence to
28   underwriting policies, and other similar issues. According to CW10, these resports

                                             68                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 86 of 439 Page ID #:86



 1   were reviewed and discussed with Countrywide’s former CRO McMurray. And,
 2   according to CW10, all of the top Countrywide executives received copies of
 3   reports issued by the CRO’s department, which came out at least monthly.
 4   Additionally, CW10 recalled that the Investor Accounting Department in the Simi
 5   Valley office, which dealt with outside purchasers of Countrywide’s loans and
 6   ensuring that they were paid when the loans were paid off, did virtually nothing
 7   other than generate reports.
 8         169. Lawsuits filed by insurers of some of Countrywide’s mortgage loans
 9   also confirm Countrywide’s deviation from its stated underwriting practices and
10   material deficiencies prevalent in the loans underwritten pursuant to these
11   deviations. For example, on September 30, 2008, MBIA filed a complaint against
12   Countrywide in New York state court, entitled MBIA Ins. Corp. v. Countrywide, et
13   al., Index No. 602825/2008.        The MBIA complaint alleges that Countrywide
14   fraudulently induced MBIA to provide insurance for certain Certificates. Through
15   an investigation of approximately 19,000 loan files, MBIA discovered that there
16   was “an extraordinarily high incidence of material deviations from the
17   underwriting guidelines Countrywide represented it would follow.”           MBIA
18   discovered that many of the loan applications “lack[ed] key documentation, such
19   as a verification of borrower assets or income; include[d] an invalid or incomplete
20   appraisal; demonstrate[d] fraud by the borrower on the face of the application; or
21   reflect[ed] that any of borrower income, FICO score, or debt, or DTI [debt-to-
22   income] or CLTV, fail[ed] to meet stated Countrywide guidelines (without any
23   permissible exception).”       Significantly, “MBIA’s re-underwriting review . . .
24   revealed that almost 90% of defaulted or delinquent loans in the Countrywide
25   Securitizations show material discrepancies.”        The court sustained MBIA’s
26   common law fraud claims against Countrywide.             See MBIA Ins. Corp. v.
27   Countrywide Home Loans, Inc., Index No. 602825/08, 2009 WL 2135167
28

                                               69                           COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 87 of 439 Page ID #:87



 1   (Supreme Ct. NY July 8, 2009), aff’d in large part, --N.Y.S. 2d--, 2011 WL
 2   2567772 (N.Y.A.D. June 30, 2011).
 3         170. Other complaints filed by bond insurers Ambac Assurance
 4   Corporation (Ambac Assurance Corp. v. Countrywide Home Loans, Inc., Index No.
 5   641612/2010 (filed in the Supreme Court of the State of New York on
 6   May 6, 2010); Syncora Guarantee Incorporated (Syncora Guarantee Inc. v.
 7   Countrywide Home Loans, Inc., Index No. 650042/09E (Amended Complaint filed
 8   in the Supreme Court of the State of New York on May 6, 2010, after the initial
 9   Complaint was largely sustained on March 31, 2010); and Mortgage Guaranty
10   Insurance Corporation (arbitration) also reveal shocking fraud by Countrywide
11   loan officers.
12         171. Countrywide’s secret, rampant, and unjustified use (and abuse) of the
13   exceptions process is further corroborated by the particularized allegations in a
14   lawsuit by another financial guarantor í Financial Guaranty Insurance Company
15   v. Countrywide Home Loans, Inc.       The plaintiff in that lawsuit states that at two
16   separate meetings between the parties at Countrywide’s headquarters on
17   April 24, 2007, and December 13, 2007, Countrywide admitted “that it had,
18   apparently since sometime in 2006, undertaken a deliberate practice to routinely
19   make increased exceptions to and expansion of its underwriting guidelines . . .”
20   According to Countrywide, “[t]he reason . . . for these undisclosed exceptions and
21   expansion of the guidelines was to try to retain [its] existing share of the mortgage
22   origination market.” Countrywide also informed Financial Guaranty Insurance
23   Company that it had discovered borrower misrepresentation, speculation, and fraud
24   at an increasing rate in 2006, which it admitted “had been a significant factor in the
25   underperformance of the 2006 securitized HELOC portfolios.”
26         172. In other recent lawsuits, Countrywide employees have confirmed the
27   prevalence of these practices. One former Countrywide employee quoted in a class
28   action complaint filed by Countrywide debt holders, Argent Classic Convertible

                                              70                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 88 of 439 Page ID #:88



 1   Arbitrage Fund v. Countrywide Financial Corp., No. 07-CV-07097-MRP(MANx)
 2   (C.D. Cal.), stated that Countrywide routinely approved loans through the EPS that
 3   violated its underwriting guidelines. And another former Countrywide employee, a
 4   former Assistant Vice President of Risk Management with Countrywide’s
 5   Structured Loan Desk in Plano, Texas and an underwriter from 2004 until 2006
 6   responsible for evaluating credit risk, stated that Countrywide’s management
 7   “encouraged more and more loans” to be processed through the EPS beginning in
 8   2004. During 2006, Countrywide processed between 15,000 and 20,000 loans a
 9   month through the EPS.
10                4.      Defendants Failed To Disclose
                          The Extent Of Their Use Of
11                        “Liar Loans” And The Resulting Fraud
12         173. Defendants also failed to disclose their actual knowledge that
13   Countrywide’s “no doc” or “low doc” loans, in fact, had a specific high rate of
14   fraud. These loans reduced or eliminated the need for any documentation to prove
15   loan applicants’ income and/or assets. In “stated-income,” “stated-asset,” or “no
16   doc” loans, for example, the loans were issued based on a borrower’s bare
17   representations about his or her ability to repay, with no documentation to
18   substantiate those representations. A borrower simply asserted his income (or
19   assets) on a form.
20         174. “Low doc” and “no doc” loans were originally intended for
21   professionals and business owners with high credit scores, who preferred not to
22   provide their confidential financial information every time they applied for a
23   mortgage. These loans generally required the highest level credit scores and low
24   loan-to-value ratios. Countrywide, however, routinely extended these loans to
25   borrowers with weak credit, and knew that such “low doc” or “no doc” loans,
26   particularly when coupled with nontraditional products like ARMs, were highly
27   likely to contain misinformation from the borrower, such as overstated incomes,
28   that would result in increased defaults. Because borrowers would be told that there

                                             71                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 89 of 439 Page ID #:89



 1   would be no inquiry into the veracity of their representations in loan applications,
 2   Countrywide employees referred to these products as “liar loans.”
 3         175. Many branch managers (whose compensation was allegedly tied to
 4   loan origination volume) pushed originators to sell “liar loans,” because these
 5   loans could be processed without the “burden” of paperwork. This was confirmed
 6   by, among others, a loan processor who worked at the Company’s Anchorage,
 7   Alaska branch from October 2002 to May 2006, Confidential Witness 4 (“CW4”).
 8   According to CW4, among other former employees of the Company, borrowers
 9   were oftentimes approved for loans pursuant to stated incomes that were patently
10   ridiculous (such as a cab driver who claimed to earn $13,000 a month).
11         176. Indeed, Countrywide knew that its underwriting practices allowed,
12   and in many cases encouraged, fraudulent information regarding income and
13   employment. An investigation initiated by bond insurer MBIA prior to suing
14   Countrywide for fraudulent representations related to Countrywide’s mortgage
15   loan practices revealed that Countrywide’s representations that its loan officers
16   obtained at least telephonic verification of employment and salary with respect to
17   its stated income loans were false. MBIA discovered that Countrywide did not, in
18   fact, obtain independent verification of income for borrowers who applied for these
19   loans, which constituted a significant percentage of the total number of mortgage
20   loans within the certificates.
21         177. According to allegations in a whistleblower complaint filed in the
22   Southern District of Texas, No. 4:08-cv-01464, by Mark Zachary (“Zachary”), a
23   former Regional Vice President of Countrywide’s joint venture with KB Home,
24   against Countrywide, Countrywide regularly approved “stated income” or no-
25   documentation loans even though the same applicant had been refused a loan under
26   the Company’s full-documentation loan program. In such instances, according to
27   Zachary, the Company’s loan officers would “assist” the applicant in switching to a
28   no-document loan.        Zachary brought this information to the attention of

                                             72                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 90 of 439 Page ID #:90



 1   Countrywide Employee Relations Department and Risk Management officials in
 2   2006 and early 2007.
 3         178. Additional witnesses confirm and corroborate the lack of underwriting
 4   standards in connection with the no documentation loans, including Confidential
 5   Witness 6 (“CW6”), an External Home Loan Consultant at Countrywide who
 6   worked at the Company from 2000 through August 2007 and who was responsible
 7   for originating prime loans for the residential market; Confidential Witness 7
 8   (“CW7”), a former Senior Loan Officer that worked in the Consumer Markets
 9   division of Countrywide in the Atlanta, Georgia branch office between 2000 and
10   August 2005; Confidential Witness 8 (“CW8”), a Compliance Auditor who worked
11   at the Company between 2001 and mid-2007, in both Texas and Georgia; and
12   Confidential Witness 12 (“CW12”), a Loan Consultant/Loan Originator and then a
13   Sales Manager who worked at Countrywide from 2001 until 2008 and managed a
14   team of eight originators in San Jose, California. According to these confidential
15   witnesses, the no document loan process lacked independent verification of
16   borrowers’ stated income and was openly abused.
17         179. Indeed, Countrywide’s Quality Control group performed an audit for
18   the 10-month period ending on April 30, 2006 (the “4506 Audit”), comparing the
19   stated income from a borrower’s loan application to the income reported by that
20   borrower to the Internal Revenue Service (“IRS”). The results of the audit, which
21   were ruled admissible by Judge Walter over Defendants’ objection and produced in
22   the SEC Action and reviewed by Plaintiffs’ counsel, were reported in a handout at
23   an April 2006 meeting of the Credit Risk Committee. The 4506 Audit revealed
24   that one-half of reduced documentation loans held for investment at Countrywide
25   had income that was overstated by 10% or more, and of those nearly 70% had an
26   income variance greater than 50% between their loan application and their tax
27   return. The 4506 Audit further revealed that one-third of the Pay-Option loans
28   held for investment at Countrywide had income that was overstated by 50% or

                                            73                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 91 of 439 Page ID #:91



 1   more. When asked about the results of the 4506 Audit in his February 24, 2010,
 2   deposition (a partial transcript of which was produced in the SEC Action and
 3   reviewed by Plaintiffs’ counsel), Cliff Rossi, the former CRO responded:
 4         I believe that not every one of these overstatements of income would
 5         be reflective of fraud or misrepresentation. I would say, however, that
 6         the vast majority would likely be.
 7         180. Defendants were well aware of the results of the 4506 Audit as well as
 8   other random audits. For example, following discussion of the 4506 Audit results
 9   at a meeting of the Credit Risk Management Committee on April 24, 2006, Sambol
10   shared the results of the 4506 Audit with Mozilo. In response, Mozilo wrote in a
11   June 1, 2006 email to Stan Kurland, Sambol and others, produced by Countrywide
12   in the SEC Action and reviewed by Plaintiffs’ counsel, that:
13         In a discussion with both Stan and Dave it came to my attention that
14         the majority of pay options being originated by us, both wholesale
15         and retail are based upon stated income.          There is also some
16         evidence that the information that the borrower is providing us
17         relative to their income does not match up with IRS records.
18         181. During his SEC investigative testimony in 2008 (produced in the SEC
19   Action and reviewed by Plaintiffs’ counsel), Mozilo elaborated on his concerns: “it
20   didn’t sound right to me as to – why would they do it on stated income? Why
21   wouldn’t they go through the normal documentation process?”9
22

23

24   9
       Further, Sambol was forwarded the results of the 4506 Audit along with analysis
25   by Countrywide CRO McMurray and others, in a June 2, 2006 email. According
     to a June 6, 2006 internal email from McMurray, Mozilo called McMurray into his
26
     office and expressed concern about reduced documentation loans (in particular,
27   with respect to Pay-Options), “especially after hearing the results from the Bank’s
     recent 4506 Audit.” Both of these emails were produced by Countrywide in the
28
     SEC Action and examined by Plaintiffs’ counsel.
                                                74                           COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 92 of 439 Page ID #:92



 1         D.    Countrywide Misled Investors About The
                 Creditworthiness Of Pay-Option ARM Borrowers
 2

 3         182. Countrywide began offering Pay-Option ARMs in 2003 and quickly
 4   became a leader in what The Wall Street Journal called a “profitable and growing
 5   part of the mortgage market.”       Adjustable rate mortgages, or “ARMs,” are
 6   characterized by an initial interest rate that is lower than that of a fixed rate
 7   mortgage, for a predetermined introductory or “teaser” period ranging between two
 8   and ten years. A significant portion of the ARMs the Company issued were called
 9   “2/28 loans,” meaning that the teaser rate would last for only two years before
10   “resetting” to higher rates, tied to whatever criteria was set forth in the loan
11   documentation, for the next twenty-eight years. “Resetting” after the teaser period
12   usually resulted in a significant increase in the borrower’s minimum monthly
13   payments. ARMs are inherently riskier loans and will generally result in higher
14   delinquency rates than fixed-rate loans unless the lender is careful to sell these
15   loans only to those borrowers whose financial condition and credit history
16   demonstrate that they are likely to be able to pay the higher principal and interest
17   payments when the rates “reset.” Countrywide’s ARM programs also included
18   pre-payment penalties, so that if the borrower refinanced before the end of the
19   introductory rate period (and avoided the increased monthly payments), the
20   borrower would have to pay a penalty to Countrywide.
21         183. “Pay-Option” ARMs permit a borrower to select from among various
22   monthly payments, including payments that neither paid down principal nor
23   covered the full amount of interest due in a given month.          Specifically, the
24   borrower is allowed, in a given month, to choose (1) to pay down the principal; (2)
25   make an “interest only payment”; or (3) make a “minimum monthly payment”
26   lower than the interest for the period. Under the third option, which deferred
27   payment of both principal and interest, the loan would begin a process of “negative
28   amortization” in which the unpaid interest is added to the outstanding principal

                                             75                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 93 of 439 Page ID #:93



 1   amount owed, thus increasing the overall loan balance. Countrywide’s Pay-Option
 2   ARM loans placed limits on the amount of missed interest that could be rolled into
 3   the principal balance, usually 110-125% of the original loan amount. When a
 4   borrower hit the cap, the interest rate on the loan typically reset and required the
 5   borrower to begin paying down the principal. So, in addition to the reset that
 6   occurred at the end of the teaser period described above, loan payments for Pay-
 7   Option ARMs were re-calculated when the loan balance increased to 110%-125%
 8   of the original loan as a result of negative amortization. At that point, the loan was
 9   “recast” and expected to be repaid on a fully-amortized basis over the remaining
10   term. Consequently, the risk of default increases as the principal reaches the
11   amortization cap.
12          184. Pay-Option ARMs, according to a November 2007 article in The New
13   York Times, “were especially lucrative. Internal company documents from March
14   [2007] show that Countrywide made gross profit margins of more than 4 percent
15   on such loans, compared with 2 percent margins earned on loans backed by the
16   Federal Housing Administration.” However, by providing a material number of
17   such loans to those with inappropriate credit histories and/or financial histories, the
18   Company, undisclosed to investors, including Plaintiffs, exposed its securities to a
19   significant risk of loss.
20          185. During the Relevant Period, as detailed below, Countrywide
21   represented that borrowers receiving Pay-Option ARMs were relatively wealthy
22   and sophisticated, minimizing the risk of default and loss. For instance, in its 2005
23   Form 10-K, Countrywide assured investors that its Pay-Option loan portfolio had
24   “a relatively high initial loan quality,” and that it “only originate[d] pay-option
25   loans to borrowers who [could] qualify at the loan’s fully-indexed interest rates.”
26   Likewise, in its 2006 Form 10-K, Countrywide proclaimed that it had “prudently
27   underwritten” its Pay-Option ARMs. On May 31, 2006, Mozilo gave a speech in
28   which he stated, “Pay-Option loans represent the best whole loan type available for

                                               76                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 94 of 439 Page ID #:94



 1   portfolio investment from an overall risk and return perspective”; that “[t]he
 2   performance profile of this product is well-understood because of its 20-year
 3   history, which includes ‘stress tests’ in difficult environments”; and that
 4   Countrywide “actively manages credit risk through prudent program guidelines . . .
 5   and sound underwriting.”
 6         186. Contrary to their public statements emphasizing the purported virtues
 7   of Countrywide’s Pay-Option ARM loans, Defendants internally concluded that the
 8   product’s risk to Countrywide were severe. For example, Mozilo advised in a May
 9   2006 internal e-mail that “Irrespective of the volatility [of the market] I believe
10   that the payoptions continue to present a longer term problem unless rates are
11   reduced dramatically from this level and there are no indications, absent another
12   terrorist attack, that this will happen.”
13         187. According to a Senate Subcommittee on Investigations, Wall Street
14   and the Financial Crisis: Anatomy of a Financial Collapse, dated April 13, 2011,
15   by 2006, Countrywide was the largest Pay-Option ARM originator in the country.
16   By 2005, Countrywide had originated approximately $93 billion of Pay-Option
17   ARMs. By the second quarter of 2005, 21% of Countrywide’s loan production was
18   Pay-Option ARMS.
19         188. According to an analysis conducted by UBS AG for The Wall Street
20   Journal, published on October 24, 2007, the Company rapidly increased its
21   production of Pay-Option ARMs by “giving these loans to riskier and riskier
22   borrowers.” Indeed, an internal Countrywide sales document indicated that Pay-
23   Option ARMs would benefit “[a]nyone who wants the lowest possible payment!”
24         189. Moreover, despite the risky nature of Pay-Option ARMs, Countrywide
25   increased its production of these loans by offering them to persons who could not
26   or would not document their income or assets. The majority of the Pay-Option
27   ARM loans originated by Countrywide were reduced documentation loans. By
28   issuing these loans without analyzing the creditworthiness of borrowers,

                                                 77                         COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 95 of 439 Page ID #:95



 1   Countrywide increased its risk and that of its investors, including Plaintiffs. Pay-
 2   Option ARMs are high-risk loans on their own. Lending without checking on the
 3   creditworthiness of a borrower is a high-risk activity. The combination of granting
 4   a high-risk loan to a borrower whose creditworthiness is unknown is deadly to a
 5   lender. The investing public was kept in the dark about this risk. According to The
 6   Wall Street Journal’s October 2007 analysis of Countrywide’s lending practices,
 7   78% of the Pay-Option ARMs originated by Countrywide in 2004 “were ‘low doc’
 8   mortgages in which the borrower didn’t fully document income or assets.” By the
 9   end of 2006, according to the Company’s Form 10-Q report filed on November 9,
10   2007, 81% of the Pay-Option ARMs that the Company was holding for
11   investment were loans with low or no income documentation.
12         190. Countrywide also increased its origination of Pay-Option ARMs by
13   allowing borrowers to obtain them without making substantial down payments.
14   According to the UBS survey reported in The Wall Street Journal:
15         Countrywide also allowed borrowers to put down as little as 5% of a
16         home’s price and offered “piggyback mortgages,” which allow
17         borrowers to finance more than 80% of a home’s value without
18         paying for private mortgage insurance. By 2006, nearly 29% of the
19         option ARMs originated by Countrywide and packaged into mortgage
20         securities had a combined loan-to-value of 90% or more, up from just
21         15% in 2004, according to UBS.
22         191. At the same time Countrywide was increasing its origination of risky
23   loans, it was also increasing the amount of Pay-Option ARMs held by the
24   Company for investment. As of December 31, 2006, Pay-Option ARMs
25   represented 46% of the Company’s mortgage loans held for investment. The
26   amount of Pay-Option ARMs held for investment grew rapidly from approximately
27   $4.7 billion in 2004, to more than $26 billion in 2005, to more than $32.7 billion in
28

                                              78                              COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 96 of 439 Page ID #:96



 1   2006. This growth occurred as it became more and more difficult for Countrywide
 2   to sell its loans on the secondary market.
 3         192. While Countrywide may have disclosed many of the risk features
 4   inherent in this type of loan – the possibility that the loan could negatively
 5   amortize due to the borrower making less than the interest only payment, and cause
 6   future “payment shock” to a borrower í QRZKHUH GLG 'HIHQGDQWV GLVFORVH WR
 7   investors the features specific to Countrywide’s underwriting, or complete lack
 8   thereof, that greatly increased that risk. Specifically, Defendants did not tell
 9   investors that Countrywide permitted second liens to be originated concurrently
10   with the Pay-Option, thus reducing the borrowers’ equity. Nor did Defendants
11   disclose that Countrywide was holding loans in its portfolio, a portfolio described
12   by Defendants as “high FICO,” with subprime FICO scores.10 Defendants did not
13   disclose that Countrywide’s internal audits revealed a significant amount of
14   misstatement in borrowers incomes, leading management to conclude that
15   somewhere between 30 and 40% of the loans held for investment had materially
16   misstated income, and therefore misstated debt to income ratios.
17         193. The Company’s Credit Risk Committee’s second quarter 2004
18   meeting presentation (produced by KPMG in the SEC Action and reviewed by
19   Plaintiffs’ counsel) confirms that Defendants were aware of “Specific ARM
20   concerns,” including the following:
21         í Rising rate environment
22         í Payment shock potential
23         í Potential defaults from payment shock
24
     10
25      Countrywide has argued that it disclosed the average FICO scores for Pay-
     Option ARM loans held-for-investment. However, disclosure of the average FICO
26
     score for such loans without discussion of the range of FICO scores would have
27   been misleading because the scores did not fall within a tight band around the
     mean but rather were widely dispersed from it, and included subprime FICO
28
     scores.
                                              79                            COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 97 of 439 Page ID #:97



 1         í No ARM data from rising rate environments
 2         í Do consumers understand risk
 3         í Combining ARMS with other risky features (I/O [Interest/Only] and/or
 4         undocumented income).
 5         194. The presentation further confirms that Defendants were aware that
 6   “Credit Risk is Increasing”:
 7            x Loan quality is deteriorating throughout the market
 8                      - UW standards have become more aggressive
 9                      - More loans being originated under riskier loan programs
10                         (e.g., ARMS), with riskier features (e.g., low/no doc, IO)
11                         and at higher CLTVs.
12            x Our loan and execution mix is deteriorating along with the rest of the
13               market
14                      - HELOC and subprime production increasing
15                      - We’re doing more executions where we retain most (e.g.,
16                         HELOCs) or a substantive amount (e.g., subprime) of the
17                         underlying credit risk.
18         195. In June 2005, Risk Management warned senior executives, including
19   Sieracki, that action was needed to address the increasing pace of negative
20   amortization and the potential for payment shock associated with Pay-Option
21   ARMs. According to minutes of the Corporate Risk Management Committee
22   dated June 28, 2005, disclosed by the Financial Crisis Inquiry Commission
23   (“FCIC”), this committee began to warn senior executives, including Sieracki, that
24   action was needed to address the increasing pace of negative amortization and the
25   potential for payment shock associated with Pay-Option ARMS. The Committee
26   noted that 70% of new originations were experiencing negative amortization
27   within the first three months of the loan. The COO noted that Countrywide was
28   taking on “too much” balance sheet risk in HELOCs and subprime loans and had

                                             80                             COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 98 of 439 Page ID #:98



 1   taken on “unacceptable risk” from non-owner occupied loans made at 95%
 2   combined loan-to-value ratios, which were an exception to Countrywide’s then
 3   existing underwriting guidelines. Risk Management also reported at that meeting
 4   that non-conforming loan programs accounted for 40% of Countrywide’s loan
 5   originations and that subprime production had tripled, rising from 4% to 14% of
 6   total production. At the same meeting, Risk Management reported to the committee
 7   on evidence of borrowers misrepresenting their income and occupation on reduced
 8   documentation loan applications, and the increasing credit risks associated with
 9   Pay-Option ARMs, for example, negative amortization, payment shock and the
10   necessity of raising the initial interest to reduce the speed of negative amortization
11   on the loans.11
12         196. However, less than two months later, Mozilo falsely reassured
13   investors, at the May 31, 2006 Sanford C. Bernstein Strategic Decisions
14   Conference, that Pay-Option ARMs were a “sound investment” for Countrywide
15   and that they were “well understood” by the Company. In reality, as the above
16   described emails reveal, the Officer Defendants were desperately trying to get a
17   handle on out-of-control negative amortization and delinquencies from
18   Countrywide’s Pay-Option ARM portfolio.
19         197. Just one day later, June 1, 2006, Mozilo sent an email to Sambol and
20   other executives, publicly disclosed in the SEC Action and examined by Plaintiffs’
21   counsel, in which he expressed concern that the majority of the Pay-Option ARM
22   loans were originated based upon stated income, and that there was evidence that a
23   significant percentage of borrowers who were taking out stated income loans were
24   engaged in mortgage fraud.       Mozilo viewed stated income as a factor that
25

26   11
        Risk Management explained that while the start rate remained constant at 1%,
27   short term rates (upon which borrowers’ fully amortizing payments were based)
     had risen steadily, thereby increasing the pace of negative amortization and the
28
     severity of the resulting payment shock.
                                              81                               COMPLAINT
 Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 99 of 439 Page ID #:99



 1   increased credit risk and the risk of default. In his email, Mozilo reiterated his
 2   concern that in an environment of rising interest rates, resets were going to occur
 3   much sooner than scheduled, and because at least 20% of the Pay-Option
 4   borrowers had FICO scores less than 700, borrowers “are going to experience a
 5   payment shock which is going to be difficult if not impossible for them to
 6   manage.” Mozilo concluded that the Company needed to act quickly to address
 7   these issues because “we know or can reliably predict what’s going to happen in
 8   the next couple of years.”      Mozilo directed Countrywide Bank to (1) stop
 9   accumulating loans with FICO scores below 680 unless the loan-to-value ratio was
10   75% or lower; (2) assess the risks that the Bank faced on loans with FICO scores
11   below 700 and determine if they could be sold out of the Bank and replaced with
12   higher quality loans; and (3) take a careful look at the reserves and “begin to
13   assume the worst.”
14         198. The Officer Defendants received still more warnings in June 2006
15   about the deteriorating credit quality of Countrywide’s loan portfolio.           On
16   June 2, 2006, Sambol received an email reporting on the results of a quality control
17   audit at Countrywide Bank that showed that 50% of the stated income loans
18   audited by Countrywide Bank showed a variance in income from the borrowers’
19   IRS filings of greater than 10%. Of those, 69% had an income variance of greater
20   than 50%. These material facts were never disclosed to investors.
21         199. At a June 22, 2006 Credit Risk Committee meeting, the minutes of
22   which were publicly filed in the SEC Action and reviewed by Plaintiffs’ counsel,
23   that was attended by Sambol and Sieracki, Risk Management noted that the median
24   time to reset on the Pay-Option loans was getting shorter as negative amortization
25   was accruing at a faster than expected pace.
26         200. On July 10, 2006, Mozilo received an internal monthly report, called a
27   “flash report,” that tracked the delinquencies in the Pay-Option portfolio, as well as
28   the percentage of borrowers electing to make the minimum payment and the

                                              82                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 100 of 439 Page ID #:100



 1   amount of accumulated negative amortization on each loan.12 Mozilo learned that
 2   from September 2005 through June 2006, the percentage of Pay-Option borrowers
 3   choosing to make the minimum payment had nearly doubled, from 37% to 71%.
 4   Mozilo believed that these statistics were significant enough that he requested that
 5   the Company include a letter in bold type with every new Pay-Option loan to
 6   inform borrowers of the dangers of negative amortization and to encourage full
 7   payment.
 8         201. About a month later, on August 16, 2006, Mozilo received an email
 9   from another member of Countrywide’s Board of Directors, asking whether the
10   Company anticipated any significant problems with the Pay-Option portfolio.
11   Mozilo responded three days later in an email produced by Countrywide in the
12   SEC Action and examined by Plaintiffs’ counsel, by reiterating the ongoing
13   concerns he had shared with senior management earlier in 2006. By this point in
14   time, Mozilo explained, over 75% of the Pay-Options borrowers were opting for
15   the minimum payment, which, along with rising interest rates, continued to
16   accelerate negative amortization. As a result, Mozilo continued, the loans would
17   reset much faster than the borrowers expected with accompanying payment shock.
18   “The only out,” Mozilo wrote, was “to refinance the loans before reset,” but this
19   would be difficult in light of decreasing home values and rising interest rates.
20   Mozilo concluded that only a “significant” rise in home values and/or a “dramatic”
21   drop in interest rates would “alleviate payment shock in the future.”
22         202. Internally, Mozilo urged other Countrywide executives to dump the
23   Company’s portfolio of Pay-Option loans. On September 25, 2006, Mozilo and
24   Sambol discussed the Pay-Option ARM loan portfolio. The following day Mozilo
25

26   12
         Mozilo testified during his SEC investigative testimony (a partial transcript of
27   which was produced in the SEC Action and reviewed by Plaintiffs’ counsel) that
     he regularly received flash reports, and that the flash reports included delinquency
28
     trends not only on Pay-Option loans, but on all products offered by Countrywide.
                                              83                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 101 of 439 Page ID #:101



 1   sent an email to Sambol and Sieracki, produced by Countrywide and examined by
 2   Plaintiffs’ counsel, asking Sambol and Sieracki to “seriously consider” selling “all
 3   newly originated pay options” and begin selling, “in an orderly manner,” Pay-
 4   Options currently on the Bank’s balance sheet. In the email, Mozilo referred to
 5   Pay-Options as the “lightening rod” of “exotic loans,” described how Pay-Options
 6   were “getting the attention of rating agencies, regulators, and the press,” and
 7   underscored Countrywide’s inability to accurately assess the “real risk of these
 8   loans”:
 9         We have no way, with any reasonable certainty, to assess the real
10         risk of holding these loans on our balance sheet. The only history
11         we can look to is that of World Savings however their portfolio was
12         fundamentally different than ours in that their focus was equity and
13         our focus is fico. In my judgment, as a long time lender, I would
14         always trade off fico for equity. The bottom line is that we are flying
15         blind on how these loans will perform in a stressed environment of
16         higher unemployment, reduced values and slowing home sales.
17         203. In his September 26, 2006 email, Mozilo further stated that “pay
18   options are currently mispriced in the secondary market and that spread could
19   disappear quickly if there is an foreseen [sic] headline event such as another lender
20   getting into deep trouble with this product or because of negative investor
21   occurance [sic].” He explained that the “timing [wa]s right” to sell Countrywide
22   Bank’s portfolio of Pay-Option loans, and recommended that the Bank “sell all
23   newly originated pay-options and begin rolling off the bank balance sheet, in an
24   orderly manner, pay-options currently in their port[folio].”
25         204. Mozilo’s “flying blind” email was sent to McMurray, who responded
26   within a half an hour to Mozilo that he was “very happy to see” Mozilo’s email
27   given his own concerns about Pay-Option risk. In McMurray’s email response,
28   which was publicly filed in the SEC Action and examined by Plaintiffs’ counsel,

                                              84                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 102 of 439 Page ID #:102



 1   the CRO agreed with Mozilo that Countrywide “should be shedding rather than
 2   adding Pay-Option risk to the portfolio.” McMurray went so far as to cut and paste
 3   into his email and an earlier internal email he had sent warning against adding
 4   more Pay-Option risk, including that Countrywide was not receiving sufficient
 5   compensation on these loans to offset the escalating risk of retaining them on its
 6   balance sheet, and the extremely favorable credit environment had begun to
 7   deteriorate and it was plausible that the impending down cycle would be more
 8   severe than in previous downturns. McMurray wrote to Mozilo:
 9         Would it make more sense to follow a balance sheet strategy where
10         we’re taking advantage of market conditions (both spreads and
11         environment)? We appear to be following a strategy that’s exactly the
12         opposite of this approach.
13         205. Indeed, Mozilo never became comfortable with the risk presented by
14   the Pay-Option loan. In a January 29, 2007 email that was produced by
15   Countrywide in the SEC Action and examined by Plaintiffs’ counsel, Mozilo
16   instructed the president of Countrywide Bank “to explore with KPMG the potential
17   of selling out (one time transaction because of the tarred reputation of Pay-
18   Options) the bulk to the Pay-Options on the Bank’s balance sheet and replace them
19   with HELOCS.”         Indeed, in a July 9, 2007 email that was produced by
20   Countrywide in the SEC Action and examined by Plaintiffs’ counsel, Mozilo
21   admitted that “The fact that almost 90% of the pay options are making the
22   minimum payment in a market where real estate values are dropping precipitously
23   is a formula for disaster.”
24         206. Then, on November 4, 2007, Mozilo bluntly stated in an email to the
25   president of Countrywide Bank that “Pay options have hurt the Company and the
26   Bank badly despite your belief that it is a viable product.” Mozilo admitted that
27   “World Savings culture permits them to make these loans in a sound manner and
28   our culture does not.” Further, contrary to his public assurances throughout the

                                            85                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 103 of 439 Page ID #:103



 1   Relevant Period that Countrywide’s Pay-Option ARM portfolio was of a higher
 2   quality than other subprime lenders because of higher FICO scores, Mozilo stated
 3   in this internal email that “fico scores are no indication of how these loans will
 4   perform.” Mozilo instructed the president of the Bank that he did not “want any
 5   more Pay Options originated for the Bank” and questioned “whether we should
 6   touch this product going forward because of our inability to properly underwrite
 7   these combined with the fact that these loans are inherently unsound unless they
 8   are full doc, no more than 75% LTV and no piggys.” Mozilo’s November 4, 2007
 9   email was publicly disclosed in the SEC Action and reviewed by Plaintiffs’
10   counsel.
11         207. Yet, despite the repeated warnings of Mozilo, McMurray, and the
12   CIO, and following their discussions with KPMG, the Pay-Option ARMs were not
13   sold, and the substantial and many Pay Option risks known to Countrywide were
14   not disclosed to investors.
15         208. Countrywide has since been forced to concede that it extended Pay-
16   Option ARMs during the Relevant Period that were excessively risky because the
17   borrowers did not fit the descriptions the Company had previously given.
18   According to the Company, and as reported in the Los Angeles Times, on December
19   28, 2007, 89% of the Pay-Option ARMs Countrywide issued during 2006 ($64
20   billion), and 83% of the Pay-Option ARMs it issued during 2005 ($74 billion),
21   could not have been approved under the Company’s “new,” more conservative
22   lending practices adopted in 2007.       However, the “new” guidelines actually
23   represented Countrywide’s pre-Relevant Period guidelines, which the Company
24   abandoned during the Relevant Period in its aggressive push to pump up its
25   earnings and stock price by selling substantial amounts of loans with little
26   consideration given to the borrowers’ ability to pay.
27         209. While Countrywide may have disclosed many of the risk features
28   inherent in this type of loan – the possibility that the loan could negatively

                                              86                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 104 of 439 Page ID #:104



 1   amortize due to the borrower making less than the interest only payment, and cause
 2   future “payment shock” WR D ERUURZHU í QRZKHUH GLG 'HIHQGDQWV GLVFORVH WR
 3   investors the features specific to Countrywide’s underwriting, or complete lack
 4   thereof, that greatly increased that risk.   Specifically, Defendants did not tell
 5   investors that Countrywide permitted second liens to be originated concurrently
 6   with Pay-Option loans, thus reducing the borrowers’ equity from inception. Nor
 7   did Defendants disclose that Countrywide was holding loans in its portfolio, a
 8   portfolio described by Defendants as “high FICO,” with low subprime-level FICO
 9   scores. Defendants did not disclose that Countrywide’s internal audits revealed a
10   significant amount of actual misstatement in borrowers incomes, leading
11   management to conclude that between 30 and 40% of the loans held for investment
12   had materially misstated income, and therefore misstated debt to income ratios.
13         E.    Countrywide Misled Investors About
                 Increased 100% Financing And HELOC Risks
14

15         210. Defendants were well aware of the serious undisclosed risks
16   Countrywide incurred by originating 100% financing13 and HELOC loans14 and, in
17

18   13
        “100% financing” refers to loans that borrowers could obtain without making a
19   down payment, i.e., loans equal to the full purchase price of the home. “80/20
     Programs” were also no-money-down loans, and sidestepped the need for
20
     borrowers to purchase private mortgage insurance (which was usually required
21   when the loan was for more than 80% of the home price). The home buyer took
     out two loans, one for 80% of the purchase price, and a second, “piggyback” loan
22
     for the remaining 20% of the purchase price. A borrower who takes out a
23   “piggyback” loan is essentially borrowing the down payment in addition to the
     mortgage.
24
     14
         HELOCs are second mortgages secured only by the difference between the
25   value of the home and the amount due on a first mortgage. HELOCs were in the
26   “first loss” position, meaning that in the event of a default and foreclosure, the
     Company would receive proceeds from the foreclosure sale only after the first lien
27   holder was paid in full. Consequently, even a relatively modest decline in home
28   prices can have a devastating effect on the collateral securing HELOCs, resulting
     in the entire amount of the HELOC becoming unsecured. Countrywide could
                                             87                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 105 of 439 Page ID #:105



 1   fact, repeatedly questioned the wisdom of continuing to offer the products. For
 2   example, in an email dated May 22, 2005, produced in the SEC Action and
 3   reviewed by Plaintiffs’ counsel, McMurray warned Sambol that “[m]any of the
 4   exception transactions we do are structured as a piggy-back transaction where
 5   we’re providing a second lien.” He further queried, “Are we comfortable with the
 6   current approach where [Countrywide] takes much of the credit risk on
 7   exceptions?” About a month later, as revealed in Credit Risk Committee meeting
 8   minutes dated June 28, 2005, (which were publicly disclosed in the SEC Action
 9   and reviewed by Plaintiffs’ counsel), the committee recommended to Sambol that a
10   new rule be adopted to prevent the SLD from making an exception loan with a
11   HELOC.
12         211. In addition, in an email dated March 27, 2006, from Mozilo to
13   Sambol, Sieracki and others (also publicly disclosed in the SEC Action and
14   examined by Plaintiffs’ counsel), Mozilo directed them to undertake certain actions
15   to “avoid the errors of both judgment and protocol that have led to the issues that
16   we face today caused by the buybacks mandated by HSBC.” Mozilo indicated
17   further that the 100% loan-to-value (also known as 80/20) subprime product is “the
18   most dangerous product in existence and there can be nothing more toxic and
19   therefore requires that no deviation from guidelines be permitted irrespective of the
20   circumstances.” 15
21         212. In an April 13, 2006 email to Sieracki, Sambol and others (which was
22   produced by Countrywide in the SEC Action and reviewed by Plaintiffs’ counsel),
23

24   charge higher interest and fees for HELOCs, making HELOCs very attractive to
25
     Countrywide.
     15
        Also, in March 2006, Sieracki sent two private emails (produced and deemed
26
     admissible in the SEC Action over Defendants’ objection and reviewed by
27   Plaintiffs’ counsel) admitting that in connection with his experiences at
     Countrywide, he could “go to jail” – while simultaneously referring to the guilty
28
     verdicts in the Enron case.
                                              88                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 106 of 439 Page ID #:106



 1   Mozilo indicated that there were numerous issues that needed to be addressed
 2   relating to the 100% subprime seconds business in light of the losses associated
 3   with a buyback of loans sold to HSBC.          Mozilo noted that loans had been
 4   originated “through our channels with serious disregard for process [and]
 5   compliance with guidelines.” Mozilo further stated that:
 6         [i]n my conversations with Sambol he calls the 100% sub prime seconds as
 7         the ‘milk’ of the business. Frankly, I consider that product line to be the
 8         poison of ours. Obviously, as CEO I cannot continue the sanctioning of the
 9         origination of this product until I can get concrete assurances that we are not
10         facing a continuous catastrophe.
11   Mozilo concluded the email by demanding “a plan of action not only from Sambol
12   but equally from McMurray as to how we can manage this risk going forward.”
13         213. In another email dated April 17, 2006, from Mozilo to Sambol and
14   others regarding the Company’s “Subprime seconds” business (also publicly
15   disclosed in the SEC Action and examined by Plaintiffs’ counsel), Mozilo stated:
16         In all of my years in the business I have never seen a more toxic
17         product. It’s not only subordinated to the first but the first is sub-
18         prime. In addition the fico’s [sic] are below 600, below 500 and some
19         below 400 . . . . With real estate values coming down . . . this product
20         will become increasingly worse. There has to be major changes in the
21         program including substantial increases in the minimum fico. . . .
22         Whether you consider this business milk or not I am prepared to go
23         without milk, irrespective of the consequences to our production.
24         214. However, rather than tighten underwriting guidelines for HELOCs,
25   Countrywide continued to expand them. On December 7, 2006, Mozilo circulated
26   a memorandum (produced by Countrywide in the SEC Action and examined by
27   Plaintiffs’ counsel) to the Board of Directors and all Countrywide managing
28

                                              89                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 107 of 439 Page ID #:107



 1   directors, including Sambol and Sieracki, in which he made the following
 2   observations:
 3              x Countrywide had expanded its subprime underwriting guidelines in
 4                   every conceivable area, lowering minimum FICOs, raising maximum
 5                   loan size and LTV and making interest only, stated income and
 6                   piggyback second loans available to subprime borrowers.
 7              x Countrywide expected that subprime loans originated in 2006 (the
 8                   “2006 Vintage”) would be the worst performing on record, driven by
 9                   wider guidelines and the worsening economic environment, which
10                   included rising interest rates and declining home values.
11              x The percentage of 60-and 90-day delinquencies in the 2006 Vintage
12                   (at 8.11% and 4.03%, respectively), exceeded the percentages from
13                   each of the previous six years, and the Company expected these
14                   percentages to rise.
15              x 62% of Countrywide’s subprime originations in the second quarter of
16                   2006 had a loan to value ratio of 100%.
17         215. Even after a so-called “no exceptions” policy was issued for 80/20
18   loans, Countrywide’s production and secondary market divisions continued to
19   grant such exceptions, as reflected by McMurray’s September 7, 2007 email,
20   explaining that they “basically continued to operate as though they never received
21   this policy.”
22         F.        Countrywide’s Secret
                     Internal Definition Of “Prime”
23

24         216. In addition to failing to disclose the truth about the Company’s
25   loosening and abandonment of its underwriting guidelines during the Relevant
26   Period, and engaging in a Company-wide practice of originating and funding loans
27   without regard to underwriting standards and engaging in widespread predatory
28

                                                 90                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 108 of 439 Page ID #:108



 1   and fraudulent lending practices, Defendants also concealed from investors the true
 2   extent of Countrywide’s exposure to subprime loans.
 3         217. Countrywide made regular public disclosures distinguishing between
 4   its “prime” and “subprime” (sometimes referred to as “nonprime”) loan
 5   originations and securitizations. As detailed below, the Company periodically
 6   reported its volumes of prime and subprime mortgage loans produced and sold, the
 7   volumes of purportedly “prime” and “subprime” loans held for investment, and the
 8   value of the Company’s credit-sensitive retained (or “residual”) interests in
 9   securitized prime and subprime loans.
10         218. Defendants were well aware that the appearance of being
11   predominantly engaged in prime lending was of critical importance to
12   Countrywide’s survival. For example, during an investor conference with analysts
13   at Lehman Brothers on September 13, 2006, Mozilo insisted that Countrywide had
14   only a minor position in subprime, stating that subprime loans are “only 9% of our
15   production today.”    During the same conference, Sambol claimed that “[o]ur
16   profile in the subprime market has been one where we have, for the most part, been
17   on the sidelines.” One year earlier, during a September 13, 2005 analyst call,
18   Mozilo, referring to securitized loans, stated that “all loans originated and sold”
19   were “primarily prime quality.”
20         219. These statements classifying and distinguishing between “prime” and
21   “subprime” loans were false and misleading because Countrywide, during the
22   Relevant Period, employed a private, internal standard to distinguish between
23   “prime” and “subprime” loans that, as the Officer Defendants knew, differed
24   materially from the standard used by government agencies, generally accepted in
25   the mortgage banking industry, and understood by the public at large. Thus, while
26   Countrywide repeatedly assured the market that it adhered to a conservative
27   approach to loan origination and underwriting that set it apart from other, inferior
28   mortgage lenders known to be deeply engaged in subprime lending, Countrywide

                                             91                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 109 of 439 Page ID #:109



 1   was itself engaged in the same risky type of business but hid that fact from
 2   investors, including Plaintiffs, by operating under a private standard for classifying
 3   loans as “prime” while failing to disclose that its standard was substantially below
 4   the benchmark accepted in the industry and understood by investors and analysts.
 5   This internal definition of “prime” utilized by Countrywide included both loans to
 6   borrowers with blemished credit – in some cases, severely blemished credit – as
 7   well as high risk loan products, including loans with increased and layered risk
 8   factors, that were similarly inconsistent with the prevailing definition of “prime.”
 9         220. The most widely accepted measure of the creditworthiness of a
10   borrower used in the mortgage and consumer lending industry, and which
11   Countrywide used and relied upon heavily throughout the Relevant Period, is the
12   borrower’s FICO credit score. Fair Isaac describes the FICO score, which ranges
13   from 300 to 850, as “the standard measure of US consumer credit risk” and “the
14   recognized industry standard in consumer credit risk assessment.” FICO scores are
15   developed from a variety of data in a prospective borrower’s credit reports,
16   including payment history, amounts owed to creditors, length of credit history, new
17   credit sources, and the types of credit used. Generally, the higher the FICO score,
18   the better the borrower’s credit and the lower the risk of default.
19         221. According to Fair Isaac, the United States median FICO score is in the
20   720 range. Approximately 27% of the United States population has a FICO score
21   between 750 and 799, 15% has a score below 600, and 27% has a score below 650.
22         222. The FICO score is a key determinant of whether a given borrower will
23   be classified as “prime” or “subprime.” During the Relevant Period, Fitch Ratings
24   termed FICO scores the “best single indicator” of mortgage default risk.
25   Countrywide itself described FICO scores in its 2006 Form 10-K as “[a]
26   commonly used measure of consumer creditworthiness” used “to assess a
27   prospective borrower’s credit history and the impact of the prospect’s current
28   borrowing arrangements on their ability to repay a loan.”

                                               92                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 110 of 439 Page ID #:110



 1         223. There is a strong presumption in the mortgage lending industry that a
 2   FICO score of 660 divides prime and subprime borrowers. The principal industry
 3   definition of “subprime” is found in the Expanded Guidance for Subprime Lending
 4   Programs (the “Expanded Guidance”), issued jointly on January 31, 2001, by the
 5   United States Office of the Comptroller of the Currency (“OCC”), the Board of
 6   Governors of the Federal Reserve System, the FDIC and the Office of Thrift
 7   Supervision. The Expanded Guidance was sent to Mozilo and other banking CEOs
 8   on or about February 2, 2001, and Countrywide management was required to be
 9   familiar with it. The guidance advises financial institutions that the elevated levels
10   of credit and other risks arising from subprime lending tend to require heightened
11   risk management and additional capital reserves.
12         224. As explained in the Expanded Guidance:
13         [t]he term ‘subprime’ refers to the credit characteristics of individual
14         borrowers. Subprime borrowers typically have weakened credit
15         histories that include payment delinquencies, and possibly more
16         severe problems such as charge-offs, judgments and bankruptcies.
17         They may also display reduced repayment capacity as measured by
18         credit scores, debt-to-income ratios, or other criteria that may
19         encompass borrowers with incomplete credit histories.
20         225. The Office of Thrift Supervision’s February 2001 transmittal letter
21   advises that the Expanded Guidance was intended to provide, among other things,
22   “a more specific definition of the term subprime.”          Among the credit risk
23   characteristics listed in the Expanded Guidance that label a borrower as
24   “subprime” is a “[r]elatively high default probability as evidenced by, for example,
25   a credit bureau risk score (FICO) of 660 or below (depending on the
26   product/collateral), or other bureau or proprietary scores with an equivalent default
27   probability likelihood.”
28

                                              93                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 111 of 439 Page ID #:111



 1         226. Standard & Poor’s, one of the principal securities rating agencies,
 2   similarly states: “Standard & Poor’s considers subprime borrowers to have a FICO
 3   credit score of 659 or below.” Conversely, “Standard & Poor’s considers prime
 4   borrowers to have a FICO credit score of 660 or above.”
 5         227. Freddie Mac, one of the GSEs that purchased loans from Countrywide
 6   during the Relevant Period, stated in its February 2003 public guidelines that:
 7         FICO scores objectively evaluate all the information in the Borrower’s
 8         repository credit file at the time the FICO score was created. Freddie
 9         Mac has identified a strong correlation between Mortgage
10         performance and FICO scores.
11   For loans on single-family properties, Freddie Mac views a borrower with a FICO
12   score above 660 as “likely to have an acceptable credit reputation.” Further, FICO
13   scores between 620 and 660 “should be viewed as an indication that the
14   Borrower’s willingness to repay and ability to manage obligations as agreed are
15   uncertain.” A FICO score below 620, according to Freddie Mac, “should be
16   viewed as a strong indication” that the borrower’s credit profile is “not
17   acceptable.”
18         228. By contrast, Countrywide employed an internal FICO of 620 – or
19   none at all, and not 660, to differentiate between prime and subprime loans. In
20   fact, Countrywide consistently made loans that were classified as prime to
21   borrowers with FICO scores below 660, and even below 620, in proportions and
22   amounts far greater than those suggested by the Company’s top executives, and
23   contrary to Countrywide’s public assurances that it was a conservative and cautious
24   lender in subprime loans and in general.
25         229. In Sambol’s responses to requests for admissions in the SEC Action
26   (reviewed by Plaintiffs’ counsel), Sambol admitted that certain loans identified as
27   “prime” in Countrywide’s periodic SEC filings for years 2005 through 2007 were
28   issued to borrowers with FICO scores below 620. He further admitted that loans

                                                94                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 112 of 439 Page ID #:112



 1   identified as “prime” in those filings were originated “based on varying levels of
 2   documentation of borrower income and/or assets,” and “were originated with loan
 3   to value ratios above 95%.” Mozilo and Sieracki made similar admissions in their
 4   respective responses (also reviewed by Plaintiffs’ counsel).
 5         230. Numerous confidential witnesses confirm that Countrywide employed
 6   private standards for classifying loans as “prime” that were substantially below the
 7   industry benchmark. For example, Confidential Witness 17 (“CW17”), a former
 8   home loan consultant at Countrywide between 2001 and 2007, confirmed that
 9   Countrywide primarily distinguished between prime and subprime loans based on
10   credit score, and that prime or “A-paper” loans “could go as low as 580.”
11   Likewise, Confidential Witness 15 (“CW15”), who worked at Countrywide for
12   over eighteen years between 1992 and 2010 at various offices in Florida as branch
13   operations manager, underwriting manager, senior underwriter, home loan
14   consultant and sales manager, recalled loans to borrows with FICO scores as low
15   as 580 considered prime at Countrywide.
16         231. Countrywide’s Forms 10-K deceptively described the types of loans
17   upon which the Company’s business depended. While Countrywide provided
18   statistics about its originations which reported the percentage of loans in various
19   categories, the information was misleading because its descriptions of “prime non-
20   conforming” and “nonprime” loans in its periodic filings were insufficient to
21   inform investors what types of loans were included in those categories and that its
22   standard for prime loans was different than in the rest of the industry. “Prime”
23   loans were described in Countrywide’s 2005, 2006, and 2007 Forms 10-K as
24   follows:
25         Prime Mortgage Loans include conventional mortgage loans, loans
26         insured by the Federal Housing Administration (“FHA”) and loans
27         guaranteed by the Veterans Administration (“VA”). A significant
28         portion of the conventional loans we produce qualify for inclusion in

                                              95                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 113 of 439 Page ID #:113



 1         guaranteed mortgage securities backed by Fannie Mae or Freddie Mac
 2         (“conforming loans”). Some of the conventional loans we produce
 3         either have an original loan amount in excess of the Fannie Mae and
 4         Freddie Mac loan limit for single-family loans ($417,000 for 2006) or
 5         otherwise do not meet Fannie Mae or Freddie Mac guidelines. Loans
 6         that do not meet Fannie Mae or Freddie Mac guidelines are referred to
 7         as “nonconforming loans.”
 8         232. Nothing in that description informed investors that Countrywide’s
 9   “prime non-conforming” category included loan products with increasing amounts
10   of credit risk.   As noted above, guidance issued by the banking regulators
11   referenced a FICO score at 660 or below as being an indicator of a subprime loan.
12   Countrywide, however, did not consider any FICO score, even below 620, to be
13   too low to be categorized within “prime.” The above description also did not
14   disclose that Pay-Option ARM loans, including reduced documentation Pay-Option
15   ARM loans, were included in the category of prime loans. Moreover, to the extent
16   these extremely risky loans were below the loan limits established by the GSE that
17   purchased these loans, they would have been reported by Countrywide as prime
18   conforming loans. In 2005 and 2006, Countrywide’s Pay-Option ARMs ranged
19   between 17% and 21% of its total loan originations. It maintained the majority of
20   these loans for investment portfolios at Countrywide Bank.16
21

22   16
         In addition, “charts” of various aspects of Countrywide’s servicing portfolio
23   shown at various investor conferences which purportedly disclose, for example,
     that Countrywide prime loans included borrowers with credit scores below 660 and
24
     as low as 560 reflect only components of Countrywide’s Servicing Portfolio, i.e.,
25   the loans generating servicing fees. These charts are not loan origination charts,
     nor do they reflect the content of Countrywide’s retained portfolio or its exposure
26
     to the secondary market. Nowhere is there any discussion or a tie-in between these
27   charts and the extreme exposure Countrywide faced to secondary market
     repurchases and indemnity because of Defendants’ gross departure from even
28
     nominal underwriting guidelines and credit risk management.
                                             96                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 114 of 439 Page ID #:114



 1         233. Countrywide routinely referred to “prime” loans in SEC filings and
 2   other public statements without clarifying that its unique definition of “prime”
 3   was inconsistent with the public’s and industry’s understanding of that term,
 4   thereby rendering those statements misleading. Significantly, the Countrywide
 5   periodic filings do not define “nonprime” in any way, and Countrywide’s Forms
 6   10-K and other periodic filings failed to disclose that loans in the category of
 7   subprime were not merely issued to borrowers with blemished credit, but that this
 8   category included loans with significant additional layered risk factors, such as one
 9   or more of the following factors: (1) subprime piggyback seconds, also known as
10   80/20 loans; (2) reduced or no documentation loans; (3) stated income loans; (4)
11   loans with loan to value or combined loan to value ratios of 95% and higher; and
12   (5) loans made to borrowers with recent bankruptcies and late mortgage payments.
13         234. The fact that Countrywide’s internal definition of “prime” was
14   inconsistent with the public’s and industry’s definition remained concealed until
15   the Company’s July 24, 2007 conference call (the “July 24, 2007 Conference
16   Call”). During the call, McMurray, the Company’s CRO stated in his opening
17   presentation that “>D@ SULPH ),&2 ORDQ í D SULPH ORDQ ZLWK ),&2V LQ the low 500s
18   is going to be over 30 times more likely to be seriously delinquent than a prime
19   loan with an 800 FICO, holding all other variables constant.” Later during the call,
20   in response to a question about delinquencies among the Company’s “prime
21   mortgages,” McMurray stated:
22         There is a belief by many that prime FICOs stop at 620. That is not
23         the case. There are affordability programs and Fannie Mae- expanded
24         approval, as an example, that go far below 620, yet those are still
25         considered prime.
26         235. Based on this explanation and other statements made during the July
27   24, 2007 Conference Call, an analyst from HSBC Securities promptly stated in an
28   analyst report that:

                                              97                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 115 of 439 Page ID #:115



 1         [w]e do believe in some color given by management, that the
 2         definition of ‘prime’ (or Alt-A for that matter) was loosened in the
 3         recent boom. Management referred to certain affordability programs
 4         where FICO scores went ‘far below’ 620 (which already is well below
 5         the bank regulator’s definition of subprime, which has a 660 cutoff).”
 6   The same analyst noted that “management acknowledged that the higher combined
 7   ORDQ WR YDOXH &/79 DQG UHGXFHG GRFXPHQWDWLRQ KLJKHU &/79 SURGXFWV í FODVVLF
 8   VSHFXODWRU SURGXFWV í DUH DFFRXQWLQJ IRU D GLVSURSRUWLRQDWH VKDUH RI FUHGLW FRVWV”
 9         236. This analyst was plainly observing for the first time that Countrywide
10   categorized as “prime” borrowers who should have been categorized as subprime,
11   while lowering income documentation standards below prudent levels and
12   increasing loan-to-value ratios above prudent levels.
13         237. Likewise, a July 27, 2007 analyst report by Merrill Lynch questioned
14   Countrywide’s newly disclosed definition of “prime” as follows:
15         The Kimono comes off; Prime is not what it seems
16         Countrywide frequently boasts that its HELOC portfolios are high-
17         quality prime borrowers, though it admitted on the earnings call that
18         prime is not really prime, but really a derivative of prime.
19         238. Another July 27, 2007 analyst report, by Stifel Nicolaus discussing the
20   disappointing second quarter results, questioned the analyst’s own “sanguine
21   views” on the Company’s credit exposure, stating:
22         given the magnitude of the credit problems in the bank, we think
23         mgmt made serious miscalculations (and possibly misrepresentations)
24         about the quality of the loans added to the bank. In the analysis we
25         present later in this note, we find that Countrywide’s home equity
26         securitizations are performing roughly in line with LEND’s [a
27         competing subprime lender’s] subprime deals.         We also find that
28

                                              98                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 116 of 439 Page ID #:116



 1         underwriting standards deteriorated through 2006 and have only
 2         improved slightly in 2007.
 3         239. The Stifel Nicolaus report further examined the gravity of
 4   Countrywide’s loose lending practices and expanded definition of “prime” by
 5   disclosing that almost 20% of Countrywide’s reportedly prime HELOCs in the first
 6   two quarters of 2007 were given to subprime borrowers with FICO scores of less
 7   than 660. Moreover, almost 23% of the prime HELOCs in those quarters had a
 8   CLTV greater than 100%. In the analyst’s view, “the increasing share of sub-660
 9   FICO, 100%+ CLTV, and second home/non-owner occupied loans [was]
10   disturbing.”
11         G.       Countrywide Engaged In
                    Widespread Predatory And
12                  Fraudulent Loan Origination Practices
13         240. A further example of Countrywide’s conscious abandonment of its
14   underwriting standards is its widespread use of deceptive lending practices during
15   the Relevant Period.      These practices garnered Countrywide huge fees from
16   borrowers who were extended loans they could not repay, resulting in the risk of
17   increased defaults and foreclosures to the detriment of the Company and its
18   investors, including Plaintiffs.
19         241. Predatory lending is a practice whereby a lender deceptively
20   convinces a borrower to agree to unfair and abusive loan terms, including interest
21   rates and fees that are unreasonably high. A borrower who has more assets
22   generally poses less risk to a lender, and will typically get a better interest rate
23   and/or few up-front fees or points on a loan as a result. However, as indicated
24   above, Countrywide’s software prevented the input of borrowers’ cash reserves so
25   that loan officers would have to pitch higher-cost loans to borrowers.
26         242. On August 26, 2007, The New York Times ran an exposé titled Inside
27   the Countrywide Lending Spree, explaining that Countrywide, as a matter of
28

                                              99                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 117 of 439 Page ID #:117



 1   company practice, regularly steered borrowers to risky loan programs with
 2   unfavorable terms in order to generate maximum profits for the Company:
 3         On its way to becoming the nation’s largest mortgage lender, the
 4         Countrywide Financial Corporation encouraged its sales force to court
 5         customers over the telephone with a seductive pitch that seldom
 6         varied. “I want to be sure you are getting the best loan possible,” the
 7         sales representatives would say.
 8         But providing “the best loan possible” to customers wasn’t always the
 9         bank’s main goal, say some former employees. Instead, potential
10         borrowers were often led to high-cost and sometimes unfavorable
11         loans that resulted in richer commissions for Countrywide’s smooth-
12         talking sales force, outsize fees to company affiliates providing
13         services on the loans, and a roaring stock price that made
14         Countrywide executives among the highest paid in America.
15         Countrywide’s entire operation, from its computer system to its
16         incentive pay structure and financing arrangements, is intended to
17         wring maximum profits out of the mortgage lending boom no matter
18         what it costs borrowers, according to interviews with former
19         employees and brokers who worked in different units of the company
20         and internal documents they provided. One document, for instance,
21         shows that until last September the computer system in the
22         company’s subprime unit excluded borrower’s cash reserves, which
23         had the effect of steering them away from lower-cost loans to those
24         that were more expensive to homeowners and more profitable to
25         Countrywide.
26         243. Countrywide agreed to pay borrowers $108 million in a settlement
27   with the FTC in June 2010, based on Countrywide’s charging excessive fees when
28   borrowers fell behind on mortgages. As articulated by the FTC Chairman, Jon

                                              100                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 118 of 439 Page ID #:118



 1   Leibowitz, Countrywide “was a business model based on deceit and corruption
 2   and the harm caused to American consumers is absolutely massive and
 3   extraordinary.”
 4         244. Countrywide and its management knew from the start of the Relevant
 5   Period that the Company operated within specific statutory and regulatory
 6   parameters that limited the interest rates and other fees Countrywide was legally
 7   permitted to charge borrowers and the types of sales practices the Company could
 8   employ. Countrywide consistently assured investors during the Relevant Period
 9   that it was in compliance with these laws and regulations. Countrywide’s Forms
10   10-K for 2003 and 2004 stated, for example:
11         Currently, there are a number of proposed and recently enacted
12         federal, state and local laws and regulations addressing responsible
13         banking practices with respect to borrowers with blemished credit. In
14         general, these laws and regulations will impose new loan disclosure
15         requirements, restrict or prohibit certain loan terms, fees and charges
16         such as prepayment penalties and will increase penalties for non-
17         compliance. Due to our lending practices, we do not believe that the
18         existence of, or compliance with, these laws and regulations will have
19         a material adverse impact on our business.
20         245. On February 4, 2003, Defendant Mozilo gave a lecture at Harvard
21   University’s Joint Center for Housing Studies, which included the following
22   remarks:
23         These [predatory lending] laws were allegedly enacted to protect
24         borrowers from lenders who abuse the unsophisticated, low-income,
25         elderly and minority communities by charging high interest rates and
26         fees and fraudulently imposing unfair terms. These lenders deserve
27         unwavering scrutiny and, when found guilty, an unforgiving
28         punishment.

                                            101                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 119 of 439 Page ID #:119



 1         246. Despite Countrywide’s assurances and Mozilo’s pointed remarks,
 2   Countrywide did not comply with applicable regulatory and statutory restrictions
 3   on predatory lending. These abusive activities by the Company, while increasing
 4   Countrywide’s revenues in the short-term, posed a significantly increased risk to
 5   investors from borrower defaults that was not disclosed to the public. Simply put,
 6   as Countrywide harmed borrowers, Countrywide put itself and therefore its
 7   investors, including Plaintiffs, at increased risk, and ultimately harmed investors,
 8   including Plaintiffs.
 9         247. Further, according to the Times exposé, “documents from the
10   subprime unit also show that Countrywide was willing to underwrite loans that left
11   little disposable income for borrowers’ food, clothing and other living expenses.”
12   For example, one Countrywide manual stated that a borrower with a family of four
13   could obtain a loan even if the monthly mortgage payment left the family with only
14   $1,000 to live on for the month. A single borrower could obtain a loan whose
15   payment left him or her only $550 for food, clothing or other expenses for the
16   month.
17         248. A complaint filed in federal court in the Central District of California
18   against Countrywide on December 21, 2007, illustrates the Company’s predatory
19   lending practices with respect to Pay-Option ARMs. As alleged in that complaint,
20   Edward Marini (“Marini”) lives in Little Egg Harbor Township, New Jersey. In or
21   around February 2005, Mr. Marini entered into a subprime loan with another
22   lender that was soon sold to Countrywide. Within a few months, Countrywide
23   contacted Mr. Marini by telephone and convinced him to refinance his mortgage
24   with Countrywide Home Loans in the form of a Pay-Option ARM on his primary
25   residence. At the time of the loan, Countrywide did not disclose to Mr. Marini that
26   his monthly payments would increase soon after taking out the loan, or that if he
27   made the “minimum payment” the principal amount of the loan would actually
28   increase each month.

                                            102                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 120 of 439 Page ID #:120



 1         249. Since this refinancing, the amount of principal Mr. Marini owes has
 2   increased by approximately $17,000. Mr. Marini has also received a “Significant
 3   Payment Increase Alert” letter from Countrywide dated August 6, 2007, indicating
 4   that the minimum payment on his mortgage will soon increase to more than double
 5   what he is currently paying, based on negative amortization.            Mr. Marini
 6   anticipates that, as a result, he will need to file for bankruptcy, because he cannot
 7   make his monthly payments and has been unable to refinance his loan with
 8   Countrywide.
 9         250. Similarly, on July 25, 2007, Audrey Sweet (“Sweet”) of Maple
10   Heights, Ohio, testified before Congress that Countrywide approved a mortgage
11   that she and her husband could not afford. When she and her husband “were
12   finally told the amount of the monthly mortgage payment, [they] were shocked!”
13   Although they expressed concern about the amount of the mortgage, they “were
14   told not to worry about it, as long as [they] paid the mortgage on time for a year
15   [they] would be able to refinance to a better rate.” Additionally, she testified that
16   loan documents were falsified.        In this regard, Ms. Sweet stated that in
17   subsequently reviewing her loan application, she discovered several things that she
18   had apparently overlooked until then:
19         The first was that my gross monthly income was recorded as $726
20         dollars more than it actually was. Secondly, I have two sets of loan
21         documents, one that was created 10 days before we closed and one
22         that was created the day of closing. The closing day documents list
23         my assets as $9400.00 in my Charter One Bank account. I have never
24         had $9400 in the bank. Indeed, coming up on payday, I am fortunate
25         to have $94 left! The final item I noticed was that the tax amount
26         listed on the appraisal report was $1981.34, which comes to about
27         $165.00 a month but Countrywide listed $100.00 a month as the tax
28         amount.

                                             103                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 121 of 439 Page ID #:121



 1         251. Because Ms. Sweet and her husband could not afford their mortgage
 2   payments, they face default and foreclosure. Countrywide’s increased risk of not
 3   being able to collect on the Sweets’ mortgage put investors, including Plaintiffs, at
 4   increased risk.
 5         252. A November 13, 2008, Business Week story corroborates accounts that
 6   fraud was “rampant” in Countrywide offices throughout the country and was
 7   known to Countrywide headquarters.            According to a former Countrywide
 8   wholesaler John Sipes (“Sipes”), “underwriters at the Santa Monica (Calif.) and
 9   Beverly Hills branches of Countrywide often shredded tax documents they
10   received from borrowers to destroy proof of the borrowers’ incomes and extend
11   bigger loans than they could afford.” The story revealed:
12         The practice was so rampant in those two branches that the corporate
13         offices launched an internal probe.          Each night, Sipes says,
14         Countrywide investigators collected the bins from paper shredders and
15         analyzed their contents. After a while, he says, the branch managers
16         told them: “Don’t put anything in the shredder bins at work. If you’re
17         going to shred, take it home.”
18         253. To highlight just how simple it could be to borrow large amounts of
19   money, Countrywide marketed one of its stated-income products as the “Fast and
20   Easy Loan.”       The March 22, 2009, Dateline NBC episode detailed specific
21   instances of mortgage fraud at Countrywide, including a borrower who earned less
22   than $20,000 a year but who Countrywide loaned the full purchase price of a
23   $260,000 home (in two loans – a 2/28 ARM, and piggyback second at 11%
24   interest) based on an application that falsely listed her income at $7,300 a month –
25   more than four times her real monthly income. According to the borrower, Paula
26   Taylor, Countrywide “finagle[d] the numbers to say that I could afford the
27   property.”
28

                                             104                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 122 of 439 Page ID #:122



 1         254. According to Brian Koss (“Koss”), a senior regional vice president at
 2   Countrywide who was interviewed for a January 17, 2008 BusinessWeek article,
 3   Countrywide “approached making loans like making widgets, focusing on cost to
 4   produce and not risk or compliance.” Koss, who spent four years running fifty-
 5   four Countrywide branches in New England and upstate New York, stated that it
 6   was well known within Countrywide that the “Fast and Easy Loans” programs
 7   were abused and misused by loan officers who were more concerned with “getting
 8   the deal done.”
 9         255. According to an article by William K. Black and L. Randall Wray
10   (both professors of economics at the University of Missouri, Kansas City) for the
11   Huffington Post on November 4, 2010, a review of the high delinquency rates for
12   Countrywide loans acquired by Bank of America leads to the conclusion that fraud
13   must have been rampant in Countrywide’s loan originations:
14         [T]hese data suggest that the delinquency/foreclosure rate for
15         Countrywide-originated mortgages must have been well over 20
16         SHUFHQW í RYHU WHQ WLPHV WKH QRUPDO GHOLQTXHQF\ UDWH DQG IRXU WLPHV
17         the traditional rule of thumb for fatal losses. These exceptionally
18         large rates of horrible loans, defaulting so quickly after origination,
19         are a powerful indicator that Countrywide was engaged in accounting
20         control fraud.
21         256. The     Mortgage    Guaranty      Insurance   Corporation   (“Mortgage
22   Guaranty”), an insurer of mortgage lenders against borrower defaults, is also
23   embroiled in litigation with Countrywide. Mortgage Guaranty filed an arbitration
24   demand against Countrywide seeking to exercise its right to refuse to pay
25   insurance claims on stated-income loans on which the borrowers defaulted,
26   claiming that Countrywide’s representations regarding the loans were “riddled with
27   materially false information.” In order to support its demand, Mortgage Guaranty
28   hired investigators to root out representative examples of Countrywide’s fraud, and

                                            105                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 123 of 439 Page ID #:123



 1   provided ten of these representative examples in the complaint. In one example, a
 2   borrower’s application listed his occupation as a dairy foreman with a monthly
 3   stated income of $10,500. With those credentials, he qualified for a $350,000
 4   primary residence mortgage loan with a reported debt-to-income ratio of 43.26%,
 5   within Mortgage Guaranty’s eligibility threshold. After the borrower defaulted and
 6   Countrywide submitted a claim to Mortgage Guaranty, the insurer investigated the
 7   claim and uncovered the following facts: the borrower was actually a dairy milker
 8   making $1,100 per month who was not purchasing the home as a primary
 9   residence, and had a debt-to-income ratio of 403.40%, nearly ten times higher than
10   what was represented by Countrywide. What is most shocking is that the borrower
11   disclosed all of this information to the Countrywide loan officer:
12         [The borrower] disclosed his true employment, his actual income, and
13         his intention to help [borrower’s son] purchase the property to loan
14         officer [redacted]. [Loan officer] falsely informed [borrower] that
15         [borrower] could help his son buy the home without bearing
16         responsibility for the monthly mortgage payments. [Loan officer]
17         described the transaction to [borrower] as “lending your son your
18         credit.” [Borrower], who cannot read English, signed the closing
19         documents where [loan officer] told him to. [Loan officer] knew that
20         [borrower] never intended to live at the property or to make any
21         mortgage payments. The mortgage broker was completely aware of
22         this fraud, according to the complaint. Nonetheless, the borrower got a
23         $350,000 mortgage.
24         257. The other examples in the Mortgage Guaranty action provide similar
25   evidence of misfeasance, including inflated debt-to-income based on falsified
26   income and loan-to-value ratios due to falsified appraisals, along with other
27   deficiencies, all stemming from stated or reduced documentation loan applications
28   which made it easy for the borrower and loan officer to falsify information. The

                                             106                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 124 of 439 Page ID #:124



 1   complaint by Mortgage Guaranty reads: “By about 2006, Countrywide’s internal
 2   risk assessors knew that in a substantial number of its stated-income loans – fully a
 3   third – borrowers overstated income by more than 50 percent.” The complaint
 4   adds, “Countrywide deliberately disregarded these and other signs of fraud in order
 5   to increase its market share.”
 6         258. Despite Mozilo’s public statements criticizing other lenders for
 7   engaging in predatory lending practices, Countrywide has been the target of
 8   numerous state and federal investigations and proceedings regarding its lending,
 9   underwriting, and appraisal practices during the Relevant Period.
10         259. To date, Countrywide has entered into agreements to settle charges of
11   violations of predatory lending, unfair competition, false advertising, and banking
12   laws with the Attorneys General of at least thirty-nine states, including Alaska,
13   Arizona, California, Colorado, Connecticut, Delaware, Florida, Georgia, Iowa,
14   Idaho, Illinois, Indiana, Kansas, Kentucky, Louisiana, Maryland, Maine, Michigan,
15   Mississippi, Montana, Nebraska, Nevada, New Jersey, New Mexico, North
16   Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island,
17   South Dakota, Tennessee, Texas, Virginia, Washington, West Virginia, Wisconsin,
18   and Wyoming. The Attorneys General of these states alleged that Countrywide
19   violated state predatory lending laws by (i) making loans it could not have
20   reasonably expected borrowers to be able to repay; (ii) using high pressure sales
21   and advertising tactics designed to steer borrowers towards high-risk loans; and
22   (iii) failing to disclose to borrowers important information about the loans,
23   including the costs and difficulties of refinancing, the availability of lower cost
24   products, the existence and nature of prepayment penalties, and that advertised low
25   interest rates were merely “teaser” rates that would adjust upwards dramatically as
26   soon as one month after closing.
27         260. These settlements include a landmark, multi-state $8.68 billion
28   settlement to provide foreclosure and financial relief for those victimized by

                                             107                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 125 of 439 Page ID #:125



 1   Countrywide’s lending practices, including up to $3.5 billion to California
 2   borrowers.      Pursuant to the agreement, Bank of America agreed to pay to
 3   restructure (modify) up to 390,000 Countrywide subprime and Pay-Option ARM
 4   loans.     “With this settlement, homeowners will receive direct relief from the
 5   catastrophic damage caused by Countrywide,” said California’s then-Attorney
 6   General Jerry Brown. “Countrywide’s lending practices turned the American
 7   dream into a nightmare for tens of thousands of families by putting them into
 8   loans they couldn’t understand and ultimately couldn’t afford.”
 9            261. The substantiated allegations in the complaints filed as part of these
10   investigations further confirm the internal Countrywide documents and insider
11   testimony discussed herein.         For example, the Illinois Attorney General
12   investigated Countrywide’s loan practices and, on June 25, 2008, filed an action in
13   the Chancery Division of the Circuit Court of Cook County, Illinois, entitled
14   Illinois v. Countrywide Fin. Corp., et al., No. 08CH22994 (the “Illinois AG
15   Complaint”). The California Attorney General also investigated Countrywide’s
16   lending activities and filed a complaint in the Northwest District of the Superior
17   Court for Los Angeles County, entitled California v. Countrywide Fin. Corp., et
18   al., No. LC081846 (the “California AG Complaint”). Many of the allegations in
19   the Illinois and California AG Complaints were confirmed by investigations in
20   other states such as Connecticut, Washington, West Virginia, Indiana and Florida.
21   Significantly, on October 6, 2008, Countrywide announced that it had settled the
22   claims brought by eleven states, including California and Illinois, agreeing to
23   implement an estimated $8.4 billion program to modify pre-2008 Countrywide-
24   originated mortgages.
25            262. According to the Illinois AG Complaint, Countrywide employees
26   whom the Illinois Attorney General interviewed stated that Countrywide originated
27   loans that did not meet its underwriting criteria because Countrywide employees
28   were incentivized to increase the number of loan originations without concern for

                                              108                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 126 of 439 Page ID #:126



 1   whether the borrowers were able to repay the loans. With respect to stated income
 2   loans, Countrywide employees explained to the Illinois Attorney General that,
 3   while Countrywide had a “reasonableness standard” in order to check fraudulent
 4   stated income, employees were only required to use their judgment in deciding
 5   whether or not a stated income loan seemed reasonable.            To supplement an
 6   employee’s judgment as to whether or not a potential borrower’s income was
 7   “reasonable,” beginning in 2005, Countrywide required its employees to utilize a
 8   website, www.salary.com, to determine the reasonableness of a potential
 9   borrower’s stated income.        However, this website was actually used by
10   Countrywide employees to gauge how much income needed to be “stated” in order
11   to approve the loan, regardless of whether that stated income was legitimate. Even
12   if the stated salary was outside of the range provided by the website, Countrywide
13   employees could still approve the loan.
14         263. A former California loan officer for Countrywide quoted in the
15   California AG Complaint further explained that Countrywide’s loan officers
16   typically explained to potential borrowers that “with your credit score of X, for this
17   house, and to make X payment, X is the income that you need to make,” after
18   which the borrower would state that he or she made X amount of income.
19         264. The Illinois AG Complaint also alleges that Countrywide employees
20   did not properly ascertain whether a potential borrower could afford the offered
21   loan, and many of Countrywide’s stated income loans were based on inflated
22   estimates of borrowers’ income.       For example, according to the Illinois AG
23   Complaint: (i) a Countrywide employee estimated that approximately 90% of all
24   reduced documentation loans sold out of a Chicago office had inflated incomes;
25   and (ii) one of Countrywide’s mortgage brokers, One Source Mortgage Inc.,
26   routinely doubled the amount of the potential borrower’s income on stated income
27   mortgage applications.
28

                                               109                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 127 of 439 Page ID #:127



 1         265. Similar to the Illinois AG Complaint, the California AG Complaint
 2   also alleged that Countrywide departed from its stated underwriting standards. For
 3   example, the California AG Complaint alleged that employees were pressured to
 4   issue loans to unqualified borrowers by permitting exceptions to underwriting
 5   standards, incentivizing employees to extend more loans without regard to the
 6   underwriting standards for such loans, and failing to verify documentation and
 7   information provided by borrowers that allowed them to qualify for loans. The
 8   California AG Complaint further alleged that Countrywide deceived borrowers by
 9   misrepresenting loan terms, loan payment increases, and borrowers’ ability to
10   afford loans.
11         266. Countrywide’s predatory lending was also the subject of an
12   investigation by a panel of the United States Senate. During an August 29, 2007
13   press conference, reported in The Wall Street Journal, the panel’s chairman,
14   Senator Charles Schumer, stated:
15         [Countrywide] brokers . . . can earn an extra 1 percent of the loan’s
16         value in commission by adding a three-year prepayment penalty to
17         loans . . . . “Countrywide’s most lucrative brokers are those that make
18         bad loans that are largely designed to fail the borrower.”
19         267. Finally, according to the FCIC Report, Countrywide had about 5,000
20   internal referrals of potentially fraudulent activity in its mortgage business in 2005,
21   10,000 in 2006, and 20,000 in 2007, according to Francisco San Pedro, the former
22   Senior Vice President of Special Investigations at the Company. But it filed only
23   855 Suspicious Activity Reports with the Financial Crimes Enforcement Network
24   in 2005, 2,895 in 2006, and 2,261 in 2007.
25         268. Countrywide also failed to disclose that it used the appraisal process
26   to inflate the purported value of properties because doing so would result in lower
27   LTV ratios. A lower LTV ratio would allow a loan to be approved when it
28   otherwise would not be, and would appear less risky to Plaintiffs and other

                                              110                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 128 of 439 Page ID #:128



 1   investors. But loans based on inflated appraisals are more likely to default and less
 2   likely to produce sufficient assets to repay the second lien holder in foreclosure.
 3   Part of Countrywide’s plan to increase market share and to make as many loans as
 4   possible also involved the practice of pressuring and intimidating appraisers –
 5   many of which were affiliated with Countrywide and thus had a conflict of interest
 6   – into using appraisal techniques that met Countrywide’s business objectives even
 7   if the use of such appraisal techniques was improper and in violation of industry
 8   standards and routinely circumvented.         Defendants knew the appraisals were
 9   inaccurate because, as detailed herein, Countrywide itself required the use of
10   specific appraisers, pressured appraisers to falsely inflate the appraised values, and
11   blacklisted appraisers who did not comply.
12         269. Because of the importance of appraisals in the home lending market,
13   state and federal statutes and regulations require that appraisals be accurate and
14   independent.     The Uniform Standards of Professional Appraisal Practice
15   (“USPAP”), incorporated into federal law, 12 C.F.R. § 34.44, requires appraisers to
16   conduct their appraisals independently: “An appraiser must perform assignments
17   with impartiality, objectivity, and independence, and without accommodation of
18   personal interests. In appraisal practice, an appraiser must not perform as an
19   advocate for any party or issue.” USPAP Ethics Rule (Conduct).
20         270. A civil complaint filed by a real estate appraisal company Capitol
21   West Appraisals, LLC (“Capitol West”) provides compelling evidence that
22   Countrywide encouraged and engaged in a practice of pressuring real estate
23   appraisers to artificially increase appraisal values for properties underlying
24   mortgages Countrywide originated and/or underwrote.              According to the
25   complaint, Countrywide loan officers sought to pressure Capitol West to increase
26   appraisal values for three separate loan transactions. When Capitol West refused to
27   vary the appraisal values from what it independently determined was appropriate,
28   Countrywide placed Capitol West on its “Field Review List,” or an Exclusionary

                                             111                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 129 of 439 Page ID #:129



 1   List. The Field Review List or Exclusionary List was a Countrywide database
 2   containing the names of appraisers whose reports Countrywide would not accept
 3   unless the mortgage broker also submitted a report from a second appraiser.
 4   According to the complaint, the practical effect of being placed on the Field
 5   Review List was to be “blacklisted” í QR PRUWJDJH EURNHU ZRXOG KLUH DQ DSSUDLVHU
 6   appearing on the Field Review List to review a property sale in which Countrywide
 7   would be the lender because the broker simply would not pay to have two
 8   appraisals done. Instead, the broker would simply retain another appraiser who
 9   was not on the Field Review List. While an honest lender might have a legitimate
10   purpose to maintain a list of appraisers it was unwilling to use, Capitol West
11   claimed that Countrywide was falsely and fraudulently using their Exclusionary
12   List to punish and retaliate against appraisers who even attempted to maintain the
13   designed integrity and independence of the appraisal process.
14         271. According to Capitol West, Countrywide created certain procedures to
15   further enforce its blacklisting of uncooperative appraisers. For example, if a
16   mortgage broker were to hire an appraiser that happened to be on the Field Review
17   List, Countrywide used its wholly owned subsidiary, LandSafe, Inc. (“LandSafe”),
18   to perform an appraisal and cut off the offending appraiser. As part of the scheme,
19   LandSafe performed a “field review” of the appraisal performed by the blacklisted
20   appraiser, which was specifically intended to “shoot holes” in the appraisal.
21   LandSafe’s appraisal would then be used to complete the loan.
22         272. In addition, allegations in the whistleblower complaint filed in the
23   Southern District of Texas, Zachary v. Countrywide Fin. Corp., et al., No. 4:08-cv-
24   01464, by Mark Zachary (“Zachary”) (a former Regional Vice President of
25   Countrywide’s joint venture with KB Home), against Countrywide, confirm that
26   the Company blatantly ignored its underwriting policies and procedures by
27   knowingly relying on overstated, low-quality appraisals that failed to conform to
28   industry standards. In September 2006, Zachary informed Countrywide about the

                                            112                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 130 of 439 Page ID #:130



 1   questionable use of only one appraiser to perform all of the appraisals on KB
 2   Home properties being purchased with Countrywide’s loans.            According to
 3   Zachary, Countrywide executives knew that the appraiser was being strongly
 4   encouraged to inflate appraisal values by as much as 6% to allow homeowners to
 5   “roll up” all closing costs.   According to Zachary, this practice resulted in
 6   borrowers being “duped” as to the values of their homes. This also made loans
 7   more risky because when values were falsely increased, LTV ratios calculated with
 8   these phony numbers were necessarily incorrect.         Zachary also stated that
 9   Countrywide loan officers were permitted to discard appraisals that did not support
10   loans in favor of appraisals by replacement appraisers that supported a qualifying
11   LTV ratio.
12         273. Zachary also advised Countrywide executives that this practice misled
13   investors who later purchased these loans through securitizations because these
14   investors were not made aware that the actual home values were less than the
15   inflated appraised values. According to Zachary, the inflated appraised values put
16   buyers “upside down” on their homes immediately after purchasing them; that is,
17   the borrowers immediately owed more than their homes were worth. Thus, the
18   buyers were set up to be more susceptible to defaulting on their loans. This
19   practice also put Countrywide at risk because they deliberately were unaware of
20   the true value of the assets on which the Company was loaning money. Zachary
21   brought his concerns first to the executives of the Countrywide/KB Homes joint
22   venture, but when he was “brushed aside” by them, he turned to Countrywide
23   executives in Houston, the Company’s Employee Relations Department and finally
24   the Company’s Senior Risk Management Executives. In January 2007, an audit
25

26

27

28

                                            113                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 131 of 439 Page ID #:131



 1   was conducted and brought to the attention of these Countrywide executives which
 2   corroborated his concerns. 17
 3         274. Countrywide and its appraisal subsidiary, LandSafe, have also been
 4   sued by Fannie Mae and Freddie Mac investors for damages arising from inflated
 5   appraisals for property underlying mortgage packages sold to both Fannie Mae and
 6   Freddie Mac.
 7   VI.   DEFENDANTS CAPITALIZED ON THE FRAUD
 8         A.     Countrywide’s Compensation Structure
 9         275. Countrywide’s strategy shift from traditional lending to a “pump and
10   dump” operation was further fueled by a compensation structure, devised and
11   approved by management, that was closely linked to loan volume and not tied to
12   the quality of loans originated.     This structure facilitated a widespread and
13   pervasive abandonment of sound risk management at the Company, an increase in
14   the volume of exception loans that were processed, and an extraordinary amount of
15   falsified data entered into Countrywide’s computer systems. According to a former
16

17
     17
         The offering materials in connection with the RMBS offerings also failed to
18
     disclose Countrywide’s use of inflated appraisals. For example, prospectus
19   supplements represented, for example, that independent appraisals were prepared
     for the properties and the LTV ratios did not exceed maximums ranging from 65%
20
     to 100%, depending on the offering. These representations were false because: (i)
21   the appraisers were not independent from Countrywide, which pressured appraisers
     to provide inflated, false values; and (ii) the actual LTV ratios for many mortgage
22
     loans underlying the RMBS would have exceeded 100% if the properties had been
23   independently appraised. Offering documents also represented that over 93% of
     the RMBS were worthy of being rated “AAA,” signifying that the risk of loss was
24
     virtually non-existent, and that the remaining RMBS were worthy of being rated
25   investment grade – “AA” or “A” – signifying that the risk of loss was minimal.
     Prospectus supplements represented that “[t]he ratings . . . address the likelihood of
26
     the receipt of all distributions on the mortgage loans by the related certificate
27   holders under the agreements pursuant to which the certificates are issued.”
     Defendants, however, provided inaccurate information to the rating agencies and
28
     knew that the ratings were therefore unreliable.
                                             114                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 132 of 439 Page ID #:132



 1   sales representative quoted on August 26, 2007, in The New York Times exposé,
 2   “[t]he whole commission structure in both prime and subprime was designed to
 3   reward salespeople for pushing whatever programs Countrywide made the most
 4   money on in the secondary market.”
 5            276. Countrywide’s executives knew that the Company’s incentive
 6   compensation schemes inappropriately incentivized brokers and branch managers
 7   to sell Pay-Option ARM loans over any other mortgage product. With respect to
 8   the issue of employee compensation by mortgage lenders, the Interagency
 9   Guidance provided the following cautionary guidance:
10            Attention should be paid to appropriate legal review and to using
11            compensation programs that do not improperly encourage lending
12            personnel to direct consumers to particular products.
13                                           * * *
14            Further, institutions should consider the effect of employee incentive
15            programs that could produce higher concentrations of nontraditional
16            mortgage loans.
17            277. Notwithstanding this clear guidance, Countrywide awarded its lending
18   personnel powerful incentives to approve loans regardless of quality. According to
19   a February 2008 article in The Wall Street Journal, Countrywide was so focused on
20   growing loan origination that in at least one building, oversized replicas of monthly
21   bonus checks were hung above employees’ cubicles so everyone could see which
22   employees were most successful in originating new mortgages. Brokers who
23   induced borrowers to take out subprime loans were even rewarded in some
24   instances by prizes such as all-expense-paid trips to Las Vegas. According to an
25   October 27, 2007 article, the Company secretly encouraged employees to sell
26   Pay-Option ARMs and sold them to borrowers who did not fully understand their
27   terms:
28

                                               115                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 133 of 439 Page ID #:133



 1         In one California branch office, employees could win prizes, such as a
 2         trip to Hawaii, for selling the most option ARMs, says Cindy Lau,
 3         who worked for the company for more than six years. Only a small
 4         portion of borrowers “understood the loan and knew what they were
 5         getting themselves into,” Ms. Lau adds.
 6         278. Terry Garner, a former Countrywide loan officer in Twin Falls, Idaho
 7   during the Relevant Period commented to The Wall Street Journal that pressure
 8   from superiors to boost loan volumes created “unbelievable” stress levels at
 9   Countrywide.
10         279. Countrywide also encouraged brokers to add prepayment penalty
11   terms to loans. A broker’s sales commission would be increased by 1% if he or she
12   added a three-year prepayment penalty to a loan.          Additionally, if a broker
13   convinced a borrower to take out a HELOC in addition to a mortgage loan í which
14   was commonplace in the Company’s sales of so-called 80/20 loans í the broker
15   received an extra 0.25% commission.
16         280. Simply put, Countrywide’s whole business was designed with the goal
17   of originating loans and selling them to the secondary markets as quickly as
18   possible, regardless of the quality of the loans, the suitability of the products for
19   the borrower, or the number and magnitude of exceptions to Countrywide’s
20   supposedly sound underwriting standards. Any incentive the Company (or its
21   employees) may have had to ensure that borrowers could repay the loans was
22   outweighed by the incentive to originate, bundle and sell as many loans as
23   possible; accordingly, almost anyone could get a loan from Countrywide, even if
24   he or she had very little ability to pay it back.
25         B.     Defendants’ Substantial Insider Selling
26         281. Defendants Mozilo and Sambol, as well as other Countrywide officers
27   and directors, engaged in substantial insider trading in Countrywide securities
28   during the Relevant Period while Countrywide’s stock was trading at artificially

                                               116                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 134 of 439 Page ID #:134



 1   inflated prices. This insider trading made Countrywide officers and directors
 2   absurdly rich, and reinforces the already strong inference of scienter pleaded
 3   herein. In particular, the insider trading constitutes strong evidence of a high level
 4   of scienter, given the amount and percentage of shares sold, the amount of sales
 5   compared with the officer or director’s prior trading history, and the timing of the
 6   sales.
 7            282. Rampant insider selling occurred at Countrywide during the Relevant
 8   Period. Between 2004 and the end of 2007, Countrywide officers and directors
 9   sold nearly $850 million of their stock at artificially inflated prices, led by Mozilo
10   (who sold over $476 million); President and COO Kurland (who sold over $191
11   million); and COO Sambol (who sold over $69 million).
12            283. The amount and percentage of the insider sales during the Relevant
13   Period were extraordinarily large. Mozilo’s Relevant Period sales of Countrywide
14   common stock, for example, totaled nearly a half-billion dollars, representing
15   almost 75% of the total shares he had available for sale during the Relevant Period.
16   He disposed of over thirteen million shares at an average price of over $35.00. By
17   comparison, after the fraud was fully revealed, Bank of America valued
18   Countrywide at only $4.33 per share.
19            284. Kurland, Countrywide’s President and COO from before the Relevant
20   Period until September 2006, sold nearly $200 million of his stock, representing
21   more than 90% of his total holdings. Likewise, Sambol sold nearly half of his total
22   holdings, for proceeds of more than $64 million.
23            285. The chart below summarizes the sale of significant amounts of
24   Countrywide common stock by Mozilo, Kurland, Sambol, and certain other
25   officers and directors of the Company:
26

27

28

                                              117                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 135 of 439 Page ID #:135



 1
      Defendant               Date Of Sales      Shares Disposed           Proceeds
 2
      Mozilo                5/5/04 – 10/12/07          13,344,835   $476,487,845.75
 3
      Kurland                1/7/04 – 10/9/06           5,532,843   $196,621,453.71
 4
      Sambol                 1/2/04 – 7/19/07           1,849,405    $69,878,744.13
 5
      Garcia                3/12/04 – 6/21/07           1,638,595    $64,264,344.81
 6
      Robertson            11/15/05 – 7/27/07             272,000    $10,215,668.00
 7
      Dougherty            11/29/04 – 6/15/07             227,905     $9,191,552.73
 8
      Snyder               9/21/04 – 12/19/06             206,400     $7,960,864.30
 9
      Cisneros             11/29/04 – 5/30/07             153,475     $5,637,373.36
10
      Donato               12/29/04 – 12/15/06            151,370     $5,461,032.90
11
      Cunningham             4/3/06 – 2/2/07               75,000     $3,006,700.00
12
      TOTALS                                           22,169,086   $848,598,338.75
13

14         286. In addition to being substantial in absolute and percentage terms, the
15   insider selling was extraordinary when compared to prior selling activity. For
16   example, Mozilo’s Relevant Period shares sales increased over 300% compared to
17   the number of shares he sold during the equal-length period immediately preceding
18   the Relevant Period, beginning March 16, 2000 and ending March 11, 2004 (the
19   “Control Period”), as demonstrated below:
20

21

22

23

24

25

26

27

28

                                           118                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 136 of 439 Page ID #:136



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12
           287. The proceeds from Mozilo’s sales also increased dramatically – over
13
     800% from the Control Period, as demonstrated below:
14

15

16

17

18

19

20

21

22

23

24

25

26         288. Likewise, Sambol’s sales tripled, and Kurland’s sales quadrupled
27   during the Relevant Period when compared to their respective stock sales during
28

                                          119                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 137 of 439 Page ID #:137



 1   the Control Period.     The contrast is striking whether measured in terms of
 2   percentages, shares, or dollars.
 3         289. This high rate of selling is particularly suspicious because it occurred
 4   just as Countrywide initiated two stock repurchase programs, the first on
 5   October 24, 2006, and the second on May 16, 2007.               In October 2006,
 6   Countrywide authorized a share repurchase program of up to $2.5 billion, signaling
 7   to the market that the Company believed its shares to be underpriced.18 The
 8   market reaction to this announcement, and Defendants’ other false and misleading
 9   statements detailed herein, was strong. From November 2006 to February 2007,
10   Countrywide’s share price rose over $6.50 per share to arrive at an all-time high of
11   $45.03 per share on February 2, 2007. While publicly proclaiming through the
12   repurchase announcement that Countrywide shares were being traded at a bargain
13   price, however, senior officers and directors were aggressively liquidating their
14   own stock holdings. In the fourth quarter of 2006 alone, the Company spent $1.5
15   billion repurchasing 38,639,876 shares with an average price of $38.83 per share.
16   At the same time, Company officers and directors sold over 1.2 million shares of
17   Countrywide stock, to correspond with the repurchase program and increased share
18   price, for profits of approximately $52 million. Then, in the second quarter of
19   2007, the Company spent an additional $900 million to repurchase 21,503,512
20   shares at an average price of $40.37 per share. At the same time, Company officers
21   and directors sold approximately 2.5 million shares of Countrywide stock for
22   profits of approximately $96 million while the Company repurchased shares. In
23

24

25
     18
         As the Daily News of Los Angeles noted in reporting on Countrywide’s first
26
     $2.5 billion stock, “[c]ompanies typically buy back stock when they think it is
27   undervalued.” Gregory J. Wilcox, Housing Slowdown Costs Jobs, Daily News of
     L.A., Oct. 25, 2006. However, insiders usually sell their personal stock when they
28
     believe it is overvalued.
                                            120                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 138 of 439 Page ID #:138



 1   effect, the Company was increasing or supporting the stock price while allowing
 2   insiders to sell at the artificially inflated prices.
 3          290. As Judge Pfaelzer queried in denying Defendants’ motion to dismiss
 4   in the related derivative case, “How could the [Countrywide] Board members
 5   approve a repurchase of $2.4 billion dollars worth of stock, and nearly
 6   contemporaneously liquidate $148 million of their personal holdings just months
 7   before the stock dropped some 80-90%?”
 8          291. The insider trading is even more suspicious considering Mozilo’s
 9   frequent revisions to his supposedly “passive” Rule 10b5-1 stock sale plan to sell
10   additional shares each month, all while the Company incurred billions from
11   repurchasing its own shares.
12          292. Rule 10b5-1 stock sale plans were created to allow corporate insiders
13   to sell stock based on predetermined triggers, like specified dates or prices, without
14   any direct involvement. Recent academic studies have argued that executives are
15   manipulating such plans, which have been described as “Mozilo plans” due to his
16   extensive use of them. As a senior compensation analyst for the Corporate Library
17   told the Los Angeles Business Journal, “[t]his Mozilo clause is clearly a loophole
18   in the entire trading system . . . it’s obviously a way for executives like him to
19   enrich themselves, and it’s highly convenient that most of his transactions tend to
20   coincide with a negative earnings release.”
21          293. As CEO, Mozilo was the public face of Countrywide and its biggest
22   booster. And for years, he backed-up his cheerleading by accumulating equity in
23   Countrywide and insisting that for as long as he worked there, he would not sell
24   any Countrywide stock except to the extent he was forced to do so by expiring
25   purchase options. In late 2006, however, Mozilo experienced a change of heart.
26   During that year, as detailed below, Mozilo became aware of numerous red flags
27   concerning Countrywide’s deteriorating underwriting guidelines and practices, its
28   eroding credit risk profile and ability to manage that risk, the state of its portfolio,

                                                 121                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 139 of 439 Page ID #:139



 1   and the significant threats these trends posed to the Company’s financial well-
 2   being. For example, he learned that Countrywide would be forced to repurchase
 3   FHUWDLQ VXESULPH VHFRQG PRUWJDJHV í ZKLFK KH GHVFULEHG DV “toxic” and “the most
 4   dangerous product in existence” í EHFDXVH RI “errors in both judgment and
 5   protocol” by Countrywide. He received data that loan quality was deteriorating
 6   beyond expectations on pay-option adjustable loans, with a resulting increase in
 7   credit risk to Countrywide. Indeed, Mozilo urged others in senior management to
 8   sell off the pay-option loans held in the portfolio of Countrywide’s internal bank
 9   because the Company was “flying blind” as to the true severity of the credit risk
10   they posed. Moreover, Mozilo knew by late 2006 that subprime loans originated in
11   2006 would be the worst performing in history, in significant part because of
12   Countrywide’s virtual abandonment of its purportedly “prudent” underwriting
13   standards.
14         294. Mozilo, therefore, began to hedge his bets. On October 27, 2006,
15   Mozilo executed two trading plans, one designed to sell 3,989,588 shares of
16   Countrywide stock and one designed to sell another 91,999 shares. This was done
17   just as Countrywide was approving the substantial share repurchase described
18   above. Further, Mozilo gave final approval to create this plan on September 25,
19   2006, a mere one day before sending his internal email detailed above stating that
20   Countrywide was “flying blind” regarding the performance of its Pay-Option
21   loans. On November 13, 2006, Mozilo executed a trading plan designed to sell
22   another 100,000 shares of Countrywide stock.        On December 12, 2006, he
23   executed a trading plan to sell another 1,389,580 shares of Countrywide stock.
24   Contemporaneous with entering into this plan, Mozilo acknowledged to
25   Countrywide’s Board of Directors that Countrywide had lowered underwriting
26   guidelines in every conceivable area, thereby increasing the Company’s credit risk
27   exposure. And, on February 2, 2007, Mozilo amended the December plan to sell
28   an additional 1,393,197 shares (bringing the total number of shares to be sold

                                           122                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 140 of 439 Page ID #:140



 1   under the December plan to 2,782,777). The shares sold pursuant to those trading
 2   plans yielded Mozilo gross profits (net of the strike prices) of more than
 3   $140,000,000.
 4             295. On September 29, 2007, The Los Angeles Times published an article
 5   titled:     “CEO sold as stock dropped; Countrywide’s Mozilo made changes to
 6   trading plan that raise red flags, experts say. Firm says sales followed policy.” The
 7   article quoted noted experts finding the sales very suspicious:
 8             Although trading plans usually protect executives against allegations
 9             that they traded on inside information, experts say Mozilo may have
10             weakened his defense by making changes in a relatively short period
11             of time.
12             “This raises a slew of red flags,” said Andrew Stoltmann, a Chicago-
13             based securities lawyer.     “Anytime you have revisions or modified
14             plans . . . it is extremely suspicious.”
15                                            *      *    *
16             Thom F. Carroll, a financial planner with the Baltimore wealth
17             management firm Carroll, Frank & Plotkin, said revising such a plan
18             puts an executive “on a slippery slope.”
19             “There are circumstances where the plans could be amended, but you
20             better have a good reason because it’s defeating the basis of the rule,”
21             Carroll said. “If a guy is changing his plan around, I would think that
22             would send up a red flag. I wouldn’t allow my clients to do it.”
23             296. The following diagram, published in an article titled “Mozilo’s stock
24   trades questioned,” by The Los Angeles Times, on October 12, 2007, illustrates
25   Mozilo’s repeated amendments of his supposedly “passive” stock sales program
26   just before the collapse of Countrywide’s stock price:
27

28

                                                  123                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 141 of 439 Page ID #:141



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15         297. As Judge Pfaelzer recognized in denying defendants’ motion to
16   dismiss in the related derivative action, Mozilo’s repeated amendments to his
17   trading plans to multiply the number of shares he was selling at the peak of
18   Countrywide’s stock price “defeat the very purpose of 10b5-1 plans, which were
19   created to allow corporate insiders to ‘passively’ sell their stock based on triggers.”
20   VII. DEFENDANTS’ MATERIALLY FALSE
          AND MISLEADING STATEMENTS AND OMISSIONS
21

22         298. During the Relevant Period, Defendants made many untrue statements
23   of material fact and many material omissions necessary to make their statements
24   not misleading. These statements generally fall within three broad categories.
25   First, Defendants issued false statements regarding the Company’s underwriting
26   practices. In fact, at the same time Countrywide loosened and abandoned its loan
27   origination and underwriting standards, it falsely assured investors and analysts
28   that the Company’s policies and procedures for underwriting loans were tightly

                                              124                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 142 of 439 Page ID #:142



 1   controlled, conservative, superior, disciplined and “designed to produce high
 2   quality loans.”      Second, Defendants issued false statements regarding the
 3   Company’s exposure to the subprime market.         Third, Defendants issued false
 4   financial results.
 5         A.     The Company’s False
                  Statements Regarding 2003 Results
 6
                  1.      2003 Form 10-K
 7

 8         299. The Relevant Period begins on March 12, 2004, when Countrywide
 9   filed its Annual Report for 2003 with the SEC on Form 10-K (“2003 Form 10-K”).
10   The report was signed by Defendant Mozilo and others.
11         300. The 2003 Form 10-K reported consolidated loan production by loan
12   type. Specifically, prime first mortgage loans equaled $396,934,000,000, prime
13   home equity loans equaled $18,103,000,000, and subprime mortgage loans equaled
14   $19,827,000,000. Subprime mortgages produced equaled 4.6% of the total dollar
15   amount of loans produced at year end.
16         301. The Company also reported Mortgage Banking loan production by
17   loan type in the 2003 Form 10-K. Mortgage Banking produced $12,268,000,000
18   in prime home equity loans and $15,525,000,000 in subprime loans at year end.
19   Prime home equity loans and subprime loans equaled 7.0% of the total Mortgage
20   Banking loans originated at year end.
21         302. Furthermore, the Company reported that prime and prime home equity
22   loans held for investment (“LHI”) equaled $22.0 billion at year end.
23          303. In a section of the 2003 Form 10-K titled “Secondary Mortgage
24   Market,” the Company stated that:
25          [w]e ensure our ongoing access to the secondary mortgage market by
26          consistently producing quality mortgages . . . As described elsewhere
27          in this document, we have a major focus on ensuring the quality of
28          our mortgage loan production. . . .

                                             125                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 143 of 439 Page ID #:143



 1         304. In a section of the 2003 Form 10-K titled “Mortgage Credit Risk,” the
 2   Company described its Credit Policy, portraying it as a tightly controlled and
 3   supervised process “designed to produce high quality loans” through a rigorous
 4   pre-loan screening procedure and post-loan auditing and appraisal and
 5   underwriting reviews:
 6         Mortgage Credit Risk
 7         Overview
 8         In our mortgage lending activities, we manage our credit risk by
 9         producing high quality loans . . . .
10                                          ***
11         Loan Quality
12         Our Credit Policy establishes standards for the determination of
13         acceptable credit risks. Those standards encompass borrower and
14         collateral quality, underwriting guidelines, and loan origination
15         standards and procedures.
16         Borrower quality includes consideration of the borrower’s credit and
17         capacity to pay. We assess credit and capacity to pay through . . .
18         manual or automated underwriting of additional credit characteristics.
19                                          ***
20         Our loan origination standards and procedures are designed to
21         produce high quality loans.            These standards and procedures
22         encompass underwriter qualifications and authority levels, appraisal
23         review requirements, fraud prevention, funds disbursement controls,
24         training of our employees and on-going review of their work. . . . In
25         addition, we employ proprietary underwriting systems in our loan
26         origination process that improve the consistency of underwriting
27         standards, assess collateral adequacy, and help to prevent fraud, while
28         at the same time increasing productivity.

                                             126                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 144 of 439 Page ID #:144



 1         In addition to our pre-funding controls and procedures, we employ an
 2         extensive post funding quality control process. Our quality control
 3         department, under the direction of the Chief Credit Officer, is
 4         responsible for completing comprehensive loan audits that consist of a
 5         re-verification of loan documentation, an in depth underwriting and
 6         appraisal review, and if necessary, a fraud investigation. We also
 7         employ a post-funding proprietary loan performance evaluation
 8         system.    This system identifies fraud and poor performance of
 9         individuals and business entities associated with the origination of our
10         loans. The combination of this system and our audit results allows us
11         to evaluate and measure adherence to prescribed underwriting
12         guidelines and compliance to laws and regulations to ensure that
13         current loan production represents acceptable credit risk, as defined
14         by the Board of Directors.
15         305. Further assuring investors of the veracity of the information contained
16   in the 2003 Form 10-K, the report included the Sarbanes-Oxley Act certifications
17   signed by Mozilo. The certifications falsely stated, in part, that: (a) the Form 10-K
18   “does not contain any untrue statement of a material fact or omit to state a material
19   fact necessary to make the statements made, in light of the circumstances under
20   which such statements were made, not misleading”; (b) the financial statements
21   “fairly present in all material respects the financial condition, results of operations
22   and cash flows” of Countrywide; and (c) “[a]ll significant deficiencies and material
23   weaknesses in the design or operation of internal control over financial reporting
24   which are reasonably likely to adversely affect [Countrywide’s] ability to record,
25   process, summarize and report financial information” were “disclosed.”
26         306. The statements referenced above in the 2003 Form 10-K were
27   materially false and misleading when made. As set forth herein, management’s
28   statements relating to the volume of loans produced, the amount of revenues from

                                              127                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 145 of 439 Page ID #:145



 1   the sale of prime loans and the value of prime LHI were false and misleading
 2   because Countrywide misclassified subprime loans as prime loans. See Section
 3   V.F. Countrywide’s statements that it “consistently produce[d] quality mortgages”
 4   and that its “loan origination standards and procedures are designed to produce
 5   high quality loans” were false and misleading because Countrywide loosened and
 6   abandoned its underwriting guidelines beginning in 2003 and through the period
 7   alleged in this Complaint, to increase loan volume without regard to loan quality
 8   and to increase earnings and market share, and also for the reasons set forth in
 9   Sections V.C. and V.G. Moreover, the Sarbanes-Oxley Act certifications signed by
10   Mozilo were false and misleading because the 2003 Form 10-K contained untrue
11   statements of material fact or omitted to state material facts necessary to make the
12   statements made not misleading. See Sections V.C. and V.F.
13         307. Analysts reacted positively to the materially false and misleading
14   statements made in the 2003 Form 10-K. For example, on March 26, 2004,
15   Lehman Brothers issued a report in which it reiterated an overweight rating for
16   Countrywide. “Despite the unlikel[i]hood of any net MSR recovery during the
17   quarter, we expect CFC to earn MORE, which again demonstrates the resiliency of
18   its business model. We reiterate our 1-Overweight rating.”
19         308. On March 26, 2004, Piper Jaffray reiterated its:
20         Outperform rating and [stated that they] are raising . . . [the] target
21         price to $135 from $134. . . . We believe CFC is fundamentally well
22         positioned to deliver double-digit long-term earnings growth.
23         B.    The Company’s False
                 Statements Regarding 2004 Results
24
                 1.     First Quarter 2004 Form 8-K
25

26         309. On April 21, 2004, Countrywide filed a Form 8-K, signed by then-
27   President Kurland, attaching a press release that announced the Company’s
28   financial results for the first quarter of 2004. In the press release, Countrywide

                                            128                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 146 of 439 Page ID #:146



 1   reported gain-on-sale of loans and securities of $1,358,667,000, revenues of
 2   $2,214,903,000, net earnings of $690,972,000, and diluted earnings per share of
 3   $2.22 for the quarter. The Company also reported net LHI of $29,940,700,000,
 4   allowance for loan losses of $93,054,000, net MSR of $6,406,491,000, total assets
 5   of $100,279,813,000, total liabilities of $91,493,807,000, and total shareholders’
 6   equity of $8,786,006,000.
 7         310. These figures in the Form 8-K were materially false and misleading
 8   when made as detailed in Section VIII.A. and because the Company overstated the
 9   fair value of its RIs, LHI and MSR, understated ALL, understated liabilities related
10   to R&Ws, and overstated net earnings and total shareholders’ equity.
11                2.     First Quarter 2004 Conference Call
12         311. After issuing the press release on April 21, 2004, the Company hosted
13   a conference call for investors and analysts (the “April 21, 2004 Conference Call”),
14   and made a number of false and misleading statements consistent with the
15   Company’s press release.
16         312. During the April 21, 2004 Conference Call an analyst from Basswood
17   Partners asked Mozilo to explain the functionalities of an ARM. In response,
18   Mozilo asserted that an ARM product is “a great product, a prime product for the
19   bank, as long as it fits within the regulatory bounds that are set for the bank.”
20         313. On the same conference call, Mozilo responded to an analyst’s
21   concern about the Company’s subprime lending by representing that Countrywide
22   understood the subprime business better than its competitors:
23         I think using what our competitors do as barometer will put you down
24         the wrong path. We are a very different, focused company that
25         understands this product very well, how to originate it, how to
26         manage it, how to underwrite, how to service it. And so we look at -
27         the short answer to your question is - we look at this sub-prime
28         business as a - one that has to be carefully manage[d] . . . .

                                              129                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 147 of 439 Page ID #:147



 1            314. On the same conference call, Mozilo, responding to an analyst’s
 2   question about the potential risks from originating nontraditional, riskier loans,
 3   such as subprime loans, falsely stated that Countrywide had taken a more
 4   disciplined approach than its competitors, that it was not involved in the “frothy
 5   business” that others engaged in and that it was properly monitoring subprime
 6   risks:
 7            There is very, very good solid sub-prime business and there is this
 8            frothy business that you relate to. And you have to - when you’re
 9            doing [your] analysis, what is the average FICO scored [sic] of these.
10            Because you can get so deep into this marginal credit that you can
11            have serious problems where you are taking 400 FICOs with no
12            documentation; that is dangerous [stuff]. So think it is very important
13            that you understand the disciplines that the Company had, particularly
14            that Countrywide has, which are very strong disciplines in the
15            origination of sub-prime loans. And maintaining that discipline is
16            critically important to us. I don’t think, when you look at sub-prime,
17            you have to look at it in various tranches, and we are at the high end
18            of that tranche.
19            315. When an analyst asked if subprime mortgages would ever be held for
20   investment on Countrywide’s books, Kurland responded that Countrywide did not
21   plan to ever hold subprime mortgages as an investment on its books. Specifically,
22   Kurland stated that:
23            We don’t intend to maintain as an investment sub-prime mortgages on
24            our balance sheet. . . . [T]here is no intention at all to ha[ve] a
25            permanent investment in a pool of sub-prime loans.
26            316. The statements made during the April 21, 2004 Conference Call were
27   false and misleading when made. None of the Officer Defendants issued any
28   corrections to Kurland’s statements, thereby ratifying these false public statements.

                                               130                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 148 of 439 Page ID #:148



 1   The statement by Mozilo that Countrywide’s ARM loans were “prime product[s]”
 2   was false and misleading because Countrywide’s underwriting policies treated as
 3   prime many loans that should have been classified as subprime by mortgage
 4   industry standards, and Countrywide loosened and abandoned its underwriting
 5   guidelines to increase loan volume without regard to loan quality, and for the
 6   reasons set forth in Sections V.C., V.D., V.F., and V.G. Furthermore, Mozilo’s
 7   statements that Countrywide’s ARM loans were prime products, “that the
 8   Company had . . . very strong disciplines in the origination of subprime loans”; that
 9   “we are a very different focused company that understands this [subprime]
10   product”; and that Countrywide’s subprime originations were “at the high end” of
11   the subprime tranche; were false and misleading because Countrywide loosened
12   and abandoned its underwriting practices to increase loan volume without regard to
13   loan quality. See Sections V.C. and V.G. Further, Mozilo knew that the Company’s
14   underwriting policies treated as prime many loans that should have been classified
15   as subprime by mortgage industry standards.          See Section V.F.     Moreover,
16   Kurland’s statement that “[w]e don’t intend to maintain as an investment sub-prime
17   mortgages on our balance sheet” was misleading because Countrywide assumed
18   subprime risk both on and off its balance sheet since a large amount of its asset
19   residuals were derived from subprime loans. Countrywide also maintained off-
20   balance sheet subprime risk through its representations and warranties (“R&Ws”)
21   of subprime loans. See Section V.C.
22         317. Several analysts raised their recommendations, and earnings estimates
23   for Countrywide as a result of these misrepresentations, including: (1) Raymond
24   James, which reported on April 22, 2004, that “[w]e continue to rate the shares
25   Strong Buy based on their modest valuation. . . .”; and (2) Piper Jaffray, which
26   reported on April 22, 2004, that “[w]e reiterate our Outperform rating and are
27   raising our price target to $96 from $90.”         In addition, analysts described
28

                                             131                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 149 of 439 Page ID #:149



 1   Countrywide as a company that produced “loans [that] are primarily prime credit
 2   quality first-lien mortgage loans secured by single-family residences.”
 3                 3.    First Quarter 2004 Form 10-Q
 4         318. On May 7, 2004, Countrywide filed its quarterly report on Form 10-Q
 5   for the first quarter of 2004 (“2004 Form 10-Q”), signed by Kurland.               The
 6   Company reported financial results as follows.
 7         319. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 8   Countrywide described the R&Ws exposure associated with the securitization of
 9   its loans as follows: “[m]anagement does not believe that any of its off-balance
10   sheet arrangements have or are reasonably likely to have a current or future
11   material effect on our financial condition, changes in financial condition, revenues
12   or expenses, results of operations, liquidity, capital expenditures or capital
13   resources.”
14         320. The Company reported the volume of Mortgage Banking prime home
15   equity and subprime loans produced (which was included in Countrywide’s total
16   volume of loans produced). Specifically, Mortgage Banking prime home equity
17   loans produced during the quarter equaled $3,729,000,000. Mortgage Banking
18   subprime loans produced during the quarter equaled $6,048,000,000, and were
19   8.9% of total Mortgage Banking loan production for the quarter.
20         321. Kurland described the Company’s management of credit risk in the
21   following terms: “[w]e manage mortgage credit risk principally by . . . only
22   retaining high credit quality mortgages in our loan portfolio.”
23         322. In the section entitled “Controls and Procedures,” Countrywide
24   described the adequacy of its internal controls: “There has been no change in our
25   internal control over financial reporting during the quarter ended March 31, 2004
26   that has materially affected, or is reasonably likely to materially affect, our internal
27   control over financial reporting.”
28

                                              132                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 150 of 439 Page ID #:150



 1         323. Further assuring investors of the veracity of the information contained
 2   in the 2004 Form 10-Q, the report included Sarbanes-Oxley Act certifications
 3   signed by Mozilo, representing that the “report does not contain any untrue
 4   statement of a material fact” and “the financial statements, and other financial
 5   information included in this report, fairly present in all material respects the
 6   financial condition” of Countrywide.
 7         324. The statements referenced above in Countrywide’s first quarter 2004
 8   Form 10-Q were materially false and misleading for the reasons provided in ¶326
 9   below.
10               4.     Amended First Quarter 2004 Form 10-Q/A
11         325. On April 25, 2005, the Company filed its amended quarterly report on
12   Form 10-Q/A for the first quarter of 2004 (“2004 Form 10-Q/A”), signed by
13   Defendant Sieracki, among others. The Company reported gain-on-sale of loans
14   and securities of $1,117,390,000, revenues of $1,973,626,000, net earnings of
15   $543,189,000 and diluted earnings per share of $1.75 for the quarter.                    The
16   Company also reported net LHI of $29,940,700,000, allowances for loan losses
17   (“ALL”)    of    $93,054,000,   net        mortgage   servicing   rights   (“MSR”)        of
18   $6,369,646,000,    total   assets     of     $110,747,452,000,    total    liabilities    of
19   $102,109,229,000, and total shareholders’ equity of $8,638,223,000.
20         326. The Company’s statements regarding financial results as referenced in
21   ¶¶320 and 325 were materially false and misleading when made as detailed in
22   Section VIII.A. and because the Company overstated the fair value of its RIs, LHI,
23   and MSR, understated ALL, understated liabilities related to R&Ws, and
24   overstated net earnings and total shareholders’ equity.           Also, management’s
25   statements regarding the quality and volume of prime home equity and subprime
26   loans originated during the quarter were false and misleading because Countrywide
27   misclassified subprime loans as prime loans.            See Section V.F.       Moreover,
28   management’s representation that Countrywide “only retain[ed] high credit quality

                                                 133                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 151 of 439 Page ID #:151



 1   mortgages in our loan portfolio” was false because Countrywide loosened its
 2   underwriting guidelines to increase loan volume without regard to loan quality.
 3   See Sections V.C. and V.G. Moreover, the Sarbanes-Oxley Act certifications signed
 4   by Mozilo were false and misleading because the financial statements issued
 5   during the Relevant Period were materially misstated and violated Generally
 6   Accepted Accounting Principles (“GAAP”). See Section VIII.A.
 7               5.    Second Quarter 2004 Form 8-K
 8         327. On July 26, 2004, Countrywide filed a Form 8-K signed by Kurland,
 9   attaching a press release that announced the Company’s financial results for the
10   second quarter of 2004. In the press release, Defendant Mozilo noted that these
11   results were achieved in a tough environment and that Countrywide’s impressive
12   performance demonstrated its ability to “prudently manage risk.” In the press
13   release, Countrywide reported gain-on-sale of loans and securities of
14   $1,277,331,000, revenues of $2,333,104,000, net earnings of $699,623,000 and
15   diluted EPS of $2.24 for the quarter. The Company also reported net LHI of
16   $33,895,452,000, ALL of $105,839,000, net MSR of $8,334,826,000, total assets
17   of $103,753,435,000, total liabilities of $94,308,638,000, and total shareholders’
18   equity of $9,444,797,000.
19         328. These figures in the Form 8-K were materially false and misleading
20   when made because the Company’s reported value for gain-on-sale loans and
21   securities overstated the fair value of its RIs and MSRs, and also for the reasons
22   detailed in Section VIII.A.   The statements made by Mozilo and Kurland in the
23   July 22, 2004 press release were false and misleading.       Defendant Mozilo’s
24   statements regarding management’s ability to “prudently manage risk” were false
25   and misleading because Countrywide loosened its underwriting guidelines over the
26   Relevant Period to increase loan volume without regard to loan quality, engaged in
27   widespread predatory and fraudulent loan origination practices, and failed to
28

                                           134                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 152 of 439 Page ID #:152



 1   account for the increased risk of its mortgage loans. See Sections V.C., V.G., and
 2   X.
 3                6.    Second Quarter 2004 Conference Call
 4         329. On a conference call held later that day (“July 22, 2004 Conference
 5   Call”) to discuss the Company’s second quarter 2004 results, Mozilo, responding
 6   to a question from an analyst at Lehman Brothers regarding Countrywide’s
 7   provision for loan loss reserves, insisted that Company’s reserves were adequate
 8   based upon its high credit quality loans:
 9         First of all, the - in terms of loan losses, the loan losses are far below
10         what you would expect to experience in a - in this type of a bank,
11         simply because we - as a de novo institution, from both our viewpoint
12         and the regulatory viewpoint, we have focused on FICOs well above
13         the 700 - the average FICO in that portfolio is around 740, so our
14         delinquencies and foreclosures - I think foreclosures are nonexistent.
15         Delinquencies are very, very low in that entity. And I would expect
16         that that - because of the quality of that portfolio and the type of
17         loans that are in there, which are mortgage loans, assets that we
18         understand very well and know how to service, that we can expect the
19         performance that we’re seeing today to continue at a very high level.
20         330. During the call Mozilo described the controls that Countrywide had in
21   place at its bank as “very significant” and “extraordinary”:
22         There’s very significant controls in place, and I think that, you know,
23         it’s just too - you know, to any extent it gives you comfort, we are
24         regulated by the Fed. This is a deep area of their concern, as it is ours,
25         so we have extraordinary compliance and controls in place there.
26         331. Mozilo’s statements made during the July 22, 2004 Conference Call
27   were materially false and misleading when made. Specifically, Mozilo’s statement
28   that the Company’s loan loss reserves were adequate because the Company’s

                                             135                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 153 of 439 Page ID #:153



 1   portfolio purportedly contained high credit quality loans was false and misleading
 2   because Defendants failed to account for the increased risk of its mortgage loans.
 3   See Section VIII.A.2. Additionally, Mozilo’s statements touting Countrywide’s
 4   very significant and extraordinary compliance and internal controls were false and
 5   misleading because Countrywide substantially deviated from its underwriting
 6   guidelines. See Section VIII.A.6.
 7         332. These materially false and misleading statements by Countrywide and
 8   the Officer Defendants prompted positive reactions from analysts, including: (1)
 9   Raymond James, which reported on July 23, 2004, that “[w]e continue to rate the
10   shares Strong Buy based on their modest valuation . . . .”; and (2) Piper Jaffray,
11   which reported on July 23, 2004 (“2Q 2004 10-Q”), that “we continue to
12   recommend that investors purchase shares of Countrywide, which we view as the
13   strongest player in the country’s largest consumer market.”
14                7.     Second Quarter 2004 Form 10-Q
15         333. On August 6, 2004, Countrywide filed its quarterly report on Form
16   10-Q for the second quarter of 2004, signed by Kurland. The Company reported
17   financial results as detailed below.
18         334. The Company stated in the 2Q 2004 10-Q that the impairment of the
19   fair value of its other RIs equaled $178,424,000.
20         335. In the “Off-Balance Sheet Arrangements and Guarantees” section of
21   the 2Q 2004 10-Q, Countrywide described the R&Ws exposure associated with the
22   securitization of its loans as follows:
23         Management does not believe that any of its off balance sheet
24         arrangements have had or are reasonably likely to have a current or
25         future material effect on our financial condition, changes in financial
26         condition, revenues or expenses, results of operations, liquidity,
27         capital expenditures or capital resources.
28

                                               136                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 154 of 439 Page ID #:154



 1         336. In the 2Q 2004 10-Q, the Company reported the volume of Mortgage
 2   Banking prime home equity and subprime loans produced (which was included in
 3   Countrywide’s total volume of loans produced). Specifically, Mortgage Banking
 4   prime home equity loans originated during the quarter equaled $5,239,000,000.
 5         337. Mortgage Banking subprime loans originated during the quarter
 6   equaled $8,132,000,000, and were 9.2% of total Mortgage Banking loan
 7   production.
 8         338. Countrywide reported consolidated prime mortgage loans, prime
 9   home equity loans and subprime LHI in the amount of $14,015,330,000,
10   $14,818,056,000, and $137,679,000, respectively. Subprime mortgages equaled
11   less than 1% of total mortgage LHI.
12         339. In the 2Q 2004 10-Q, the Company described its management of
13   credit risk in the following terms: “[w]e manage mortgage credit risk . . . by only
14   retaining high credit quality mortgages in our loan portfolio.”
15         340. The Company concluded that there was no change in its internal
16   controls that would affect its financial reporting: “There has been no change in our
17   internal control over financial reporting during the quarter ended June 30, 2004
18   that has materially affected, or is reasonably likely to materially affect, our internal
19   control over financial reporting.”
20         341. Further assuring investors of the veracity of the information contained
21   in the 2Q 2004 10-Q, the report included Sarbanes-Oxley Act certifications signed
22   by Mozilo, representing that the “report does not contain any untrue statement of a
23   material fact” and “the financial statements, and other financial information
24   included in this report, fairly present in all material respects the financial
25   condition” of Countrywide.
26         342. The statements referenced above in Countrywide’s second quarter
27   2004 Form 10-Q were materially false and misleading for the reasons provided in
28   ¶345 below.

                                              137                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 155 of 439 Page ID #:155



 1               8.     Amended Second Quarter 2004 Form 10-Q/A
 2         343. On May 16, 2005, Countrywide filed its amended quarterly report on
 3   Form 10-Q/A for the second quarter of 2004 (“2Q 2004 10-Q/A”), signed by
 4   Sieracki and others.
 5         344. In the accompanying press release, Countrywide reported gain-on-sale
 6   of loans and securities of $1,418,973,000, revenues of $2,474,746,000, net
 7   earnings of $786,479,000, and diluted earnings per share of $2.52 for the quarter.
 8   The Company also reported net LHI of $33,895,452,000, ALL of $105,839,000,
 9   net MSR of $8,286,597,000, total assets of $116,210,789,000, total liabilities of
10   $106,826,919,000 and total shareholders’ equity of $116,210,789,000.
11         345. The Company’s statements regarding financial results as referenced in
12   ¶¶334-338, 344 were materially false and misleading when made as detailed in
13   Section VIII.A. and because the Company overstated the fair value of its RIs, LHI
14   and MSR, understated ALL, understated liabilities related to R&Ws, and
15   overstated net earnings and total shareholders’ equity. The statements made by
16   Mozilo in the July 22, 2004 press release were false and misleading. Mozilo’s
17   statements regarding management’s ability to “prudently manage risk” were false
18   and misleading because Countrywide loosened its underwriting guidelines over the
19   Relevant Period to increase loan volume without regard to loan quality, engaged in
20   widespread predatory and fraudulent loan origination practices, and failed to
21   account for the increased risk of its mortgage loans. See Sections V.C., V.G., and
22   X. Also, the statements in the 2Q 2004 10-Q/A regarding the volume of prime
23   home equity and subprime loans originated during the quarter and the quality of
24   LHI were false and misleading because Countrywide misclassified subprime loans
25   as prime loans, and also for the reasons set forth in Section V.F. Moreover, the
26   representation that Countrywide “only retain[ed] high credit quality mortgages in
27   our loan portfolio” was false because Countrywide loosened its underwriting
28   guidelines to increase the volume of loans produced without regard to loan quality.

                                            138                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 156 of 439 Page ID #:156



 1   See Sections V.C. and V.G. The statements in the 2Q 2004 10-Q/A relating to
 2   internal controls were false and misleading for the same reasons set forth in
 3   Section VIII.A.6.    Moreover, the Sarbanes-Oxley Act certifications signed by
 4   Mozilo were false and misleading because the financial statements issued by
 5   Countrywide were materially misstated and violated GAAP, and for the same
 6   reasons stated in Section VIII.A.
 7                9.     Third Quarter 2004 Form 8-K
 8         346. On October 20, 2004, Countrywide filed a Form 8-K, signed by Laura
 9   Milleman (“Milleman”), Managing Director and Chief Accounting Officer, which
10   attached a press release that announced the Company’s financial results for the
11   third quarter of 2004. In the press release, Countrywide reported gain-on-sale of
12   loans and securities of $1,188,812,000, revenues of $2,245,607,000, net earnings
13   of $582,241,000 and diluted earnings per share of $0.94 for the quarter. The
14   Company also reported net LHI of $34,928,215,000, ALL of $107,765,000, net
15   MSR of $8,153,203,000, total assets of $104,388,452,000, total liabilities of
16   $94,366,589,000, and total shareholders’ equity of $10,021,863,000.
17         347. In the press release, Mozilo again highlighted Countrywide’s ability to
18   deliver strong results in a tough environment in which interest rates rose by 50
19   basis points: “Countrywide’s financial results for the quarter - highlighted by
20   diluted earnings per share of $0.94 - once again demonstrate the strength and
21   resilience of our business model.”
22         348. These figures in the Form 8-K were materially false and misleading
23   when made because the Company’s reported value for gain-on-sale loans and
24   securities overstated the fair value of its RIs and MSRs, and also for the reasons
25   detailed in Section VIII.A. The statements contained in the October 20, 2004 Form
26   8-K and press release were materially false and misleading when made. Mozilo’s
27   statement that the third quarter financial results “demonstrate the strength and
28   resilience of our business model” was false and misleading because Countrywide

                                           139                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 157 of 439 Page ID #:157



 1   loosened its underwriting policies and substantially increased its exception
 2   processing. See Sections V.C., V.G., and VIII.A.
 3                   10.   Third Quarter 2004 Conference Call
 4         349. On a conference call held later that same day (“October 20, 2004
 5   Conference Call”) to discuss the third quarter financial results, in which Mozilo
 6   participated, the Company’s senior management discussed the third quarter 2004
 7   financial results and fourth quarter 2004 financial outlook. Mozilo touted the high
 8   quality loans held in Countrywide’s Bank portfolio: “The bank continues to focus
 9   on portfolio quality as the average FICO is now . . . 732 and the weighted
10   average LTV stands at 80%.”
11         350. During the call, an analyst with the Bank of Montreal, Jaime Weiss,
12   asked Mozilo to comment on “insider trading” of Countrywide’s stock. Mozilo
13   defended his sales, claiming they were all performed in conformity with a 10b5-1
14   trading plan:
15         My decision has been that since I’m 65 years old to exercise and
16         [sell] on done on a schedule, irrespective of the market, stock up or
17         stock down. So, I would attach no meaning to it whatsoever, those in
18         the past that attached a meaning to it, is a big loser . . . The sale by
19         myself, I think I can speak for Stan, is one of a personal nature and
20         has nothing to do with the Company.
21         351. Mozilo’s statements on the October 20, 2004 Conference Call were
22   materially false and misleading when made. Specifically, his statement regarding
23   the Company’s purported high credit quality loans with an average “FICO [of] . . .
24   732, and . . . [a] weighted average of LTV . . . at 80%” was false and misleading
25   for the same reasons set forth in Sections V.C. and V.G. Mozilo’s statement that he
26   traded his shares of Countrywide stock “irrespective of the markets” was false and
27   misleading for the same reasons set forth in Section VI.B. discussing his insider
28   sales of Countrywide stock.

                                            140                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 158 of 439 Page ID #:158



 1         352. Analysts reacted positively to Mozilo’s materially false and
 2   misleading statements. For example, on October 21, 2004, Credit Suisse First
 3   Boston issued a report that reiterated its “Outperform” rating.      ABN AMRO
 4   analysts reiterated on October 21, 2004, their “Overweight” rating with good credit
 5   quality. In fact, the analysts rated CFC, SLM Corp. and CIT Group Inc. an “A” for
 6   credit quality, with Countrywide ranking first. Moreover, ABN AMRO pointed out
 7   that Countrywide originated more loans during the quarter than any of the top three
 8   mortgage originators. Specifically, Countrywide’s mortgage production volume
 9   was $92 billion, Wells Fargo Home Mortgage was $68 billion, and Washington
10   Mutual was $61 billion for the quarter.
11         353. Several other analysts either raised or maintained their stellar
12   recommendations and earnings estimates for Countrywide as a result of
13   Defendants’ false and misleading misrepresentations, including: (1) Prudential
14   Equity Group LLC, which maintained an “Overweight” rating for Countrywide’s
15   stock; and (2) Raymond James, which issued a report on October 21, 2004, that
16   “[w]e are increasing our 2005 estimate, though, to $4.00.          We believe the
17   downslide in the stock Wednesday was understandable but overdone, and we rate
18   shares Strong Buy.”
19               11.    Third Quarter 2004 Form 10-Q
20         354. On November 8, 2004, Countrywide filed its quarterly report on Form
21   10-Q for the third quarter of 2004 (“3Q 2004 10-Q”), signed by Kurland. The
22   Company reported financial results as follows.
23         355. The Company reported that the recovery of the fair value of its other
24   retained interests equaled $162,000.
25         356. In the “Off-Balance Sheet Arrangements and Guarantees” section,
26   Countrywide described its exposure associated with the securitization of its loans
27   as follows: “[w]e do not believe that any of our off-balance sheet arrangements
28   have had or are reasonably likely to have a current or future material effect on our

                                               141                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 159 of 439 Page ID #:159



 1   financial condition, changes in financial condition, revenues or expenses, results of
 2   operations, liquidity, capital expenditures or capital resources.”
 3         357. The Company reported the volume of Mortgage Banking prime home
 4   equity and subprime loans produced (which was included in Countrywide’s total
 5   volume of loans produced). Specifically, Mortgage Banking prime home equity
 6   loans originated during the quarter purportedly equaled $6,421,000,000. Mortgage
 7   Banking subprime loans produced during the quarter equaled $9,591,000,000, and
 8   were 12.45% of total Mortgage Banking loans originated during the quarter.
 9         358. Further, Countrywide’s portfolio of mortgage LHI as of September 30,
10   2004, consisted of prime mortgages, prime home equity loans and subprime loans,
11   and were reported to amount to $18,821,053,000, $11,113,845,000 and
12   $124,768,000, respectively. Subprime mortgage loans equaled less than 1% of
13   total mortgage LHI.
14         359. The Company described its management of credit risk in the
15   following terms: “[w]e manage mortgage credit risk principally . . . by only
16   retaining high credit quality mortgages in our loan portfolio.”
17         360. The Company also reported that management’s review of the
18   Company’s disclosure controls and internal controls was “effective”: “There has
19   been no change in our internal control over financial reporting during the quarter
20   ended September 30, 2004 that has materially affected, or is reasonably likely to
21   materially affect, our internal control over financial reporting.”
22         361. Further assuring investors of the veracity of the information contained
23   in the 3Q 2004 10-Q, the report included Sarbanes-Oxley Act certifications signed
24   by Mozilo, representing that the “report does not contain any untrue statement of a
25   material fact” and “the financial statements, and other financial information
26   included in this report, fairly present in all material respects the financial
27   condition” of Countrywide.
28

                                              142                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 160 of 439 Page ID #:160



 1         362. The statements referenced above in Countrywide’s third quarter 2004
 2   Form 10-Q were materially false and misleading for the reasons provided in ¶364
 3   below.
 4                  12.    Amended Third Quarter 2004 Form 10-Q/A
 5         363. On May 16, 2005, Countrywide filed its amended quarterly report on
 6   Form 10-Q/A (“3Q 2004 10-Q/A”) for the third quarter of 2004, signed by
 7   Defendant Sieracki and others. In its 3Q 2004 10-Q/A, Countrywide reported
 8   gain-on-sale     of   loans    and   securities   of   $1,017,697,000,   revenues    of
 9   $2,109,503,000, net earnings of $498,071,000 and diluted EPS of $0.80 for the
10   quarter.   The Company also reported net LHI of $34,928,215,000, ALL of
11   $107,765,000, net MSR of $8,105,081,000, total assets of $118,712,487,000, total
12   liabilities of $108,835,721,000, and total shareholders’ equity of $9,876,766,000.
13         364. The Company’s statements regarding financial results as referenced in
14   ¶¶355-358, 363 were materially false and misleading when made as detailed in
15   Section VIII.A. and because the Company overstated the fair value of its RIs, LHI
16   and MSR, understated ALL, understated liabilities related to R&Ws, and
17   overstated net earnings and total shareholders’ equity.         Also, the statements
18   regarding the quality and volume of prime home equity and subprime loans
19   originating during the quarter and the quality of LHI were false because the
20   Company misclassified subprime loans as prime loans, and also for the reasons set
21   forth in Section V.F.         Moreover, the representation that Countrywide “only
22   retain[ed] high credit quality mortgages in our loan portfolio” was false because
23   Countrywide loosened its underwriting guidelines to increase loan volume without
24   regard to loan quality. See Sections V.C. and V.G. The statements relating to
25   internal controls were false and misleading because Countrywide’s internal
26   controls were ineffective, and for the same reasons set forth in Section VIII.A.6.
27   Moreover, the Sarbanes-Oxley Act certifications signed by Mozilo were false and
28   misleading because the financial statements issued by Countrywide were

                                               143                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 161 of 439 Page ID #:161



 1   materially misstated and violated GAAP, and for the same reasons stated in Section
 2   VIII.A.
 3                13.   Year End 2004 Form 8-K
 4         365. On February 2, 2005, Countrywide filed a Form 8-K, signed by
 5   Milleman, attaching a press release announcing the Company’s financial results for
 6   the fourth quarter and year ended December 31, 2004.           In the press release,
 7   Countrywide reported gain-on-sale of loans and securities of $1,243,964,000,
 8   revenues of $1,977,069,000, net earnings of $343,105,000, and diluted earnings
 9   per share of $0.56 for the quarter.     The Company also reported net LHI of
10   $39,660,086,000, ALL of $125,046,000, net MSR of $8,787,284,000, total assets
11   of $111,464,131,000, total liabilities of $101,035,688,000, and total shareholders’
12   equity of $10,428,443,000.
13         366. These figures in the Form 8-K were materially false and misleading
14   when made because the Company’s reported value for gain-on-sale loans and
15   securities overstated the fair value of its RIs and MSRs, and also for the reasons
16   detailed in Section VIII.A.
17                14.   Year End 2004 Conference Call
18         367. On the conference call held the same day (“February 2, 2005
19   Conference Call”), in which Mozilo and Kurland participated, the Company’s
20   senior management discussed the fourth quarter and year-end 2004 financial results
21   and first quarter 2005 outlook.    Kurland and Defendant Mozilo responded to
22   questions from a Piper Jaffray analyst, Robert Napoli, by emphasizing that
23   Countrywide’s strategy had not changed to take on more risk:
24         Kurland: Our strategy is pretty much the same as we’ve been
25         operating it . . . [T]he base strategy we believe is solid and has had,
26         you know, excellent results over the years that we’ve employed it.
27         Napoli: So the answer is, no, there has been no real change –
28         Mozilo: No

                                            144                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 162 of 439 Page ID #:162



 1         Napoli: - to take more risk or - Mozilo: No. No, no, no.
 2         368. The statements made on the February 2, 2005 Conference Call were
 3   materially false and misleading when made. The statements that there was no
 4   change to Countrywide’s strategy to take on more risk were false and misleading
 5   because Countrywide loosened its underwriting guidelines to increase loan volume
 6   without regard to loan quality. See Sections V.B. and V.C.
 7         369. Analysts reacted positively to these materially false and misleading
 8   statements. For example, on February 2, 2005, Piper Jaffray analysts issued a
 9   report that reiterated its “Outperform” rating and top pick for 2005 in mortgage
10   finance. An analyst stated:
11         [Even though] CFC’s stock declined 5.5% following its 4Q04
12         earnings miss, which was caused by an unexpected net hedging loss .
13         . . [W]e believe CFC’s . . . management . . . [uses] consistent low risk
14         strategies. We feel the fundamental strength to the quarter was very
15         strong as CFC exceeded our expectations on production income, bank
16         income and capital markets, and the company continued to gain
17         market share.
18         370. Several other analysts either raised or maintained their stellar
19   recommendations and earnings estimates for Countrywide as a result of
20   Defendants’ fraudulent misrepresentations, including: (1) Morgan Stanley, which
21   reported on February 2, 2005, that they “[r]emain Overweight [on Countrywide]
22   with a new price target of $44”; and (2) Bernstein Research, which reported on
23   February 3, 2005, that “[w]hile reported EPS were far below expectations, the
24   shortfall was due to volatility of its servicing hedge, rather than any serious
25   operating weakness, such as weakness in loan pricing, or a swollen G&A ratio . . .
26   We rate CFC outperform.”
27

28

                                            145                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 163 of 439 Page ID #:163



 1                15.    2004 Form 10-K
 2         371. On March 15, 2005, Countrywide filed its Annual Report for 2004
 3   with the SEC on Form 10-K (“2004 Form 10-K”). The report was signed by
 4   Mozilo and others. In its 2004 Form 10-K, Countrywide reported gain-on-sale of
 5   loans and securities of $4,836,945,000, revenues of $8,566,627,000, net earnings
 6   of $2,197,574,000, and diluted earnings per share of $0.80 for the quarter. The
 7   Company also reported net LHI of $39,660,086,000, ALL of $125,046,000, net
 8   MSR of $8,729,929,000, total assets of $128,495,705,000, total liabilities of
 9   $118,185,629,000, and total shareholders’ equity of $10,310,076,000.
10         372. The Company reported, in a section entitled “Valuation of MSRs and
11   other retained interests,” that the fair value of the RIs on the Company’s balance
12   sheet as of December 31, 2004, was $1,908,504,000. In addition, the reported
13   impairment of “Other Retained Interests” as of year-end 2004 equaled
14   $368,295,000.
15         373. In the “Off-Balance Sheet Arrangements and Guarantees” section,
16   Countrywide described the R&Ws exposure associated with the securitization of
17   its loans as follows: “[w]e do not believe that any of our off-balance sheet
18   arrangements have had or are reasonably likely to have a current or future material
19   effect on our financial condition, changes in financial condition, revenues or
20   expenses, results of operations, liquidity, capital expenditures or capital resources.”
21         374. In a section titled “Securitization,” the Company also stated the
22   liabilities associated with the risk of R&Ws “total[ed] $139.9 million”; and that the
23   fair value of its MSRs as of December 31, 2004, was $8,882,917,000, in
24   comparison to December 31, 2003, when fair value of MSRs was reported as
25   $6,909,167,000.
26         375. The Company also reported the volume of loans it originated at year-
27   end: prime mortgage loans equaled $292,672,000,000, prime home equity loans
28   equaled $30,893,000,000, and nonprime mortgage loans equaled $39,441,000,000.

                                              146                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 164 of 439 Page ID #:164



 1         376. The Company reported the volume of Mortgage Banking prime home
 2   equity and subprime loans produced during the year (which was included in
 3   Countrywide’s total volume of Mortgage Banking Loans produced). Specifically,
 4   Mortgage Banking prime home equity loans originated during the year equaled
 5   $23,351,000,000. Mortgage Banking nonprime mortgage loans originated during
 6   the year equaled $33,481,000,000, and were 10.5% of total Mortgage Banking
 7   loans originated for the year-end.
 8         377. Countrywide also reported that prime mortgage LHI equaled
 9   $22,587,246,000, prime home equity LHI equaled $11,435,792,000, and nonprime
10   LHI equaled $171,592,000, or less than 1% of the total value of prime LHI.
11         378. The 2004 Form 10-K stated that “[t]he majority of our loan
12   production consists of Prime Mortgage Loans.”         Specifically, the Company
13   highlighted the quality mortgages that it securitizes and sells to the secondary
14   market:
15         We ensure our ongoing access to the secondary mortgage market by
16         consistently producing quality mortgages . . . . As described
17         elsewhere in this document, we have a major focus on ensuring the
18         quality of our mortgage loan production . . .
19         379. In a section of the 2004 Form 10-K titled “Mortgage Credit Risk,” the
20   Company described its Credit Policy, portraying it as a tightly controlled and
21   supervised process “designed to produce high quality loans” through a rigorous
22   pre-loan screening procedure and post-loan auditing and appraisal and
23   underwriting reviews:
24         Loan Quality
25         Our Credit Policy establishes standards for the determination of
26         acceptable credit risks. Those standards encompass borrower and
27         collateral quality, underwriting guidelines and loan origination
28         standards and procedures.

                                            147                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 165 of 439 Page ID #:165



 1         Borrower quality includes consideration of the borrower’s credit and
 2         capacity to pay. We assess credit and capacity to pay through . . .
 3         manual or automated underwriting of additional credit characteristics.
 4                                          ***
 5         Our loan origination standards and procedures are designed to
 6         produce high quality loans.         These standards and procedures
 7         encompass underwriter qualifications and authority levels, appraisal
 8         review requirements, fraud prevention, funds disbursement controls,
 9         training of our employees and ongoing review of their work. . . . In
10         addition, we employ proprietary underwriting systems in our loan
11         origination process that improve the consistency of underwriting
12         standards, assess collateral adequacy and help to prevent fraud, while
13         at the same time increasing productivity.
14         In addition to our pre-funding controls and procedures, we employ an
15         extensive post-funding quality control process. Our Quality Control
16         Department, under the direction of the Chief Credit Officer, is
17         responsible for completing comprehensive loan audits that consist of a
18         re-verification of loan documentation, an in-depth underwriting and
19         appraisal review, and if necessary, a fraud investigation.
20         380. Assuring investors of the veracity of the information contained in the
21   2004 Form 10-K, the report included Sarbanes-Oxley Act certifications signed by
22   Mozilo, representing that the “report does not contain any untrue statement of a
23   material fact” and “the financial statements, and other financial information
24   included in this report, fairly present in all material respects the financial
25   condition” of Countrywide and that the Company employed internal disclosure
26   controls and procedures that detect “[a]ll significant deficiencies and material
27   weaknesses in the design or operation of internal control over financial reporting”
28   and “[a]ny fraud, whether or not material, that involves management.”

                                             148                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 166 of 439 Page ID #:166



 1         381. The Company’s statements regarding financial results as referenced in
 2   ¶¶371-374, 377 above were materially false and misleading when made as detailed
 3   in Section VIII.A. and because the Company overstated the fair value of its RIs,
 4   LHI and MSR, understated ALL, understated liabilities related to R&Ws, and
 5   overstated net earnings and total shareholders’ equity. Furthermore, statements
 6   relating to the volume of prime and nonprime loans originated and the value of
 7   prime LHI were false and misleading because Countrywide misclassified its
 8   subprime loans as prime loans and also for the same reasons set forth in Section
 9   V.F. Moreover, Countrywide’s statements that it “consistently produce[d] quality
10   mortgages” and that its “loan origination standards and procedures are designed to
11   produce high quality loans” were false and misleading because Countrywide
12   loosened its underwriting guidelines to increase loan volumes without regard to
13   loan quality. See Sections V.C. and V.G. Moreover, the Sarbanes-Oxley Act
14   certifications signed by Mozilo were false and misleading because the financial
15   statements issued by Countrywide were materially misstated and violated GAAP,
16   and for the same reasons stated in Section VIII.A.
17         C.    The Company’s False
                 Statements Regarding 2005 Results
18
                 1.     March 15, 2005 Piper Jaffray Conference
19

20         382. On March 15, 2005, Mozilo spoke at a financial conference sponsored
21   by Piper Jaffray (the “March 15, 2005 Conference”). On the issue of the credit
22   quality of Countrywide’s loans, Mozilo made a statement emphasizing his concern
23   about credit quality in the mortgage industry, generally, but then falsely
24   distinguished Countrywide from the many lenders whose credit practices were
25   beginning to make analysts and investors uneasy:
26         The general statement is that I’m deeply concerned about credit
27         quality in the overall industry. I think that the amount of capacity
28         that’s been developed for subprime is much greater than the quality of

                                            149                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 167 of 439 Page ID #:167



 1         subprime loans available. And so they’UH SXVKLQJ IXUWKHU GRZQ í DV
 2         I observe it, they’re pushing further down the credit chain into the
 3         500 FICOs and below 550, 540, 530. And as you get down to those
 4         levels, it becomes very problematic and I don’t think there’s any
 5         amount of money you can charge upfront to cover your losses on
 6         those type of loans.
 7         So I’m deeply concerned about everybody going into subprime.
 8                                           ***
 9         So we’ve had to remain very disciplined in our subprime efforts.
10         And that’s why you don’t see massive growth for Countrywide [in]
11         subprime. We’re trying to stay within a category of subprime loans
12         that we know how to manage and manage effectively.
13         So I have to separate it.         The overall industry in trouble;
14         Countrywide I’m not, because we have remained very disciplined in
15         our origination of subprime loans.
16         383. Also, during the March 15, 2005 Conference, Mozilo touted the
17   Company’s performance results for 2004 and 2005 as having been accomplished
18   with minimal risk: “Countrywide Bank has grown substantially since its
19   acquisition in May of 2001, leveraging off synergies with the production and
20   servicing sectors to generate assets and liabilities at a very low-cost, while
21   producing competitive financial returns at a minimal risk.”
22         384. Moreover, during the March 15, 2005 Conference, Mozilo responded
23   to an analyst’s question regarding the 30% market growth goal that was set by
24   management to be achieved by 2008.            Mozilo highlighted that this goal was
25   realistic and Countrywide would not sacrifice its “sound lending” practices to
26   achieve it:
27         Your question is 30%, is that realistic, the 30% goal that we set for
28         ourselves in 2008? It is realistic, and let me give you the genesis of it

                                             150                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 168 of 439 Page ID #:168



 1         so you don’t think it just comes out of nowhere. We went through a
 2         very extensive study with the help of the Anderson School at UCLA
 3         as to what happens to businesses as they mature. And if you look at
 4         every mature business in this country, you’ll find that the leader of
 5         that industry, that particular industry, has about a 25% to 35% market
 6         share in every single case. So once Countrywide starts off with the
 7         premise that we are - our role is to dominate - our objective is to
 8         dominate our industry, and clearly the industry is maturing very
 9         rapidly through this consolidation. If you look at it, there’s only five
10         or six players that you could really name in the mortgage banking
11         business today of any significan[ce] - that once we are mature and we
12         want to dominate, we need about a 30% market share to do that. Is it
13         achievable? Absolutely. . . But I will say this to you, that under no
14         circumstances, will Countrywide ever sacrifice sound lending and
15         margins for the sake of getting to that 30% market share.
16         385. Further, Mozilo again emphasized the Company’s management of its
17   subprime business, stating that management was very “concerned about the loan-
18   to-value ratio” because those type of loans would be affected first if there is a
19   downturn in the economy and, therefore, the Company must manage them
20   properly:
21         Obviously, when you’re dealing in subprime, you have got to be
22         concerned about the loan-to-value ratio because that’s the bottom
23         end of the strata and in the event of a bump in the economy or a
24         burp in the economy, they are affected first. . . . Subprime is a
25         business we have been in for over 10 years. We have been through
26         various cycles in those 10 years, and I think we have got it properly
27         managed and surrounded.
28

                                            151                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 169 of 439 Page ID #:169



 1         386. Mozilo’s above statements, made at the March 15, 2005 Conference,
 2   were materially false and misleading when made. Specifically, Mozilo’s statement
 3   that “we have to remain very disciplined in our subprime efforts, and that’s why
 4   you don’t see massive growth for Countrywide in subprime” was false and
 5   misleading because Countrywide misclassified its subprime loans as prime loans.
 6   See Section V.F. Mozilo’s statements criticizing the Company’s peers for “pushing
 7   further down the credit chain into the 500 FICOs and below; 550, 540, 530” to
 8   originate loans, but claiming that Countrywide’s practices were different, more
 9   conservative and relatively safe as opposed to high risk, were also misleading
10   because Countrywide loosened its underwriting practices to increase its loan
11   volume without regard to loan quality. See Sections V.C. and V.G. Moreover,
12   Mozilo’s statement that Countrywide was “[l]everaging off synergies from the -
13   with the production and servicing sectors to generate assets and liabilities at a very
14   low cost, while producing competitive financial returns at a minimal risk” was
15   false and misleading for the same reasons set forth in Section V.G. Mozilo’s
16   statement that “under no circumstances, will Countrywide ever sacrifice sound
17   lending and margins for the sake of getting to that 30% market share” was also
18   false and misleading because Countrywide loosened and abandoned its
19   underwriting guidelines to boost loan volumes to reach the 30% market share goal.
20   Mozilo’s statement regarding the prudent management of Countrywide’s subprime
21   loan-to-value ratio was false and misleading for the same reasons set forth in
22   Sections V.C and V.G.
23                2.    First Quarter 2005 Form 8-K
24         387. On April 26, 2005, Countrywide filed a Form 8-K, signed by
25   Milleman, attaching a press release that announced the Company’s financial results
26   for the first quarter of 2005, ended March 31, 2005.           In the press release,
27   Countrywide reported gain-on-sale of loans and securities of $1,361,788,000,
28   revenues of $2,404,885,000, net earnings of $688,852,000, and diluted earnings

                                             152                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 170 of 439 Page ID #:170



 1   per share of $1.13 for the quarter.     The Company also reported net LHI of
 2   $47,698,472,000, ALL of $134,916,000, net MSR of $9,746,957,000, total assets
 3   of $137,033,041,000, total liabilities of $126,080,994,000, and total shareholders’
 4   equity of $10,952,047,000.
 5         388. These figures in the Form 8-K were materially false and misleading
 6   when made because the Company’s reported value for gain-on-sale loans and
 7   securities overstated the fair value of its RIs and MSRs, and also for the reasons
 8   detailed in Section VIII.A.
 9                3.      First Quarter 2005 Conference Call
10         389. Later the same day, Countrywide held a conference call (“April 26,
11   2005 Conference Call”) in which Kurland and Defendants Mozilo and Sieracki
12   discussed the Company’s financial results for the first quarter of 2005. Mozilo
13   responded to a question from an analyst at NWQ Investment Management, Mark
14   Patterson, regarding changes in underwriting policies at Countrywide:
15         Patterson: Right. Okay. That makes sense. One final question, on the
16         quality of the assets going into the Bank, you guys have been very
17         high-quality assets, prime quality assets going into the bank, I assume
18         that continues. But has there been any changes in the underwriting
19         metrics with the current origination levels or you[r] expected
20         origination during 2005? In terms of FICO or combined loaned-to-
21         value or debt-to-income or any of those kind of underwriting metrics?
22         Mozilo: I think they will remain serious consistent with the first
23         quarter and most of what we did in 2004. We don’t see any change
24         in our protocol relative to the volume of loans that we’re
25         originating.
26         390. Further, during the April 26, 2005 Conference Call, as transcribed by
27   Thomson Financial, Kurland and Sieracki responded to a question from a KBW
28

                                            153                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 171 of 439 Page ID #:171



 1   analyst, Frederick Cannon, indicating that Countrywide and its bank originated
 2   only high quality Pay-Option ARMs:
 3         Cannon: Okay. And are you originating a lot of the pay options
 4         ARMs for the Bank portfolio at this point in time?
 5         Sieracki: A combination. Most of it is not going into the bank. But,
 6         we’re trying to develop the protocol and [a] process for delivering
 7         greater levels to meet the bank[’s] growth need.
 8         Kurland: These [Pay-Option ARMs] are all high FICO.
 9         391. The above statements made on the April 26, 2005 Conference Call
10   were materially false and misleading when made. Specifically, Mozilo’s statement
11   that Countrywide’s “protocol” or “underwriting metric” relative to the volume of
12   loans originated “will remain . . . consistent” was false and misleading because
13   Countrywide loosened its underwriting guidelines to increase the volume of loans
14   originated without regard to loan quality. See Sections V.C. and V.G. Additionally,
15   Kurland’s statement that Countrywide’s Pay-Option ARMs were “all high FICO”
16   was false and misleading for the same reasons set forth in Sections V.C. and V.D.
17   None of the Officer Defendants issued any corrections to Kurland’s statement,
18   thereby ratifying these false public statements.
19         392. Several analysts raised or maintained their stellar recommendations
20   and earnings estimates for Countrywide based upon Countrywide’s false and
21   misleading statements. For example, on April 27, 2005, analysts at Piper Jaffray
22   maintained their “Outperform” rating and described Countrywide as a mortgage
23   corporation with loans that “are primarily prime credit quality first-lien mortgage
24   loans secured by single-family residences.”
25         393. In addition, several other analysts raised or maintained their stellar
26   recommendations and earnings estimates for Countrywide, including: (1) Deutsche
27   Bank, which reported on April 26, 2005, that “[w]e are reiterating our Buy rating
28

                                             154                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 172 of 439 Page ID #:172



 1   and our $43 target price”; and (2) Morgan Stanley, which reported on April 27,
 2   2005, that we “[r]eiterate Overweight on [s]trong 1Q05 [r]esults.”
 3                4.     First Quarter 2005 Form 10-Q
 4         394. On May 9, 2005, Countrywide filed its Form 10-Q for the first quarter
 5   of 2005 (“1Q 2005 10-Q”), signed by Defendant Sieracki and others.              The
 6   Company reported financial results as follows.
 7         395. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 8   Countrywide described the R&Ws exposure associated with the securitization of
 9   its loans as follows: “[w]e do not believe that any of our off-balance sheet
10   arrangements have had or are reasonably likely to have a current or future material
11   effect on our financial condition, results of operations, liquidity, capital
12   expenditures or capital resources.”
13         396. The Company also reported the volume of Mortgage Banking prime
14   home equity and subprime loans produced (which was included in the total volume
15   of loans produced). Specifically, Mortgage Banking prime home equity loans
16   originated during the quarter equaled $6,619,000,000.          Mortgage Banking
17   nonprime mortgage loans originated during the quarter equaled $8,187,000,000
18   and were 10.4% of total Mortgage Banking loans originated during the quarter.
19         397. The Company described its management of credit risk in the
20   following terms: “[w]e manage mortgage credit risk principally . . . by retaining
21   high credit quality mortgages in our loan portfolio.”
22         398. The Company also reported management’s review of the Company’s
23   disclosure controls and internal controls:
24         There has been no change in our internal control over financial
25         reporting during the quarter ended March 31, 2005 that has materially
26         affected, or is reasonably likely to materially affect, our internal
27         control over financial reporting . . . .
28

                                               155                          COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 173 of 439 Page ID #:173



 1         399. Further assuring investors of the veracity of the information contained
 2   in the 1Q 2005 10-Q, the report included Sarbanes-Oxley Act certifications signed
 3   by Defendants Mozilo and Sieracki, representing that the “report does not contain
 4   any untrue statement of a material fact” and “the financial statements, and other
 5   financial information included in this report, fairly present in all material respects
 6   the financial condition” of Countrywide.
 7         400. The Company’s statements regarding financial results as referenced in
 8   ¶395 were materially false and misleading when made as detailed in Section
 9   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
10   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
11   earnings and total shareholders’ equity. Also, the statements regarding the quality
12   of the volume of loans produced and LHI were false and misleading because
13   Countrywide misclassified its subprime loans as prime loans, and also for the
14   reasons set forth in Section V.F. Moreover, the representation that Countrywide
15   “only retain[ed] high credit quality mortgages in our loan portfolio” was false and
16   misleading because Countrywide loosened its underwriting guidelines to increase
17   loan volume without regard to loan quality. See Sections V.C. and V.G. The
18   statements relating to internal controls were false and misleading because
19   Countrywide’s internal controls were ineffective, and for the same reasons set forth
20   in Section VIII.A.6. Moreover, the Sarbanes-Oxley Act certifications signed by
21   Defendants Mozilo and Sieracki were false and misleading because the financial
22   statements issued by Countrywide were materially misstated and violated GAAP,
23   and for the same reasons stated in Section VIII.A.
24                5.    May 24, 2005 Countrywide Analyst Meeting
25         401. On May 24, 2005, Mozilo, Sambol, Kurland and McMurray
26   participated in the Countrywide Financial Corporation Analyst Meeting (“May 24,
27   2005 Meeting”).      At the meeting, McMurray stated, without correction or
28

                                             156                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 174 of 439 Page ID #:174



 1   explanation by Defendants Mozilo, Sambol or Kurland, that the Company
 2   originated loans that met its credit standards:
 3         [q]uality control . . . is a series of controls that we have post-closing.
 4         So what we are looking for there, is to ensure that the loans that we
 5         originate have both met our credit standards and we[re]
 6         underwritten according to those standards.
 7         402. During the meeting, an unidentified Countrywide representative
 8   touted that Countrywide’s loans held for investment are “first rate mortgages” and
 9   “high quality loans” and, accordingly, the Company’s allowance for loan losses
10   were adequate:
11         Well, you know, first of all the bank is investing in . . . prime
12         mortgages, primarily HELOCs and some first rate mortgages . . . .
13         So, not much on the interest rate risk side. But again, very high
14         quality loans that have performed historically and we have you know,
15         default models that provide conservative reserves against that book of
16         business.
17         403. Likewise, during the meeting, Sambol remarked that credit risks
18   associated with ARM loans were mitigated:
19         These risks [associated with ARM loans] are mitigated or addressed
20         in part by the different underwriting criteria which are applied to
21         these loans relative to those used for traditional fixed-rate agency
22         product such as maybe higher credit scores or lower loan to value
23         ratios, and also importantly, the paradigm in the mortgage market
24         today and with Countrywide in particular, is that the increased risk is
25         priced for in a very granular way.
26         404. Further, at the meeting, an unidentified Countrywide representative
27   stated that Countrywide had an efficient control environment that allowed the
28

                                              157                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 175 of 439 Page ID #:175



 1   Company to distinguish itself from its peers by having the lowest cost and most
 2   effective governance program:
 3         And I think it’s the hallmark for Countrywide [that] . . . we have a
 4         culture of concern about our operations and the enterprise that
 5         produces and [has an] efficiently control[led] environment and we are
 6         going to continue to build on that and look at the environment that we
 7         are in today as one that we can produce a value of proposition. We
 8         can distinguish ourselves as having the lowest cost and most effective
 9         governance program and that’s what we are working to.
10         405. During the May 24, 2005 Meeting, Sambol remarked that credit risks
11   associated with ARMs were mitigated:
12         These risks are mitigated or addressed in part by the different
13         underwriting criteria which are applied to these loans relative to those
14         used for traditional fixed-rate agency product such as maybe higher
15         credit scores or lower loan to value ratios . . . .
16         406. Countrywide’s above statements at the May 24, 2005 Meeting were
17   materially false and misleading when made. Specifically, McMurray’s statement
18   that Countrywide “ensure[s] that the loans . . . originate[d] have both met our credit
19   standards and we[re] underwritten according to those standards” was false because
20   Countrywide materially loosened its underwriting standards to increase loan
21   volume without regard to loan quality.         See Section V.C.    The Countrywide
22   representative’s statements relating to “conservative” loan loss reserves were false
23   and misleading for the same reasons set forth in Section VIII.A.2. Further, in an
24   effort to distinguish Countrywide from its peers in the mortgage industry, the
25   statement made by a Countrywide representative that “we have a culture of
26   concern about our operations and the enterprise that produces and [has an] efficient
27   . . . control environment” was false and misleading because the Officer Defendants’
28   assessment of internal controls over financial reporting was ineffective for the

                                              158                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 176 of 439 Page ID #:176



 1   reasons set forth in Section VIII.A.6. Moreover, Sambol’s statement that credit
 2   risks associated with ARMs were mitigated because underwriting guidelines were
 3   tightened was false and misleading for the same reasons set forth in Sections V.C.,
 4   V.D., and V.G.
 5                  6.    June 2, 2005 Sanford Bernstein
                          & Co. Strategic Decisions Conference
 6

 7            407. On June 2, 2005, Mozilo appeared on behalf of Countrywide at the
 8   Sanford Bernstein & Co. Strategic Decisions Conference (“June 2, 2005
 9   Conference”). At the conference, Mozilo touted the Company’s operational results
10   for 2005 and acknowledged that while Countrywide had some high risk mortgage
11   products, Countrywide also had elevated credit requirements for these high risk
12   loans:
13            We acknowledge that some of the products offered today carry higher
14            credit risks than traditional GSE 30-year fixed-rate loans. However, it
15            is important [to] note that Countrywide mitigates these risks or
16            addresses them in part by utilizing different underwriting criteria
17            than that is used for traditional fixed-rate product, such as the
18            requirement for higher credit scores and lower loan to value ratios.
19            408. Also at the June 2, 2005 Conference, Mozilo once again touted the
20   quality of LHI at Countrywide:
21            Credit quality of the portfolio remains outstanding with a weighted
22            average FICO score that exceeded 730 and a weighted average
23            CLTV loan to value of 80%.
24            409. Also at the June 2, 2005 Conference, although he extended
25   Countrywide’s 30% market share origination goal to 2010, Mozilo once again
26   assured investors that Countrywide’s profitability would not suffer as a result of the
27   Company’s aggressive goal: “Questions always asked by you people - are you
28

                                               159                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 177 of 439 Page ID #:177



 1   going to sacrifice profitability to gain market share? The answer you can see for
 2   our plans is absolutely not.”
 3         410. Moreover, at the June 2, 2005 Conference, Mozilo responded to a
 4   question from an unidentified speaker regarding the potential loss exposure to
 5   mortgage lenders in the event of a correction in the appreciation of housing prices:
 6         And I can tell you - values going down do not force people out of
 7         their homes and does not force people into - never has forced them
 8         into delinquency ever. It’s the loss of jobs.
 9         411. Mozilo’s statements made during the June 2, 2005 Conference were
10   materially false and misleading when made. Specifically, Mozilo’s statement that
11   “Countrywide mitigates . . . risks or addresses them in part by utilizing different
12   underwriting criteria [for ARM loans] than that is used for traditional fixed-rate
13   product, such as the requirement for higher credit scores and lower loan to value
14   ratios” was false and misleading for the same reasons set forth in Sections V.C.,
15   V.G., and X. Mozilo’s statement that the “credit quality of the portfolio remains
16   outstanding with a weighted average FICO score that exceeded 730 and a weighted
17   average CLTV loan to value of 80%” was false and misleading for the reasons set
18   forth in Sections V.C. and V.G. Mozilo’s statement that Countrywide’s profitability
19   would not suffer as a result of its aggressive goal to reach 30% market share by
20   2010 was false and misleading because Countrywide loosened its underwriting
21   guidelines to increase loan volume without regard to loan quality.      See Sections
22   V.C. and X.
23                 7.   Second Quarter 2005 Form 8-K
24         412. On July 26, 2005, the Company filed a Form 8-K, signed by
25   Milleman, attaching a press release that announced the Company’s financial results
26   for the second quarter of 2005. In the press release, Countrywide reported gain-on-
27   sale of loans and securities of $1,145,409,000, revenues of $2,307,943,000, net
28   earnings of $566,458,000, and diluted earnings per share of $0.92 for the quarter.

                                             160                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 178 of 439 Page ID #:178



 1   The Company also reported net LHI of $62,528,327,000, ALL of $155,962,000,
 2   net MSR of $9,367,666,000, total assets of $158,617,821,000, total liabilities of
 3   $146,962,187,000, and total shareholders’ equity of $11,655,634,000.
 4         413. These figures in the Form 8-K were materially false and misleading
 5   when made because the Company’s reported value for gain-on-sale loans and
 6   securities overstated the fair value of its RIs and MSRs, and also for the reasons
 7   detailed in Section VIII.A.
 8                8.    Second Quarter 2005 Conference Call
 9         414. On a conference call held later that day (the July 26, 2005 Conference
10   Call), in which Mozilo, Kurland, and Sieracki participated, the Company’s senior
11   management discussed the second quarter 2005 financial results and the third
12   quarter 2005 financial outlook. Kurland commented on the quality of loans with
13   prepayment penalties, such as Pay-Option ARMs.                 Kurland reported a
14   “significantly improved level of loans with prepayment penalties,” and added “I
15   think another important point with our pay option portfolio is that [it] actually
16   enjoys one of the lowest levels of delinquency in our entire portfolio, just over a
17   1% delinquency rate, and so it is a very high-quality product.”
18         415. Also during the July 26, 2005 Conference Call, Mozilo echoed
19   Kurland’s claims about the purported high quality of Countrywide’s Pay-Option
20   ARMs. In response to a question from analyst Ken Posner of Morgan Stanley,
21   regarding a recent survey which showed that less-educated and lower-income
22   people were more easily convinced to take out ARM loans without understanding
23   the terms, Mozilo responded:
24         I think that Stan pointed that out. First of all, I can’t speak for other
25         lenders, and I won’t speak for other lenders; I can only speak for
26         Countrywide. That product has a FICO score exceeding 700. You
27         don’t see the lower end of the economic spectrum with an
28         unsophisticated people with that kind of FICO score. So the people

                                             161                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 179 of 439 Page ID #:179



 1         that Countrywide is accepting under this program, generally
 2         speaking, are of much higher quality and they’re not of the of the ilk
 3         that you may be seeing someplace else in the country or [from] some
 4         other lender.
 5         416. Also during the call, Kurland and Mozilo responded to a question
 6   from a Fox-Pitt Kelton analyst about whether Countrywide’s lending practices
 7   were loosening, given that Countrywide was originating hybrid ARMs and
 8   Pay-Option ARMs:
 9         Mozilo: . . . I am not aware of any change of substance in
10         underwriting policies . . . . I’m not aware of any loosening of
11         underwriting standards that creates a less of a quality of loan than
12         we did in the past. Stan?
13         Kurland: . . . [We] have not loosened our standards relative to what
14         the bank acquires to the extent that we have standards that reflect and
15         pricing that reflects where we are able to deliver loans into the
16         secondary market.
17         417. Also, when asked whether Countrywide was loosening its
18   underwriting standards, Mozilo said, “I’m not aware of any change of substance in
19   underwriting policies.” In response to a follow-up question, Mozilo added: “[w]e
20   don’t view that we have taken any steps to reduce the quality of our underwriting
21   regimen at all.”
22         418. On the same July 26, 2005 Conference Call, Kurland reiterated the
23   high quality of the Pay-Option ARMs: “[t]he product itself tends to be highest
24   FICO, very good LTV product . . . .” Also, Sieracki touted the credit quality of the
25   home equity mortgages that Countrywide originates:
26         The credit quality of our home equities should be emphasized here as
27         well. We are 730 FICO on these home equities, and that’s
28         extraordinary throughout the industry.

                                            162                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 180 of 439 Page ID #:180



 1         419. Similarly, Mozilo and Sieracki stated on the call that the Company
 2   retained only high credit quality loans, and there had been no deterioration of the
 3   quality of loans originated at Countrywide. In response to a question from analyst
 4   Barry Cohen of Glenview Capital about whether the credit quality in the nonprime
 5   mortgage sector was stable or worsening, Mozilo and Sieracki responded:
 6         Mozilo: I think it’s stable. . . . I do participate every day in
 7         originations myself, and it keeps me apprised of what’s happening. I
 8         think that that situation has stabilized. I don’t see any deterioration
 9         in the quality of those loans being originated.
10         Sieracki: I would echo those sentiments. We are running over 80%
11         premier in A-. We operate at the very top end of the nonprime credit
12         spectrum. The FICO scores have remained very steady, just over
13         600.
14         420. The statements made during the July 26, 2005 Conference Call were
15   materially false and misleading when made. None of the Officer Defendants
16   issued any corrections to Kurland’s statements, thereby ratifying these false public
17   statements. Specifically, Kurland’s statements that Pay-Option ARMs are “a very
18   high-quality product” and “highest FICO, very good LTV product” were false and
19   misleading for the same reasons set forth in Sections V.C. and V.D. Mozilo’s
20   statement that “the people that Countrywide is accepting under this program [for
21   Pay-Option ARMs] . . . are of much higher quality” was false and misleading for
22   the same reasons stated in Sections V.D. and V.G.          Sieracki’s statements that
23   Countrywide “operate[s] at the very top end of the nonprime credit spectrum and
24   that the FICO scores have remained very steady, just over 600” were false and
25   misleading for the same reasons set forth above and in Sections V.C. and V.F.
26   Mozilo’s statement that he was “not aware of any loosening of underwriting
27   standards that creates a less . . . quality . . . loan than we did in the past” was also
28   false and misleading because Mozilo knew or was reckless in not knowing that

                                              163                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 181 of 439 Page ID #:181



 1   Countrywide severely loosened its underwriting guidelines to originate high risk,
 2   poor quality loans. See Section V.C. Mozilo’s statements that he was “not aware
 3   of any change of substance in underwriting policies” and that he did not view that
 4   the Company had “taken any steps to reduce the quality of our underwriting
 5   regimen at all” and Kurland’s statement that “we have not loosened our standards”
 6   were all false and misleading for the same reasons set forth above and in Sections
 7   V.C. and V.G.
 8         421. Analysts reacted positively to these materially false and misleading
 9   statements. For example, on July 26, 2005, analysts at Deutsche Bank “continue[d]
10   to believe that prospects for CFC are bright over the next 12-18 months. We are
11   reiterating our Buy rating[s] and $43 target price.” Deutsche Bank based its views
12   on the representations of the management that “[t]he company has no intention of
13   keeping subprime production on CFC’s balance sheet or holding it at Countrywide
14   Bank.”
15         422. Several    other     analysts         either   raised    or   maintained   their
16   recommendations and earnings estimates for Countrywide as a result of
17   Defendants’ fraudulent misrepresentations, including:              (1) Piper Jaffray, which
18   reported on July 27, 2005, that “[w]e are maintaining our 2005 and 2006 EPS
19   estimates at $4.15 and $4.50, respectively.” “Reiterate Outperform.” The Piper
20   Jaffray analysts described Countrywide as a mortgage lender with loans that are
21   “primarily prime credit quality first-lien mortgage loans secured by single-family
22   residences”; and (2) Lehman Brothers, which reiterated its Overweight rating for
23   Countrywide on July 27, 2005.
24               9.    Second Quarter 2005 Form 10-Q
25         423. On August 8, 2005, Countrywide filed its quarterly report on Form
26   10-Q for the second quarter of 2005 (“2Q 2005 10-Q”), signed by Sieracki and
27   others. The Company reported financial results as detailed below.
28

                                                164                                  COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 182 of 439 Page ID #:182



 1         424. The Company reported that the impairment of the fair value of its
 2   other RIs equaled $97,629,000.
 3         425. In the “Off-Balance Sheet Arrangements and Guarantees” section of
 4   the 2Q 2005 10-Q, Countrywide described the R&Ws exposure associated with the
 5   securitization of its loans as follows: “[w]e do not believe that any of our off-
 6   balance sheet arrangements have had or are reasonably likely to have a current or
 7   future material effect on our financial condition, changes in financial condition,
 8   results of operations, liquidity, capital expenditures or capital resources.”
 9         426. Countrywide reported consolidated mortgage LHI for the quarter
10   ended June 30, 2005, as follows: prime mortgage loans equaled $40,071,009,000,
11   prime home equity loans equaled $15,890,115,000, and “nonprime” loans equaled
12   $235,838,000 or less than 1% of total mortgage LHI.
13         427. The Company also reported the volume of Mortgage Banking
14   nonprime mortgage and prime home equity loans produced (which was included in
15   Countrywide’s total volume of Mortgage Banking loans produced). Specifically,
16   Mortgage Banking prime home equity loans originated during the quarter equaled
17   $6,875,000,000. Mortgage Banking nonprime mortgage loans originated during
18   the quarter equaled $9,670,000,000, and were 9.5% of the total Mortgage Banking
19   loans produced for the quarter.
20         428. The Company described its management of credit risk in the
21   following terms: “[w]e manage mortgage credit risk . . . by retaining high credit
22   quality mortgages in our loan portfolio.”
23         429. The Company also reported in management’s review of the
24   Company’s disclosure controls and internal controls: “There has been no change in
25   our internal control over financial reporting during the quarter ended June 30, 2005
26   that has materially affected, or is reasonably likely to materially affect, our internal
27   control over financial reporting.”
28

                                              165                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 183 of 439 Page ID #:183



 1         430. Further assuring investors of the veracity of the information contained
 2   in the 2Q 2005 10-Q, the report included Sarbanes-Oxley Act certifications signed
 3   by Mozilo and Sieracki, representing that the “report does not contain any untrue
 4   statement of a material fact” and “the financial statements, and other financial
 5   information included in this report, fairly present in all material respects the
 6   financial condition” of Countrywide.
 7         431. The Company’s statements regarding financial results as referenced in
 8   ¶¶424-26 were materially false and misleading when made as detailed in Section
 9   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
10   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
11   earnings and total shareholders’ equity.      Moreover, the representation that
12   Countrywide “only retain[ed] high credit quality mortgages in our loan portfolio”
13   was false and misleading because Countrywide severely loosened its underwriting
14   guidelines during the Relevant Period to increase loan volume without regard to
15   loan quality. See Sections V.C. and V.G. The statements relating to internal
16   controls were false and misleading because Countrywide’s internal controls were
17   ineffective, and for the same reasons set forth in Section VIII.A.6. The Sarbanes-
18   Oxley Act certifications signed by Mozilo were false and misleading because the
19   financial statements issued by Countrywide were materially misstated and violated
20   GAAP, and for the same reasons stated in Section VIII.A.
21               10.   September 13, 2005 Lehman
                       Brothers Financial Services Conference
22

23         432. Mozilo participated in a conference call with analysts held at Lehman
24   Brothers Financial Services on September 13, 2005 (“September 13, 2005
25   Conference Call”). During that call, Mozilo praised the Company for its ongoing
26   success, which he attributed to diligent credit risk management and conservative
27   underwriting:
28

                                            166                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 184 of 439 Page ID #:184



 1         [A]ll business activities are managed with ongoing safety and
 2         soundness of Countrywide as our primary concern - focused, managed
 3         growth remains our mandate. . . . With all business lines the majority
 4         of credit risk is sold or transferred to third parties with exposure
 5         primarily limited to three areas - number one, the bank loan portfolio,
 6         while sizable at 56 billion, is limited to prime quality residential
 7         mortgage loans only . . . . Conservative underwriting standards are
 8         evidenced by the quality of the portfolio. . . . Credit risk is also
 9         retained primarily from the securitization of prime home equity and
10         nonprime loans. As a matter of policy we seek to minimize this
11         exposure, which adds 1.4 billion [and] accounts for less than 1% of
12         total company assets - th[is] represents only 2% of the total amount of
13         loans that have been originated and securitized by Countrywide and
14         are still outstanding. Last is our exposure to reps and warranties and
15         all loans originated and sold which are primarily prime quality.
16         433. Similarly, during the September 13, 2005 Conference Call, Mozilo
17   again touted the high quality of its loans and the conservative underwriting
18   guidelines at the Company:
19         From a risk management perspective, loan underwriting guidelines
20         are conservative and under constant review. In addition, the bank
21         has made significant advances in automated underwriting
22         technology, which helps to effectively manage risk . . . In regard to
23         pay option loans and interest only loans, each comprise 27% of the
24         portfolio and have an average FICO score above 700.
25         434. Mozilo’s statements on the September 13, 2005 Conference Call were
26   materially false and misleading when made. Specifically, Mozilo’s statement that
27   Countrywide’s “conservative underwriting standards are evidenced by the quality
28   of the portfolio” was false and misleading because Countrywide classified its

                                            167                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 185 of 439 Page ID #:185



 1   subprime loans as prime loans, and loosened and abandoned its underwriting
 2   standards over the Relevant Period to increase loan volume without regard to loan
 3   quality, and also for the same reasons set forth in Sections V.C. and V.F. Mozilo’s
 4   statement that Pay-Option ARMs have an “average FICO score above 700” was
 5   false and misleading for the reasons set forth in Sections V.C. and V.D.
 6                11.   Third Quarter 2005 Form 8-K
 7         435. On October 27, 2005, Countrywide filed a Form 8-K, signed by
 8   Milleman, that attached a press release announcing strong growth in the
 9   Company’s financial results for the third quarter of 2005. In the press release,
10   Countrywide reported gain-on-sale of loans and securities of $1,284,992,000,
11   revenues of $2,711,618,000, net earnings of $633,885,000, and diluted earnings per
12   share of $1.03 for the quarter.       The Company also reported net LHI of
13   $67,775,774,000, ALL of $184,784,000, net MSR of $11,428,404,000, total assets
14   of $171,293,035,000, total liabilities of $159,053,919,000, and total shareholders’
15   equity of $12,239,116,000.
16         436. These figures in the Form 8-K were materially false and misleading
17   when made because the Company’s reported value for gain-on-sale loans and
18   securities overstated the fair value of its RIs and MSRs, and also for the reasons
19   detailed in Section VIII.A.
20                12.   Third Quarter 2005 Conference Call
21         437. During a conference call held later the same day hosted by Mozilo and
22   Sieracki, among others, the Company’s senior management discussed the third
23   quarter 2005 financial results. Mozilo touted the “high quality” of Countrywide’s
24   Pay-Option ARMs, stating:
25         Pay option ARMs have recently been portrayed negatively. But we
26         view this product as enabling us to better serve qualified customers
27         looking for a more efficient and flexible way to manage their
28         obligations. It is also an excellent asset for our portfolio, given our

                                             168                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 186 of 439 Page ID #:186



 1         mortgage      loan    origination,   servicing      and   risk   management
 2         competencies.         And the prime quality of our pay option
 3         borrowers . . . . Our pay option portfolios have very high credit
 4         quality, characterized by high FICO scores, solid loan-to-value
 5         ratios, and a low debt-to-income ratios.
 6         438. Mozilo’s statements that Pay-Option ARMs are “prime quality,” “have
 7   very high credit quality characterized by high FICO scores, solid loan-to-value
 8   ratios” and “enabl[e] us to better serve qualified customers” were materially false
 9   and misleading when made because Pay-Option ARMs were very risky products
10   that were not used to serve “qualified” customers, but rather high risk borrowers.
11   See Sections V.E. and V.C.
12         439. Analysts reacted positively to these materially false and misleading
13   statements.   Several      analysts   either     raised   or    maintained   their   stellar
14   recommendations and earnings estimates for Countrywide as a result of
15   Defendants’ fraudulent misrepresentations, including:            (1) Piper Jaffray, which
16   reported on October 27, 2005, that they reiterated an “Outperform” rating for
17   Countrywide’s stock; (2) Credit Suisse First Boston, which reported on
18   November 8, 2005, “Outperform” for Countrywide; and (3) Morgan Stanley, which
19   reported on October 27, 2005, “Overweight” for Countrywide.
20                 13.   Third Quarter 2005 Form 10-Q
21         440. On November 8, 2005, Countrywide filed its quarterly report on Form
22   10-Q for the third fiscal quarter of 2005, ended September 30, 2005 (“3Q 2005
23   10-Q”), signed by Sieracki and others. The Company reported financial results as
24   follows.
25         441. In the “Off-Balance Sheet Arrangements and Guarantees” section,
26   Countrywide described its R&Ws exposure associated with the securitization of its
27   loans as follows: “[w]e do not believe that any of our off-balance sheet
28   arrangements have or are reasonably likely to have a current or future material

                                                169                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 187 of 439 Page ID #:187



 1   effect on our financial condition, results of operations, liquidity, capital
 2   expenditures or capital resources.”
 3         442. Countrywide represented that it had “a portfolio of mortgage LHI,
 4   consisting primarily of Prime Mortgage and Prime Home Equity Loans, which
 5   totaled $62.2 billion at September 30, 2005.” Specifically, Countrywide reported
 6   prime mortgage and prime home equity LHI that equaled $45,664,924,000, and
 7   $15,314,508,000, respectively, and nonprime mortgage LHI were reported at
 8   $263,973,000, or less than 1% of total mortgage LHI.
 9         443. Countrywide also reported the volume of Mortgage Banking
10   nonprime and prime home equity loans produced (which was included in
11   Countrywide’s total volume of Mortgage Banking loans produced). Specifically,
12   Mortgage Banking prime home equity loans originated during the quarter equaled
13   $10,344,000,000. Mortgage Banking nonprime loans originated during the quarter
14   equaled $11,399,000,000 and were 8.7% of total Mortgage Banking loans
15   originated during the quarter.
16         444. Moreover, the Company boasted in its 3Q 2005 10-Q as to the high
17   quality of its loans: The Company “retain[s] high credit quality mortgages in [its]
18   loan portfolio[ ]” and “[o]ur Pay Option loan portfolio has [a] very high initial loan
19   quality, with original average credit rating . . . of 720 and original loan-to value and
20   combined loan-to-values of 74% and 78%, respectively.”
21         445. The Company also reported management’s review of the Company’s
22   disclosure controls and internal controls:      “There has been no change in our
23   internal control over financial reporting during the quarter ended September 30,
24   2005 that has materially affected, or is reasonably likely to materially affect, our
25   internal control over financial reporting.”
26         446. Further assuring investors of the veracity of the information contained
27   in its 3Q 2005 10-Q, the report included Sarbanes-Oxley Act certifications signed
28   by Defendants Mozilo and Sieracki, representing that the “report does not contain

                                              170                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 188 of 439 Page ID #:188



 1   any untrue statement of a material fact” and “the financial statements, and other
 2   financial information included in this report, fairly present in all material respects
 3   the financial condition” of Countrywide.
 4         447. The Company’s statements regarding financial results as referenced in
 5   ¶¶441-42 were materially false and misleading when made as detailed in Section
 6   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
 7   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
 8   earnings and total shareholders’ equity. Also, the statements regarding the quality
 9   of the volume of loans produced and LHI were false and misleading because
10   Countrywide misclassified its subprime loans as prime loans, and also for the same
11   reasons set forth in Section V.F. Moreover, the representations that Countrywide
12   “retain[s] high credit quality mortgages in [its] loan portfolio[]” and “[o]ur Pay
13   Option loan portfolio has [a] very high initial loan quality, with original average
14   credit rating . . . of 720” were false and misleading because Countrywide severely
15   loosened its underwriting guidelines to increase loan volume without regard to loan
16   quality. See Sections V.D. and V.C. The statements relating to internal controls
17   were false and misleading because Countrywide’s internal controls were
18   ineffective, and for the same reasons set forth in Section VIII.A.6. The Sarbanes-
19   Oxley Act certifications signed by Defendants Mozilo and Sieracki were false and
20   misleading because the financial statements issued by Countrywide were
21   materially misstated and violated GAAP, and for the same reasons stated in Section
22   VIII.A.
23                14.   Year End 2005 Form 8-K
24         448. On January 31, 2006, Countrywide filed a Form 8-K, signed by
25   Milleman, attaching a press release that announced the Company’s financial results
26   for the fourth quarter and year ended December 31, 2005. In the press release,
27   Countrywide reported gain-on-sale of loans and securities of $1,069,628,000,
28   revenues of $2,592,262,000, net earnings of $638,895,000, and diluted earnings

                                             171                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 189 of 439 Page ID #:189



 1   per share of $1.03 for the quarter.      The Company also reported net LHI of
 2   $70,071,152,000, ALL of $189,201,000, net MSR of $12,610,839,000, total assets
 3   of $175,085,370,000, total liabilities of $162,269,510,000, and total shareholders’
 4   equity of $12,815,860,000.
 5         449. These figures in the Form 8-K were materially false and misleading
 6   when made because the Company’s reported value for gain-on-sale loans and
 7   securities overstated the fair value of its RIs and MSRs, and also for the reasons
 8   detailed in Section VIII.A.
 9                15.   Year End 2005 Conference Call
10         450. Defendants Mozilo and Sieracki participated on a conference call held
11   later that same day (“January 31, 2006 Conference Call”) to discuss the Company’s
12   2005 financial results.       During the call, Mozilo highlighted the Company’s
13   purported “high quality” assets:
14         The amount of pay option loans in the Bank’s portfolio now stands at
15         26 billion, up from 22 billion last quarter. . . . It’s important to note
16         that our loan quality remains extremely high.
17         451. Mozilo’s statement on the January 31, 2006 Conference Call was
18   materially false and misleading when made because Countrywide loosened and
19   abandoned its underwriting standards to increase the volume of loans originated
20   without regard to quality. See Sections V.C. and V.G.
21         452. Analysts reacted positively to Mozilo’s materially false and
22   misleading statements above. For example, on February 1, 2006, AG Edwards
23   reported that “[w]e are maintaining our 2006 EPS estimate of $4.15 and reiterating
24   our Buy rating and $41 price objective.”
25         453. Several other analysts either raised or maintained their stellar
26   recommendations and earnings estimates for Countrywide as a result of
27   Defendants’ fraudulent misrepresentations, including:         (1) Citigroup, which
28   reported on February 3, 2006, that “[w]e continue to view CFC as a cheap growth

                                             172                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 190 of 439 Page ID #:190



 1   company which is well positioned during the current ‘inflection period’ in
 2   mortgage finance.” In part, Citigroup’s decision was based upon Countrywide’s
 3   representations that “the company has experienced immaterial credit losses over its
 4   35 years in the mortgage banking business”; and (2) Credit Suisse, which reported
 5   on February 8, 2006, that it rated Countrywide as “Outperform.”
 6                16.    2005 Form 10-K
 7         454. On March 1, 2006, Countrywide filed its Annual Report for 2005 with
 8   the SEC on Form 10-K (“2005 Form 10-K”). The report was signed by Mozilo,
 9   Sieracki, and others. Countrywide reported gain-on-sale of loans and securities of
10   $4,861,780,000, revenues of $10,016,708,000, net earnings of $2,528,090,000, and
11   diluted earnings per share of $4.11 for the quarter. The Company also reported net
12   LHI of $70,071,152,000, ALL of $189,201,000, net MSR of $12,610,839,000, total
13   assets of $175,085,370,000, total liabilities of $162,269,510,000, and total
14   shareholders’ equity of $12,815,860,000.
15         455. In a section of the 2005 Form 10-K titled “Valuation of MSRs and
16   Other Retained Interests,” the Company reported that the fair value of the RIs on
17   the Company’s balance sheet as of December 31, 2005, was $2,675,461,000.
18   Further, the Company reported impairment in the fair value of its other RIs that
19   equaled $364,506,000.
20         456. In the “Off-Balance Sheet Arrangements and Guarantees” section,
21   Countrywide described the R&Ws exposure associated with the securitization of
22   its loans as follows: “[w]e do not believe that any of our off-balance sheet
23   arrangements have or are reasonably likely to have a current or future material
24   effect on our financial condition, changes in financial condition, results of
25   operations, liquidity, capital expenditures or capital resources.”
26         457. In a section titled “Credit Risk Management,” the Company also
27   reported that the liabilities associated with the risk of R&Ws “total[ed] $169.8
28   million.”

                                              173                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 191 of 439 Page ID #:191



 1          458. Countrywide reported in its 2005 Form 10-K that prime mortgages
 2   and prime home equity LHI equaled $48,619,590,000 and $14,991,351,000,
 3   respectively, and nonprime mortgage LHI equaled $255,677,000, or less than 1%
 4   of total mortgage LHI.
 5          459. The Company also reported the volume of Mortgage Banking
 6   nonprime and prime home equity loans produced (which was included in the total
 7   volume of loans produced). Specifically, Mortgage Banking prime home equity
 8   loans originated during the year equaled $33,334,000,000. Mortgage Banking
 9   nonprime mortgage loans originating during the year equaled $40,089,000,000,
10   and were 9.3% of the total Mortgage Banking loans originated for the year ended.
11          460. Moreover, the Company stated the following as to the purported high
12   quality of its loans:
13          The majority of our loan production consists of Prime Mortgage
14          loans[;] . . . [o]ur Pay Option loan portfolio has a relatively high initial
15          loan quality, with original average FICO scores . . . of 720 and
16          original loan-to-value and combined loan-to-values of 75% and 78%,
17          respectively.
18          461. In a section of the 2005 Form 10-K titled “Mortgage Credit Risk,” the
19   Company described its Credit Policy, portraying it as a tightly controlled and
20   supervised process designed to produce “loans [that] are salable in the secondary
21   mortgage market” through a rigorous pre-loan screening procedure and post-loan
22   auditing and appraisal and underwriting reviews:
23          Loan Quality
24          Our credit policy establishes standards for the determination of
25          acceptable credit risks. Those standards encompass borrower and
26          collateral quality, underwriting guidelines and loan origination
27          standards and procedures. Borrower quality includes consideration of
28          the borrower’s credit and capacity to pay.         We assess credit and

                                               174                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 192 of 439 Page ID #:192



 1         capacity to pay through . . . manual or automated underwriting. . . .
 2         Our underwriting guidelines for non-conforming mortgage loans,
 3         Prime Home Equity Loans, and Nonprime Mortgage Loans have been
 4         designed so that these loans are salable in the secondary mortgage
 5         market. We developed these guidelines to meet the requirements of
 6         private investors, rating agencies and third-party credit enhancement
 7         providers.
 8         These standards and procedures encompass underwriter qualifications
 9         and authority levels, appraisal review requirements, fraud controls,
10         funds disbursement controls, training of our employees and ongoing
11         review of their work. . . . We also employ proprietary underwriting
12         systems in our loan origination process that improve the consistency
13         of underwriting standards, assess collateral adequacy and help to
14         prevent fraud, while at the same time increasing productivity.
15         We supplement our loan origination standards and procedures with a
16         post-funding    quality   control     process.   Our   Quality   Control
17         Department, under the direction of the Chief Credit Officer, is
18         responsible for completing loan audits that may consist of a re-
19         verification of loan documentation, an underwriting and appraisal
20         review, and if necessary, a fraud investigation.
21         462. Further, Countrywide represented in its 2005 Form 10-K that it
22   managed its credit risk by retaining high credit quality mortgages: “[w]e manage
23   mortgage credit risk . . . by retaining high credit quality mortgages in our loan
24   portfolio.”
25         463. Assuring investors of the veracity of the information contained in the
26   2005 Form 10-K, the report included Sarbanes-Oxley Act certifications signed by
27   Defendants Mozilo and Sieracki, representing that the “report does not contain any
28   untrue statement of a material fact” and “the financial statements, and other

                                               175                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 193 of 439 Page ID #:193



 1   financial information included in this report, fairly present in all material respects
 2   the financial condition” of Countrywide and that the Company employed internal
 3   disclosure controls and procedures that detect “[a]ll significant deficiencies and
 4   material weaknesses in the design or operation of internal control over financial
 5   reporting” and “[a]ny fraud, whether or not material, that involves management.”
 6         464. The Company’s statements regarding financial results as referenced in
 7   ¶¶454-58 were materially false and misleading when made as detailed in Section
 8   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
 9   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
10   earnings and total shareholders’ equity. Further, the statements relating to the
11   volume of prime home equity and nonprime loans produced and the value of prime
12   LHI were false and misleading because Countrywide misclassified subprime loans
13   as prime loans to inflate volumes of prime loans, and for the same reasons set forth
14   in Section V.F. Moreover, the statements that Countrywide “retain[ed] high credit
15   quality mortgages in our loan portfolio” and that its loan origination standards and
16   procedures were designed to produce “loans [that] are salable in the secondary
17   mortgage market” and “[o]ur Pay Option loan portfolio has a relatively high initial
18   loan quality, with original average FICO scores . . . of 720” were false and
19   misleading   because Countrywide        severely loosened         and   abandoned   its
20   underwriting practices to boost loan volume without regard for loan quality, and
21   for the reasons set forth in Sections V.C.,V.D., V.G., and X.           Moreover, the
22   Sarbanes-Oxley Act certifications signed by Defendants Mozilo and Sieracki were
23   false and misleading because the financial statements issued by Countrywide were
24   materially misstated and violated GAAP, the Company’s internal controls were
25   ineffective, and for the same reasons stated in Section VIII.A.
26

27

28

                                             176                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 194 of 439 Page ID #:194



 1         D.    The Company’s False
                 Statements Regarding 2006 Results
 2
                 1.     March 21, 2006 Piper Jaffray Conference
 3

 4         465. On March 21, 2006, Sieracki spoke at a Financial Services
 5   Conference hosted by Bob Napoli of Piper Jaffray (“March 21, 2006 Conference”).
 6   During the conference, Sieracki falsely described the loan portfolio held by
 7   Countrywide:
 8         Touch real briefly on our bank. Basically, our strategy here is to
 9         move . . . towards a portfolio strategy, stabilizing our earnings growth
10         and converting that gain on sale into portfolio spread income. And
11         the key driver here is the portfolio. You can see back in December of
12         ‘01, the portfolio was basically at zero. By December 31, it was up to
13         $64 billion. In terms of composition, it is roughly 40% pay option
14         ARMs . . . hybrids, that is about 30%; HELOCs . . . about 20%; and
15         then fixed-rate which is mostly seconds, very short duration seconds,
16         would be about 10%. Over on the far right, we show you some credit
17         stats which show the extreme conservative nature of the investments
18         that we’re making here. The total loan portfolio $63 billion. The
19         original CLTV, now this would include any seconds, thirds, any
20         junior liens, 78%; very, very low. The FICO, 725, very very hi(gh),
21         and of course the delinquencies as a result on this relatively
22         unseasoned portfolio, only 40 basis points. Very, very little risk taken
23         in this portfolio, strictly residential mortgages, no construction loans,
24         no commercial loans, nothing exotic; very, very conservative lending
25         strategy.
26         466. The statements made during the March 21, 2006 Conference were
27   materially false and misleading when made. Specifically, Sieracki’s statements
28   regarding Countrywide’s “conservative lending strategy” were false and

                                             177                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 195 of 439 Page ID #:195



 1   misleading because Countrywide loosened and abandoned its underwriting
 2   guidelines to increase loan volume without regard to loan quality and because
 3   Countrywide relied on fraudulent appraisals to boost loan production. See Sections
 4   V.C. and V.G. Further, the statements relating to the classification of loans in
 5   Countrywide’s loan portfolio were false and misleading because Countrywide
 6   misclassified subprime loans as prime loans to inflate volumes of prime loans, and
 7   for the same reasons set forth in Section V.F.
 8                   2.   March 30, 2006 Financial Equity Investor’s Forum
 9         467. Countrywide hosted a Financial Equity Investors Forum on March 30,
10   2006 (“March 30, 2006 Conference”), attended by Mozilo, Kurland, Sambol,
11   Sieracki and Carlos Garcia (“Garcia”), Countrywide’s Executive Managing
12   Director for Banking and Insurance. During the conference, in response to a
13   question about how Countrywide expected to maintain the Company’s culture in a
14   period of growth, Sambol responded:
15         We’re extremely competitive in terms of our desire to win, and we
16         have a particular focus on offense, which at the same time is
17         supplemented by a strong defense as well, meaning that we have an
18         intense and ongoing focus on share growth while at the same time
19         maintaining a very strong internal control environment and what we
20         believe is best-of-class governance. . . . [O]ur culture is also
21         characterized by a very high degree of ethics and integrity in
22         everything that we do.
23         468. In response to a question about whether there was any truth to
24   criticism that Countrywide was under-reserving for its loan portfolio, Garcia noted
25   that Countrywide’s reserves were more than sufficient because Countrywide fully
26   understood the risk and because the loans that Countrywide originated were very
27   high quality:
28

                                             178                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 196 of 439 Page ID #:196



 1         I would like to start off by commenting on the quality of the loans and
 2         the portfolio, although you’re right that we have a growing portfolio
 3         of pay options, the pay options that we’re originating are very high-
 4         quality pay options, both in terms of FICO and LTV, as well as other
 5         credit attributes that we look at . . . . Also, our pay option reduction is
 6         originated through the Countrywide channels and is a beneficiary of
 7         strong underwriting . . . . So we think we understand the risk very
 8         well . . . . In the area of delinquency, they are outperforming the other
 9         first-lien products by a long shot. . . . In terms of our reserves and
10         charge-offs, I would have you look at our charge-off experience and
11         relate it to our reserves. Our reserves are around 18 basis points and
12         our charge-off experience is something like in the neighborhood of
13         two to three basis points. And so there’s a multiples of the charge-off
14         experience in the reserve, we have reserved not based on our
15         historical experience, because we’ve been growing a new book, so
16         we’ve looked at all of these different scenarios and made many
17         conservative assumptions and based on our [loan loss] reserves on
18         that.
19         469. Mozilo also spoke during the conference about his ownership and
20   sales of Countrywide’s stock. Mozilo claimed that he sold his Countrywide stock
21   pursuant to a 10b5-l plan and “had no control over it”:
22         Lisa Riordan - Countrywide Financial - EVP Investor Relations:
23         Great. Some people feel that insider ownership is a little low. Can
24         you comment on this?
25         Mozilo: . . . Now, in my case, I own about a quarter of a [billion]
26         [shares]. I don’t know what the scope of what you think is wealthy,
27         but I own about 250 some-odd [m]illion, 260 [m]illion, if I can read
28         that right, between the stock and options that I hold and [a] small

                                              179                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 197 of 439 Page ID #:197



 1         amount of incentive stock, which I just think has just vested. And the
 2         only thing ~ I’ve not sold any shares for years. . . . But in recent years
 3         I’ve sold no stock and I have no intention of selling any stock.
 4         The only thing I’ve sold are options that are expiring. And I have a
 5         group that you’ve seen, those of you that follow, have seen me sell a
 6         certain amount of shares every week that’s under a [10b5-l plan] so I
 7         have no control over it. And I think the last exploration [sic] is either
 8         May or June of this year and I have options in the outer years. So I’ve
 9         only sold those that I’ve been compelled to sell because I really
10         believe in this company, I believe we’re just at the threshold of our
11         greatness.
12         470. The statements made during the March 30, 2006 Conference were
13   materially false and misleading when made. None of the Officer Defendants
14   issued any corrections to Garcia’s statements, thereby ratifying these false public
15   statements. Specifically, Sambol’s statements about Countrywide’s “very strong
16   internal controls” and “high degree of ethics” were false and misleading because
17   Countrywide loosened and abandoned its underwriting guidelines to increase loan
18   volume without regard to loan quality and because Countrywide relied on
19   fraudulent appraisals to boost loan production. See Sections V.C., and V.G. The
20   statements that the Company’s loan loss reserves were adequate because the
21   Company’s portfolio purportedly contained high credit quality loans was false and
22   misleading because Defendants failed to account for the increased risk of its
23   mortgage loans. See Sections V.C., VIII.A., and X. Mozilo’s statement he sold his
24   Countryside stock pursuant to a 10b5-1 plan and “had no control over it” was false
25   for the reasons set forth in Section VI.B.
26         471. Analysts reacted positively to Countrywide’s materially false and
27   misleading statements.     For example, on March 31, 2006, Citigroup analysts
28   reiterated a “Buy” rating for Countrywide’s shares based in part on management’s

                                              180                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 198 of 439 Page ID #:198



 1   false “upbeat assessment of CFC’s positioning & growth prospects during the
 2   current mortgage downturn [at the investor forum].”
 3                  3.        First Quarter 2006 Form 8-K
 4         472. On April 27, 2006, Countrywide filed a Form 8-K, signed by
 5   Milleman, attaching a press release that announced the Company’s financial results
 6   for the first quarter of 2006. The Company reported a slight decrease in year-over-
 7   year earnings.           In the press release, Mozilo attributed the decrease to an
 8   increasingly challenging environment. In the press release, Countrywide reported
 9   gain-on-sale        of    loans   and   securities   of   $1,361,178,000,   revenues   of
10   $2,835,948,000, net earnings of $683,511,000, and diluted earnings per share of
11   $1.03 for the quarter. The Company also reported net LHI of $74,107,611,000,
12   ALL of $172,271,000, fair value MSR of $14,171,804,000, total assets of
13   $177,592,056,000, total liabilities of $164,085,803,000, and total shareholders’
14   equity of $13,506,253,000.
15         473. These figures in the Form 8-K were materially false and misleading
16   when made because the Company’s reported value for gain-on-sale loans and
17   securities overstated the fair value of its RIs and MSRs, and also for the reasons
18   detailed in Section VIII.A.        Mozilo’s statement in the attached press release that
19   the decrease in the Company’s earnings was due to a “challenging environment”
20   was false and misleading for the reasons set forth in Sections V.C. and V.G.
21                  4.        First Quarter 2006 Conference Call
22         474. On a conference call held later that same day in which Mozilo and
23   Sieracki participated (“April 27, 2006 Conference Call”), the Company’s senior
24   management discussed the first quarter 2006 financial results and the financial
25   outlook for the second quarter of 2006. During the call, Mozilo falsely stated that
26   the reason for a $44 million increase in the Company’s consolidated provision for
27   loan losses “was primarily a result of growth and seasoning of the investment
28   loan portfolio.”

                                                  181                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 199 of 439 Page ID #:199



 1         475. Also during the call, Mozilo highlighted the purported quality of the
 2   Company’s Pay-Option ARM loans, which had increased from the previous
 3   quarter:
 4         It’s important to note that our pay option loan quality remains
 5         extremely high. Original CLTVs and original loan to values are 78%
 6         and 75% respectively. Average FICO scores on the pay option
 7         portfolio are over 720.
 8         476. The statements made during the April 27, 2006 Conference Call were
 9   materially false and misleading when made.        Specifically, Mozilo’s statement
10   regarding the reasons why Countrywide increased its loan loss provision by $44
11   million was false and misleading for the reasons set forth in Section VIII.A.2.
12   Mozilo’s statements that Countrywide’s “pay option loan quality remains
13   extremely high” and its “[a]verage FICO scores on the pay option portfolio are
14   over 720” were false and misleading for the same reasons set forth in Sections
15   V.C., V.D., and V.G.
16         477. Analysts reacted positively to these materially false and misleading
17   statements. For example, on April 27, 2006, AG Edwards reported that “[w]e are
18   raising our 2006 and 2007 EPS estimates by $0.20 each to $4.50 and $4.90,
19   respectively. We remain bullish on CFC . . . .”
20         478. Several other analysts either raised or maintained their stellar
21   recommendations and earnings estimates for Countrywide as a result of
22   Countrywide’s misrepresentations, including: (1) Credit Suisse First Boston, which
23   rated Countrywide “Outperform” on May 3, 2006; and (2) Morgan Stanley, which
24   rated Countrywide as “Overweight” on May 11, 2006.
25               5.     First Quarter 2006 Form 10-Q
26         479. On May 10, 2006, Countrywide filed its quarterly report on Form 10-
27   Q for the first quarter of 2006 (“1Q 2006 10-Q”), signed by Sieracki and others.
28   The Company reported financial results as follows.

                                             182                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 200 of 439 Page ID #:200



 1         480. The Company reported that the impairment of RIs for the quarter
 2   equaled $120,654,000.
 3         481. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 4   Countrywide described the R&Ws exposure associated with the securitization of
 5   its loans, as follows: “We do not believe that any of our off-balance sheet
 6   arrangements have, or are reasonably likely to have, a current or future material
 7   effect on our financial condition, results of operations, liquidity, capital
 8   expenditures or capital resources.”
 9         482. In a section titled “Credit Risk Management,” the Company reported
10   the liabilities associated with the risk of R&Ws that “totaled $271.9 million at
11   March 31, 2006.”
12         483. Countrywide also reported LHI, as follows: prime mortgages and
13   prime home equity LHI equaled $53,463,593,000 and $14,963,131,000,
14   respectively. Nonprime mortgage LHI equaled $324,040,000, or less than 1% of
15   total mortgage LHI.
16         484. The Company also reported the volume of Mortgage Banking
17   nonprime and prime home equity loans produced (which was included in the total
18   Mortgage Banking volume of loans produced for the quarter ended). Mortgage
19   Banking prime home equity loans originated during the quarter equaled
20   $9,528,000,000. Mortgage Banking nonprime mortgage loans originated during
21   the quarter equaled $8,099,000,000, and were 8.7% of the total Mortgage Banking
22   loans originated.
23         485. The Company also touted the high quality of its loans:
24         [W]e have a portfolio of mortgage loans held for investment,
25         consisting primarily of Prime Mortgage and Prime Home Equity
26         Loans . . . .
27                                         ***
28

                                           183                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 201 of 439 Page ID #:201



 1         We view [pay option adjustable rate] loans as a profitable product that
 2         does not create disproportionate credit risk. Our Pay Option loan
 3         portfolio has very high initial loan quality, with original average
 4         FICO scores (a measure of credit rating) of 721 and original loan-
 5         to-value and combined loan-to-values of 75% and 78%, respectively.
 6         486. With respect to management’s review of the Company’s disclosure
 7   controls and internal controls, the 1Q 2006 10-Q reported: “There has been no
 8   change in our internal control over financial reporting during the quarter ended
 9   March 31, 2006 that has materially affected, or is reasonably likely to materially
10   affect, our internal control over financial reporting.”
11         487. Further assuring investors of the veracity of the information contained
12   in the 1Q 2006 10-Q, the report included Sarbanes-Oxley Act certifications signed
13   by Defendants Mozilo and Sieracki, representing that the “report does not contain
14   any untrue statement of a material fact” and “the financial statements, and other
15   financial information included in this report, fairly present in all material respects
16   the financial condition” of Countrywide.
17         488. The Company’s statements regarding financial results as referenced in
18   ¶¶480-83 were materially false and misleading when made as detailed in Section
19   VIII.A., and because the Company overstated the fair value of its RIs, LHI and
20   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
21   earnings and total shareholders’ equity. Also, management’s statements regarding
22   the quality of the volume of loans produced and LHI were false and misleading
23   because the Company misclassified subprime loans as prime loans, and also for the
24   reasons set forth in Section V.F. Moreover, the representations that Countrywide
25   “view[s] [Pay Option ARM] loans as a profitable product [with] very high initial
26   loan quality” and “portfolio of mortgage loans held for investment, consisting
27   primarily of Prime Mortgage and Prime Home Equity Loans” were false and
28   misleading because Countrywide loosened and abandoned its underwriting

                                              184                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 202 of 439 Page ID #:202



 1   guidelines to increase loan volume without regard to loan quality, and misled
 2   investors about the creditworthiness of Pay-Option ARM borrowers. See Sections
 3   V.B., V.D., and V.G. The statements relating to internal controls were false and
 4   misleading because Countrywide’s internal controls over financial reporting were
 5   ineffective. See Section VIII.A.6. The Sarbanes-Oxley Act certifications signed
 6   by Defendants Mozilo and Sieracki were false and misleading because the
 7   financial statements issued by Countrywide were materially misstated and violated
 8   GAAP, and for the same reasons stated in Section VIII.A.
 9               6.     May 17, 2006 American Financial
                        Services Association Finance Industry
10                      Conference For Fixed Income Investors
11         489. On May 17, 2006, Countrywide participated in the American
12   Financial Services Association’s Finance Industry Conference for Fixed Income
13   Investors (“May 17, 2006 Conference”).         At the conference, Countrywide’s
14   Managing Director of Treasury Finance, Vincent Breitenbach (“Breitenbach”),
15   discussed the Company’s credit risk management and emphasized that
16   Countrywide limited its credit risk by underwriting loans with “strong FICO
17   scores,” high down payments or low LTV’s:
18         [W]e do have a very healthy conservative approach to credit. . . . We
19         talked about some of the metrics that we look at while underwriting
20         credit. We want strong FICO scores, we want high down payments
21         or low LT[V]s.
22         490. Breitenbach also described the type of borrowers that Countrywide
23   targeted for ARM loans in order to maintain high credit quality:
24         In our view the most important risk associated with this [Pay Option
25         ARM] product in negative amortization is to ensure that the borrower
26         is not using that optionality just get in the house. Said another way, if
27         the only way you can own that house is by making a minimum
28         payment, we don’t want that loan.        The type of customer we’re

                                             185                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 203 of 439 Page ID #:203



 1         looking for is someone who is a salesperson who may have some
 2         variability in their monthly pay, an investment banker who has 11
 3         months of reasonably good pay and then hopefully has one really
 4         good month when he gets a bonus. We have a lot of fairly rich people
 5         in there who are looking at this product as an arbitrage opportunity. If
 6         you can borrow money against a $2 or $3 million house at 3, 4, 5%,
 7         then you can go out and invest in the market at a significantly greater
 8         rate. People we use - some rich people at least - will use this as an
 9         arbitrage type of a vehicle. So these are the type of customers that
10         we’re looking for.
11         491. Breitenbach also falsely stated that Countrywide had safe-guards
12   against subprime loans in its portfolio:
13         The way that we guard against not having sub-prime people in our
14         portfolio is a couple of different things. First of all the FICO scores
15         would indicate to us that from a historical perspective, this guy has
16         shown the ability and the propensity to pay on time, with a 727
17         average FICO score. And by the way, the dispersion around that
18         mean is pretty tight. Again, we’re not trying to fool you and we’re
19         certainly not going to fool ourselves by putting in a bunch of lower
20         quality borrowers into the portfolio.
21         492. The statements referenced above during the May 17, 2006 Conference
22   were materially false and misleading when made. Moreover, none of the Officer
23   Defendants issued any corrections to Breitenbach’s statements, thereby ratifying
24   these false public statements.     Specifically, Breitenbach’s statements that the
25   Company has “a very healthy conservative approach to credit” and that the
26   Company wanted “strong FICO scores,” “high down payments” and “low LT[V]s”
27   were false and misleading because Countrywide severely loosened and eventually
28   abandoned its underwriting standards to increase loan volume without regard to

                                                186                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 204 of 439 Page ID #:204



 1   loan quality. See Section V.C. In addition, Breitenbach’s statements relating to
 2   borrowers who are “fairly rich” and sophisticated for the Company’s Pay-Option
 3   ARMs were misleading for the same reasons set forth in Sections V.C. and V.D.
 4   Lastly, Breitenbach’s statement that Countrywide “guards against not having
 5   subprime people in our portfolio” at the bank was false and misleading for the
 6   same reasons set forth in Sections V.C., V.F., and V.G.
 7                7.    May 31, 2006 Sanford C. Bernstein
                        Strategic Decisions Conference
 8

 9         493. On May 31, 2006, Mozilo spoke at the Sanford C. Bernstein Strategic
10   Decisions Conference (“May 31, 2006 Conference”), at which he falsely reassured
11   investors the Pay-Option ARMs were a sound, well-understood loan product:
12         [T]he amount of pay option loans in the bank’s portfolio now stands at
13         $31 billion, up 19% from $26 billion in the last quarter. Despite
14         recent scrutiny to pay option loans, and there’s been plenty,
15         Countrywide views the product as a sound investment for our Bank
16         and a sound financial management tool for consumers. Pay Option
17         loans represent the best whole loan type available for portfolio
18         investment from an overall risk and return perspective.
19         494. Although acknowledging that Pay-Option ARMs carry more risk than
20   other loans, Mozilo represented that “the margin on this product more than
21   compensates for the additional credit risk” and that Countrywide actively managed
22   this increased risk with “prudent program guidelines” and “sound underwriting”:
23         The performance profile of this product is well understood because of
24         its 20-year history, which includes stress tests in very difficult
25         environments.
26         Moreover, Countrywide actively manages credit risk through prudent
27         program guidelines including [negative] amortization limits and sound
28         underwriting.

                                             187                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 205 of 439 Page ID #:205



 1         495. Mozilo also downplayed the impacts of any deterioration in housing
 2   prices:
 3         I failed to cover in that first question, you asked what’s the impact of
 4         Countrywide if you had deterioration [in home] values? Very little
 5         because these loans are insured mostly, a Fannie, Freddie or private
 6         mortgage insurance.    So you see the bank, [has] very substantial
 7         [equity] in the loan [to] valuation ratio.        So the impact [to]
 8         Countrywide through any of these cycles has been de minimis in
 9         terms of what happens when values go lower.
10         496. During the May 31, 2006 Conference, Mozilo again held himself out
11   as personally involved in day-to-day loan originations at Countrywide as he touted
12   Countrywide’s expanding Pay-Option ARM portfolio: “I originate loans every day
13   just so I stay close to the ground and I try to continue to understand what’s
14   happening in the field.”
15         497. The statements made during the May 31, 2006 Conference were
16   materially false and misleading when made. Specifically, Mozilo’s statements
17   about the soundness of Countrywide’s Pay-Option ARMs portfolio and its active
18   management of credit risk for this portfolio through “prudent program guidelines”
19   and “sound underwriting” were false and misleading because Countrywide
20   loosened and abandoned its underwriting guidelines to increase loan volume
21   without regard to loan quality and because Countrywide relied on fraudulent
22   appraisals to boost loan production. See Sections V.C. and V.G.
23               8.     Second Quarter 2006 Form 8-K
24         498. On July 25, 2006, Countrywide filed a Form 8-K (“2Q 2006 8-K”),
25   signed by Milleman, attaching a press release that announced the Company’s
26   financial results for the second quarter of 2006. In the press release, Countrywide
27   reported gain-on-sale of loans and securities of $1,527,450,000, revenues of
28   $3,000,216,000, net earnings of $722,190,000, and diluted earnings per share of

                                            188                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 206 of 439 Page ID #:206



 1   $1.15 for the quarter. The Company also reported net LHI of $79,807,599,000,
 2   ALL of $183,581,000, fair value MSR of $15,320,575,000, total assets of
 3   $194,984,463,000, total liabilities of $180,687,506,000, and total shareholders’
 4   equity of $14,296,957,000.
 5         499. These figures in the 2Q 2006 8-K were materially false and
 6   misleading when made because the Company’s reported value for gain-on-sale
 7   loans and securities overstated the fair value of its RIs and MSRs, and also for the
 8   reasons detailed in Section VIII.A.
 9               9.     Second Quarter 2006 Conference Call
10         500. There was a conference call held later the same day (“July 25, 2006
11   Conference Call”), hosted by Defendants Mozilo and Sieracki, among others,
12   during which the Company’s senior management discussed the second quarter
13   2006 financial results. In response to a question from a Bear Stearns analyst about
14   real estate appraisal values and whether Countrywide used internal or external
15   appraisers, Mozilo touted the quality of the Company’s appraisers, stating that
16   Countrywide had very high quality internal and external appraisers:
17         [W]e have a panel of appraisers, approved appraisers, that work
18         through LandSafe.      Each one of these appraisers throughout the
19         country are approved by us. We do have internal appraisers to review
20         the work of outside appraisers. So the answer to both is yes. Again,
21         we’ll only use our own approved appraisers, and that panel is
22         screened very carefully from time to time to make sure that we are
23         getting rid of the bad ones and we’re only putting in good ones.
24         501. Mozilo’s statement that Countrywide was “getting rid of the bad
25   [appraisers]” and “only putting in good ones” was materially false and misleading
26   when made for the reasons set forth in Section V.G.
27         502. Analysts reacted positively to the Company’s materially false and
28   misleading statements. For example, on July 25, 2006, analysts at Citigroup rated

                                            189                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 207 of 439 Page ID #:207



 1   Countrywide’s stock a “Buy” with “Medium risk,” and on July 26, 2006, Piper
 2   Jaffray, reiterated their Outperform rating on Countrywide stock.
 3                10.     Second Quarter 2006 Form 10-Q
 4           503. On August 7, 2006, Countrywide filed its quarterly report on Form
 5   10-Q for the second quarter of 2006 (“2Q 2006 10-Q”) signed by Sieracki and
 6   others. The Company reported financial results as detailed below.
 7           504. The Company reported that the recovery of its RIs equaled
 8   $51,498,000.
 9           505. In the “Off-Balance Sheet Arrangements and Guarantees” section,
10   Countrywide described the R&Ws exposure associated with the securitization of
11   its loans, as follows: “We do not believe that any of our off-balance sheet
12   arrangements have had, or are reasonably likely to have, a current or future
13   material effect on our financial condition, results of operations, liquidity, capital
14   expenditures or capital resources.”
15           506. Countrywide also represented that it assumed risk with its R&Ws
16   when it underwrote loans to the secondary market. Management stated that: “[t]he
17   liability associated with this risk totaled $307.6 million at June 30, 2006 and
18   $169.8 million at December 31, 2005.”
19           507. Countrywide reported mortgages held for investment in its 2Q 2006
20   10-Q.      Prime mortgage loans and prime home equity loans equaled
21   $55,433,612,000 and $19,081,303,000, respectively.         Nonprime mortgage LHI
22   equaled $9,290,000, or less than 1% of total mortgage LHI.
23           508. The volume of Mortgage Banking loans originated for the quarter by
24   mortgage loan type, was reported as follows: prime, prime home equity and
25   nonprime     loans    amounted     to   $82,229,000,000,     $11,235,000,000,    and
26   $10,171,000,000, respectively.
27           509. Moreover, the Company made a representation in its 2Q 2006 10-Q as
28   to the purported high quality of its loans:

                                              190                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 208 of 439 Page ID #:208



 1         [W]e have a portfolio of mortgage loans held for investment,
 2         consisting primarily of Prime Mortgage and Prime Home Equity
 3         Loans . . . .
 4                                            ***
 5         Our Pay Option investment loan portfolio borrowers had, at the time
 6         the loans were originated, average FICO scores (a measure of
 7         borrower creditworthiness) of 721 and original loan-to value and
 8         combined loan-to-values of 75% and 78%, respectively.
 9         510. The Company also reported management’s review of the Company’s
10   disclosure controls and internal controls: “There has been no change in our internal
11   control over financial reporting during the quarter ended June 30, 2006 that has
12   materially affected, or is reasonably likely to materially affect, our internal control
13   over financial reporting.”
14         511. Further assuring investors of the veracity of the information contained
15   in its 2Q 2006 10-Q, the report included Sarbanes-Oxley Act certifications signed
16   by Defendants Mozilo and Sieracki representing that the “report does not contain
17   any untrue statement of a material fact” and “the financial statements, and other
18   financial information included in this report, fairly present in all material respects
19   the financial condition” of Countrywide.
20         512. The Company’s statements regarding financial results as referenced in
21   ¶¶504-507 were materially false and misleading when made as detailed in Section
22   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
23   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
24   earnings and total shareholders’ equity. Also, management’s statements regarding
25   the quality of the volume of loans produced and LHI were also false and
26   misleading because Countrywide misclassified its subprime loans as prime loans,
27   and also for the reasons set forth in Section V.F. Moreover, the representations that
28   “[o]ur Pay Option investment loan portfolio borrowers [had] . . . average FICO

                                              191                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 209 of 439 Page ID #:209



 1   scores . . . of 721” and “[our] portfolio of mortgage loans held for investment,
 2   consist[ed] primarily of Prime Mortgage and Prime Home Equity Loans” were
 3   false and misleading because the Company loosened and abandoned its
 4   underwriting practices to increase loan volume without regard to loan quality. See
 5   6HFWLRQV 9&í9* The statements relating to internal controls were false and
 6   misleading because the Company’s internal controls over financial reporting were
 7   ineffective. See Section VIII.A.6. The Sarbanes-Oxley Act certifications signed
 8   by Defendants Mozilo and Sieracki were false and misleading because the
 9   financial statements issued by Countrywide were materially misstated and violated
10   GAAP, and for the same reasons stated in Section VIII.A.
11               11.    September 12, 2006 Equity Investor’s Forum
12         513. On September 12, 2006, Countrywide held an Equity Investor’s
13   Forum near its California headquarters in which Mozilo, Sambol and Sieracki
14   participated (“September 12, 2006 Conference”).           Jim Furash (“Furash”),
15   Countrywide’s Senior Managing Director and President of Countrywide Bank,
16   emphasized numerous times during the conference, without correction or
17   explanation by Mozilo, Sambol or Sieracki, the “high quality” of loans held by
18   Countrywide’s Bank:
19         [W]e have built a very large, fast growing, and very efficient deposit
20         franchise that has enabled Countrywide to invest in a top quality
21         mortgage origination. . . . But essentially our model is investing in
22         very low-risk assets today, and a very low net interest margin.
23                                           ***
24         [I]incredibly strong asset quality at the bank. I’d like to emphasize
25         again the large, tangible, high quality balance sheet that we
26         build . . . . A very strong portfolio. . . . So we’re very pleased with
27         the credit decisions that we’re making and the returns that we are
28         receiving as a result of those decisions.

                                             192                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 210 of 439 Page ID #:210



 1         514. Furash also touted that the Company’s loan loss reserves sufficiently
 2   anticipated any potential threats in its loan portfolio:
 3         Obviously the bank’s total footings and earnings have been growing
 4         substantially over the last years, but we’ve been able to match that
 5         growth with our growth and our loan loss reserve. So even though
 6         we are growing our balance sheet very quickly, we continue to build
 7         our reserves in anticipation of any potential threats that we see in
 8         the portfolio. And again I’m very proud of that ability to maintain
 9         this loan loss reserve growth while maintaining our earnings
10         productivity that I mentioned earlier.       Again today our loan loss
11         reserve’s about $163 million dollars, 21 basis points on assets and
12         that’s up three basis points over the last quarter alone I believe.
13         515. The statements by Furash referenced above during the September 12,
14   2006 Conference, which were ratified and approved by the Officer Defendants,
15   were materially false and misleading when made. Specifically, Furash’s statement
16   that “Countrywide invests in [ ] top quality mortgage origination . . . in low risk
17   assets” was false and misleading because Countrywide loosened and abandoned its
18   underwriting guidelines during the Relevant Period. See Section V.C. Further,
19   Furash’s statement that “we continue to build our [loan loss] reserves in
20   anticipation of any potential threats” was false and misleading because
21   Countrywide understated its ALL, overstated LHI on its balance sheet and
22   overstated revenues. See Section VIII.A.
23                12.    September 13, 2006 Fixed Income Investor Forum
24         516. On September 13, 2006, Countrywide hosted a Fixed Income Investor
25   Forum (“September 13, 2006 Conference”) in which Mozilo, Sambol and Sieracki
26   participated. At the conference, Mozilo touted the Company as an industry role
27   model for prudent lending:
28

                                               193                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 211 of 439 Page ID #:211



 1         Not only did we drive efficiency in the marketplace, but as an industry
 2         leader we served as a role model to others in terms of responsible
 3         lending. We take seriously the role of a responsible lender for all of
 4         our constituencies. . . . To help protect our bond holder customers,
 5         we engage in prudent underwriting guidelines . . . .
 6         517. Mozilo further assured investors that Countrywide was different from
 7   other, irresponsible lenders; that it was well-equipped to handle the “cooling
 8   housing market,” and that its proprietary systems would allow it to “manage”
 9   issues regarding consumer leverage, the proliferation of non-traditional mortgage
10   products, and potential for increases in delinquencies:
11         As an industry leader we are in a unique position to capitalize on these
12         economic and competitive issues.        That may not be the case for
13         everyone, but let me illustrate how it is the case for Countrywide . . . .
14         Our macro hedge strategy is designed to help us manage through a
15         cooling of the housing market and declining production. To help
16         manage issues related to consumer leverage, proliferation of non-
17         traditional mortgage products and the potential for increase in
18         delinquencies, we have built comprehensive methodologies, much of
19         which you will see today, that include proprietary technology and
20         surveillance systems, together with communicate [sic] strategies and
21         customer Outreach. . . . For all loans in our Servicing portfolio, we
22         have surveillance methodologies to detect credit problems at an early
23         stage and hopefully cure them.
24         518. Mozilo continued:
25         As I mentioned previously, Countrywide’s macro hedge strategy is
26         designed to mitigate the cooling of the housing market. Because of
27         our time tested knowledge in this business, we know that [] low and
28         declining interest rates usual[ly] fuel production earnings and rising

                                             194                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 212 of 439 Page ID #:212



 1         interest rates fuel servicing earnings. That’s the macro hedge. The
 2         long-term survivors in this business are those who have both a
 3         sizeable production and servicing operation. Those companies that
 4         you’re involved with that are strong in either originations and weak in
 5         servicing or reverse, will not survive.
 6         519. Mozilo also falsely classified Countrywide’s position in nonprime
 7   loans as “minor”:
 8         Similarly if the pricing gets tough in a particular product category, we
 9         can back off just as we did with non-prime. It’s only 9% of our
10         production today, at one point 30%, whereas for monoline non-prime
11         lenders irrational pricing limits their options.
12         520. At the September 13, 2006 Conference, Sambol responded to a
13   question regarding the growth of prime and subprime mortgage loans at
14   Countrywide, by downplaying Countrywide’s participation in the origination of
15   subprime loans and falsely claiming that the Company did not heavily participate
16   in subprime loans:
17         Our profile in the subprime market has been one where we have, for
18         the most part, been on the sidelines. . . . And subprime however,
19         particularly in the third-party channels, the wholesale channel we are
20         in the bottom half of the top 10. And the reason for that is that - is
21         that that market we view to have been subject to some irrational
22         conduct. So, we view the pricing to be somewhat irrational. We view
23         what’s happened on the credit front to be very liberal. And so, we
24         opted not to fully participate, and it’s for that reason you haven’t
25         seen growth in subprime volume as maybe the subprime industry has
26         grown.
27         521. At the same conference, an audience member asked if Countrywide
28   should consider reducing its capital because the Company’s high growth rate was

                                              195                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 213 of 439 Page ID #:213



 1   likely to be unsustainable. Sieracki responded by emphasizing that the growth rate
 2   at Countrywide was not synonymous with an increase in risk and that Countrywide
 3   had not assumed high risk assets:
 4         We’re the last ones to think that we should be aggressive and take
 5         high risk, there’s no change in our risk appetite here, we’re simply
 6         perfecting and refining our capital structure and making sure the
 7         excess capital doesn’t get out of line. We’re talking about equity
 8         neutral transactions with hybrid securities, so it’s really a matter of
 9         refining, perfecting and optimizing our capital structure. . . . So I
10         don’t want anybody to get the impression that there’s been a change
11         in our risk appetite or that we’re going to do anything aggressive
12         here.
13         522. At the same conference, Furash touted the adequacy of Countrywide’s
14   loan loss reserves:
15         Despite the significant asset growth we’ve been able to outpace that
16         growth in our loan portfolio with the growth in our reserve. So again
17         I want to emphasize that we reserve a very conservative amount
18         based on our expected losses, and we’ve been able to outpace our
19         asset growth with our growth in our loan loss reserve provision. So
20         management and myself feel very comfortable that we are well
21         reserved for all sorts of economic cycles that we can be.
22         523. The statements referenced above, made during the September 13,
23   2006 Conference, were materially false and misleading when made. Mozilo’s
24   statements that “we served as a role model to others in terms of responsible
25   lending,” and that “we engage in prudent underwriting guidelines,” were false and
26   misleading because Countrywide loosened and abandoned its underwriting
27   guidelines during the Relevant Period, and engaged in widespread predatory and
28   fraudulent loan origination practices. See Sections V.C. and V.G. Further, Mozilo’s

                                            196                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 214 of 439 Page ID #:214



 1   statement that subprime loans only consist of “9% of [Countrywide’s] production
 2   today” was false and misleading because Countrywide misclassified subprime
 3   loans as prime loans due to a combination of weakening underwriting standards,
 4   exception processing of its loans, and managerial policies that encourage quantity
 5   of loans, not quality. This resulted in a deterioration in the creditworthiness of
 6   Countrywide’s portfolio over the Relevant Period and an increase in subprime
 7   loans. See Sections V.C., V.F., and V.G. Sambol’s statement that “[o]ur profile in
 8   the subprime market has been one where . . . [we are] on the sidelines” and we
 9   “opted not to fully participate . . . in subprime” were false and misleading for the
10   reasons set forth in Sections V.C. and V.F. Sieracki’s statements that there has been
11   no “change in our risk appetite” and “that we’re [not] going to do anything
12   aggressive here” were false for the same reasons set forth in Sections V.C. and V.G.
13   Likewise, Furash’s statement, which was adopted and ratified by the Officer
14   Defendants, that “we reserve a very conservative amount [for loan losses] based
15   upon our expected loss” was false and misleading because the Company
16   manipulated its earnings by taking inadequate allowances for loan losses. See
17   Section VIII.A.2.
18         524. Analysts reacted positively to Countrywide’s materially false and
19   misleading statements above. For example, on September 13, 2006, analysts at
20   Credit Suisse rated Countrywide’s stock “Outperform.” Analysts at Credit Suisse
21   based their opinion upon management’s false assurances and concluded that
22         [c]redit quality remains sound at Countrywide, generally better than
23         management’s initial expectations. CLTVs, FICOs and delinquency
24         trends of its $34.2 billion Option ARM portfolio have remained stable
25         over the past three years. Countrywide has been selling subprime
26         residuals to further reduce credit risk.
27

28

                                              197                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 215 of 439 Page ID #:215



 1         525. In additon, Fox-Pitt Kelton analysts retained a positive outlook on
 2   Countrywide’s stock. Fox-Pitt analysts reported on September 13, 2006, that “[w]e
 3   [r]emain [p]ositive [o]n CFC [d]espite [t]he [c]hallenging [e]nvironment[.]”
 4               13.    Third Quarter 2006 Form 8-K
 5         526. On October 24, 2006, Countrywide filed a Form 8-K (“3Q 2006
 6   8-K”), signed by Milleman, attaching a press release which announced the
 7   Company’s financial results for the third quarter of 2006. In the press release,
 8   Countrywide reported gain-on-sale of loans and securities of $1,373,901,000,
 9   revenues of $2,822,495,000, net earnings of $647,564,000, and diluted earnings
10   per share of $1.03 for the quarter.     The Company also reported net LHI of
11   $80,796,708,000, ALL of $207,987,000, fair value MSR of $15,018,415,000, total
12   assets of $193,194,572,000, total liabilities of $178,095,424,000, and total
13   shareholders’ equity of $15,099,148,000.
14         527. These figures in the 3Q 2006 8-K were materially false and
15   misleading when made because the Company’s reported value for gain-on-sale
16   loans and securities overstated the fair value of its RIs and MSRs, and also for the
17   reasons detailed in Section VIII.A.
18               14.    Third Quarter 2006 Conference Call
19         528. Later the same day, Mozilo, Sambol and Sieracki participated in a
20   conference call in which they discussed the Company’s financial results for the
21   third quarter of 2006 and the fourth quarter and year-end outlook (“October 24,
22   2006 Conference Call”). During the call, Mozilo falsely stated that the Company’s
23   asset valuation reserves and loan loss reserves were appropriate in light of the
24   increase in delinquencies that had occurred:
25         The year-over-year increase in delinquencies and foreclosures are
26         primarily the result of portfolio seasoning, product mix, and
27         changing economic and housing market conditions. . . . The
28

                                            198                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 216 of 439 Page ID #:216



 1          Company believes its asset valuation reserves [for] credit losses are
 2          appropriate for the increases in delinquencies.
 3                                            ***
 4          The loan loss provision was $28 million in the third quarter of 2006, a
 5          decrease of $45 million in the third quarter of 2005. . . . The
 6          allowance for loan losses was $180 million at September 30, 2006, as
 7          compared to $107 million at September 30, 2005. . . . The increase in
 8          delinquencies was in line with manager’s expectations and primarily
 9          reflects the seasoning of the bank’s loan portfolio.
10          529. Mozilo’s statements that “the Company’s asset valuation reserves [for]
11   credit losses are appropriate” and that “the increase in delinquencies was in line
12   with management’s expectations” were false and misleading for the reasons set
13   forth in Section VIII.A.
14          530. Analysts reacted positively to these materially false and misleading
15   statements above. For example, on October 24, 2006, analysts at Piper Jaffray
16   rated Countrywide’s stock “Outperform” with low volatility. Their opinion was
17   based, in part, on Countrywide’s “credit quality [being] . . . in line with
18   expectations. . . .”
19          531. Further, several other analysts either raised or maintained their stellar
20   recommendations and earnings estimates for Countrywide as a result of
21   Defendants’ fraudulent misrepresentations, including: (1) Fox-Pitt Kelton, which
22   reported on October 24, 2006, that “[w]e rate CFC at Outperform and expect this
23   company to be one of the best equipped to weather the housing storm of
24   competition, shrinking market and regulatory scrutiny”; (2) Morgan Stanley, which
25   rated Countrywide “Overweight” on October 24, 2006; and (3) Citigroup, which
26   rated Countrywide as a “Buy” and stated on October 25, 2006, that “[c]redit was
27   fine-in-line w/mgmt exp[ectations] as the portfolio seasons.”
28

                                              199                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 217 of 439 Page ID #:217



 1                15.   Third Quarter 2006 Form 10-Q
 2          532. On November 7, 2006, Countrywide filed its quarterly report on Form
 3   10-Q for the third quarter of 2006 (“3Q 2006 10-Q”), signed by Sambol and
 4   Sieracki. The Company reported financial results as follows.
 5          533. The Company reported in its 3Q 2006 10-Q that the impairment of its
 6   RIs equaled $141,857,000.
 7          534. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 8   Countrywide described the R&Ws exposure associated with the securitization of
 9   its loans as follows: “We do not believe that any of our off-balance sheet
10   arrangements have had, or are reasonably likely to have, a current or future
11   material effect on our financial condition, results of operations, liquidity, capital
12   expenditures or capital resources.”
13          535. The Company also reported the amount of credit risk it assumed as a
14   result of its R&Ws of its mortgage loans: “The liability associated with this risk
15   totaled $303.5 million at September 30, 2006. . . .”
16          536. The Company reported allowance for loan losses of $207,987,000,
17   having increased its provision for loan losses by $37,996,000 during the quarter.
18          537. Countrywide reported prime mortgage and prime home equity LHI
19   that amounted to $55,486,886,000 and $19,625,354,000, respectively. In addition,
20   nonprime mortgage LHI equaled $25,823,000, or less than 1% of total mortgage
21   LHI.
22          538. The volume of Mortgage Banking prime, prime home equity and
23   nonprime loans originated during the quarter equaled $87,713,000,000,
24   $9,203,000,000 and $9,336,000,000, respectively.
25          539. Moreover, the Company represented as to the high quality of its loans,
26   “we have a portfolio of mortgage loans held for investment, consisting primarily of
27   Prime Mortgage and Prime Home Equity Loans” and “[o]ur Pay Option
28   investment loan portfolio borrowers had, at the time the loans were originated,

                                             200                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 218 of 439 Page ID #:218



 1   average FICO scores (a measure of borrower creditworthiness) of 721 and
 2   original loan-to-value and combined loan-to-values of 75% and 78%,
 3   respectively.”
 4         540. The Company described its management of credit risk in the
 5   following terms:
 6         We manage mortgage credit risk by underwriting our mortgage loan
 7         production to secondary market standards and by limiting credit
 8         recourse to Countrywide in our loan sales and securitization
 9         transactions. We also manage credit risk in our investment loan
10         portfolio by retaining high credit quality loans, through pricing
11         strategies designed to compensate for the risk. . . .
12         541. The Company also reported management’s review of the Company’s
13   disclosure controls and internal controls: “There has been no change in our internal
14   control over financial reporting during the quarter ended September 30, 2006 that
15   has materially affected, or is reasonably likely to materially affect, our internal
16   control over financial reporting.”
17         542. Further assuring investors of the veracity of the information contained
18   in its 3Q 2006 10-Q, the report included Sarbanes-Oxley Act certifications signed
19   by Defendants Mozilo and Sieracki, which represented that the “report does not
20   contain any untrue statement of a material fact” and “the financial statements, and
21   other financial information included in this report, fairly present in all material
22   respects the financial condition” of Countrywide.
23         543. The Company’s statements regarding financial results as referenced in
24   ¶¶533-37 were materially false and misleading when made as detailed in Section
25   VIII.A., and because the Company overstated the fair value of its RIs, LHI and
26   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
27   earnings and total shareholders’ equity. Also, the statements regarding the quality
28   of the volume of loans originated and LHI were false and misleading because

                                              201                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 219 of 439 Page ID #:219



 1   Countrywide misclassified subprime loans as prime loans, and also for the same
 2   reasons set forth in Section V.F and V.G. Moreover, the representations that “[o]ur
 3   Pay Option investment loan portfolio [had an] . . . average FICO score[] . . . of
 4   721,” “[the Company’s] portfolio of mortgage loans held for investment consist[s]
 5   primarily of Prime Mortgage and Prime Home Equity Loans” and “[w]e also
 6   manage credit risk in our investment loan portfolio by retaining high credit quality
 7   loans” were false and misleading because Countrywide loosened its underwriting
 8   standards to increase loan volume without regard to loan quality. See Sections
 9   V.C., V.D., V.F., and V.G. The statements relating to internal controls were false
10   and misleading because the Company’s internal controls over financial reporting
11   were ineffective. See Section VIII.A.6. The Sarbanes-Oxley Act certifications
12   signed by Defendants Mozilo and Sieracki were false and misleading because the
13   financial statements issued by Countrywide were materially misstated and violated
14   GAAP. See Section VIII.A.
15                  16.    Year-End 2006 Form 8-K
16         544. On January 30, 2007, Countrywide filed a Form 8-K, signed by
17   Milleman, attaching a press release that announced “record” earnings for 2006,
18   driven by strong fourth quarter results. In the press release, Countrywide reported
19   gain-on-sale     of   loans   and   securities   of   $1,419,318,000,   revenues   of
20   $2,758,469,000, net earnings of $621,581,000, and diluted earnings per share of
21   $1.01 for the quarter. The Company also reported net LHI of $78,085,757,000,
22   ALL of $261,054,000, fair value MSR of $16,172,064,000, total assets of
23   $199,946,230,000, total liabilities of $185,628,384,000, and total shareholders’
24   equity of $114,317,846,000.
25         545. These figures in the Form 8-K were materially false and misleading
26   when made because the Company’s reported value for gain-on-sale loans and
27   securities overstated the fair value of its RIs and MSRs, and also for the reasons
28   detailed in Section VIII.A.

                                              202                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 220 of 439 Page ID #:220



 1                17.   Year-End 2006 Conference Call
 2         546. Later that same day, Countrywide held a conference call discussing
 3   the fourth quarter and year-end 2006 financial and operational results (“January 30,
 4   2007 Conference Call”) in which Mozilo, Sambol and Sieracki participated. A
 5   Merrill Lynch analyst, Ken Bruce, questioned Mozilo about whether the addition
 6   of so many credit enhancements to the bank’s portfolio was a reflection of a
 7   cautious approach to credit. In response, Mozilo stated:
 8         Yes, GAAP has its limitations on that issue and we are doing our best
 9         to expand our reserves in one form or another. And obviously you
10         have cash reserves and the other is that you discount the assets and the
11         third is that you can get pool insurance or MI insurance on the assets.
12         We’ve I think, exercised ourselves to the maximum in that regard and
13         will continue to do so, by the way, throughout 2007.
14         547. During the January 30, 2007 Conference Call, in response to a
15   question from an analyst at Piper Jaffray regarding current trends in the subprime
16   market, Mozilo stated that the subprime industry was going to be severely hit
17   because of the decreased quality of borrowers. Mozilo added that this would not
18   have a material impact on Countrywide because the Company had backed away
19   from the subprime area due to its focus on credit quality:
20         You notice that in both the wholesale channel as well as our consumer
21         channel that our volumes were lower on a market share basis. We
22         picked it up on the correspondent. And it was because we backed
23         away from the sub prime area because of our concern over credit
24         quality. And I think you’re seeing the results of that with those
25         competitors who took that product when we backed away.
26         So I think there’s a couple - one is you’re seeing two or three a day,
27         there’s probably 40 or 50 a day throughout the country going down in
28         one form or another. And I expect that to continue throughout the

                                             203                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 221 of 439 Page ID #:221



 1         year. I think that subprime is going to be severely hit primarily
 2         because the sub prime business was a business of you take inferior
 3         credit but you’d have, you’d require superior equity. And so people
 4         had to make a substantial down payment or if they had marginal
 5         credit.
 6         Well, that all disappeared in the last couple of years and you get a
 7         100% loan with marginal credit and that doesn’t work and so -
 8         particularly if they have any kind of bumps like we have now in the
 9         deterioration of real estate values because people can’t get out.
10         548. The statements referenced above during the January 30, 2007
11   Conference Call were materially false and misleading when made.            Mozilo’s
12   statements that the Company was adding additional insurance to protect against
13   loan default to “exercise[ ] ourselves to the maximum” and that “GAAP has its
14   limitations . . . [reserving for loan losses] and we are doing our best to expand our
15   reserves in one form or another” above what GAAP requires were false and
16   misleading for the same reasons set forth in Section VIII.A. Also, Mozilo’s
17   statement that Countrywide “backed away from the subprime area because of our
18   concern over credit quality” was false and misleading because Countrywide was
19   misclassifying subprime loans as prime loans, and also for the reasons set forth in
20   Sections V.C., V.D., and V.F.
21         549. Analysts reacted positively to the Company’s materially false and
22   misleading statements above.     For example, on February 2, 2007, analysts at
23   Citigroup rated Countrywide’s shares a “Buy” with “Medium Risk.”
24         550. Several other analysts either raised or maintained their stellar
25   recommendations and earnings estimates for Countrywide as a result of the
26   Company’s fraudulent misrepresentations, including: (1) Piper Jaffray, which on
27   January 31, 2007, maintained its “Outperform” rating for Countrywide. Piper
28   Jaffrey analysts stated that “[c]redit quality, while weakening, is still very

                                             204                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 222 of 439 Page ID #:222



 1   respectable”; and (2) Rapid Rating, which reported on January 31, 2007, that
 2   Countrywide’s credit outlook is positive. “[T]he company is a moderate to low
 3   risk and somewhat subject to fluctuations in market conditions, and that its assets
 4   are of very good quality.”
 5                18.   2006 Form 10-K
 6         551. On March 1, 2007, Countrywide filed its Annual Report for 2006 with
 7   the SEC on Form 10-K (“2006 Form 10-K”). The report was signed by Mozilo,
 8   Sieracki, and others. Countrywide reported gain-on-sale of loans and securities of
 9   $5,681,847,000, revenues of $11,417,128,000, net earnings of $2,674,846,000, and
10   diluted earnings per share of $4.30 for the quarter. The Company also reported net
11   LHI of $78,085,757,000, ALL of $261,054,000, fair value MSR of
12   $16,172,064,000,    total    assets   of    $199,946,230,000,   total   liabilities   of
13   $185,628,384,000, and total shareholders’ equity of $12,317,846,000.
14         552. In a section titled “Valuation of MSRs and Other Retained Interests,”
15   the Company reported that the fair value of the RIs on its balance sheet as of
16   December 31, 2006, was $3,040,575,000. Further, the Company reported that the
17   impairment in the fair value of its RIs equaled $73,677,000 for the fourth quarter
18   and $284,700,000 for the year.
19         553. In the “Off-Balance Sheet Arrangements and Guarantees” section,
20   Countrywide described the R&Ws exposure associated with the securitization of
21   its loans, as follows: “[w]e do not believe that any of our off-balance sheet
22   arrangements have had, or are reasonably likely to have, a current or future
23   material effect on our financial condition, results of operations, liquidity, capital
24   expenditures or capital resources.”
25         554. In a section titled “Credit Risk Management,” the Company also
26   reported the liabilities associated with the risk of representation and warranties
27   totaled $390,200,000.
28

                                                205                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 223 of 439 Page ID #:223



 1         555. Moreover, the 2006 Form 10-K stated that “contractual liability arises
 2   only when . . . representations and warranties are breached.” Countrywide also
 3   stated that it “attempt[s] to limit our risk of incurring these losses by structuring
 4   our operations to ensure consistent production of quality mortgages.”
 5         556. The Company reported allowance for loan losses of $261,054,000 as
 6   of the end of 2006. The Company also had net charge-offs of $156,841,000. The
 7   Company stated that “allowances and provisions for credit losses are adequate
 8   pursuant to generally accepted accounting principles.”
 9         557. Countrywide also made representations concerning the purportedly
10   high quality of its portfolio and the purportedly sufficient allowances and provision
11   for loan losses:
12         The increase in [the Company’s] . . . allowance for loan losses reflects
13         prevailing real estate market and economic conditions and the
14         seasoning of the Bank’s investment loan portfolio. We expect the
15         allowance for loan losses to increase, both in absolute terms and as a
16         percentage of our loan portfolio as our loan portfolio continues to
17         season and as current market conditions develop.          However, we
18         believe that our investment criteria have provided us with a high
19         quality investment portfolio and that our credit losses should stay
20         within acceptable levels.     We also believe our allowances and
21         provisions for credit losses are adequate pursuant to generally
22         accepted accounting principles.
23         558. Countrywide reported prime mortgages and prime home equity LHI in
24   the amounts of $230,139,000 and $56,029,000, respectively. Nonprime mortgage
25   LHI amounted to $55,262,000, or less than 1% of total mortgage banking LHI.
26         559. The Company reported that the volume of Mortgage Banking
27   nonprime, prime home equity and prime loans originated during the year equaled
28   $36,752,000,000, $39,962,000,000 and $344,370,000,000, respectively.

                                             206                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 224 of 439 Page ID #:224



 1         560. Countrywide also reported in its 2006 Form 10-K its high credit rating
 2   and strategy to continue to produce high quality mortgages to the secondary
 3   market, “Our strategy is to ensure our ongoing access to the secondary mortgage
 4   market by consistently producing quality mortgages and servicing those mortgages
 5   at levels that meet or exceed secondary mortgage market standards.”
 6         561. Moreover, the Company represented in its 2006 Form 10-K as to the
 7   purported high quality of its loans: “[t]he majority of our loan production consists
 8   of Prime Mortgage loans.”
 9         562. In a section titled “Mortgage Credit Risk,” the Company described its
10   Credit Policy, portraying it as a tightly controlled and supervised process with a
11   rigorous pre-loan screening procedure, post-loan auditing, appraisal and
12   underwriting reviews:
13         Loan Quality
14         Our credit policy establishes standards for the determination of
15         acceptable credit risks. Those standards encompass borrower and
16         collateral quality, underwriting guidelines and loan origination
17         standards and procedures.
18         Borrower quality includes consideration of the borrower’s credit and
19         capacity to pay. We assess credit and capacity to pay through . . .
20         manual or automated underwriting.
21                                           ***
22         Our underwriting guidelines for non-conforming mortgage loans,
23         Prime Home Equity Loans, and Nonprime Mortgage Loans have been
24         designed so that these loans are salable in the secondary mortgage
25         market. We developed these guidelines to meet the requirements of
26         private investors, rating agencies and third-party credit enhancement
27         providers. These standards and procedures encompass underwriter
28         qualifications and authority levels, appraisal review requirements,

                                            207                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 225 of 439 Page ID #:225



 1         fraud controls, funds disbursement controls, training of our employees
 2         and ongoing review of their work.
 3                                            ***
 4         We supplement our loan origination standards and procedures with a
 5         post-funding quality control process.
 6                                            ***
 7         Our Quality Control Department is responsible for completing loan
 8         audits that may consist of a re-verification of loan documentation, an
 9         underwriting and appraisal review, and, if necessary, a fraud
10         investigation.
11         563. In its 2006 Form 10-K, Countrywide dropped its claim that Pay-
12   Option ARMs had “relatively high initial loan quality,” but stated that the average
13   original FICO score for such loans as of December 31, 2006, was 718.
14         564. Assuring investors of the veracity of the information contained in the
15   2006 Form 10-K, the report included Sarbanes-Oxley Act certifications signed by
16   Defendants Mozilo and Sieracki, representing that the “report does not contain any
17   untrue statement of a material fact” and “the financial statements, and other
18   financial information included in this report, fairly present in all material respects
19   the financial condition” of Countrywide and that the Company employed internal
20   disclosure controls and procedures that detect “[a]ll significant deficiencies and
21   material weaknesses in the design or operation of internal control over financial
22   reporting” and “[a]ny fraud, whether or not material, that involves management.”
23         565. The Company’s statements regarding financial results as referenced in
24   ¶¶551-58 were materially false and misleading when made as detailed in Section
25   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
26   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
27   earnings and total shareholders’ equity. Furthermore, the statements relating to the
28   volume of prime loans produced and the value of prime LHI were all false and

                                             208                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 226 of 439 Page ID #:226



 1   misleading because Countrywide misclassified subprime loans as prime loans, and
 2   also for the same reasons stated in Section V.F.         Moreover, Countrywide’s
 3   statements that it “consistently produc[ed] quality mortgages,” that its loan
 4   origination standards and procedures are designed to produce “loans [that] are
 5   salable in the secondary mortgage market” and “[t]he majority of our loan
 6   production consists of Prime Mortgage loans” were false and misleading because
 7   Countrywide loosened and abandoned its underwriting practices to increase loan
 8   volume without regard to loan quality and engaged in widespread predatory and
 9   fraudulent loan origination practices. See Sections V.C., V.G., and X Moreover,
10   the Sarbanes-Oxley Act certifications signed by Defendants Mozilo and Sieracki
11   were false and misleading because the financial statements issued by Countrywide
12   were materially misstated and violated GAAP, the Company’s internal controls
13   were ineffective, and for the same reasons stated in Section VIII.A.
14         E.     The Company’s False
                  Statements Regarding 2007 Results
15
                  1.    March 6, 2007 Raymond James
16                      Institutional Investor Conference
17         566. On March 6, 2007, Sieracki, speaking at a Raymond James
18   Institutional Investor Conference, made further false and misleading statements
19   about Countrywide’s access to liquidity.          Around this time, several of
20   Countrywide’s competitors had begun having problems because of their lending
21   practices. Sieracki acknowledged the critical importance of liquidity in light of
22   these recent problems. In particular, he noted that “[l]iquidity is a huge issue. Not
23   all of [Countrywide’s competitors] models are going to be able to fund themselves
24   and you are going to see some of these companies go out of business.”
25         567. Later during the same conference, Sieracki stated:
26         [w]e’re very well positioned at Countrywide due to experience in
27         these cycles, expertise, operating controls and our liquidity position.
28         Let’s face it this is a pain phase of a healthy process. We’re a top

                                             209                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 227 of 439 Page ID #:227



 1         conditioned athlete and I would suggest that the future present value
 2         of this outcome, of this pain felt today is greater than stumbling along
 3         at the status quo here.
 4         568. The statements referenced above were materially false and
 5   misleading. Specifically, Sieracki’s statements that “[w]e’re very well positioned
 6   at Countrywide due to . . . our liquidity position” and “[w]e’re a top conditioned
 7   athlete” were false and misleading because Countrywide was not well positioned
 8   with respect to its liquidity position. See Sections V.C. and X.
 9                2.    March 13, 2007 CNBC Interview And
                        March 22, 2007 “Mad Money” Interview
10

11         569. On March 13, 2007, CNBC reporter Maria Bartiromo (“Bartiromo”)
12   interviewed Mozilo. During the interview, Mozilo falsely told the marketplace that
13   Countrywide was not like other mono-line subprime lenders because the
14   Company’s subprime loans purportedly constituted 7% of its loan originations:
15         Mozilo: [T]he [lenders] . . . that you see exposed [from the subprime
16         market] at the moment would be the New Centuries, the NovaStars,
17         and the Accredited Home Loans, and those are monocline companies,
18         subprime companies, that did well in the housing boom, in the bubble,
19         but once the tide went out, you can see what’s happened. I think it’s
20         a mistake to apply what’s happening to them to the more diversified
21         financial services companies such as Countrywide, Wells Fargo and
22         others. Certainly, a percentage of our business is subprime. We had 7
23         percent of our [loan originations in subprime] . . . .
24         Bartiromo: Seven percent? Angelo, so you’ve got seven percent of
25         originations coming from the subprime area:
26         Mozilo: That’s correct. And about .2 percent of our assets are in
27         subprime.     So I think it’s very important that this be kept in
28         perspective. So, for us, what our concern is, Maria, is not so much for

                                              210                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 228 of 439 Page ID #:228



 1         Countrywide because we’ll be fine. In fact, this will be great for
 2         Countrywide at the end of the day because all the irrational
 3         competitors will be gone.
 4         570. On March 22, 2007, Mozilo appeared on the popular CNBC program
 5   “Mad Money,” hosted by Jim Cramer. Mozilo, once again, was very positive
 6   regarding the Company’s prospects. He falsely assured investors that Countrywide
 7   was essentially a prime lender, and that subprime loans represented only 7-9% of
 8   the Company’s business. He again differentiated Countrywide from subprime
 9   lenders, asserting their business model was fundamentally flawed in a way
10   Countrywide’s was not.
11         571. Thereafter, on August 26, 2007, in an article titled, “Inside the
12   Countrywide Lending Spree,” The New York Times reported why Mozilo’s
13   statements during the CNBC interview on March 13, 2007, were materially false
14   and misleading:
15         Countrywide documents show that it, too, was a lax lender. For
16         example, it wasn’t until March 16 that Countrywide eliminated so-
17         called piggyback loans from its product list, loans that permitted
18         borrowers to buy a house without putting down any of their own
19         money.      And Countrywide waited until Feb. 23 to stop peddling
20         another risky product, loans that were worth more than 95 percent of a
21         home’s appraised value and required no documentation of a
22         borrower’s income.
23         [In addition] . . . Countrywide’s product list showed that it would lend
24         $500,000 to a borrower rated C-minus, the second-riskiest grade. As
25         long as the loan represented no more than 70 percent of the underlying
26         property’s value, Countrywide would lend to a borrower even if the
27         person had a credit score as low as 500.
28

                                            211                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 229 of 439 Page ID #:229



 1           572. In addition to the reasons set forth in the August 26, 2007 New York
 2   Times article, Mozilo’s statements above that “[w]e had 7 percent of [our business
 3   in subprime]” and that “Countrywide was essentially a prime lender” were false
 4   and misleading because Countrywide abandoned its underwriting practices to boost
 5   loan volume without regard for loan quality, misclassified subprime loans as prime
 6   loans, and engaged in widespread predatory and fraudulent loan origination
 7   practices, and also for the same reasons set forth in Sections V.C., V.F., and V.G.
 8                 3.    First Quarter 2007 Form 8-K
 9           573. On April 26, 2007, Countrywide filed a Form 8-K (“1Q 2007 8-K”)
10   attaching a press release that announced its financial results for the first quarter of
11   2007.      Countrywide reported gain-on-sale of loans and securities of
12   $1,234,104,000, revenues of $2,405,776,000, net earnings of $433,981,000 and
13   diluted earnings per share of $0.72 for the quarter. The Company also reported net
14   LHI of $75,177,094,000, ALL of $374,367,000, fair value MSR of
15   $17,441,860,000,     total   assets   of    $207,950,603,000,   total   liabilities   of
16   $193,132,154,000 and total shareholders’ equity of $14,818,449,000.
17           574. These figures in the 1Q 2007 8-K were materially false and
18   misleading when made because the Company’s reported value for gain-on-sale
19   loans and securities overstated the fair value of its RIs and MSRs, and also for the
20   reasons detailed in Section VIII.A.
21                 4.    First Quarter 2007 Conference Call
22           575. On a conference call held later that day in which Mozilo, Sambol and
23   Sieracki participated (“April 26, 2007 Conference Call”), senior management
24   discussed the first quarter 2007 financial results and the financial outlook for the
25   second quarter of 2007. During the call, Mozilo touted the Company’s growing
26   pipeline of “prime” loans, claiming that Countrywide was poised to capitalize on
27   the implosion of irresponsible lenders in the mortgage-lending industry:
28

                                                212                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 230 of 439 Page ID #:230



 1         As a result, you have less competition and as Dave pointed out,
 2         rational competition. So when you have that, one is your margins are
 3         going to improve. There is no question that there are many players
 4         who have entered the business over the last five years that had to
 5         some degree or another irresponsible behavior, conducted themselves
 6         irresponsibly, and that impacted everybody, Gresham’s Law.
 7         576. Sambol reiterated that Countrywide’s prime business would continue
 8   to grow and that Countrywide had gained a competitive advantage in the subprime
 9   area now that other lenders had exited that business:
10         And as it relates to top-line pricing margins, there was the absence of
11         competitive worsening in pricing. So the outlook is very good for our
12         prime business and prime margins. As it relates to subprimes, as I
13         mentioned in my presentation, we are now pricing our rate sheets to
14         provide for profitability in each of our channels, where I would tell
15         you that in ‘06, for much of ‘06 and part of ‘05, competitive
16         conditions were such that in certain of our segments, we were
17         pricing to breakeven.
18         577. Moreover, on the same call, Mozilo insisted that there was no
19   spillover from the subprime debacle to prime mortgages:
20         [T]here has been a lot of talk about contagion or spillover from
21         subprime to Alt-A and so we thought we would comment a little bit
22         on that market and Countrywide’s views and exposure to Alt-A. First
23         of all, by way of description, Alt-A generally consists of loans to
24         prime credit borrowers unlike subprime. FICOs generally in excess
25         of 700 who don’t qualify for traditional prime programs due to a
26         variety of things; reduced documentation most notably and/or other
27         layering of risk factors, maybe higher LTVs and higher loan amounts.
28                                          ***

                                             213                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 231 of 439 Page ID #:231



 1         As it relates to Alt-A, the conclusion there is that, at least for
 2         Countrywide, there has not been any material impact or spillover
 3         into Alt-A or for that matter into our prime business.
 4         578. Also during the April 26, 2007 Conference Call, Sambol falsely
 5   declared that “of course Countrywide has the liquidity and the capital and the
 6   infrastructure to take advantage of the structural changes that are taking place in
 7   this market.”
 8         579. The statements referenced above during the April 26, 2007
 9   Conference Call were materially false and misleading when made.            Mozilo’s
10   statement that Countrywide would benefit from other mortgage companies’
11   irresponsible conduct was false and misleading. In truth, Countrywide was not
12   different from the companies heavily involved in irresponsible lending. Moreover,
13   Sambol’s statement that “the outlook is very good for our prime business and
14   prime margins” was false and misleading because Countrywide abandoned its
15   underwriting practices to boost loan volume without regard for loan quality,
16   misclassified subprime loans as prime loans, and engaged in widespread predatory
17   and fraudulent loan origination practices, and also for the same reasons set forth in
18   Sections V.C., V.F., and V.G. In addition, Sambol’s statement that management was
19   pricing the loans to the secondary market “to breakeven” was false and misleading
20   for the reasons set forth in Section VIII.A. Further, Mozilo’s statement that “there
21   has not been any material impact or spillover [from the subprime fallout] into Alt-
22   A or . . . prime business” was false and misleading for the same reasons set forth
23   above and in Section V.F. Sambol’s statement that “Countrywide has the liquidity
24   and the capital and the infrastructure to take advantage of the structural changes
25   that are taking place in this market” was false and misleading because
26   Countrywide was not well positioned with respect to its liquidity position and
27   overstated its capital. See Sections VIIIA. and X.
28

                                             214                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 232 of 439 Page ID #:232



 1                  5.   April 26, 2007 AFSA 7th
                         Finance Industry Conference
 2

 3         580. On April 26, 2007, Countrywide participated at the AFSA 7th Finance
 4   Industry Conference for International Fixed-Income Investors (“April 26, 2007
 5   Fixed Income Conference”). Jennifer Sandefur (“Sandefur”), Senior Managing
 6   Director and Treasurer, attended the conference on behalf of Countrywide. At the
 7   conference, Sandefur attempted to distinguish Countrywide from its peer mortgage
 8   lenders by stating that the Company was not heavily involved in the subprime
 9   mortgage industry. In particular, Sandefur described Countrywide’s portfolio as
10   “very high quality” and consisting primarily of prime mortgages:
11         There’s been a significant amount of turmoil in the market recently as
12         a result of the nonprime mortgage sector. We strategically manage
13         that. We’re essentially a prime mortgage originator. We have $400
14         million in residual investments on our balance sheet. We have a very
15         conservative liquidity profile which insulates us from market events
16         like the subprime origination market events.
17                                         ***
18         [D]uring the time that we acquired the bank in 2006, we originated
19         over $2 trillion in mortgages in the United States, prime and a small
20         amount of subprime and we put about $73 billion of very prime
21         mortgages on our own balance sheet.
22         581. Sandefur     repeatedly   emphasized      Countrywide’s   high   quality
23   mortgages:
24         Again, over 90% of Countrywide loan origination volume is prime
25         quality. Less than 9% of our production is subprime. . . . The
26         nonprime loans are all held for investment and sold into
27         securitizations with none of those going on our bank’s balance
28         sheet.

                                            215                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 233 of 439 Page ID #:233



 1                                          ***
 2         A little bit more about the bank. Again, and the high credit quality of
 3         that portfolio that we selected. Very low interest rate risk.
 4         582. At the April 26, 2007 Fixed Income Conference, Sandefur also
 5   addressed the increased rate of delinquencies in the subprime mortgage industry
 6   and the loosened underwriting standards for subprime loans. However, she made a
 7   point of distinguishing Countrywide from its competition:
 8         [M]any of the players that originated [subprime] loans and loosened
 9         these standards as they were kind of gasping for breath at the very end
10         of the run in the refi boom, I think lowered a lot of the underwriting
11         standards which caused a lot of these delinquency problems. A lot of
12         these smaller players are exiting the business willingly in many cases
13         and unwillingly in some cases.
14         . . . I’d like to differentiate Countrywide here. And from a lot of
15         competitors we’ve seen come and go in the past, you’re talking about
16         a kind of one-trick pony, if you will, some of these subprime lenders
17         who all they did was originate subprime loans, enjoyed the wide
18         margins, they weren’t properly capitalized. They weren’t properly
19         balanced. They didn’t have diversified businesses. They didn’t have
20         38 years of technology. They didn’t have the intellectual capital, the
21         hedging capabilities, the ability to price. They did one thing. They
22         originated subprime loans.
23         Versus a Countrywide who originates a very small component of
24         subprime loans so that they have a full menu of products to offer
25         through the various diversified channels, retail, correspondent,
26         wholesale, through brokers. . . . They underestimated the impact of
27         early payment defaults through the whole loan type of risk
28

                                             216                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 234 of 439 Page ID #:234



 1         transference that they were using unlike the Countrywide who uses a
 2         securitization, who has a reputation for high quality originations.
 3         583. At the same conference, Sandefur commented on the adequacy of
 4   Countrywide’s allowance account for loan losses due to the pristine nature of its
 5   portfolio:
 6         Allowances for loan losses which are really a 12 month perspective
 7         look at potential losses, we’ve booked at $229 million for ‘06. Actual
 8         net charge-offs for the bank portfolio were only $34 million. So very
 9         conservative allowances for loan losses at very small actual charge
10         offs given the very pristine nature of this portfolio. . . . So, again,
11         the point here, not subprime. Very, very prime. Kind of the opposite
12         of subprime.
13         584. The statements referenced above and made at the April 26, 2007 Fixed
14   Income Conference were materially false and misleading when made. None of the
15   Officer Defendants issued any corrections to Sandefur’s statements, thereby
16   ratifying these false public statements. Specifically, Sandefur’s statements that
17   “[w]e’re essentially a prime mortgage originator,” emphasizing the point with
18   phrases such as “very, very prime,” were false and misleading for the same reasons
19   set forth in Section V.F. Moreover, Sandefur’s statements that “over 90% of
20   Countrywide[‘s] loan origination volume is prime quality” and “[l]ess than 9% of
21   our production is subprime” were false and misleading because Countrywide
22   improperly classified subprime mortgage loans as prime loans, and also for the
23   same reasons set forth in Section V.F. In an attempt to distinguish Countrywide
24   from its peers, Sandefur’s statements that Countrywide “originate[d] a very small
25   component of subprime loans” and “has a reputation for high quality loans” were
26   also materially false and misleading for the same reasons set forth in Sections V.C.,
27   V.F., and V.G.    Moreover, Sandefur’s statement that Countrywide had “very
28   conservative allowances for loan losses . . . given the very pristine nature of this

                                             217                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 235 of 439 Page ID #:235



 1   portfolio” was false and misleading because Countywide manipulated its earnings
 2   by taking inadequate allowances for loan losses, and for the same reasons set forth
 3   above in Section VIII.A.2.
 4         585. Analysts continued to be deceived by management’s false and
 5   misleading statements as set forth above.      For example, on April 26, 2007,
 6   Citigroup analysts rated Countrywide’s shares a “Buy” with “Medium Risk.”
 7   Citigroup analysts based their opinion in part on Countrywide’s senior
 8   management’s false assurances that after industry consolidation the Company
 9   would be well positioned to grow market share and earnings and that
10   Countrywide’s “core business” of prime loans was “solid.”
11         586. Several other analysts either raised or maintained their stellar
12   recommendations and earnings estimates for Countrywide as a result of the
13   Company’s fraudulent misrepresentations, including:      (1) Piper Jaffray, which
14   maintained its “Outperform” rating for Countrywide on April 27, 2007; (2) Morgan
15   Stanley, which reiterated “Overweight” for Countrywide’s stock on April 29, 2007;
16   and (3) Rapid Rating, which reported on April 26, 2007, that Countrywide’s credit
17   outlook is positive. “[T]he company is a moderate to low risk and somewhat
18   subject to fluctuations in market conditions, and that its assets are of very good
19   quality.”
20                6.     First Quarter 2007 Form 10-Q
21         587. On May 9, 2007, Countrywide filed its quarterly report on Form 10-Q
22   for the first quarter of 2007 (“1Q 2007 10-Q”), signed by Sambol and Sieracki.
23   The Company reported financial results as follows.
24         588. In the section titled “Impairment of Retained Interests,” the Company
25   noted that “we recognized impairment of RIs of $429.6 million. Impairment
26   charges of $231.0 million were related to nonprime and related residual interests
27   and $135.3 million were related to subordinated interests on prime home equity
28   lines of credit securitizations.”

                                            218                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 236 of 439 Page ID #:236



 1         589. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 2   Countrywide described the R&Ws exposure associated with the securitization of
 3   its loans as follows: “We do not believe that any of our off-balance sheet
 4   arrangements have had, or are reasonably likely to have, a current or future
 5   material effect on our financial condition, results of operations, liquidity, capital
 6   expenditures or capital resources.”
 7         590. The Company described its management of credit risk in the
 8   following terms: “We attempt to limit our risk of incurring . . . [representation and
 9   warranty] losses by structuring our operations to ensure consistent production of
10   quality mortgages.”
11         591. In a section titled “Credit Risk Management,” the Company also
12   reported that the liabilities associated with the risk of representation and warranties
13   totaled $365.3 million.
14         592. In a section titled “Securitizations,” the Company reported that the
15   fair value of its MSRs at March 31, 2007, was $17,441,860,000. The Company
16   reported allowance for loan losses of $374,367,000, having increased its provision
17   for loan losses by $151,962,000 during the quarter. The Company also had net
18   charge-offs of $38,649,000.
19         593. Countrywide reported in its 1Q 2007 10-Q that prime mortgage and
20   prime home equity LHI equaled $68,908,462,000, and nonprime mortgage LHI
21   equaled $1,144,184,000.
22         594. The volume of Mortgage Banking nonprime, prime home equity and
23   prime loans produced during the quarter equaled $7,500,000,000, $9,234,000,000
24   and $93,833,000,000, respectively.
25         595. With respect to Countrywide’s liquidity and capital resources, the 1Q
26   2007 10-Q stated that:
27         . . . nonprime loans and related securities became much less liquid.
28         However, such assets represent only a small portion of our total

                                              219                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 237 of 439 Page ID #:237



 1         assets. The substantial majority of our assets continue to experience
 2         ample liquidity in the marketplace. As such, we do not expect the
 3         reduction in liquidity for nonprime loans to have a significant
 4         adverse effect on our ability to effectively meet our financing
 5         requirements.
 6                                           ***
 7         We establish reliable sources of liquidity sized to meet a range of
 8         potential future funding requirements.       We currently have $94.4
 9         billion in available sources of short-term liquidity, which represents a
10         decrease of $2.0 billion from December 31, 2006. We believe we
11         have adequate financing capacity to meet our currently foreseeable
12         needs.
13         596. The Company also reported in management’s review of the
14   Company’s disclosure controls and internal controls: “There has been no change in
15   our internal control over financial reporting during the quarter ended March 31,
16   2007 that has materially affected, or is reasonably likely to materially affect, our
17   internal control over financial reporting.”
18         597. Further assuring investors of the veracity of the information contained
19   in its 1Q 2007 10-Q, the report included Sarbanes-Oxley Act certifications signed
20   by Defendants Mozilo and Sieracki, representing that the “report does not contain
21   any untrue statement of a material fact” and “the financial statements, and other
22   financial information included in this report, fairly present in all material respects
23   the financial condition” of Countrywide.
24         598. The Company’s statements regarding financial results as referenced in
25   ¶¶588-93 were materially false and misleading when made as detailed in Section
26   VIII.A. and because the Company overstated the fair value of its RIs, LHI and
27   MSR, understated ALL, understated liabilities related to R&Ws, and overstated net
28   earnings and total shareholders’ equity. Also, the statements regarding the quality

                                              220                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 238 of 439 Page ID #:238



 1   of the volume of loans produced and LHI were false and misleading because
 2   Countrywide improperly classified subprime loans as prime loans, and also for the
 3   reasons set forth in Section V.F. Moreover, the representation that we “ensure
 4   consistent production of quality mortgages” was false and misleading because
 5   Countrywide loosened and abandoned its underwriting guidelines when originating
 6   loans. See Sections V.C. and V.G. Moreover, Countrywide’s statements regarding
 7   liquidity were false and misleading for the same reasons stated in Section X. The
 8   statements relating to internal controls were false and misleading because the
 9   Company’s internal controls over financial reporting were ineffective. See Section
10   VIII.A.6. The Sarbanes-Oxley Act certifications signed by Defendants Mozilo and
11   Sieracki were false and misleading because the financial statements issued by
12   Countrywide were materially misstated and violated GAAP, and for the same
13   reasons stated in Section VIII.A.
14         F.     The Company’s False Registration Statements
                  And Prospectuses For Countrywide’s
15                Offerings Of Debt And Preferred Securities
16         599. During the Relevant Period, Countrywide offered certain debt
17   securities – including Series B Medium-Term Notes and 6.25% Subordinated
18   Notes Due May 15, 2016 – pursuant to a materially untrue and misleading
19   registration statement that it filed with the SEC and prospectuses and prospectus
20   supplements issued thereunder and incorporated therein by reference, as discussed
21   in greater detail below. Countrywide and CCV also offered and sold a hybrid debt-
22   equity security – viz. 7% Capital Securities – pursuant to a materially untrue and
23   misleading registration statement that Countrywide and CCV filed with the SEC
24   and a prospectus and prospectus supplement issued thereunder and incorporated
25   therein by reference, also as discussed in greater detail below.
26                1.    Series B Medium-Term Notes
27         600. On or about February 15, 2006, Countrywide commenced a public
28   offering of Series B Medium-Term Notes to be offered on a continuous basis. Net

                                              221                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 239 of 439 Page ID #:239



 1   proceeds from this offering to Countrywide, after deducting offering expenses,
 2   were approximately $10,700,000,000.
 3         601. The Series B Medium-Term Notes were offered and sold pursuant to a
 4   shelf registration statement on Form S-3ASR and prospectus dated February 9,
 5   2006, signed by Mozilo, Sambol, Sieracki, and other Countrywide officers and
 6   directors; a prospectus supplement filed February 15, 2006; and 153 successive
 7   pricing supplements and free writing prospectuses dated between February 22,
 8   2006, and August 6, 2007 (collectively, the “Series B Medium-Term Notes
 9   Prospectus”), all of which Countrywide filed with the SEC (collectively, the
10   “Series B Medium-Term Notes Registration Statement”).
11         602. The Series B Medium-Term Notes Registration Statement expressly
12   incorporated by reference documents filed by Countrywide with the SEC,
13   including its Annual Report on Form 10-K for the year ended December 31, 2004;
14   Quarterly Reports on Forms 10-Q for the quarters ended March 31, 2005, June 30,
15   2005, and September 30, 2005; and Current Reports on Forms 8-K dated
16   September 30, 2005, and October 27, 2005. The Series B Medium-Term Notes
17   Registration Statement also expressly incorporated by reference Countrywide’s
18   consolidated financial statements as audited by KPMG.
19         603. KPMG consented to the use and incorporation of its reports with
20   respect to the consolidated financial statements and all related financial statement
21   schedules, management’s assessment of the effectiveness of internal control over
22   financial reporting and the effectiveness of internal controls over financial
23   reporting in the Series B Medium-Term Notes Registration Statement and to the
24   reference to its firm under the heading of “Experts” in the relevant prospectuses.
25   KPMG’s reports on Countrywide’s consolidated financial statements for the year
26   ended December 31, 2004, and management’s assessment of the effectiveness of
27   internal control over financial reporting as of December 31, 2004, as audited by
28

                                            222                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 240 of 439 Page ID #:240



 1   KPMG, were incorporated by reference into the Series B Medium-Term Notes
 2   Registration Statement.
 3         604. As alleged in detail above, Countrywide’s Form 10-K for the year
 4   ended December 31, 2004, Countrywide’s consolidated financial statements for the
 5   year ended December 31, 2004, and other SEC filings noted above as incorporated
 6   by reference in the Series B Medium-Term Notes Registration Statement were
 7   materially false and misleading. Accordingly, the Series B Medium-Term Notes
 8   Registration Statement and documents incorporated therein by reference, pursuant
 9   to which certain Plaintiffs were induced to purchase Series B Medium-Term Notes,
10   contained untrue statements of material fact and omitted to state material facts
11   required therein to be stated or necessary to make the statements contained therein
12   not misleading.
13               2.     6.25% Subordinated Notes Due May 15, 2016
14         605. On or about May 15, 2006, Countrywide publicly issued
15   $1,000,000,000 of 6.25% Subordinated Notes Due May 15, 2016 (“6.25% Notes”).
16   Net proceeds to the Company from the offering of 6.25% Notes, after deducting
17   offering expenses, were approximately $992,790,000.
18         606. The 6.25% Notes were offered and sold pursuant to the shelf
19   registration statement on Form S-3ASR and prospectus dated February 9, 2006,
20   signed by Defendants Mozilo, Sambol, Sieracki and other Countrywide officers
21   and directors; a prospectus supplement dated May 11, 2006 and filed May 15,
22   2006; and a free writing prospectus dated May 11, 2006 (collectively, the “6.25%
23   Notes Prospectus”); all of which Countrywide filed with the SEC (collectively, the
24   “6.25% Notes Registration Statement”).
25         607. The 6.25% Notes Registration Statement expressly incorporated by
26   reference the documents filed by Countrywide with the SEC, including its Annual
27   Report on Form 10-K for the year ended December 31, 2004; Quarterly Reports on
28   Forms 10-Q for the quarters ended March 31, 2005, June 30, 2005, and

                                            223                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 241 of 439 Page ID #:241



 1   September 30, 2005; and Current Reports on Forms 8-K dated September 30,
 2   2005, and October 27, 2005. The 6.25% Notes Registration Statement also
 3   expressly incorporated by reference Countrywide’s consolidated financial
 4   statements as audited by KPMG for the years 2004 and 2005.
 5         608. KPMG consented to the use and incorporation of its reports with
 6   respect to the consolidated financial statements and all related financial statement
 7   schedules, management’s assessment of the effectiveness of internal control over
 8   financial reporting and the effectiveness of internal controls over financial
 9   reporting in the 6.25% Notes Registration Statement and to the reference to its firm
10   under the heading of “Experts” in the relevant prospectuses. The consolidated
11   financial statements of Countrywide as of December 31, 2005, and 2004 and
12   management’s assessment of the effectiveness of internal control over financial
13   reporting as of December 31, 2005, were incorporated by reference in the 6.25%
14   Notes Registration Statement in reliance upon the reports by KPMG and upon the
15   authority of KPMG as experts.
16         609. As alleged in detail above, Countrywide’s Form 10-K for the year
17   ended December 31, 2004, Countrywide’s consolidated financial statements for the
18   years ended December 31, 2004, and 2005, and other SEC filings noted above as
19   incorporated by reference in the 6.25% Notes Registration Statement were
20   materially false and misleading. Accordingly, the 6.25% Notes Registration
21   Statement and documents incorporated therein by reference, pursuant to which the
22   6.25% Plaintiffs (defined below) were induced to purchase 6.25% Notes, contained
23   untrue statements of material fact and omitted to state material facts required
24   therein to be stated or necessary to make the statements contained therein not
25   misleading.
26                 3.   7% Capital Securities
27         610. On or about November 3, 2006, CCV commenced a public offering of
28   52,000,000 7% Capital Securities at $25 per share, with a total value of $1.3

                                            224                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 242 of 439 Page ID #:242



 1   billion.
 2          611. The 7% Capital Securities were offered and sold pursuant to a Post-
 3   Effective Amendment, dated October 27, 2006, to the registration statement on
 4   Form S-3ASR dated February 9, 2006, signed by Mozilo, Sambol, Sieracki and
 5   other Countrywide officers and directors; and a prospectus supplement dated
 6   November 1, 2006 (collectively, the “7% Capital Securities Prospectus”); all of
 7   which were filed by Countrywide and CCV with the SEC (collectively, the “7%
 8   Capital Securities Registration Statement”).
 9          612. The 7% Capital Securities Registration Statement expressly
10   incorporated by reference documents filed by Countrywide with the SEC,
11   including its Annual Report on Form 10-K for the year ended December 31, 2005;
12   Quarterly Reports on Forms 10-Q for the quarters ended March 31, 2006, and
13   June 30, 2006; and Current Report on Form 8-K filed October 24, 2006. The 7%
14   Capital Securities Registration Statement also expressly incorporated by reference
15   Countrywide’s consolidated financial statements for the years 2004 and 2005 as
16   audited by KPMG.
17          613. KPMG consented to being named in the 7% Capital Securities
18   Registration Statement as a party that certified the Company’s financial statements
19   for the years ended December 31, 2004, and 2005 and management’s assessment
20   of the effectiveness of internal controls for the year ended December 31, 2005.
21          614. As alleged in detail above, Countrywide’s Form 10-K for the year
22   ended December 31, 2005, Countrywide’s consolidated financial statements for the
23   years ended December 31, 2004, and 2005, and other SEC filings noted above as
24   incorporated by reference in the 7% Capital Securities Registration Statement were
25   materially false and misleading. Accordingly, the 7% Capital Securities
26   Registration Statement and documents incorporated therein by reference, pursuant
27   to which certain Plaintiffs were induced to purchase 7% Capital Securities,
28   contained untrue statements of material fact and omitted to state material facts

                                            225                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 243 of 439 Page ID #:243



 1   required therein to be stated or necessary to make the statements contained therein
 2   not misleading.
 3   VIII. COUNTRYWIDE’S FINANCIAL STATEMENTS WERE
           MATERIALLY MISSTATED IN VIOLATION OF GAAP
 4
           A.     Countrywide’s Financial Statements Were
 5                Materially Misstated In Violation Of GAAP
 6         615. Generally Accepted Accounting Principles (“GAAP”) constitutes
 7   those standards recognized by the accounting profession as the conventions, rules
 8   and procedures necessary to define accepted accounting practices at a particular
 9   time. The SEC has the statutory authority for the promulgation of GAAP for
10   public companies and has delegated that authority to the Financial Accounting
11   Standards Board (the “FASB”). SEC Regulation S-X, 17 C.F.R. § 210.4-01(a)(1)
12   provides that financial statements filed with the SEC that are not presented in
13   conformity with GAAP will be presumed to be misleading, despite footnotes or
14   other disclosures.
15         616. During the Relevant Period, Countrywide made numerous untrue
16   statements of material fact and omitted to state material facts necessary to make its
17   reported financial results not misleading.          Countrywide violated GAAP in
18   connection with its (1) allowances for loan losses (“ALL”) on loans held for
19   investment (“LHI”), (2) valuation of retained interests (“RIs”), (3) valuation of
20   MSRs, and (4) accruals for breaches of representations and warranties (“R&W
21   reserves”) in connection with loan securitizations. In addition, Countrywide and
22   the Officer Defendants falsely represented to investors that the Company’s internal
23   controls over financial reporting were effective.
24         617. Given the Company’s core business, delinquency and nonaccrual
25   loans were key metrics for determining the Company’s ALL, valuation of MSR,
26   accruals for breaches of R&Ws and valuation of RI.           Delinquent loans and
27   nonaccrual loans aid management in determining whether a loan default is
28   probable. Countrywide’s regulatory filings reported delinquencies beginning when

                                             226                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 244 of 439 Page ID #:244



 1   a loan was past due for at least thirty days. Countrywide also reported in its
 2   regulatory filings that it characterized nonaccrual loans as those delinquent for at
 3   least ninety days. Once a loan was placed in nonaccrual status, Countrywide
 4   recorded interest income as payments were collected, as opposed to when the
 5   payments became due. In many cases, a borrower that is considered to be in
 6   default will have its mortgage foreclosed. Therefore, for Countrywide, the number
 7   and trend of delinquencies and nonaccrual loans should have been key metrics to
 8   use in determining default rates for loans, and, as explained below, for the
 9   determination of ALL, valuation of MSRs, accruals for breaches in R&Ws, and
10   valuation of RIs.
11         618. The principles described in Statement of Financial Accounting
12   Standards (“SFAS”) No. 5, Accounting for Contingencies, set forth the standards of
13   financial accounting and reporting for loss contingencies that Countrywide was
14   required to adhere to in order to properly accrue liabilities for ALL and breaches in
15   R&Ws. The principles described in the following guidance also set forth the
16   standards of financial accounting and reporting for the ALL: SFAS No. 114,
17   Accounting for Creditors for Impairment of a Loan, an Amendment of FASB
18   Statements No. 5 and 15; EITF D-80, Application of FASB Statements No. 5 and
19   No. 114 to a Loan Portfolio; and the SEC’s Staff Accounting Bulletin (“SAB
20   102”), Selected Loan Loss Allowance Methodology and Documentation Issues.
21         619. SFAS No. 140, Accounting for Transfers and Servicing of Financial
22   Assets and Extinguishment of Liabilities, was issued in September 2000 by the
23   FASB, and later amended by SFAS No. 156, Accounting for Servicing of Financial
24   Assets. The principles described in SFAS No. 140 set forth “the standards for
25   accounting for securitizations and other transfers of financial assets and collateral.”
26   In particular, SFAS No. 140 sets forth the standards to properly assess the fair
27   value for RI and MSR. Both RI and MSR are components of the income statement
28   revenue line item gain-on-sale. SFAS No. 140, ¶11.

                                              227                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 245 of 439 Page ID #:245



 1         620. The American Institute of Certified Public Accountants (“AICPA”)
 2   issues industry-specific Audit & Accounting Guides (“AAG”) to provide guidance
 3   in preparing financial statements in accordance with GAAP.          The AAG for
 4   Depository and Lending Institutions was applicable to Countrywide and interpreted
 5   GAAP pronouncements on the proper methods to assess fair value for RI and MSR
 6   and accrue liabilities for ALL and R&Ws.
 7         621. The AICPA also issues industry-specific Audit Risk Alerts (“ARA”),
 8   including financial institutions. The ARA are used by industry participants, such as
 9   Countrywide and its auditor, KPMG, to address areas of concern and identify the
10   significant business risks that may result in the material misstatement of the
11   financial statements.    As evidence of their broad application, each year,
12   representatives of each industry participate in the development of the ARA. The
13   ARA are included in the AICPA’s annual Audit and Accounting Manual (“AAM”).
14               1.     Risk Factors
15         622. Set forth below are the risk factors set forth in the Relevant Period
16   ARAs relating to lending institutions.
17                      a)    Risk Factors In 2004
18         623. The 2004 ARA stated that financial institutions that emphasized
19   subprime lending were beginning to show credit quality weakness. AAM 8050.07.
20   Credit risk is an important factor when management estimates ALL and R&Ws as
21   well as RI and MSR valuation. SFAS No. 5, SAB 102, SFAS No. 140, AAG Chs.
22   9 & 10.
23                      b)    Risk Factors In 2005
24         624. The 2005 ARA elaborated on the 2004 ARA and focused on several
25   significant risks confronting lending institutions. The first area of emphasis was
26   the valuation of MBS and related assets such as MSR and RI derived from ARM.
27   The 2005 ARA noted that the combination of continued interest rate increases and
28   a market that was “flooded” with MBS “may be impairing these assets.” AAM

                                              228                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 246 of 439 Page ID #:246



 1   8050.10. Countrywide faced a liquidity risk because there was an increasing risk
 2   that it would not be able to find a buyer for its securities at a desirable price. Thus,
 3   the increased risk of illiquidity should have been incorporated in Countrywide’s
 4   valuation models and related accounting estimates.
 5         625. The 2005 ARA cautioned that when the valuation of MBS or MSR
 6   represents a material component of an entity’s financial statements, as they did on
 7   Countrywide’s financial statements, that entity must have a robust methodology in
 8   place to evaluate all of the critical variables in the pricing model. AAM 8050.11.
 9   This caution was augmented by a rising fear among analysts that a reversal in
10   credit quality could occur if interest rates continued to rise. That is, under those
11   conditions, payments would become more difficult for borrowers who would
12   ultimately experience problems refinancing their mortgages if their ARM loans
13   reset at higher interest rates.    AAM 8050.17.        These risks were particularly
14   attributable to borrowers who “met only the threshold debt service coverage
15   ratios.” AAM 8050.19. In other words, as higher interest rates took effect, ARM
16   borrowers who had low FICO scores, high debt-to-income ratios, or high loan-to-
17   value ratios would present significantly greater risk to mortgage lenders. As a
18   result, Countrywide should have adjusted its assumptions to include these
19   increased risks from such loans.
20         626. The 2005 ARA also cited to the findings of the OCC, which warned
21   that financial institutions with significant holdings of financial instruments such as
22   MBS “need to focus on the economic value of their equity.” For Countrywide, this
23   would have included RI. AAM 8050.14.
24         627. Another important risk factor articulated in the 2005 ARA was “The
25   Housing Bubble’s Overstated Collateral Values.” This section of the ARA noted
26   certain issues that were increasingly present at Countrywide, including the
27   extension of credit to customers based upon inflated collateral values.
28

                                              229                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 247 of 439 Page ID #:247



 1          Customers holding adjustable rate mortgages may not be able to make
 2          payments if interest rates rise significantly. Upon foreclosure, these
 3          financial institutions may not be able to liquidate underlying assets
 4          without absorbing significant losses and may be stuck with the asset if
 5          the economy lessens housing demand in the marketplace.
 6   AAM 8050.22.
 7          628. Due at least in part to the continued rise in interest rates, this risk
 8   directly impacted Countrywide. SAB 102 notes that:
 9          [i]t is critical that loan loss allowance methodologies incorporate
10          management’s current judgments about the credit quality of the loan
11          portfolio through a disciplined and consistently applied process. . . . A
12          registrant’s loan loss allowance methodology generally should . . .
13          [c]onsider the particular risks inherent in different kinds of lending . . .
14          [and] [c]onsider current collateral values.
15   As a result, Countrywide’s increasing exposure to ARMs, in addition to its
16   borrowers’ tendency to make less than full payments on “pay option” loans with
17   decreasing collateral values, exposed Countrywide to a risk of understating its
18   ALL.
19                       c)     Risk Factors In 2006
20          629. The 2006 ARA focused on many of the same significant risks that
21   confronted mortgage lenders in 2005.            Such relevant risk areas included the
22   increase in originations of risky loan products, such as ARMs and Pay-Option
23   ARMs, which posed particular risks for entities that had not “developed
24   appropriate risk management policies (such as avoidance of negative
25   amortization).” AAM 8050.35. The 2006 ARA raised the specific concern that the
26   value of these products were often predicated on an assumption that home prices
27   would continue to rise, which it observed was an assumption unlikely to be
28   sustainable: “[S]ome of these [ARM] products assume a continued rise in home

                                               230                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 248 of 439 Page ID #:248



 1   prices that may not continue.” AAM 8050.35. As a result, Countrywide should
 2   have ensured that it was reflecting the increased credit risk of such products in its
 3   valuation model and assumptions used to prepare the financial statements.
 4         630. The 2006 ARA noted increased concerns regarding home equity
 5   lending and related mortgages in terms of the easing of underwriting standards.
 6   AAM 8050.36. In particular, the ARA continued to emphasize that if an institution
 7   elected to change its underwriting standards to issue riskier loans, the effect of such
 8   loans must be considered in evaluating the ALL. AAM 8050.36.
 9                       d)    Risk Factors In 2007
10         631. During 2007, the AAG listed fraud risk factors applicable to mortgage
11   lenders. Each of these factors should have been considered by management in
12   assessing whether the Company’s reserves and fair value assumptions were
13   appropriate (AAG Chs. 9-10). These risk factors included (AAG Ch. 5, Ex. 5-1):
14                (a)    significant volatility in financial markets where the institution is
15                       exposed to loss of revenue;
16                (b)    deteriorating economic conditions (for example, real estate
17                       prices) within industries or geographic regions in which the
18                       institution has significant credit concentrations; and
19                (c)    decline in asset quality due to borrowers affected by
20                       recessionary declines.
21                2.     Countrywide Inflated Earnings By Recording
                         An Inadequate Allowance For Loan Losses
22

23         632. Countrywide classified LHI when management intended to hold the
24   loans for the foreseeable future or to maturity. LHI were reflected on its balance
25   sheet at amortized cost (primarily the total unpaid principal balance) reduced by an
26   ALL, also known as a reserve, valuation, or contra-asset account. GAAP required
27   the Company to establish such a reserve for probable credit losses related to
28   borrowers who were expected to default on their obligations to make monthly

                                              231                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 249 of 439 Page ID #:249



 1   mortgage payments. Specifically, during the Relevant Period, GAAP required the
 2   Company to: (1) record an ALL representing the estimated probable loan losses
 3   residing in its LHI portfolio as of the end of each reporting period, and (2)
 4   maintain an effective ALL methodology that results in an ALL that is estimated in
 5   accordance with GAAP.
 6         633. Countrywide’s ALL was a critical metric for investors because it
 7   indicated the expected level of loss the Company was reasonably likely to incur on
 8   LHI on its balance sheet. Further, the provision for loan losses, a component of the
 9   ALL, had a direct impact on net earnings, which was also a critical metric for
10   investors. To increase ALL for the current period, Countrywide was required to
11   record a provision for loan losses. Under GAAP, recording a provision for loan
12   losses is an expense and reduces pre-tax earnings on a dollar-for-dollar basis.
13         634. As stated above, SFAS No. 5 sets forth the standards of financial
14   accounting and reporting for loss contingencies. SFAS No. 5 establishes that the
15   uncertainty related to the collectability of receivables is an example of a loss
16   contingency that requires the accrual of a related loss reserve when certain
17   conditions are met (SFAS No. 5, ¶¶4, 8). With respect to Countrywide’s LHI
18   portfolio, the uncertainty involved the risk that Countrywide would not collect
19   contractual principal and interest due from borrowers as of the due date.
20         635. Specifically, SFAS No. 5 provides in paragraph 8:
21         An estimated loss from a loss contingency . . . shall be accrued by a
22         charge to income [e.g., provision for loan losses] if both of the
23         following conditions are met:
24                (a)   Information available prior to issuance of the financial
25                      statements indicates that it is probable19 that an asset
26

27
     19
        SFAS No. 5 defines “probable” as “the future event or events are likely to
28
     occur.” ¶3.
                                             232                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 250 of 439 Page ID #:250



 1                      [such as LHI] had been impaired or a liability had been
 2                      incurred at the date of the financial statements. It is
 3                      implicit in this condition that it must be probable that one
 4                      or more future events will occur confirming the fact of
 5                      the loss.
 6                (b)   The amount of loss can be reasonably estimated.
 7   [Emphasis in original.]
 8         636. SFAS No. 114 addresses the accounting by creditors for impairment
 9   of certain loans by specifying how allowances for credit losses related to certain
10   loans should be determined. SFAS No. 114 applied to Countrywide’s loans that
11   were “impaired.” Specifically, SFAS No. 114 provides guidance as to when certain
12   loans are to be evaluated for impairment. “A loan is impaired when, based on
13   current information and events, it is probable that a creditor will be unable to
14   collect all amounts due according to the contractual terms of the loan agreement.”
15   “Contractual terms” means both the contractual principal and interest will be
16   collected, over the life of the loan, as scheduled in the loan agreement (SFAS
17   No. 114, ¶8).
18         637. When a loan is impaired, as defined above, the creditor is required to
19   measure impairment based on one of the following: (a) the present value of
20   expected future cash flows discounted at the loan’s effective interest rate or at the
21   loan’s observable market price, or (b) the fair value of the collateral if the loan is
22   collateral dependent (SFAS No. 114, ¶13).
23         638. Further, Countrywide’s regulator, the OCC invoked SFAS No. 114:
24   “Under FAS 114, a loan is impaired when it is probable that the bank will be
25   unable to collect all amounts due (including both interest and principal) according
26   to the contractual terms of the loan agreement. Generally, a loan is impaired for
27   purposes of FAS 114 if it exhibits the same level of weaknesses and probability of
28

                                             233                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 251 of 439 Page ID #:251



 1   loss as loans (or portions of loans) classified doubtful or loss.” (OCC Handbook
 2   for Allowance for Loan and Lease Losses, p. 6. (“OCC Handbook”)).
 3           639. The AAG provided reporting entities specific guidance on what
 4   comprise an effective ALL methodology: “[T]here are certain common elements
 5   that should be included in any methodology for it to be effective. The method
 6   should [shown in part] (AAG Ch. 9):
 7                x     Consider all known relevant internal and external factors that
 8                      may affect collectability;
 9                x     Be based on current and reliable data; and
10                x     Consider the particular risks inherent in the different kinds of
11                      lending.
12           640. Importantly, the AAG emphasized the necessity for the Company to
13   adjust assumptions in its ALL methodology that are based on historical loss
14   experience so that current economic conditions are reflected in the current
15   estimated ALL. The AAG stated that management should generally consider
16   historical rates of default when evaluating ALL reserves but “[c]hanges in facts,
17   circumstances or institution’s procedures may cause factors different from those
18   considered in the past to become significant to the estimate of the allowance at the
19   balance sheet date.” AAG Ch. 9, “Credit Losses.” The AAG further stated: The
20   focus on the pool approach is generally on the loss experience for the pool. Loss
21   experience, which is usually determined by reviewing the historical loss
22   (charge-off) rate for each pool over a designated time period, is adjusted for
23   changes in trends and conditions. Trends and conditions (i.e., relevant internal
24   and external factors that may affect collectibility) that the institution should
25   consider in determining how historical loss rates should be adjusted include, in
26   part:
27                x     Levels of and trends in delinquencies and impaired loans;
28                x     Trends in volume and terms of loans;

                                             234                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 252 of 439 Page ID #:252



 1                 x    Effects of any changes in lending policies and procedures;
 2                 x    National and local economic trends and conditions; and
 3                 x    Credit concentrations (AAG Ch. 9).
 4         641. Countrywide employed an ineffective ALL methodology in estimating
 5   the ALL during the Relevant Period as its methodology lacked the required
 6   elements for an effective methodology as set forth by the AAG and the SEC.
 7   Consequently, it failed to estimate the ALL in accordance with SFAS No. 5 and
 8   SFAS No. 114 during the Relevant Periods.
 9         642. Countrywide’s ALL methodology failed to consider all known
10   relevant internal and external factors that may affect collectability. Countrywide’s
11   ALL was estimated to purportedly comply with SFAS No. 5. Countrywide’s ALL
12   methodology used pools of its LHI and applied a formula that utilized the
13   following three components: (1) probability of default within one year (“PD”);
14   (2) projected exposure on the defaulted loan (“EAD”) 20; and (3) percent loss
15   expected on a defaulted loan (“LGD/Severity”) 21. The formula was PD x EAD x
16   LGD = ALL.        Countrywide failed to adjust the assumptions fed into each
17   component to reflect certain factors Countrywide knew would impact collectability
18   of its LHI.
19         643. For example, a The Wall Street Journal article published on December
20   5, 2006, titled “More Borrowers with Risky Loans Falling Behind” stated that,
21   according to investment bank UBS AG, “Based on current performance, 2006 is on
22   track to be the worst ever for subprime loans.”        The article also stated that
23   “delinquency rates have been rising steadily since the middle of 2005. But the
24   trend has accelerated sharply in the past two to three months.” In addition:
25
     20
26       EAD stands for “exposure at default,” and is typically the loan’s unpaid
27   principal balance (“UPB”).
     21
        LGD stands for “loss given default,” and represents the loan’s UPB less
28
     amounts recovered through sale of the underlying collateral.
                                             235                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 253 of 439 Page ID #:253



 1         subprime loans made in 2006 are going into foreclosure at a faster
 2         pace than loans made in previous years. In many cases, these loans
 3         are ‘so bad right off the bat’ and so far beyond the borrower’s ability
 4         to pay that giving the borrower more time to pay or restructuring the
 5         loan wouldn’t help. . . .
 6   This article prompted Mozilo to circulate a Memorandum dated December 7, 2006,
 7   addressed to Countrywide’s Board of Directors and others in the Company. In this
 8   Memorandum, Mozilo confirmed that he and Countrywide knew of the significant
 9   credit risks as described in the WSJ article which arose from the subprime loans
10   Countrywide had originated.       He also admitted that Countrywide engaged in
11   loosened underwriting practices and acknowledged that the worsening economic
12   environment is directly correlated to rising delinquencies. The information in this
13   WSJ article and Mozilo’s agreement with the conclusions represent internal and
14   external factors that impacted the PD and LGD components of the ALL formula.
15   Rising delinquencies impacted the PD, and declining collateral values impacted the
16   LGD. Nevertheless, Countrywide’s methodology used PD and LGD rates that
17   were not based on appropriately adjusted historical data, and failed to prompt
18   Countrywide to adjust the PD and LGD rates to reflect the current adverse but
19   directly relevant factors present during the Relevant Period. Mozilo and his senior
20   management knew that: (1) delinquencies were rising and were expected to
21   continue to rise; (2) housing/collateral values were declining and will continue to
22   decline; (3) Countrywide had changed its lending and underwriting practices such
23   that the borrowers would likely experience payment shock; and (4) the increased
24   concentration of Pay-Option ARMs in its LHI will likely exacerbate the probable
25   credit losses.   Mozilo and his senior management also knew that the lethal
26   combination were significant factors that impacted the collectability of the LHI.
27   Nevertheless, in violation of GAAP, Countrywide did not adjust the historical loss
28   rates and related assumptions reflected in the PD and LGD to reflect the ongoing

                                            236                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 254 of 439 Page ID #:254



 1   and worsening negative trends and conditions, which Countrywide was aware of
 2   and knew impacted the collectability of the LHI.
 3         644. Another example of the ALL methodology ignoring known relevant
 4   factors is Countrywide’s disregard for the fact that the ALL as a percentage of non-
 5   performing assets had been declining during the Relevant Period. Since Q4 2005,
 6   Countrywide Bank ignored the fact that its ALL as a percentage of its non-
 7   performing assets had steadily declined, indicating it was significantly under-
 8   reserved. The ALL as a percentage of NPAs within Countrywide Bank, which held
 9   the vast majority of Countrywide’s LHI, was 65% as of Q4 2005, and declined to
10   39.6% as of Q1 2007. Given Countrywide’s loosened underwriting guidelines,
11   along with the deteriorating economic trends since Q4 2005, it was reasonable to
12   expect the ALL to NPA ratio to increase, not decrease. It was unreasonable to
13   expect the ALL to NPA ratio to decline, especially during periods when the NPAs
14   are increasing by significant amounts, and the originations of subprime loans had
15   simultaneously increased. In one of its regulatory examination/reviews, the OCC
16   appears to have “commented” on the disproportionate rate of increase between
17   NPAs and ALL on or around early January, 2007. Nevertheless, Countrywide
18   failed to adjust the PD upward to reflect current negative economic trends
19   impacting the collectability of the LHI.
20         645. Another example of the ALL’s methodology’s disregard for known
21   relevant factors impacting collectability is evidenced by Countrywide’s lack of
22   reaction to adjust the ALL despite the pointed January 2, 2007 email, from
23   McMurray to Sieracki, discussed in detail above. In the email, McMurray outlines
24   “why delinquencies will increase” and the impact this increase will have on “our
25   financial results.”     Specifically, McMurray expressed that he expected
26   delinquencies to rise due to, among other factors, the current state of unfavorable
27   real estate market conditions and Countrywide’s “widened guidelines.”            He
28   concludes that “rising delinquencies will increase the reserve [ALL] requirement.”

                                                237                          COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 255 of 439 Page ID #:255



 1   However, Countrywide did not increase the ALL to a level adequate to absorb
 2   probable losses.
 3         646. Countrywide’s ALL methodology was not based on current and
 4   reliable data. For example, the assumptions reflected in the PD component of the
 5   ALL formula were not updated to reflect current and reliable data. Consequently,
 6   the PD component consistently under-predicted the probabilities of default that
 7   were fed into the formula during the Relevant Period. Countrywide knew of this
 8   consistent under-prediction, and knew that it was consistently resulting in an
 9   understated ALL. To purportedly repair the consistent under-prediction of the PD,
10   Countrywide would use a “PD multiplier” when it determined that the PD may be
11   inaccurate. The PD multiplier increases the PD rate to supposedly correct for the
12   inaccuracy of the PD. However, the PD multiplier was too low and did not raise
13   the PD rate to a level that resulted in an adequate ALL. In an internal email from
14   Don White (“White”), Executive Vice President-Loan and Credit Administration,
15   to Dave Walker, Executive Vice President-Portfolio Management, and others, dated
16   January 29, 2007, produced by Countrywide in the SEC Action and examined by
17   Plaintiffs’ counsel, Mr. White conveys the OCC’s concern that the PD multipliers
18   were inadequate and “too backwards-looking . . . [the PD multipliers do] not fully
19   incorporate the [credit] risks we are facing going foreward (sic) (i.e. potentially
20   depreciating housing market.”
21         647. Countrywide also reduced the LGD (percent loss expected on
22   defaulted loan) during Q1 2007, even though housing values had been
23   precipitously declining, further reducing the calculated ALL in relation to the
24   growth in LHI. This reduction in LGD suggests that Countrywide miraculously
25   expected the loan losses from defaults to decrease due to an increase in the
26   underlying collateral values. This expectation and reduction in LGD is illogical
27   and unsupportable as collateral values had been declining and were expected to
28   continue to decline.    Therefore, there was no internal or external factor or

                                            238                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 256 of 439 Page ID #:256



 1   information that would lead Countrywide to expect the loss recovered through sale
 2   of underlying collateral to be mitigated by higher proceeds from sale of the
 3   collateral.
 4          648. Countrywide’s ALL methodology did not consider the particular risks
 5   inherent in the different kinds of lending.       Countrywide’s Pay-Option ARMs
 6   represented significant credit risk due to the expected payment shock arising from
 7   negative amortization.       Coupled with declining housing/collateral values,
 8   Pay-Option ARM borrowers represented the greatest credit risk to Countrywide.
 9   Even though Countrywide’s Pay-Option ARMs represented a far greater credit risk
10   than its conforming or First Lien loans, Countrywide comingled its Pay-Option
11   ARMs with its conforming or First Lien loans into the same pool when estimating
12   the ALL and applied the SFAS No. 5 pooling approach. In other words, despite the
13   vastly disparate creditworthiness of the Pay-Option ARM borrowers and First Lien
14   borrowers, Countrywide applied similar PD rates (probability of default) to both
15   kinds of borrowers. Such methodology resulted in an understated ALL.
16          649. The SEC also provided explicit guidance on the proper accounting for
17   loan losses which reiterated the AAG’s guidance that Countrywide should have
18   followed but did not. SAB 102 states in pertinent part:
19          It is critical that loan loss allowance methodologies incorporate
20          management’s current judgments about the credit quality of the loan
21          portfolio through a disciplined and consistently applied process. . . . A
22          registrant’s loan loss allowance methodology generally should . . .
23          [c]onsider all known relevant internal and external factors that may
24          affect loan collectability . . . [and] [b]e based on current and reliable
25          data[.]
26          650. SAB 102 also provides:
27          Factors that should be considered in developing loss measurements
28          include . . . [l]evels of and trends in delinquencies and impaired loans

                                              239                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 257 of 439 Page ID #:257



 1         . . . [and] [e]ffects of any changes in risk selection and underwriting
 2         standards, and other changes in lending policies, procedures, and
 3         practices . . . .
 4         651. The SEC further stated in SAB 102 that:
 5         [f]or many entities engaged in lending activities, the allowance and
 6         provision for loan losses are significant elements of the financial
 7         statements.     Therefore, the staff believes it is appropriate for an
 8         entity’s management to review, on a periodic basis, its methodology
 9         for determining its allowance for loan losses.
10         652. Countrywide claimed it was determining its ALL consistent with SAB
11   102. It stated that its ALL was evaluated “on a periodic basis by management” and
12   any adjustments were purportedly reflected in the Company’s earnings.             For
13   example, Countrywide stated in its 2006 Form 10-K that “we continually assess the
14   credit quality of our portfolios for loans held for investment to identify and provide
15   for losses incurred.” This 2006 Form 10-K also stated that “[o]ur allowance
16   estimation process benefits from the extensive history and experience we have
17   developed in our mortgage loan servicing activities,” and that while “this process is
18   subject to risks and uncertainties:”
19         [W]e address this risk by actively monitoring the delinquency and
20         default experience of our homogenous pools by considering current
21         economic and market conditions.         Based on our assessments of
22         current conditions, we make appropriate adjustments to our
23         historically developed assumptions when necessary to adjust historical
24         factors to account for present conditions. Our senior management is
25         actively involved in the review and approval of our allowance for loan
26         losses.
27

28

                                             240                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 258 of 439 Page ID #:258



 1   As explained above, however, Countrywide’s disclosure is false and misleading as
 2   it failed to consider current economic and market conditions in estimating its ALL
 3   by not making reasonable and appropriate adjustments to the PD and LGD rates.
 4         653. The AAG also provided guidance on when loans could be considered
 5   impaired. In particular, Chapter 9 states that under SFAS No. 5 “a loan would be
 6   impaired at origination . . . if a faulty credit granting decision has been made or
 7   loan credit review procedures are inadequate or overly aggressive, in which case,
 8   the loss should be recognized at the date of the loan origination.”
 9         654. GAAP, including SFAS No. 5 and SAB 102, as emphasized in AAG
10   Chapter 9, required Countrywide to adjust historical trends and increase ALL for
11   each reporting period based on both the increased probability of impairment and
12   actual impairment at origination. The Company did not do so, in violation of
13   SFAS No. 5 and SAB 102, which specifically ties loan underwriting standards and
14   changes in risk to the setting of loan loss reserves. Rather, the Company kept ALL
15   relatively constant during the Relevant Period before management finally began to
16   institute some changes in 2007.
17         655. Further in violation of GAAP, Countrywide failed to apply the
18   provisions of SFAS No. 114 to loans it classified as “doubtful” and to impaired
19   loans. GAAP and the OCC required Countrywide to apply SFAS No. 114 in
20   specific circumstances, such as loans deemed “doubtful,” and certain loans deemed
21   “impaired.”    Specifically, Countrywide’s LHI portfolio contained groups of
22   Pay-Option ARMs that were impaired during the Relevant Period, yet Countrywide
23   failed to test for impairment over the life of those loans.
24         656. The OCC Handbook sets forth that:
25         if full payment of principal and interest is not expected, it may be
26         necessary to reconsider the classification of the loan and take the loan
27         off accrual status. Further, the loan should probably be considered to
28         be impaired and subject to the requirements of SFAS 114.

                                              241                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 259 of 439 Page ID #:259



 1   It further states that “[g]enerally, a loan is impaired for purposes of SFAS 114 if it
 2   exhibits the same level of weaknesses and probability of loss as loans (or portions
 3   of loans) classified doubtful or loss.”
 4         657. Countrywide had internally identified and classified certain of its
 5   loans as “doubtful.” Therefore, Countrywide itself had recognized that these loans
 6   were impaired and should have been accounted for under SFAS No. 114, but
 7   Countrywide did not even apply SFAS No. 114 to any of its LHI portfolio.
 8   Pursuant to SFAS No. 114, Countrywide was required to determine the estimated
 9   ALL or impairment for these loans using either: (a) the present value of expected
10   future cash flows discounted at the loan’s effective interest rate or at the loan’s
11   observable market price; or (b) the fair value of the collateral if the loan is
12   collateral dependent (SFAS No. 114, ¶13). Since these were mortgage loans, these
13   were collateral-dependent and the fair value of the underlying collateral was
14   required to be estimated to determine the appropriate ALL and related provision for
15   these impaired loans. Given the visibly deteriorating housing/collateral values, the
16   fair values of the underlying collateral were likely declining during the Relevant
17   Period, resulting in greater impairment and related increase to provision for loan
18   losses. In violation of GAAP, Countrywide included the “doubtful” loans in its
19   SFAS No. 5 pools, resulting in a lower ALL for these doubtful loans and
20   underestimated total ALL during the Relevant Period (as explained above, the
21   methodology for the SFAS No. 5 pools was also flawed and resulted in an
22   understated ALL).
23         658. In addition, portions of Countrywide’s Pay-Option ARMs were
24   impaired during the Relevant Period. Countrywide’s senior management knew that
25   “payment shock” was inevitable for many of the Pay-Option ARMs in its LHI. For
26   example, 89% of the Pay-Option ARMs as of Q3 2006 had been underwritten
27   under Stated Income, whereby no documentation supporting borrower’s income
28   was obtained by Countrywide. In fact, Countrywide had identified such reduced

                                               242                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 260 of 439 Page ID #:260



 1   documentation as a factor of additional risk. Countrywide knew that when such
 2   loans experience negative amortization, ultimately the monthly payments would be
 3   “recast” to a monthly payment amount far greater than what the borrower had
 4   qualified for, and the risk for collection on that loan would worsen, especially if the
 5   borrower was already a credit risk upon origination or if the stated income was
 6   inflated. This was further compounded by another layer of collection risk, which
 7   was the decline in the collateral value. Because the decline in the value of property
 8   collateralizing the loan was such that it decreased below the unpaid principal
 9   balance, the risk of collection on these loans worsened further.
10         659. On June 1, 2006, Mozilo sent an internal email, discussed in detail
11   above, making clear his knowledge that present conditions required an adequately
12   increased ALL for the Pay-Option ARM loans.                   In this email, Mozilo
13   acknowledged the following that impacted the collectability of the Pay-Option
14   ARMs due to negative amortization:          (a) the majority of Pay-Option ARMs
15   originated by Countrywide were based on Stated Income, and there was evidence
16   that the borrowers were providing income that “does not match up with IRS
17   records”; (b) due to rising interest rates, the time of reset of the loan will accelerate
18   and reset payments will be higher than what the borrowers qualified for at
19   origination; (c) the lower FICO score borrowers (at least 20% at this time) will
20   experience payment shock, “which is going to be difficult if not impossible for
21   them to manage”; and (d) “we know or can reliably predict what’s going to happen
22   in the next couple of years . . . we should take a careful look at our reserves and
23   begin to assume the worst.” Another email by Mozilo, dated August 19, 2006,
24   makes it clear that Mozilo knew that the ALL had to be increased to reflect the
25   high credit risk presented by the Pay-Option ARMs. However, Countrywide failed
26   to do so. In this email, Mozilo “remain[ed] concerned” about the Pay-Options
27   ARM loans and essentially described the effects of payment shock.                    He
28   acknowledged that: (a) over 75% of the Pay-Option borrowers were opting to

                                               243                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 261 of 439 Page ID #:261



 1   make only minimum payments, creating negative amortization, an issue that was
 2   compounded by increasing interest rates; (b) these loans are expected to reset faster
 3   and payments will be higher than what borrowers anticipated, and the “only out is
 4   to refinance these loans before reset”; (c) it “might prove” to be difficult to
 5   refinance the Pay-Option ARMs because housing values have decreased because
 6   “in all cases the loan could be above the current value”; and (d) to minimize
 7   payment shock, house values would have to rise significantly and/or interest rates
 8   would have to drop. Mozilo knew along with the rest of the country that such
 9   conditions were not likely to occur.
10         660. Therefore, certain of the Pay-Option ARM loans were impaired and
11   Mozilo and Countrywide knew during the Relevant Period that these loans were
12   impaired. Countrywide knew that the ALL had to be increased accordingly to
13   adequately cover the probable losses from the Pay-Option ARMs, but Countrywide
14   did not. Countrywide should have applied the provisions of SFAS No. 114 to
15   determine the ALL based upon the fair values of the underlying collateral, but it
16   did not. In fact, in violation of GAAP, Countrywide’s ALL methodology did not
17   even prescribe a way to identify loans that should be assessed for collectability
18   under SFAS No. 114. Applying SFAS No. 114 to the impaired Pay-Option ARMs
19   would have resulted in a higher ALL for these loans.          Instead, Countrywide
20   included the impaired Pay-Option ARMs in its SFAS No. 5 pool, which, as
21   described above, was subjected to an ALL methodology that was flawed.
22   Consequently, the total ALL and related provision for loan losses during the
23   Relevant Period was understated.
24         661. The comparison of ALL as a percent of LHI measures portfolio credit
25   risk coverage. If loan products are increasing in risk, the ALL as a percent of LHI
26   should increase as well. A review of the Company’s ALL demonstrates that during
27   WKH 5HOHYDQW 3HULRG í ZKHQ WKH &RPSDQ\’s exposure to and volume of non-
28   traditional, riskier loans, such as its Pay-Option ARMs were increasing

                                             244                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 262 of 439 Page ID #:262



 1   dramatically – ALL increased steadily in dollar amount but remained relatively
 2   constant (and in fact decreased from 1Q 2005 to 3Q 2006) as a percentage of the
 3   Company’s portfolio of LHI.          Indeed, LHI increased from only 10% of
 4   Countrywide’s total assets in 2002 to 27%, 31%, and 40% in 2003, 2004, and
 5   2005, respectively.    Thus, while Countrywide assumed increasing amounts of
 6   credit risk as the Relevant Period progressed, it also was unable to securitize many
 7   of the loans carrying that risk, holding them instead on its financial statements but
 8   failing to appropriately account for that risk in its ALL.
 9           662. Beginning in 2003, Countrywide systematically increased its
10   origination of nontraditional and “nonprime” loans, including Pay-Option ARMs,
11   which increased its risks.      Countrywide also loosened its underwriting and
12   appraisal standards further increasing its risks. Because of these increased risks,
13   AAG (Ch. 9), the AAMs (8050.07, 8050.33) and SAB 102 required that estimates
14   for ALL reflect the “effects of [these] changes in risk selections and underwriting
15   standards.” However, the Company did not change estimates until the latter half of
16   2007.
17           663. In 2003, Countrywide produced approximately $20 billion in
18   “nonprime” loans, which was 4.6% of the total mortgage loans produced. In 2004,
19   Countrywide increased its production of nonprime loans to more than $39 billion,
20   which was 10.9% of total mortgage loans produced. Thus, production of nonprime
21   loans increased almost 99% during 2004 alone, illustrating that Countrywide was
22   assuming more credit risk. Also during 2004, Countrywide increased the dollar
23   value of ARM loans that it produced by 108%, and increased HELOC loans by
24   70.7%. By 2004, it was clear that Countrywide was incurring substantially more
25   risk, even as the Company wrote fewer mortgages. According to the 2004 ARA,
26   federal banking agencies noted that possibly half of United States family
27   mortgages were subprime, and that delinquencies on subprime mortgages
28   continued to rise. AAM 8050.33.

                                              245                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 263 of 439 Page ID #:263



 1         664. These figures should have created a presumption within management
 2   that the changing mix of Countrywide’s loans held for investment warranted
 3   increasingly conservative accounting estimates. But Countrywide did not properly
 4   account for the increased production of nonprime and nontraditional loans in 2004.
 5   Countrywide’s pervasive improper lending practices, loans to borrowers with high
 6   loan-to-value ratios, high debt-to-income ratios, low FICO scores and decreased
 7   due diligence leading to increased risk of false appraisals and other frauds in loan
 8   applications, resulted in loans that were impaired at origination as contemplated in
 9   AAG Chapter 9. As a result, historical default rates, used by the Company to
10   calculate ALL, were flawed, reported net value of the Company’s LHI was
11   overstated, revenue was overstated and net income was overstated.
12         665. This trend continued throughout the Relevant Period. For example, in
13   2005, Countrywide originated $45 billion in “nonprime” loans, which comprised
14   8.9% of total mortgage loans produced. Countrywide’s production of nonprime
15   loans increased 13.2% during 2005 as compared to 2004, reflecting Countrywide’s
16   continued assumption of increased credit risk. Notably, during 2005, Countrywide
17   increased originations of Pay-Option ARM loans by 335%. Originations of ARMs
18   increased 37.7% and HELOC originations increased 45.2%.
19         666. Countrywide’s failure to properly account for increased risk in
20   accordance with SAB 102 during 2005 is illustrated by among other things, the
21   fact that it decreased its ALL as a percent of LHI from 0.31% to 0.27%. This
22   shows, again, Countrywide’s failure to adjust its historical rates of default to
23   include the known increased risk from nontraditional loan products, nonprime
24   loans and faulty credit-granting decisions resulting from its changed business
25   practices and model.
26         667. In light of the fact that a material number of loans were impaired at
27   origination, Countrywide’s historical “default rate” as reflected in the PD (in the
28

                                            246                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 264 of 439 Page ID #:264



 1   ALL formula) was an inaccurate measure for use in calculating ALL. As a result,
 2   Countrywide’s financial statements failed to comply with GAAP.
 3            668. In 2006, Countrywide again understated its ALL.         Countrywide
 4   produced approximately $41 billion in “nonprime” loans that year, which was
 5   8.7% of total mortgage loans produced.        Although there was a decrease in
 6   mortgage loans produced by Countrywide in 2006, resulting in an attendant
 7   decrease in nonprime and nontraditional mortgage loans, the origination of such
 8   loans as a percentage of the total dollar value of mortgage loans originated that
 9   year remained strong and continued to be a central focus of Countrywide’s
10   business. Thus, 45.3% of the total dollar value of mortgage loans produced during
11   2006 were ARM loans, 14% were Pay-Option ARMs, 10.2% were HELOCs, and
12   8.7% were nonprime loans.
13            669. The 2006 ALL as a percentage of LHI stayed essentially flat as
14   compared to 2005, at a rate of 0.33%. This lack of change again illustrates
15   Countrywide’s failure to adjust its historical rate of default to include the
16   Company’s increased risk, not just from 2006, but also from 2003 to 2006.
17            670. Countrywide also failed to adjust its ALL based upon the increased
18   risk caused by material underlying qualitative considerations.      Countrywide’s
19   financial statements were materially false and misleading because the Company
20   improperly characterized a substantial number of its subprime loans as prime
21   loans.     This misrepresentation further demonstrates that the static levels of
22   Countrywide’s ALL clearly failed to accommodate increasing nonprime risk. An
23   analysis of aggregate FICO scores associated with securitized loans shows a
24   substantial discrepancy between the percentage of loans Countrywide claimed
25   were nonprime and its actual lending practices.        Given that Countrywide’s
26   concealed flexible definition of “prime” was applied without distinction to whether
27   loans were securitized and sold or held in the LHI portfolio, there is a strong
28

                                            247                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 265 of 439 Page ID #:265



 1   inference that there was also a lower percentage of prime loans in the LHI
 2   portfolio.
 3         671. In order to properly account for risk when estimating ALL,
 4   Countrywide had to utilize estimates based on a correct determination of which
 5   loans were prime and which were nonprime. Wrongly minimizing the percentage
 6   of nonprime loans would have materially worsened the understatement of ALL.
 7   For example, at the end of 2006, nonprime mortgages had a delinquency rate of
 8   19.03%, whereas conventional mortgages had a delinquency rate of 2.76%.
 9   Accordingly, the nonprime mortgages that were improperly classified as prime or
10   conventional mortgages for purposes of estimating the ALL would be under-
11   reserved as of the balance sheet date.
12         672. Other evidence of Countrywide’s under-accrual for its ALL involved
13   Countrywide’s loans that were 30-89 days past due. An important component of
14   data that was reported by Countrywide was the information on its call reports for
15   30-89 days past due on first mortgages. A call report is a quarterly financial report
16   that banks must file with bank regulators, collected by the Federal Financial
17   Institutions Examination Council (“FFIEC”). Any rise in loans that were 30-89
18   days overdue provided an early warning signal to Countrywide of both rising credit
19   risks and the inaccuracy of its ALL assumptions. Data concerning loans 30-89
20   days past due are important because they provide a signal to the financial
21   institution of the volume of loans that is likely to enter non-accrual status and
22   ultimately default, and accordingly provide an important indicator of probability of
23   impairment in the determination of ALL.
24         673. Countrywide       experienced       a   significant   increasing    trend   of
25   delinquencies as early as the second quarter of 2004, one that continued throughout
26   2005. For example, the call reports indicate that for the second quarter of 2004,
27   loans that were 30-89 days past due represented approximately 0.25% of the
28

                                              248                                  COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 266 of 439 Page ID #:266



 1   median value of mortgages. By the end of 2005, however, this rate had quadrupled
 2   to 1.00%.
 3         674. While delinquencies of 30-89 days remained relatively constant for
 4   both the industry as a whole and those large banks between the first quarter of
 5   2003 and the fourth quarter of 2005, Countrywide’s delinquencies grew. This
 6   growth trend, which began in the first quarter of 2004, should have resulted in
 7   modifications to Countrywide’s historical loss assumptions. By the second quarter
 8   of 2005, when Countrywide’s delinquency rate for 30-89 day loans surpassed the
 9   banking industry median for such loans, there should have been no doubt that the
10   application of historical assumptions would have resulted in inadequate provisions
11   to ALL. Throughout the remainder of 2005 and through the second quarter of
12   2006, the industry remained steady with rates between 0.63% and 0.71%, while the
13   rate of Countrywide loans that were 30-89 days past due shot up from 0.77% to
14   1.25%. Again, this evolution of the delinquency trend provided a clear signal that
15   Countrywide should have been increasing its ALL as a percentage of total loans
16   held for investment.
17         675. Increases in originations of risky loans, particularly ARMs and
18   Pay-Option ARMs, posed particular risks for lenders that had not “developed
19   appropriate risk management policies (such as avoidance of negative
20   amortization).” AAM 8050.35. Accordingly, Countrywide’s ALL should have
21   been increased to reflect such increased credit risk. AAM 8050.35. Delinquencies
22   in Pay-Option ARMs and HELOCs, the loans that presented the greatest risk of
23   default, increased substantially during the Relevant Period. During this time, many
24   borrowers only made the minimum payments on Pay-Option ARMs, meaning that
25   they were not even paying the currently due interest. Thus, during the Relevant
26   Period, Countrywide recorded substantial amounts of negative amortization from
27   Pay-Option ARMs as deferred revenue. While booking this deferred revenue
28   presented a current impression that the Company’s results were improving, in fact,

                                            249                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 267 of 439 Page ID #:267



 1   the accumulated negative amortization signaled a high likelihood of delinquencies
 2   and defaults, as mentioned in AAG Chapter 8, “Loans.” As soon as borrowers
 3   reached the specified, pre-set negative amortization caps, which forced them to
 4   start repaying the loan, not only would they be delinquent, but their loans would
 5   also have experienced meaningful deterioration in the applicable loan-to-value
 6   ratios, given that unpaid interest, according to the terms of the mortgages, was
 7   added to principal. That deterioration would have also decreased the borrower’s
 8   motivation to make further payments. 2005 AAM 8050.17.
 9         676. The amount of accumulated negative amortization on Countrywide’s
10   Pay-Option ARMs held for investment grew dramatically during the Relevant
11   Period. During 2005, accumulated negative amortization ballooned by more than
12   250,000%, and grew another 775% during 2006 and another 86% during 2007.
13   Despite the increasing risk from accumulating negative amortization, ALL
14   remained relatively flat as a percentage of LHI until the third quarter of 2007.
15         677. On July 24, 2007, Countrywide’s volume-driven, exception-ridden
16   underwriting standards and reckless lending practices manifested themselves in a
17   sharp but belated increase in loan loss provisions of $293 million for the second
18   quarter of 2007. Approximately 62% of this increase was derived from an increase
19   in loan loss provisions of HELOCs of $181 million.
20         678. The July 24, 2007, increase in loan loss provisions was insufficient to
21   cover the deterioration in the Company’s loans held for investment.                The
22   Company’s third quarter 2007 results, announced on October 27, 2007, included
23   another large provision for loan losses of $934 million, more than triple any
24   provision previously recorded by the Company. Nearly 24% of the Company’s
25   subprime loans were delinquent, up from 20% in the second quarter of 2007 and
26   16% in the third quarter of 2006. As stated in the Company’s press release, the
27   increase in loan loss provisions was “primarily relate[d] to additional reserves
28

                                             250                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 268 of 439 Page ID #:268



 1   provided for the Company’s junior lien home equity [HELOCs] and pay option
 2   loans in the Banking Operations HFI [held for investment] portfolio.”
 3         679. This $934 million provision represented 43%, 37%, and 35% of
 4   Countrywide’s net earnings for 2004, 2005 and 2006, respectively, and was the
 5   single largest contributor to the Company’s $1.2 billion loss for the third quarter of
 6   2007. However, the majority of these larger provisions for loan losses in Q2 and
 7   Q3 2007 should have been recorded by Countrywide in the preceding periods. The
 8   information comprising negative trends and conditions impacting collectability of
 9   the LHI that were present in Q2, Q3 and Q4 2007 were already present and known
10   as early as prior to the issuance of Countrywide’s Q3 2006 financial statements.
11   Nevertheless, Countrywide chose to ignore the internal and external factors it knew
12   to adversely impact the ALL during the Relevant Period, and chose to delay
13   recognition of probable loan losses to Q2, Q3 and Q4 2007 in violation of GAAP.
14         680. Because provisions for loan losses have a dollar-for-dollar impact on
15   pre-tax income under GAAP, Countrywide’s materially understated ALL caused its
16   pre-tax income to be materially overstated by approximately $349 million
17   cumulatively for the years 2004-2006 and the first half of 2007.
18         681. In sum, during the Relevant Period, the Company’s ALL was
19   materially understated in violation of GAAP.        Countrywide’s ineffective ALL
20   methodology did not take into consideration the following risk factors when
21   estimating its ALL:
22                (a)   The percent of loans that Countrywide held for investment
23                      increased each year, demonstrating that Countrywide’s loans
24                      were riskier and the secondary market was becoming less
25                      willing to purchase them;
26                (b)   The reported amount of “nonprime” loans increased through
27                      2005 and remained a central focus of Countrywide’s loan
28                      production;

                                             251                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 269 of 439 Page ID #:269



 1                (c)   The actual amount of nonprime loans produced by Countrywide
 2                      was much higher than the reported amount of “nonprime”
 3                      loans;
 4                (d)   The nonaccrual ARM delinquencies continued to rise at a
 5                      significant rate;
 6                (e)   Increasing HELOCs delinquencies;
 7                (f)   Delinquent loans 30-89 days past due increased substantially;
 8                (g)   Delinquent loans 30-89 days past due were increasing at a rapid
 9                      pace and surpassed the median value for all bank loans that
10                      were 30-89 days overdue in the mortgage industry; and
11                (h)   Deterioration in Countrywide’s underwriting practices.
12   In addition, Countrywide failed to apply the provisions of SFAS No. 114 to loans it
13   acknowledged to be “doubtful” and its impaired Pay-Option ARMs. Rather than
14   increase the Company’s ALL in a manner sufficient to account for the adverse
15   internal and external factors impacting the collectability of the LHI, Countrywide
16   failed to record adequate loan loss provisions as a result of employing an
17   ineffective ALL methodology throughout the Relevant Period. As a result of this
18   failure, Countrywide’s ALL during the Relevant Period was materially understated.
19   Had Countrywide complied with GAAP, it would have estimated significantly
20   higher provisions for loan losses during the Relevant Period, but it did not, causing
21   its earnings to be overstated during the Relevant Period.
22                3.    Countrywide Inflated Earnings By Overvaluing
                        Its Retained Interests From Securitizations
23

24         682. As a result of the Company’s increased credit risk and failure to
25   adhere to GAAP, Countrywide overstated the reported amounts of its RIs from
26   securitizations and related revenue in violation of SFAS No. 140, SFAS No. 115,
27   Accounting for Certain Investments in Debt and Equity Securities and EITF 99-20,
28   Recognition of Interest Income and Impairment on Purchased Beneficial Interests

                                             252                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 270 of 439 Page ID #:270



 1   and Beneficial Interests That Continue to Be Held by a Transferor in Securitized
 2   Financial Assets. When Countrywide securitized mortgage loans it had originated,
 3   Countrywide retained certain financial interests in these loans, called RI. RI were
 4   assets that included interest-only, principal-only and residual securities that arise
 5   from the securitization of mortgage loans, primarily Nonprime Mortgage and
 6   Prime Home Equity Loans (2006 Form 10-K, p. 72). GAAP requires an entity to
 7   report RIs at fair value. In simple terms, the purpose for reporting RIs is similar to
 8   LHI net of an adequate ALL – the reported amount is to reflect the collectability of
 9   the cash flows from the RIs.
10         683. According to its Forms 10-K reports, Countrywide “sells substantially
11   all of the mortgage loans it produces in the secondary mortgage market, primarily
12   in the form of securities.” Moreover, Countrywide’s RI generally represented the
13   riskiest tranches in these securities. Because the valuation of RI was directly
14   linked to the revenue line items “gain on sale of loans and securities” and “net loan
15   servicing fees and other income (loss) from MSRs and retained interests,”
16   Countrywide’s improper valuation of RI from securitizations resulted in an
17   overstatement of total assets, revenues and net income.
18         684. SFAS No. 140, paragraph 59 notes: “If the retained interests are
19   subordinated to more senior interests held by others, that subordination may
20   concentrate into the retained interests most of the risks inherent in the transferred
21   assets and shall be taken into consideration in estimating the fair value of the
22   retained interests.” AAG Chapter 10, “Transfers of Loans and Mortgage Banking
23   Activities”; 2005 AAM 8050.14. SFAS No. 140, ¶70 further requires that fair
24   value is based on “reasonable and supportable assumptions and projections,” and
25   that “all available evidence” is to be considered in “developing estimates expected
26   of future cash flows.”
27         685. Management stated in the Company’s Forms 10-K filings that it
28   “estimate[s] fair value [of RI] through the use of discounted cash flow models.”

                                             253                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 271 of 439 Page ID #:271



 1   The Company further said that “[t]he key assumptions used in the valuation of RI
 2   include mortgage prepayment speeds, discount rates, and . . . the net lifetime credit
 3   losses.”   Moreover, Countrywide “develop[s] cash flow, prepayment and net
 4   lifetime credit loss assumptions based on the historical performance of the loans
 5   underlying our retained interests . . . .”
 6         686. The values of an entity’s RI as estimated in accordance with GAAP
 7   are impacted by the quality of the underlying loans. For Countrywide, given that a
 8   substantial portion of the underlying loans in the securitizations beginning in 2003
 9   and during the Relevant Period were originated based upon increasingly loosened
10   underwriting practices, there was an increased risk that those loans would not
11   perform in accordance with their contractual terms and, consequently, the
12   securitizations would not perform as expected.
13         687. Countrywide’s SEC filings explain the direct correlation between
14   defaults (which are preceded by delinquencies), the value of its RIs and the
15   significant credit risk in those RIs:
16         While we sell most of the loans we produce, we retain credit risk in
17         the form of credit-subordinated securities [i.e., RIs] and loans held for
18         investment, and through the representations and warranties we make
19         to the investors in the loans we sell and through the issuance of
20         corporate guarantees. Our credit-subordinated securities are the first
21         beneficial interests in loan sales to absorb any credit losses, and the
22         buyers of our loans will make more claims against our corporate
23         guarantees and representations and warranties if more of our
24         borrowers default on their loans. While we estimate and provide for
25         credit losses accruing to our credit-subordinated securities and for the
26         corporate guarantees and representations and warranties, worsening
27         economic and real estate market conditions could negatively impact
28         the value of the credit subordinated securities we retain and increase

                                              254                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 272 of 439 Page ID #:272



 1         our liabilities under our corporate guarantees and representations and
 2         warranties.
 3   2006 Form 10-K, p. 37.
 4         688. Because the RIs were the riskiest tranches of the securitizations,
 5   Countrywide’s loosened underwriting practices significantly and adversely
 6   impacted the fair value of RI. To estimate the fair value of RI in accordance with
 7   GAAP, Countrywide was required to adjust all assumptions in its RI valuation
 8   model that were previously based upon historical rates, to recognize and reflect the
 9   increased credit risk of the underlying loans included in its securitizations.
10         689. Once RI was initially recorded, Countrywide was required to
11   determine and report the fair value of RI for each subsequent reporting period.
12   SFAS No. 140 provided guidance on how to determine the fair value of RI:
13         Valuation techniques for measuring financial assets and liabilities and
14         servicing assets and liabilities shall be consistent with the objective of
15         measuring fair value. Those techniques shall incorporate assumptions
16         that market participants would use in their estimates of values, future
17         revenues, and future expenses, including assumptions about interest
18         rates, default, prepayment, and volatility.
19         690. Subsequent to initial recognition of RIs, Countrywide was required to
20   apply the accounting guidance in SFAS No. 115 and EITF 99-20. SFAS No. 115
21   states “fair value portrays the market’s estimate of the present value of the net
22   future cash flows of those securities, discounted to reflect both the current interest
23   rate and the market’s estimate of the risk that the cash flows will not occur.”
24   SFAS No. 115, ¶40. EITF 99-20 emphasizes the risk of RIs to Countrywide as
25   “the risks present in the transferred assets are concentrated in the interest that
26   continues to be held by a transferor [i.e., Countrywide] or subordinated beneficial
27   interest [i.e., such as those retained by Countrywide].”
28

                                              255                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 273 of 439 Page ID #:273



 1         691. In violation of GAAP, Countrywide failed to use assumptions in its RI
 2   valuation model that were reasonable and supportable.      The key assumptions
 3   Countrywide used, mortgage prepayment speed, discount rates, and lifetime credit
 4   loss expectations, did not reflect significant and relevant evidence known to
 5   Countrywide, which evidence should have caused Countrywide to adjust the
 6   assumptions in place and to reduce the reported fair value of the RIs during the
 7   Relevant Period.
 8         692. Similar to the valuation of its MSRs, an assumption Countrywide used
 9   to assess the fair value of RI was the delinquencies, which was encompassed in the
10   key assumption for lifetime credit loss expectation.      Lifetime credit loss is
11   determined by estimating when and how many loans will default and multiplying
12   that amount by the percentage of the loan balance that will be uncollectible.
13   Another assumption used within the lifetime credit loss assumption was house
14   price appreciation (“HPA”).     The combination of rising delinquencies and
15   declining housing values adversely impacts the receipt of the cash flows from RIs.
16   However, Countrywide failed to adjust its delinquency and HPA assumptions
17   within the RI valuation model during the Relevant Period, even though it possessed
18   the information that should have prompted it to make such adjustments.
19         693. For example, on January 12, 2006, Jeffrey K. Speakes, Countrywide’s
20   Chief Economist, informed Countrywide’s management that it should expect a
21   slowdown in the housing market over the next year. On March 14, 2006, Mr.
22   Speakes informed Countrywide’s management that The Office of Federal Housing
23   Enterprise Oversight (“OFHEO”) concluded that housing values had peaked in Q4
24   2005 (i.e., no further appreciation of housing values was expected). And on
25   April 11, 2006, Mr. Speakes concluded that the slowdown in housing prices was
26   now widely expected, and one out of eight ARM originations in 2004 to 2005
27   would default. Despite this highly relevant information impacting the delinquency
28   and HPA assumptions within the RI valuation model, Countrywide disregarded this

                                           256                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 274 of 439 Page ID #:274



 1   information and, instead, used optimistic assumptions in its RI valuation model,
 2   causing the RI to be overvalued and related revenue to be overstated during the
 3   Relevant Period.
 4         694. Another important assumption used to assess the fair value of RI is
 5   “weighted average life.” This assumption refers to the period of time during which
 6   the benefit of RI is expected to be received; in other words, the length of time that
 7   Countrywide will get paid on its RI, if any. This is influenced by prepayment rates
 8   and credit risk. SFAS No. 140, ¶17. Countrywide’s shift toward nonprime and
 9   nontraditional lending beginning in 2003 should have decreased the weighted
10   average life of RI, instead of allowing weighted average life to remain constant or
11   increase. This is because the “life” of a loan ends when the borrower defaults,
12   resulting in a lower life for that loan. As Countrywide increased the number of
13   loans it made to less creditworthy borrowers under loosened underwriting
14   standards and weak (if any) due diligence, defaults would be expected to increase
15   and the weighted average life of such loans would be expected to decrease. These
16   consequences are expected to adversely impact the fair value of the RI.
17         695. An email from McMurray to Sieracki on January 2, 2007, described in
18   detail above, outlines “why delinquencies will increase and the impact this increase
19   will have on our financial results.” Specifically, McMurray expressed that he
20   expected delinquencies to rise due to, among other factors, the current state of
21   unfavorable real estate market conditions and Countrywide’s “widened
22   guidelines.”    He concludes that “increasing delinquencies will manifest
23   through . . . impairments of residual values [i.e., RIs] . . . .” He further concludes
24   that impairments of residual values are the result of, among other factors, “higher
25   current losses (we take first-loss) driven [by] higher defaults and higher severities.”
26   These factors directly related to assumptions used in the RI valuation model.
27         696. However, Countrywide did not adequately adjust its historical
28   delinquency assumptions to encompass the riskier loans the Company was

                                              257                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 275 of 439 Page ID #:275



 1   producing at a rapid pace; nor did it include the increased credit risk from the
 2   Company’s loosened underwriting practices.        The failure to adjust historical
 3   delinquency assumptions, in turn, adversely impacted the reasonableness of the
 4   weighted average life assumption because the latter assumption reflects less dire
 5   delinquency rates. Countrywide failed to correct the assumptions even though
 6   financial institutions with significant holdings of financial instruments like MBS
 7   “need[ed] to focus on the economic value of their equity,” which, for Countrywide,
 8   would have included RI.        2005 AAM 8050.14.         The Company failed to
 9   appropriately include in its assumptions for weighted average life and net credit
10   losses the likelihood that there had been and would continue to be an increase in
11   defaults.
12         697. Under legitimate risk assumptions, Countrywide’s intentional
13   lowering of underwriting standards and the resulting increased delinquencies
14   would have resulted in proportionally reduced the fair value of RI throughout the
15   Relevant Period. As a result, the fair value of Countrywide’s RI was materially
16   overstated in each of the years from 2004 through the first half of 2007, as
17   Countrywide failed to employ fair value assumptions to RI to reflect the increased
18   risk from the underlying loans it originated in violation of SFAS Nos. 140 and 115.
19               4.     Countrywide Inflated Earnings By
                        Overvaluing Its Mortgage Servicing Rights
20

21         698. As a consequence of its loosened underwriting standards and its
22   failure to adhere to GAAP, Countrywide overstated the reported amount of its
23   MSRs and related revenues throughout the Relevant Period. Accordingly, the
24   Officer Defendants also falsely and materially inflated Countrywide’s assets, total
25   revenues and reported net income.
26         699. Upon reselling mortgage loans it had originated to the secondary
27   market, Countrywide typically retained the right to service those mortgage loans.
28   To a lesser extent, Countrywide also purchased servicing rights from other loan

                                            258                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 276 of 439 Page ID #:276



 1   originators and recorded them at fair value at the time of their purchase.
 2   Countrywide’s 2007 Form 10-K described its loan servicing activities as follows:
 3         When we sell or securitize mortgage loans, we generally retain the
 4         rights to service these loans. In servicing mortgage loans, we collect
 5         and remit loan payments, respond to customer inquiries, account for
 6         principal and interest, hold custodial (impound) funds for payment of
 7         property taxes     and     insurance    premiums, counsel delinquent
 8         mortgagors and supervise foreclosures and property dispositions. We
 9         receive servicing fees and other remuneration in return for performing
10         these functions.
11   2007 Form 10-K, p. 7. For Countrywide, MSRs is the present value of estimated
12   future net servicing income (i.e., servicing income less servicing costs) arising
13   from such servicing contracts.
14         700. MSRs is the asset created as a consequence of the aforementioned
15   activities as Countrywide expected to receive servicing compensation or income
16   for providing certain servicing functions under its servicing contracts. As long as a
17   borrower made payments, Countrywide could reasonably expect future servicing
18   income from servicing that loan. However, Countrywide’s receipt of servicing
19   income became at risk, and servicing costs were likely to increase, whenever there
20   was a risk that borrowers would be unable to make payments.
21         701. The valuation of Countrywide’s MSRs was a critical metric for
22   investors because it purported to indicate the fair value of Countrywide’s MSRs,
23   and the valuation of MSRs was directly linked to the revenue line items “gain on
24   sale of loans and securities” and “net loan servicing fees and other income (loss)
25   from MSRs and retained interests.”           However, during the Relevant Period,
26   Countrywide did not properly estimate the fair value when it initially recorded
27   MSRs, impacting gain on sale of loans and securities, nor did it do so when it
28   valued MSRs in subsequent reporting periods, impacting net loan servicing fees

                                             259                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 277 of 439 Page ID #:277



 1   and other income (loss) from MSRs. This practice was in violation of SFAS No.
 2   140 and SFAS No. 156, and caused Countrywide to improperly inflate its MSRs on
 3   its balance sheet and reported revenues.
 4         702. Until January 1, 2006, Countrywide’s valuation of MSRs was
 5   governed by SFAS No. 140. According to Countrywide’s Forms 10-K filings,
 6   MSRs were initially recorded at fair value and then:
 7         were carried at the lower of amortized cost or estimated fair value. . . .
 8         The adjusted cost basis value of the MSR was then assessed for
 9         impairment. If MSRs were impaired, the impairment was recognized
10         in current period earnings and the carrying value of the MSRs was
11         adjusted through a valuation allowance.”
12   A valuation allowance serves a purpose similar to ALL relative to LHI. For
13   reporting periods prior to 2006, when MSRs is impaired, the valuation allowance
14   account should be used to reduce the reported value of MSRs on the balance sheet
15   (i.e., amortized cost), and reduce revenue on the income statement for the current
16   period.
17         703. Countrywide maintained a valuation model to estimate the fair value
18   of its MSRs. According to Countrywide’s 2005 Form 10-K, in periods prior to
19   2006, this valuation model was used to gauge the adequacy of the valuation
20   allowance:
21         Our MSR valuation process combines the use of a sophisticated
22         discounted cash flow model . . . The cash flow assumptions and
23         prepayment assumptions used in our discounted cash flow model are
24         based on our empirical data drawn from the historical performance of
25         our MSRs, which we believe are consistent with assumptions used by
26         market participants valuing similar MSRs.
27         704. Statement of Financial Accounting Standards No. 156, Accounting for
28   Servicing of Financial Assets (“SFAS No. 156”), amended SFAS No. 140 as of

                                             260                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 278 of 439 Page ID #:278



 1   January 1, 2006, and provided reporting entities a choice of methods to use when
 2   valuing MSRs. SFAS No. 156 changed the accounting for, and reporting of, the
 3   recognition and measurement of separately recognized servicing assets and
 4   liabilities. Like SFAS No. 140, SFAS No. 156 requires MSRs to be initially
 5   recorded at fair value. However, SFAS No. 156 allows MSRs to be carried on the
 6   books at fair value in subsequent periods (without the need to subsequently value
 7   them at amortized cost). If the Company elects to subsequently measure MSRs
 8   using the fair value method, it is required to measure MSRs at fair value at the end
 9   of each reporting period with changes in fair value recognized in current period
10   earnings. Therefore, a current period decline in the reported fair value of MSRs
11   reduces current period earnings by the amount of the decline. In implementing
12   SFAS No. 156, Countrywide elected to record MSRs at fair value (as opposed to
13   amortized cost) in subsequent quarters.       In accordance with this election, the
14   Company identified MSRs relating to all existing residential mortgage loans as a
15   class of servicing rights and elected to apply fair value accounting to these MSRs.
16         705. In 2006 and thereafter, the fair values that Countrywide assigned its
17   MSRs were determined by a discounted cash flow model.                  According to
18   Countrywide’s 3Q 2007 10-Q, “[t]he discounted cash flow models incorporate cash
19   flow and prepayment projections based on data drawn from the historical
20   performance of the loans underlying the Company’s MSRs                 .    .   .   in
21   determining the assets’ fair value.”
22         706. Moreover, Countrywide’s 2007 Form 10-K stated that any calculated
23   change LQ WKH IDLU YDOXH RI LWV 065V ZDV EDVHG XSRQ WZR SULPDU\ FRPSRQHQWV í
24   (1) a reduction in fair value due to the realization of expected cash flows; and (2) a
25   change in fair value resulting from “changes in valuation inputs or assumptions in
26   valuation model,” such as discount rates and prepayment speed assumptions. The
27   latter component constitutes management assumptions which GAAP requires to be
28   reasonable and supportable. In other words, Countrywide would reduce the fair

                                             261                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 279 of 439 Page ID #:279



 1   value of the Company’s MSRs when it received principal and interest payments
 2   from borrowers on any of the underlying loans because the receipt of such
 3   payments (which include servicing fees) reduced the total amount receivable for
 4   the life of the loan. Such decrease is appropriate and does not require the use of
 5   assumptions.     However, Countrywide would use assumptions in the second
 6   component of its MSRs’ fair value. Countrywide would either increase or decrease
 7   the fair value of the MSRs by making changes in assumptions fed into the
 8   valuation model.
 9          707. As noted above, management stated in Countrywide’s Forms 10-K
10   that it used “discounted cash flow models that incorporate cash flow and
11   prepayment projections based on data drawn from the historical performance of the
12   loans underlying the Company’s MSRs” to determine changes in fair value due to
13   management’s assumptions.        The Company further stated that “[t]he key
14   assumptions used in the valuation of MSRs [in the cash flow model] include
15   mortgage prepayment speeds, the discount rate (projected London Inter Bank
16   Offering Rate (LIBOR) plus option-adjusted spread)” and the weighted average
17   life of the loans.
18          708. Countrywide’s MSRs and the related revenue line items were
19   overstated because the Company failed to adjust its “key” assumptions to reflect
20   the dramatic loosening in the Company’s underwriting and lending practices. As
21   higher interest rates took effect, it became increasingly likely that higher
22   delinquencies and foreclosures would ensue.        These consequences presented
23   significantly increasing risk to Countrywide’s receipt of the expected future cash
24   flows from net servicing income, especially with respect to the net servicing
25   income attributable to Pay-Option ARM borrowers subject to payment shock,
26   and/or ARM borrowers that had low FICO scores, high debt-to-income ratios or
27   high loan-to-value ratios. Nevertheless, Countrywide failed to adjust delinquency
28   and foreclosure data used as inputs in its cash flow assumptions by using historical

                                            262                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 280 of 439 Page ID #:280



 1   delinquency data and actual cash collected without regard for known potential
 2   payment shock arising from negative amortization of its Pay-Option ARMs, a
 3   consequence which Countrywide created itself when it dramatically loosened its
 4   underwriting guidelines. Consequently, Countrywide materially overstated the fair
 5   value estimates for its MSR and related revenues throughout the Relevant Period.
 6         709. For instance, as Countrywide increased originations of mortgages, and
 7   increased the percentage of mortgages granted to less creditworthy borrowers
 8   using loosened underwriting standards and without prudent due diligence, the gross
 9   value of Countrywide’s MSRs as reported rose from $8.1 billion as of
10   December 31, 2003, to $9.8 billion as of December 31, 2004.            Despite the
11   significant increase in the gross value of its MSRs and the inherent risk of not
12   collecting certain net servicing income due to potential negative amortization and
13   payment shock, Countrywide actually decreased its valuation allowance for
14   impairment of MSRs from $1.2 billion to $1.1 billion. Thus, although the gross
15   value of MSRs increased by 22% in 2004, the related valuation allowance
16   decreased by less than 10%. This inadequate increase in the valuation allowance
17   was inconsistent with Countrywide’s knowledge of potential payment shock
18   arising from negative amortization of its Pay-Option ARMs, and illogical and
19   unsupportable in light of the increased credit risk associated with the Company’s
20   loosening underwriting standards and failures to exercise prudent due diligence. If
21   credit risk increased, the risk of not receiving future servicing net income
22   increased, and therefore, management’s valuation allowance account for the MSRs
23   should have also been increased, thus resulting in a reduction of the reported value
24   of Countrywide’s MSRs. Instead, the valuation allowance was decreased during
25    WKXV FRQYHQLHQWO\ í DQG PLVOHDGLQJO\ í SURYLGLQJ DQ LQFUHDVH WR WKH UHSRUWHG
26   value of net MSRs.
27         710. GAAP prescribes that MSRs should be continually evaluated to
28   determine whether their valuation should change, including whether or not costs

                                            263                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 281 of 439 Page ID #:281



 1   expected to be incurred would cause MSRs to become a servicing liability rather
 2   than an asset. SFAS No. 140, ¶62. If the costs of servicing poor quality loans
 3   increase (due to, for example, the costs of sending delinquency notices, hiring
 4   collection agents, etc.) to a high enough level, they will offset the expected income
 5   to be derived from those MSRs. Thus, when loans became troubled (for example,
 6   as loans became 30 to 89 days delinquent), Countrywide should have anticipated
 7   those incrementally higher costs and factored them into the valuation of MSRs.
 8   Instead, while making riskier loans upon which it retained MSRs, Countrywide
 9   inappropriately maintained its historical approach to establishing the value of these
10   assets.
11         711. The reported gross balance of MSRs rose again from $9.8 billion as of
12   December 31, 2004, to $13.0 billion as of December 31, 2005. Yet, despite the
13   continued significant increase in credit risk assumed by Countrywide during that
14   year, the valuation allowance for impairment of MSRs was actually decreased by
15   management from $1.1 billion to only $0.4 billion. Thus, although gross MSRs
16   increased 33% in 2005, the related valuation allowance decreased over 60%. As
17   explained above, it was illogical and unsupportable that the valuation allowance
18   should be decreased in relative terms from 11% to only 3% of gross MSRs given
19   the large exposure to increased credit risk known to Countrywide due to its
20   loosening of underwriting and lending standards, failures to exercise prudent due
21   diligence, and the downward effect of that risk on the value of MSRs.
22         712. As noted above, in 2006, Countrywide adopted SFAS No. 156 and
23   began to report its MSRs at purported “fair value.” Accordingly, the reported fair
24   value of the MSRs were now exclusively dependent upon the fair value
25   assumptions, such as assumptions used in the cash flow model, employed by
26   management (i.e., without regard for the first component, the realized servicing
27   income for the current period). During 2006, despite the significant increase in the
28   level of delinquency and foreclosure risks associated with the loans subject to

                                             264                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 282 of 439 Page ID #:282



 1   servicing contracts and originated using Countrywide’s loosened underwriting and
 2   lending practices, the Company’s reported balance of MSRs reflected a $432
 3   million increase in fair value solely derived from assumptions applied in its
 4   valuation model. However, based upon the growing delinquency and foreclosure
 5   risks present at Countrywide, there were no assumptions that could be reasonably
 6   expected to warrant such an increase in fair value.       The Company failed to
 7   incorporate the increased credit risk of its lending strategies implemented in 2003,
 8   and the steady loosening of underwriting standards and due diligence practices
 9   thereafter. Specifically, Countrywide failed to adjust assumptions used in its cash
10   flow model within the MSR valuation model to reflect the adverse effects of rising
11   delinquencies and foreclosures, rising interest rates, declining house/collateral
12   values, and the known effects of payment shock arising from its loosened
13   underwriting and lending practices, such as Pay-Option ARMs it had originated.
14   At a minimum, to address the rising risk of delinquencies and foreclosure,
15   Countrywide should have decreased the weighted average life of its MSRs, instead
16   of increasing it from 5.6 to 5.8 between 2005 and 2006.
17         713. The credit risk factors represented by rising delinquencies and
18   foreclosures had implications beyond simply the revenue element of the MSRs.
19   Countrywide’s valuation models also failed to appropriately consider the probable
20   increase in costs to service (i.e., costs to restructure mortgages in default,
21   bankruptcy costs and costs to collect late payments) that were inherent in the
22   MSRs generated in 2003 and thereafter. As these increases in costs to service
23   increased during the Relevant Period and were expected to compound due to
24   Countrywide’s increased origination of Pay-Option ARMs, Countrywide should
25   have caused changes to the relevant model-based fair value assumptions, or, in the
26   alternative, introduced new factors, that resulted in higher costs-to-service
27   assumptions, and consequently, reasonable fair values for its MSRs during the
28   Relevant Period.

                                            265                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 283 of 439 Page ID #:283



 1         714. It was not until the fourth quarter 2007 that Countrywide’s
 2   management used valuation inputs or assumptions that actually resulted in an
 3   incremental decrease to the reported fair value of its MSRs. (The total fair value of
 4   MSRs increased as of Q4 2007 due to the addition of new servicing contracts
 5   during the period. This “addition” more than offset the decrease to the fair value of
 6   the MSRs attributable to changes in management’s assumptions and inputs to the
 7   model.) In that quarter, Countrywide recorded a reduction of $1.1 billion in the
 8   fair value of the MSRs due to “changes in valuation inputs or assumptions in
 9   valuation model.” 2007 Form 10-K, Note 10, p. F-52. Based on the 2007 Form
10   10-K disclosure, it did not appear that Countrywide made any changes to the
11   valuation model, specifically the cash flow model within the valuation model, even
12   though the severe cash flow risk present in Q4 2007 was present in prior periods.
13   This indicates that the inputs and assumptions used prior to Q4 2007 were
14   unreasonable and continued to be unreasonable, resulting in inflated fair values for
15   those preceding quarters.
16         715. Additional       evidence   of     management’s   use   of   unreasonable
17   assumptions and/or assumptions inconsistent with the then current lending
18   environment is reflected in the Company’s own SEC filings.              Countrywide
19   disclosed in its 2007 Form 10-K that “[w]e recorded a decrease in the fair value of
20   the MSRs in 2007 of $1,085.4 million, primarily as a result of decreasing mortgage
21   rates during the last half of the year which increased expected future prepayment
22   speeds of our agency servicing portfolio.” However, as stated in the RI section
23   above, the assumption for the weighted average prepayment speed for both MSRs
24   and RIs was decreased by the Company in its fair value estimates as of December
25   31, 2007. While Countrywide provides some disclosure that the market
26   deterioration moderated the impact of prepayments, there is no disclosure
27   reconciling these conflicting conclusions.
28

                                             266                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 284 of 439 Page ID #:284



 1         716. Consequently, the Company’s valuation of its MSRs during the
 2   Relevant Period was materially overstated because the cash flow model within its
 3   MSR valuation model ignored: (a) the Company’s change in lending practices
 4   beginning in 2003 to offer non-traditional, high-risk loans; (b) the Company’s
 5   significant increasing production of subprime loans; (c) the Company’s continued
 6   exceptions from its underwriting guidelines; (d) the drastic increase in loan
 7   delinquencies and foreclosures; (e) payment shock, which was a known
 8   consequence of negative amortization arising from the Company’s Pay-Option
 9   ARMs; and (f) the increased expected costs associated with servicing delinquent
10   and foreclosed loans.    Under proper risk assumptions, Countrywide’s lending
11   strategy shift, the simultaneously deteriorating housing market, and the known,
12   continued and dramatically rising delinquencies would have caused Countrywide
13   to proportionally reduce the fair value of its MSRs throughout the Relevant Period
14   as the related cash flows are shortened by the aforementioned factors. Rather than
15   decrease the Company’s MSRs in a manner sufficient to reflect the negative impact
16   of these adverse facts and circumstances, Countrywide used its MSRs to inflate its
17   assets, revenues and, ultimately, its net income during the Relevant Period.
18                5.    Countrywide Inflated Earnings By
                        Failing To Properly Reserve For
19                      Representations And Warranties
20         717. Countrywide’s R&W reserve represented a liability that arose from its
21   loan sales and securitization activities, and was required to be reported at fair
22   value. When Countrywide sold or securitized loans, it made certain guarantees,
23   which, if breached by Countrywide, would entitle the counterparties to demand
24   repurchase by Countrywide of the related loans, or some other form of
25   compensation. These guarantees included representations, such as: (a) none of the
26   loans included in the sale or securitization were delinquent by a specified number
27   of days; (b) the loans included in the sale or securitization were selected in a
28   manner that adversely affected the financial interests of the investors; and (c)

                                             267                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 285 of 439 Page ID #:285



 1   missed first payments on sold loans was cause for repurchase. During the Relevant
 2   Period, GAAP required Countrywide to estimate and report the liability arising
 3   from the R&W reserve in accordance with GAAP.
 4         718. Countrywide’s SEC filings explain the direct correlation between the
 5   increased liability arising from its R&Ws, worsening economic conditions, and the
 6   significant credit risk in the loans subject to the R&Ws:
 7         While we sell most of the loans we produce, we retain credit risk in
 8         the form of credit-subordinated securities [i.e., RIs] and loans held for
 9         investment, and through the representations and warranties we
10         make to the investors in the loans we sell and through the issuance of
11         corporate guarantees. Our credit-subordinated securities are the first
12         beneficial interests in loan sales to absorb any credit losses, and the
13         buyers of our loans will make more claims against our corporate
14         guarantees and representations and warranties if more of our
15         borrowers default on their loans. While we estimate and provide for
16         credit losses accruing to our credit-subordinated securities and for the
17         corporate guarantees and representations and warranties, worsening
18         economic and real estate market conditions could negatively impact
19         the value of the credit subordinated securities we retain and increase
20         our liabilities under our corporate guarantees and representations and
21         warranties.
22   2006 Form 10-K, p. 37.
23         719. The Company retained credit risk for all R&Ws offered in a
24   securitization. Countrywide defined “credit risk” in its 2007 Form 10-K as follows:
25   “credit risk . . . is the risk that a borrower will not repay the [underlying] loans’
26   balance as agreed and the risk that the proceeds from liquidation of the collateral
27   securing the loan will not be adequate to repay the loan’s balance.” Countrywide
28

                                             268                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 286 of 439 Page ID #:286



 1   reported its R&W reserves within “accounts payable and accrued liabilities” in
 2   Countrywide’s balance sheet.
 3         720. As a result of its failure to adhere to GAAP and its failure to employ
 4   an effective methodology using correct assumptions, Countrywide failed to
 5   properly accrue an adequate level of R&W reserve throughout the Relevant Period.
 6   Accordingly, Countrywide and the Officer Defendants materially understated
 7   Countrywide’s liabilities and overstated its gain-on-sale revenues and net income.
 8         721. Countrywide was required to apply the accounting guidance in SFAS
 9   No. 140 when initially recording the R&W reserve.             In subsequent reporting
10   periods, Countrywide was required to apply the accounting guidance in SFAS
11   No. 5 and FASB Interpretation No. 45 (“FIN 45”), Guarantor’s Accounting and
12   Disclosure Requirements for Guarantees, Including Indirect Guarantees of
13   Indebtedness of Others.
14         722. SFAS No. 140 states “liabilities incurred in a transfer of financial
15   assets [e.g., securitization or sale of loans] . . . should be initially measured at fair
16   value.” As previously stated, GAAP requires that fair value be estimated using
17   reasonable and supportable assumptions and all known information affecting the
18   asset or liability to be fair-valued. SFAS No. 5 confirms that a guarantee liability is
19   a loss contingency, and an accrual creating or increasing the liability is required if
20   such amount is estimable and the event, such as a default, is probable. FIN 45
21   requires an entity to record at the inception of the guarantee, the liability of that
22   guarantee. The initial liability is to be recorded at fair value. FIN 45 provides
23   guidance on estimating fair values using expected future cash flows measured in
24   accordance with FASB Concepts Statement No. 7.
25         723. During the Relevant Period, Countrywide understated its loss accrual
26   for R&Ws because it ignored the high credit risk and poor quality of loans
27   securitized and/or sold to third parties.         Countrywide knew that its own
28

                                               269                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 287 of 439 Page ID #:287



 1   underwriting practices contributed to that high credit risk and weak loan quality,
 2   but failed to record an adequate R&W reserve during the Relevant Period.
 3         724. Similar to failures in valuing its MSRs and RIs, Countrywide failed to
 4   use reasonable and supportable assumptions in its R&W reserve model by failing
 5   to update or adjust the stale assumptions in that model. Such adjustment or update
 6   to the assumptions was critical given that the loans originated by Countrywide
 7   during the Relevant Period had progressively become riskier due to layered credit
 8   risks upon origination and the deteriorating economic environment. Countrywide’s
 9   assumptions in its R&W reserve model included, among others: (a) default rate;
10   (b) repurchase rate; (c) loss severity factor; and (d) discount rate.
11         725. In Q1 2006, Countrywide was required by HSBC to repurchase
12   approximately $210 million subprime loans, claiming a failure by Countrywide to
13   adhere to specified underwriting standards. Countrywide had not recorded the
14   initial liability upon the inception of the guarantee to HSBC, in violation of FIN
15   45.   Importantly, the HSBC repurchase should have caused Countrywide to
16   immediately correct its methodology for estimating the R&W reserve, but
17   Countrywide did not.
18         726. Even prior to the HSBC repurchase, Countrywide knew that the
19   probability for future repurchases was increasing, and the current R&W reserve
20   levels were inadequate. In an email from McMurray to Sambol on May 22, 2005,
21   described in detail above, McMurray addressed the R&W reserve, confirming the
22   rising exposure in R&W breach claims:
23         we will see higher rates of default on the riskier transactions and third
24         parties coming back to us seeking a repurchase or indemnification
25         based on an alleged R&W breach as the rationale. While Credit has
26         taken steps to prepare for this situation, I’m not sure various parts of
27         the company are sufficiently aware or aligned.
28   One year later, McMurray echoes his concerns:

                                               270                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 288 of 439 Page ID #:288



 1         . . . . Exposure Concerns: Defaults are a key driver of repurchase
 2         exposure and I believe we are moving to an economic environment
 3         where we’ll see more defaults, perhaps substantially more. Combine
 4         a tough economic environment and more defaults with a more
 5         permissive approach to repurchases and we could have a very large
 6         exposure on our hands.
 7         727. Another email from McMurray, this time to Sieracki on January 2,
 8   2007, described in detail above, outlines “why delinquencies will increase and the
 9   impact this increase will have on our financial results.” Specifically, McMurray
10   expressed that he expected delinquencies to rise due to, among other factors, the
11   current state of unfavorable real estate market conditions and Countrywide’s
12   “widened guidelines.” He concludes that “increasing delinquencies will manifest
13   through . . . increased repurchase requests as a result of increased defaults.” He
14   explains that higher defaults trigger higher repurchase demands from third parties
15   because “investors and credit enhancers tend to put back [i.e., return to
16   Countrywide] only defaulted loans.”
17         728. Despite relevant internal information impacting the R&W reserves
18   and known to Countrywide during the Relevant Period, Countrywide did not
19   increase its R&W reserves to reflect that information, in violation of GAAP.
20   Instead, in 1Q 2007, Countrywide reduced its R&W reserve attributable to
21   subprime loans, claiming a reduction in the repurchase rate assumption.
22   Countrywide knew that such assumption could not be reasonable as it reflected
23   historical data, and disregarded the increasing probabilities of repurchases arising
24   from the same underwriting business model that has resulted in actual claims of
25   R&W breaches.
26         729. In the third quarter of 2007, Countrywide was forced to admit that the
27   amount of its reserves for R&Ws had been wrong. At that time, the Company
28   increased its allowance for R&Ws by a startling $291.5 million, or 611%, from the

                                            271                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 289 of 439 Page ID #:289



 1   $41.0 million reported twelve months earlier in the third quarter of 2006. The
 2   Company reported that $177.3 million or 60% of this increased allowance related
 3   to prime loans and $67.1 million related to the nonprime loans, demonstrating the
 4   true extent of the Company’s exposure to losses in its purported “prime” loan
 5   portfolio as a result of (a) its improper lending practice; and (b) its improper
 6   internal definition of “prime.”
 7         730. Countrywide’s reserves for R&Ws were materially understated and in
 8   violation of GAAP during the Relevant Period because Countrywide failed to use
 9   reasonable and supportable assumptions in its R&W reserve model, and failed to
10   update the stale assumptions in the model, even though: (a) the Company changed
11   its lending practices beginning in 2003 to offer nontraditional, high-risk loans,
12   including to borrowers incapable of repaying the loans; (b) the increased
13   origination of high-risk loans to unqualified borrowers with little or no supporting
14   documentation; (c) the Company’s continued origination of loans through
15   exceptions from its underwriting guidelines; and (d) the increased probability that
16   borrowers would default.
17         731. Consequently, Countrywide violated GAAP by understating its
18   liabilities and overstating its reported net income.
19                6.     Countrywide’s Internal Controls
                         Over Financial Reporting Were Ineffective
20

21         732. The SEC and the Public Company Accounting Oversight Board
22   (“PCAOB”) define a material weakness as a deficiency that causes a “reasonable
23   possibility that a material misstatement of the registrant’s annual or interim
24   financial statements will not be prevented or detected on a timely basis.” In turn, a
25   deficiency in internal control over financial reporting is deemed to exist when the
26   design or operation of a control does not allow the company’s management or
27   employees, in the normal course of performing their assigned duties, to prevent or
28   detect misstatements on a timely basis. A deficiency is deemed “significant” when

                                              272                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 290 of 439 Page ID #:290



 1   it is reasonably possible that a reasonable person would conclude that a
 2   misstatement arising from the deficiency was consequential.
 3         733. The      Officer   Defendants      concealed    the   ineffectiveness   of
 4   Countrywide’s internal control over financial reporting during the Relevant Period
 5   by falsely representing that “internal control over financial reporting” was
 6   effective. Countrywide was allowed to make such representation only if there was
 7   not a single “material weakness” in its internal control over financial reporting.
 8   However, Countrywide’s internal control over financial reporting contained
 9   material weaknesses, as evidenced by Countrywide’s inability to prevent or detect
10   the material misstatements in its ALL, MSRs, RIs and R&W reserves as described
11   above.
12         734. Countrywide knew that in its 2004 audit, its external auditors
13   concluded there were a number of significant deficiencies in its internal control
14   over financial reporting of its MSRs, RIs, R&W reserves. In its 2005 audit,
15   Countrywide’s external auditors identified significant deficiencies in its valuation
16   models that was impacting the fair value of MSRs and RIs and the ALL. In its
17   2006 audit, the external auditors again identified significant deficiencies pertaining
18   to Countrywide’s valuation models for MSRs, RIs and the ALL methodology.
19   Because the misstatements in the ALL, MSRs, RIs and R&W reserves as described
20   above were material, and Countrywide failed to prevent or detect such
21   misstatements, the underlying internal control deficiencies were indeed material
22   weaknesses in Countrywide’s internal controls over financial reporting.
23   Nevertheless, Countrywide represented that its internal controls over financial
24   reporting were effective during 2004, 2005 and 2006.
25         735. The absence of an effective internal control over financial reporting
26   enabled the Company to delay recognition of provisions for loan losses, R&W
27   reserves and valuation allowances relating to declines in fair value even though it
28   had lowered its underwriting standards to such a point that it issued inherently

                                             273                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 291 of 439 Page ID #:291



 1   risky loans, such as Pay-Option ARMs, 100% financing loans, and Stated
 2   Income/Stated Asset Mortgage (“SISA”) and No Income No Asset (“NINA”) loans
 3   to non-creditworthy borrowers, notwithstanding representations by the Officer
 4   Defendants that they carefully managed those risks. Such lending practices caused
 5   the default rate of Countrywide’s loans to increase at an accelerated pace
 6   throughout the Relevant Period. The ineffectiveness of Countrywide’s internal
 7   control over financial reporting also allowed the Officer Defendants to
 8   inappropriately classify sub-prime loans as prime loans further masking the failing
 9   financial health of the Company without causing the financial statements to reflect
10   the corrected information.
11         736. As a result of Countrywide’s failure to install an effective internal
12   control over its financial reporting, the Officer Defendants were able to manipulate
13   the timing of when they recorded provisions for loan losses, R&W reserves and
14   valuation allowances relating to declines in fair value. Countrywide’s ineffective
15   internal control over financial reporting allowed the Officer Defendants to
16   materially misstate the financial statements during the Relevant Period.
17         737. Countrywide’s 2007 Form 10-K filing asserts management’s
18   responsibility over internal controls:
19         Management is responsible for establishing and maintaining adequate
20         internal control over financial reporting for the Company. . . . In
21         making its assessment of internal control over financial reporting,
22         management [claimed to] use[ ] the criteria established in ‘Internal
23         Control-Integrated Framework’ issued by the Committee of
24         Sponsoring Organizations of the Treadway Commission (“COSO”).
25         738. COSO defines “internal controls” in Chapter 1 of its Framework as
26   follows:
27         Internal control is a process, effected by an entity’s board of directors,
28         management and other personnel, designed to provide reasonable

                                              274                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 292 of 439 Page ID #:292



 1         assurance regarding the achievement of objectives in the following
 2         categories: (i) Effectiveness and efficiency of operations; (ii)
 3         Reliability of financial reporting; (iii) Compliance with applicable
 4         laws and regulations.
 5         739. Moreover, COSO emphasizes the importance of a strong control
 6   environment, which sets a positive “tone at the top” and then flows down through
 7   the Company. The COSO Framework Executive Summary identifies the pervasive
 8   influence that the control environment has on the Company, as follows:
 9         The control environment sets the tone of an organization, influencing
10         the control consciousness of its people. It is the foundation for all
11         other components of internal control, providing discipline and
12         structure. Control environment factors include the integrity, ethical
13         values and competence of the entity’s people; management’s
14         philosophy and operating style; the way management assigns
15         authority and responsibility, and organizes and develops its people;
16         and the attention and direction provided by the board of directors.
17         740. In addition, the COSO Framework, Chapter 2, establishes that
18   management’s philosophy and operating style directly affects the manner in which
19   the company is managed, the amount of risk that the company accepts and
20   ultimately the success of the company. Chapter 2 of the COSO Framework states:
21         Management’s philosophy and operating style affect the way the
22         enterprise is managed, including the kinds of business risks accepted.
23         . . . Other elements of management’s philosophy and operating style
24         include attitudes toward financial reporting, conservative or
25         aggressive selection from available alternative accounting principles,
26         conscientiousness and conservatism with which accounting estimates
27         are developed, and attitudes toward data processing and accounting
28         functions and personnel. . . . The impact of an ineffective control

                                            275                                  COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 293 of 439 Page ID #:293



 1         environment could be far reaching, possibly resulting in a financial
 2         loss, a tarnished public image or a business failure.
 3         741. Specifically, Chapter 8 of the COSO Framework establishes the Chief
 4   Executive Officer’s responsibility over internal control.      Chapter 8 states as
 5   follows:
 6         [The chief executive] has ultimate ownership responsibility for the
 7         internal control system. One of the most important aspects of carrying
 8         out this responsibility is to ensure the existence of a positive control
 9         environment. More than any other individual or function, the chief
10         executive sets the “tone at the top” that affects control environment
11         factors and other components of internal control.
12         742. Section 404 of the Sarbanes-Oxley Act requires management to assess
13   the effectiveness of the internal control structure and the financial reporting for
14   procedures. Management is responsible for performing this assessment in the
15   context of a top-down risk assessment, which requires management to base both
16   the scope of its assessment and the evidence gathered on risk. Management’s
17   conclusion, as a result of that assessment, about whether the Company’s internal
18   control is effective must be included in the Company’s annual report.
19         743. Further, SEC Release No. 33-8238 requires management to report
20   publicly all material weaknesses in the Company’s internal controls.
21         744. Beginning in 2002, the Officer Defendants were required under Rule
22   302 of the Sarbanes-Oxley Act to provide assurances relating to the Company’s
23   “internal control over financial reporting.” Rule 302 states as follows:
24         [E]ach annual report . . . [should] contain an internal control report,
25         which shall: (1) state the responsibility of management for
26         establishing and maintaining an adequate internal control structure
27         and procedures for financial reporting; and (2) contain an
28         assessment, as of the end of the most recent fiscal year of the issuer,

                                             276                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 294 of 439 Page ID #:294



 1         of the effectiveness of the internal control structure and procedures
 2         of the issuer for financial reporting.
 3         745. As explained above and in the Company’s regulatory filings, the
 4   Officer Defendants represented to the marketplace that their assessment of internal
 5   control over financial reporting was based upon the framework established by
 6   COSO. Also, the Officer Defendants represented in the Company’s Forms 10-K
 7   filings that “management concluded that the Company’s internal control over
 8   financial reporting was effective” as of the years ended December 31, 2004,22
 9   December 31, 2005, and December 31, 2006. These statements were false because
10   Countrywide’s internal control over financial reporting contained material
11   weaknesses which allowed the concealment or delay of the financial statement
12   impact of its lax underwriting standards and extensive approval of exception loans.
13   As a result, management’s reports on internal control over financial reporting,
14   required by Rule 302 of the Sarbanes-Oxley Act, were materially false and
15   misleading because Countrywide’s internal control over financial reporting was, in
16   fact, ineffective during the Relevant Period.
17         746. Management’s assessment of internal control over financial reporting
18   was a critical metric for investors because it provided assurance that the
19   Company’s financial statements were reliable and in compliance with applicable
20   laws. However, during the Relevant Period, as alleged herein, Countrywide did
21   not properly assess its internal control over financial reporting, thus it violated the
22   “Internal Control-Integrated Framework” issued by COSO and various other
23   requirements found in the SEC regulations and the Sarbanes-Oxley Act.
24

25

26   22
         In the Company’s 2004 Form 10-K, management noted a material weakness
27   regarding recognizing gains on sale of mortgage backed securities with embedded
     derivatives. Importantly, management did not recognize a material weakness with
28
     regard to its lax underwriting practices over the Relevant Period.
                                              277                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 295 of 439 Page ID #:295



 1   IX.   KPMG’S NEGLIGENT OR RECKLESS FAILURE TO
           CONDUCT AUDITS IN ACCORDANCE WITH GAAS
 2

 3         747. KPMG violated Generally Accepted Accounting Standards (“GAAS”)
 4   and acted with deliberate recklessness in conducting its audits of Countrywide’s
 5   financial statements and in issuing unqualified or “clean” audit opinions thereon.
 6   Countrywide’s audited financial statements for 2004, 2005 and 2006, as alleged
 7   herein, violated GAAP because those financial statements were materially
 8   misstated as a result of: (a) overstated RI and MSRs; (b) understated ALL and
 9   R&W reserves; and (c) management’s failure to implement effective internal
10   control over financial reporting.
11         748. As Countrywide’s independent registered public accounting firm,
12   KPMG signed off on the Company’s financial statements attesting that the
13   consolidated financial statements present fairly, in all material respects, the
14   financial position of Countrywide in conformity with GAAP. In order to make
15   such an attestation, KPMG was required to plan and perform its audits of
16   Countrywide’s financial statements to obtain reasonable assurance about whether
17   Countrywide’s financial statements were free of material misstatements, whether
18   caused by error or fraud. See AU 316.01. As alleged in detail below, KPMG failed
19   to plan and perform its audits for the Relevant Period as set forth in GAAS, and
20   consequently, failed to obtain reasonable assurance about whether Countrywide’s
21   financial statements for the Relevant Period were free of material misstatements
22   arising from error or fraud. Therefore, KPMG issued false and untrue statements
23   when it issued an unqualified or “clean” audit opinion on those financial
24   statements.
25         749. KPMG was required by GAAS to be familiar with the many industry,
26   business and economic factors (“risk factors”) that impacted Countrywide’s and
27   other lenders’ preparation of their financial statements in accordance with GAAP.
28   These risk factors were addressed in ARA for entities such as Countrywide and

                                           278                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 296 of 439 Page ID #:296



 1   their auditors. Risk factors are events and conditions that constitute significant
 2   risks that the financial statements might be materially misstated. KPMG had the
 3   responsibility to consider these risks in planning and performing the audit pursuant
 4   to GAAS. Nevertheless, for the Relevant Period, KPMG failed to appropriately
 5   consider or simply ignored relevant risk factors, including fraud risk factors
 6   described below, and those related to deficiencies in the Company’s internal
 7   control over financial reporting, in auditing Countrywide’s financial statements.
 8         750. Fraud risk factors, when present in a reporting entity, indicate a risk of
 9   material misstatement due to fraud. Fraud risk factors come to the attention of the
10   auditor by performing audit procedures in accordance with GAAS and throughout
11   the audit, and place a prudent auditor on notice that its audit client could
12   potentially be engaged in wrongdoing. As alleged below, during the Relevant
13   Period, various fraud risk factors and other risk factors signifying a risk of material
14   misstatement (“red flags”) were apparent to KPMG, but KPMG either failed to
15   identify the existence of obvious fraud risk factors and red flags, or knew they
16   existed but failed to adjust its planned audit procedures, essentially ignoring them
17   outright.   Either way, KPMG violated GAAS and allowed the Company to
18   materially overstate its earnings for fiscal years 2004, 2005 and 2006, in violation
19   of GAAP.
20         A.     The Standards Of GAAS And The
                  AICPA Audit & Accounting Guide
21

22         751. The PCAOB, established by the Sarbanes-Oxley Act, is responsible
23   for the development of auditing and related professional practice standards that
24   must be followed by registered public accounting firms. On April 16, 2003, the
25   PCAOB adopted GAAS as its interim standards as described by the AICPA
26   Auditing Standards Board’s SAS No. 95, Generally Accepted Auditing Standards,
27   and related interpretations in existence on that date. Accordingly, an auditor’s
28   reference to “the standards of the Public Company Accounting Oversight Board

                                              279                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 297 of 439 Page ID #:297



 1   (United States)” includes a reference to GAAS in existence as of April 16, 2003.
 2   For clarity, all references to GAAS herein include the standards of the PCAOB.
 3         752. GAAS is comprised of ten standards that establish the quality of an
 4   auditor’s performance and the overall objectives to be achieved in a financial
 5   statement audit. Auditors are required to follow these standards in each and every
 6   audit they conduct. GAAS are further interpreted in Statements on Auditing
 7   Standards (“SAS”) issued by the Auditing Standards Board (“ASB”) of the AICPA,
 8   which are codified in AICPA Professional Standards under the prefix “AU.”
 9         753. The GAAS standards fall into three basic categories: General
10   Standards, Fieldwork Standards and Reporting Standards. The General Standards
11   provide guidance to the auditor on the exercise of due professional care in the
12   performance of the audit. The Fieldwork Standards provide guidance on audit
13   planning, proper evaluation of internal control and the collection of sufficient and
14   appropriate evidential matter in order to be able to form a reasonable basis for the
15   auditor’s opinion regarding the financial statements under audit. The Reporting
16   Standards provide guidance to the auditor on the content of the audit report and the
17   auditor’s responsibility contained therein. See AU 150.02.
18         754. The AICPA’s AAG for lending institutions is designed to provide
19   guidance for independent accountants primarily on the application of the standards
20   of fieldwork. Specifically, it provides guidance on the risk assessment process and
21   the design of audit procedures, as well as general audit considerations for deposit
22   and lending institutions like Countrywide. The AAG is approved by both the
23   FASB, which promulgates SFASs, as well as the ASB, which issues SASs.
24         755. The AICPA issues ARA, which are addressed to and used by industry
25   participants such as Countrywide and its auditor, KPMG, to publicize general and
26   specific areas of concern relevant to the preparation of the financial statements
27   pursuant to GAAP and the audits of those financial statements.          These ARA
28   identify the significant risk factors that may result in the material misstatement of

                                             280                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 298 of 439 Page ID #:298



 1   the financial statements and alert auditors to pay close attention to those areas.
 2   These ARA also provide auditors with an overview of recent economic, industry,
 3   regulatory and professional development and, in particular, those that may affect
 4   audit engagements. Therefore, these ARA alerted the KPMG audit team to those
 5   specific aspects of Countrywide’s financial statements where an increased level of
 6   risk of material misstatement was present and, thus, additional audit considerations
 7   and appropriate audit procedures were warranted.
 8         B.     KPMG’s Responsibility To Plan And
                  Perform The Audits Of Countrywide’s
 9                Financial Statements As It Relates To Fraud
10         756. Pursuant to AU 316, “Consideration of Fraud in a Financial Statement
11   Audit,” KPMG had the responsibility to plan and perform its audits of
12   Countrywide’s consolidated financial statements for the Relevant Period to obtain
13   reasonable assurance about whether those financial statements were free of
14   material misstatement, whether caused by error or fraud. AU 316.01. In fulfilling
15   their responsibility as it relates to fraud, KPMG was required to exercise
16   professional skepticism, which is “an attitude that includes a questioning mind and
17   a critical assessment of audit evidence” throughout the audit. AAG Ch. 5, AU
18   230.07.    Importantly, because of the characteristics of fraud, GAAS required
19   KPMG to perform their audit procedures “with a mind-set that recognizes the
20   possibility that a material misstatement due to fraud could be present, regardless of
21   any past experience with the entity and regardless of the auditor’s belief about
22   management’s honesty and integrity.” AAG Ch. 5.
23         757. GAAS states “[a]lthough fraud is a broad legal concept, the auditor’s
24   interest specifically relates to fraudulent acts that cause a misstatement of financial
25   statements.” AU 312.07. GAAS defines misstatements arising from fraudulent
26   financial reporting as “intentional misstatements or omissions of amounts or
27   disclosures in financial statements designed to deceive financial statement users
28   where the effect causes the financial statements not to be presented, in all material

                                              281                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 299 of 439 Page ID #:299



 1   respects, in conformity with generally accepted accounting principles (GAAP).”
 2   Fraudulent financial reporting may be accomplished by the “Manipulation,
 3   falsification, or alteration of accounting records or supporting documents from
 4   which financial statements are prepared; Misrepresentation in or intentional
 5   omission from the financial statements of events, transactions, or other significant
 6   information; Intentional misapplication of accounting principles relating to
 7   amounts, classification, manner of presentation, or disclosure.” AU 316.6.
 8         758. Pursuant to AU 316, KPMG was required to consider the existence of
 9   “fraud risk factors” at Countrywide during its audits. Fraud risk factors are events
10   and conditions that indicate: (a) incentives/pressures to perpetrate fraud; (b)
11   opportunities to carry out the fraud; or (c) attitudes/rationalizations to justify a
12   fraudulent action. These elements are widely known in the accounting profession
13   as the “fraud triangle.”
14         759. To address fraud risk factors at Countrywide pursuant to GAAS,
15   KPMG was required to perform several significant procedures, with the ultimate
16   goal of determining whether planned audit procedures should be adjusted or
17   expanded based upon whether fraud has occurred or was likely to occur and their
18   impact on the financial statements. Without performing these procedures, that goal
19   could not be achieved and the audit would not comply with GAAS.
20         760. KPMG was required to: (a) have a specific discussion among audit
21   team members regarding the risks of material misstatement due to fraud; (b)
22   identify fraud risk factors at Countrywide that may result in a material
23   misstatement due to fraud (see specific relevant fraud risk factors below); (c)
24   consider the risk of management override of controls; (d) assess the identified
25   fraud risk factors after taking into account compensating or mitigating controls; (e)
26   respond to the results of the assessment by designing appropriate substantive tests;
27   (f) evaluate audit evidence for implausible or conflicting information; and (g)
28   expand audit procedures to determine whether fraud has occurred or is likely to

                                             282                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 300 of 439 Page ID #:300



 1   have occurred and, if so, the impact on the financial statements. AAG Ch. 5.
 2   Items (c) through (g) are follow-up procedures performed in response to the
 3   auditor’s identification of the relevant fraud risk factors. GAAS advised “[a]n
 4   emphasis on the importance of maintaining the proper state of mind throughout the
 5   audit regarding the potential for material misstatement due to fraud.” AU 316.14.
 6   Communication among the KPMG audit team members about the risks of material
 7   misstatement due to fraud should have continued throughout the audit.
 8   AAG Ch. 5.
 9         761. While fraud risk factors do not necessarily indicate the existence of
10   fraud, they often are present in circumstances where fraud exists, highlighting the
11   need and requirement that the auditor determine whether they existed at the
12   reporting entity. AU 316.31. Identifying fraud risk factors was not a complicated
13   procedure. GAAS, in fact, provided concrete examples of fraud risk factors;
14   KPMG was to compare the examples set forth in AU 316 to events and conditions
15   at Countrywide, identify events and conditions that were consistent with the
16   examples, and conduct follow up procedures prescribed in AU 316 (i.e., items (c)
17   through (g) above.
18         762. Specifically, based on its knowledge about Countrywide, KPMG was
19   required to identify whether any of the following fraud risk factors pertaining to
20   incentives or pressures were present at Countrywide during the Relevant Period:
21   (a) deteriorating economic conditions, such as declining real estate prices, within
22   geographic regions in which the bank had significant credit concentrations; (b)
23   rapid growth or unusual profitability, especially compared to that of other peer
24   financial institutions; for example, unusually large growth in the loan portfolio
25   without a commensurate increase in the size of the allowance for loan and lease
26   losses; (c) decline in asset quality due to borrowers affected by recessionary
27   declines and layoffs; and (d) excessive pressure on management or operating
28   personnel to meet financial targets set up by the board of directors or management,

                                            283                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 301 of 439 Page ID #:301



 1   including incentive goals that result in (i) unrealistically aggressive loan goals and
 2   lucrative incentive programs for loan originations; (ii) relaxation of credit
 3   standards; (iii) excessive extension of credit standards with approved deviation
 4   from policy; (iv) excessive concentration of lending (particularly new lending);
 5   and (v) excessive lending in new products. AAG Ch. 5.
 6         763. KPMG should have known that the fraud risk factors relating to
 7   incentives and pressures set forth in GAAS were consistent with events and
 8   conditions at Countrywide during the Relevant Period. Therefore, KPMG should
 9   have performed the follow-up audit procedures required in GAAS as set forth in
10   items (c) through (g) in ¶760 above with respect to these fraud risk factors.
11   Specifically: (a) in 2006, economic conditions surrounding the real estate market
12   and lending industry had deteriorated substantially, especially in California where
13   Countrywide had significant credit concentrations; (b) from 2004 to 2006, there
14   was rapid growth in Countrywide’s subprime lending, without a corresponding
15   increase in the related ALL; (c) a decline in asset quality due to borrowers affected
16   by the housing market meltdown beginning in 2006; and (d) from 2004 to 2006,
17   there was excessive pressure on management or operating personnel to meet
18   financial targets resulting in aggressive loan production targets, widening of
19   underwriting guidelines, and excessive concentration in subprime loans.
20         764. Based on its knowledge about Countrywide, KPMG was required to
21   identify whether any of the following fraud risk factors pertaining to opportunities
22   to commit fraud and which were consistent with those examples set forth in GAAS
23   above were present at Countrywide during the Relevant Period: (a) certain types of
24   lending practices, such as subprime and predatory lending by banks in an effort to
25   obtain better yields; (b) assets, liabilities, revenues, or expenses based on
26   significant estimates that involve subjective judgments or uncertainties that are
27   difficult to corroborate [such as the ALL and fair value measurements]; (c)
28   significant, unusual, or highly complex transactions, especially those close to year

                                             284                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 302 of 439 Page ID #:302



 1   end that pose difficult “substance over form” questions, such material amounts of
 2   complex financial instruments; (d) loan sales that result in retained beneficial
 3   interests; (e) deficient internal control components due to: (i) inadequate
 4   monitoring of controls and controls over financial reporting; (ii) ineffective internal
 5   audit function; and (iii) lack of independent processes for the establishment and
 6   review of allowance for loan losses and for the evaluation of other than temporary
 7   impairments. AAG Ch. 5.
 8         765. KPMG should have known that the fraud risk factors relating to
 9   opportunities to commit fraud set forth in GAAS were consistent with events and
10   conditions at Countrywide during the Relevant Period. Therefore, KPMG should
11   have performed the follow-up audit procedures required in GAAS as set forth in
12   items (c) through (g) in ¶760 above with respect to these fraud risk factors.
13   Specifically: (a) from 2004 to 2006, Countrywide’s LHI, RIs, MSRs and R&W
14   reserves related to underlying mortgages that were “nontraditional” or subprime;
15   (b) Countrywide’s LHI required an ALL which was a significant estimate, and
16   Countrywide’s RIs and MSRs required fair value measurements that involved
17   subjective assumptions; (c) the MSRs and RIs were financial instruments arising
18   from significant, unusual, or highly complex transactions; (d) the RIs resulted in
19   retained beneficial interests; and (e) KPMG knew that Countrywide had deficient
20   internal controls based on its own audits.
21         766. Based on its knowledge about Countrywide, KPMG was required to
22   identify whether there were fraud risk factors pertaining to attitudes and
23   rationalizations by board members, management or employees at Countrywide
24   during the Relevant Period. An example set forth in GAAS is management’s
25   disregard of control-related recommendations from internal and/or external
26   auditors. AAG Ch. 5.
27         767. KPMG should have known that during the Relevant Period, there was
28   a blatant disregard for control-related recommendations from KPMG itself, its

                                              285                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 303 of 439 Page ID #:303



 1   internal auditors and regulators. As discussed herein, a significant internal control
 2   deficiency identified by KPMG in 2005 remained uncorrected in 2006. Therefore,
 3   KPMG should have performed the follow-up audit procedures required in GAAS
 4   as set forth in items (c) through (g) in ¶760 above with respect to this fraud risk
 5   factor.
 6             768. After determining the fraud risk factors present at Countrywide,
 7   KPMG was required to “evaluate all controls specifically intended to address the
 8   risks of fraud that have at least a reasonably possible likelihood” of materially
 9   impacting the financial statements. PCAOB AS No. 2.24. KPMG was required to
10   evaluate whether those controls mitigated the risks, or specific control deficiencies
11   exacerbate those risks. AAG Ch. 5. KPMG was required to alter the nature,
12   timing or extent of audit procedures when it identified deficiencies in controls
13   purportedly designed specifically to prevent and detect fraud. PCAOB AS No.
14   2.26.      After evaluating controls specific to addressing the fraud risk factors
15   identified by KPMG, assuming there were any, and especially if there were no such
16   controls, KPMG was required to respond accordingly by: (a) adjusting the planned
17   general conduct of the audit; (b) adjusting the nature, timing and extent of auditing
18   procedures to address identified fraud risks; and (c) performing further auditing
19   procedures to address management override of controls, if any. AAG Ch. 5.
20             769. KPMG failed to comply with GAAS because it failed to possess the
21   “mind-set” and requisite professional skepticism. Despite the presence of the
22   numerous fraud risk factors at Countrywide that were clearly consistent with the
23   examples set forth in GAAS, KPMG failed to exercise heightened professional
24   skepticism and failed to identify or ignored these fraud risk factors. Consequently,
25   KPMG failed to appropriately respond to specific fraud risk factors that existed at
26   Countrywide that GAAS had prescribed as indicators of a risk of intentional
27   misstatements in Countrywide’s financial statements for the Relevant Period. A
28   prudent auditor would have identified the fraud risk factors present at Countrywide

                                             286                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 304 of 439 Page ID #:304



 1   as enumerated above. Because KPMG failed to identify or it ignored the relevant
 2   fraud risk factors present at Countrywide, it failed to perform the follow up
 3   procedures set forth in GAAS. Consequently, KPMG failed to design or alter the
 4   nature, timing and extent of its substantive audit procedures to respond to the
 5   existing fraud risk factors enumerated above. Instead, in violation of GAAS,
 6   KPMG concluded that Countrywide’s internal control over financial reporting was
 7   effective in 2005 and 2006, and failed to adjust its audit procedures for the
 8   Relevant Period to ascertain that Countrywide’s ALL, RIs, MSRs, R&W reserves
 9   were not intentionally misstated.
10         770. Even if KPMG identified some of the fraud risk factors enumerated
11   above as being present at Countrywide during the Relevant Period, KPMG failed
12   to assess whether there were compensating controls at Countrywide which were
13   designed to mitigate the presence of those fraud risk factors, and if these
14   compensating controls were operating effectively. Ultimately, KPMG failed to
15   expand its audit procedures to determine whether financial statement fraud had
16   occurred or was likely to have occurred, and failed to determine the impact on
17   Countrywide’s financial statements. Consequently, KPMG allowed Countrywide
18   to misstate its ALL, RIs, MSRs, and R&W reserves, and issued unqualified
19   opinions on Countrywide’s consolidated financial statements for the Relevant
20   Periods even though they were materially misstated.
21         C.    Financial Statement Misstatement
                 Risk Factors (“Red Flags”) In 2004
22

23         771. In addition to fraud risk factors set forth in GAAS for entities like
24   Countrywide, the ARA for 2004 cautioned auditors that competition to increase
25   loan origination volume had contributed to the softening of credit criteria, which
26   increased credit risk (AAM 8050.12). KPMG knew that such credit risk directly
27   impacted the adequacy of Countrywide’s ALL for 2004.
28

                                           287                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 305 of 439 Page ID #:305



 1            772. During its audit of Countrywide in 2004, in addition to ignoring fraud
 2   risk factors present at Countrywide, KPMG ignored various red flags that impacted
 3   the preparation of Countrywide’s financial statements in accordance with GAAP
 4   due to the associated risks of financial statement misstatement.       KPMG was
 5   required to evaluate the financial statement effects of these red flags and perform
 6   appropriate audit procedures to obtain reasonable assurance that the financial
 7   statements were free of material misstatements that could arise from these red
 8   flags.
 9                  1.    Red Flag: Implementation
                          Of Aggressive Goal To
10                        Capture 30% Market Share
11            773. During their 2004 audit, in order to comply with AU 311, “Planning
12   and Supervision,” KPMG was required to perform specific audit procedures to
13   obtain an understanding of Countrywide and its environment. Accordingly, KPMG
14   should have learned that Countrywide had publicly announced and implemented a
15   very aggressive firm-wide goal of capturing 30% of the residential mortgage
16   market share by 2008. In order to achieve this goal, Countrywide was likely to
17   compromise its lending standards. KPMG knew that such change in business
18   strategy caused significant changes in Countrywide’s internal control processes.
19   KPMG also knew that the new business strategy would directly impact the quality
20   of its lending and underwriting process, which in turn could impact certain
21   significant financial statement accounts, including the ALL, RIs, MSRs and R&W
22   reserves (AAM 8050.12).
23            774. In light of Countrywide’s aggressive goal and in accordance with AU
24   319, “Consideration of Internal Control in a Financial Statement Audit,” KPMG’s
25   testing of Countrywide’s internal controls should have included a review of
26   Countrywide’s underwriting guidelines. KPMG should have also tested the
27   operating effectiveness of internal controls over loan file information; in other
28   words, whether management was approving and granting loans in accordance with

                                              288                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 306 of 439 Page ID #:306



 1   its written underwriting standards. These routine tests would have enabled KPMG
 2   to understand the procedures by which loan originations were processed, if the
 3   loans were being processed in accordance with the Company’s policies, and if
 4   there was any change from the prior year.         KPMG should have also tested
 5   Countrywide’s internal control over financial reporting to determine what controls
 6   were in place to ascertain that the ALL, R&W reserves, RIs and MSRs were being
 7   reported in accordance with GAAP especially given the change in business
 8   strategy, and if those controls were operating effectively. As alleged below, KPMG
 9   failed to perform the aforementioned procedures in violation of GAAS.
10                2.    Red Flag: Improper Documentation
                        For Loans, Misclassification Of Subprime
11                      Loans As Prime Loans And Management Overrides
12         775. Testing of Countrywide’s internal controls, in accordance with AU
13   319 and AU 316, “Consideration of Fraud in a Financial Statement Audit,” also
14   required a detailed testing of the Company’s loan files. For example, KPMG
15   should have tested whether Countrywide’s loans were being approved in
16   accordance with the Company’s written lending policies, whether credit
17   investigations were being performed, whether credit limits were adhered to,23
18   whether Countrywide’s procedure for capturing all required loan documentation
19   was functioning and whether the information recorded in Countrywide’s data
20   processing system and used for management reporting was being tested by
21   personnel independent of the preparer and was accurate. Had KPMG tested
22   Countrywide’s internal controls over loan origination process by testing
23   Countrywide’s loan files, KPMG would have discovered that Countrywide
24   routinely originated high-risk loans to borrowers with the weakest credit.
25

26

27
     23
        AAG Chapter 5 observes that “[e]xcessive extension of credit standards” is a
28
     fraud risk factor.
                                             289                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 307 of 439 Page ID #:307



 1         776. Had KPMG performed Countrywide’s audit in accordance with
 2   GAAS, KPMG would have discovered that Countrywide was not performing
 3   appropriate levels of due diligence on its loans. Through its testing of
 4   Countrywide’s loan files, KPMG would have learned that Countrywide classified
 5   loans that were subprime loans as “prime” loans, even though internally, these
 6   loans were known to Countrywide to be subprime loans. KPMG knew that this
 7   condition was an internal control deficiency. KPMG also would have seen that
 8   loans were being granted without verification of borrower income, employment or
 9   net worth, and that loans were being granted with appraisals and other important
10   documents missing from the loan files. KPMG knew that such behavior was an
11   internal control deficiency. Further, this pattern of management’s override of its
12   own internal controls, which, as noted above, was a pervasive fraud risk factor
13   indicative of potential financial statement misstatements arising from fraud. AU
14   316.08, AU 319.22. Moreover, the failure to appropriately document these loans
15   should have raised serious concerns to KPMG about whether the borrowers had the
16   financial capacity or income source to re-pay their loans, the impact to the
17   collectability of those loan during worsening economic conditions, and whether the
18   value of the underlying collateral was sufficient. AU 328, “Auditing Fair Value
19   Measurements and Disclosures”; AAG Ch. 9. KPMG should have known that
20   these internal control deficiencies and fraud risk factors presented significant risks
21   of misstatements of Countrywide’s ALL and R&W reserves, and the fair values of
22   its MSRs and RIs, because while Countrywide originated these loans through
23   flawed and fraudulent lending practices, these same loans had to be given
24   accounting recognition in Countrywide’s financial statements. As discussed above,
25   Countrywide either: (1) sold these loans with representations and warranties,
26   servicing and retained interests that were to be accounted for pursuant to GAAP; or
27   (2) invested in these loans (LHI) that were to be reported net of an adequate ALL
28   pursuant to GAAP. However, in violation of GAAS, KPMG failed to respond with

                                             290                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 308 of 439 Page ID #:308



 1   the requisite professional skepticism, due professional care, and appropriate audit
 2   procedures to obtain reasonable assurance that Countrywide accounted for these
 3   transactions in accordance with GAAP.
 4                3.    Red Flag: 99% Increase In Nonprime
                        Loans, 108% Increase In ARM
 5                      Loans, 71% Increase In HELOC Loans
 6         777. AU 329, “Analytical Procedures,” sets forth why the auditor’s
 7   performance of analytical procedures is an important part of the audit process.
 8   More importantly, GAAS explains why it is important to use the information
 9   derived from performing analytical procedures:
10         A basic premise underlying the application of analytical procedures is that
11         plausible relationships among data may reasonably be expected to exist and
12         continue in the absence of known conditions to the contrary. Particular
13         conditions that can cause variations in these relationships include, for
14         example, specific unusual transactions or events, accounting changes,
15         business changes, random fluctuations, or misstatements.
16   AU 329.02.
17         778. In     conducting   analytical     procedures   to   determine   whether
18   Countrywide was aggressively originating high-risk loans and, if so, whether the
19   additional risks of those loans were appropriately reflected in its financial
20   statements, KPMG, pursuant to 2004 AAM 8050.12 and AU 329, should have
21   examined the percentage of each loan type produced in comparison to the total
22   loans produced. This determination should have been made with respect to the
23   number of each type of loan produced compared to the total number of loans
24   produced, as well as the total dollar amount of each type of loan produced
25   compared to the total dollar amount of loans produced. These ratios measure the
26   composition of the loan portfolio, lending strategy and corresponding level of risk.
27   AAG Ch. 5. In response to performing these analytical procedures, KPMG should
28   have learned that the subprime loans have vastly increased in proportion to total

                                             291                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 309 of 439 Page ID #:309



 1   loans, which, in turn, should have prompted KPMG to pay particular attention to
 2   whether accounts impacted by this increase, which include the ALL, R&W reserve,
 3   RIs and MSRs, may be misstated.
 4         779. In response to this red flag, in accordance with AU 316 and 2004
 5   AAM 8050.12, KPMG also should have undertaken appropriate audit procedures
 6   to understand Countrywide’s methods of classifying its loan portfolio (prime
 7   versus nonprime loans) and to verify that Countrywide applied and disclosed these
 8   methods appropriately and consistently.
 9         780. KPMG should have approached its audit of Countrywide with
10   increased professional skepticism. See AU 230, “Due Professional Care in the
11   Performance of Work.” In particular, KPMG should have expanded its audit
12   testing of Countrywide’s accounts that had a high risk of misstatement, such as
13   those requiring fair value measurements and management estimates in accordance
14   with AU 328, “Auditing Fair Value Measurements and Disclosures,” and AU 342,
15   “Auditing Accounting Estimates,” to ensure that the increased risk of delinquencies
16   and defaults that could have been identified were adequately incorporated into
17   Countrywide’s accounting estimates. KPMG should have conducted procedures
18   such as those described below, to ensure that Countrywide’s accounts for ALL and
19   R&Ws reflected an appropriately increased loss accrual rate commensurate with
20   the increased credit risk referred to above, and that, for the same reason, the
21   valuations of MSRs and RI had been corrected by means of applying reasonable
22   and supportable fair value assumptions.
23               4.     Red Flag: ALL As A Percentage
                        Of LHI Remained Flat Despite
24                      Increase In Higher Risk Loans
25         781. In accordance with AU 329 and AU 342, KPMG should have
26   compared the total ALL with the total reported amount of LHI as part of its
27   assessment the reasonableness of the ALL. Had KPMG properly performed this
28   simple analytical procedure, it would have discovered that Countrywide’s ALL as a

                                               292                          COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 310 of 439 Page ID #:310



 1   percentage of LHI stayed flat from 0.30% to 0.31%, despite the fact that the
 2   Company was rapidly producing higher risk loans. In response, a prudent auditor
 3   exercising professional skepticism would have determined that the increased credit
 4   risk from the origination of subprime loans was a risk not likely reflected in the
 5   disproportionately flat ALL. However, KPMG failed to exercise an appropriate
 6   degree of professional skepticism by failing to challenge the unchanged level of
 7   ALL relative to the growth in LHI, along with the outdated and unreliable
 8   assumptions employed by management in its ALL methodology. AU 230, 316 and
 9   342.09.
10         782. KPMG knew that it was required to obtain and evaluate sufficient
11   competent evidential matter to support the ALL. AU 342.01. GAAS set forth
12   three approaches that KPMG was to perform in auditing the ALL, and required
13   KPMG to use one or a combination of the three approaches. KPMG knew that it
14   was required to (a) review and test the process used by Countrywide to develop the
15   ALL; (b) develop an independent expectation of the ALL to corroborate the
16   reasonableness of Countrywide’s estimated ALL; or (c) review subsequent events
17   or transactions occurring prior to completion of fieldwork. AU 342.10.
18         783. Further, GAAS states that, with respect to accounting estimates,
19   “methods that rely solely on mathematical calculations, such as a percentage of
20   total loans based on historical experience . . . generally fail to contain the essential
21   elements because they do not involve a detailed analysis of an institution’s
22   particular transactions or consider the current economic environment.” AAG Ch. 9.
23   Similarly, GAAS requires accounting estimates to include “effects of any changes
24   in lending policies and procedures” and that management should avoid “old,
25   incomplete, or inconsistent data to assess operating performance or financial
26   capacity.” AAG Ch. 9.
27         784. KPMG failed to perform any of the three approaches pursuant to
28   GAAS as set forth in AU 342.              Specifically, KPMG should have tested

                                              293                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 311 of 439 Page ID #:311



 1   management’s ALL methodology and key assumptions used for calculating ALL,
 2   including components of the ALL formula. AU 342.09 and AAG Ch. 9. Had
 3   KPMG performed such a test, KPMG would have determined that Countrywide
 4   was using an unreliable model that failed to incorporate the required elements for
 5   an effective ALL methodology as set forth in the GAAP section above.
 6   Specifically, KPMG would have determined that Countrywide’s ALL methodology
 7   (a) relied heavily on historical losses that were not adequately adjusted for current
 8   economic conditions; (b) failed to account for the changes Countrywide had
 9   implemented as to its lending practices; (c) failed to incorporate the deteriorating
10   collateral values in California; (d) failed to adjust probabilities of default to reflect
11   the dramatic increase in subprime lending, especially Pay-Option ARMs which
12   were expected to result in payment shock; and (e) failed to apply the provisions of
13   SFAS No. 114 to Countrywide’s doubtful loans and impaired loans.
14         785. Further, KPMG failed to develop its own independent expectation of
15   what the ALL should be, and therefore failed to corroborate the reasonableness of
16   Countrywide’s reported ALL. KPMG merely accepted Countrywide’s estimate. A
17   prudent auditor would have developed its own expectation using current and
18   reliable data and assumptions, and would have arrived at a much higher estimated
19   ALL than Countrywide’s reported amounts during the Relevant Period. KPMG
20   also failed to perform the third recommended approach as it did not review
21   subsequent events or transactions occurring prior to completion of fieldwork. Had
22   KPMG performed the third approach, it would have determined that current
23   delinquencies and defaults were occurring at a higher rate or faster speed than
24   reflected in the ALL methodology and related formula.
25                5.     Red Flag: Increase In MSR Balance,
                         But Decrease In Valuation Allowance
26

27         786. KPMG failed to exercise professional skepticism related to
28   Countrywide’s reported valuation of MSRs and RI. The historical rates of

                                               294                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 312 of 439 Page ID #:312



 1   delinquency and foreclosure data were key assumptions Countrywide used to
 2   estimate the fair value of MSRs and RI. Had KPMG properly assessed
 3   Countrywide’s fair value measurements and the models used by Countrywide to
 4   estimate fair value, it would have made a determination that management did not
 5   adjust the historical delinquency rates and foreclosure data to factor in the
 6   increased cash flow risk that the Company was assuming through its aggressive
 7   production of subprime or nonconforming loans, loosening underwriting practices
 8   and increased credit risk.
 9         787. GAAS, including AU 328 and AU 342, required KPMG to compare
10   the value of Countrywide’s MSRs from year-to-year to identify changes in the
11   assumptions underlying fair value determinations. In performing this analytical
12   procedure, KPMG would have determined that the value of MSRs increased by
13   22% from 2003 to 2004. A valuation allowance is established to track and account
14   for the impairment risk related to MSRs, and as such is recorded as an offset to the
15   gross balance of MSRs. SFAS No. 140. Yet, despite this significant increase in the
16   balance of MSRs, Countrywide decreased its valuation allowance for impairment
17   of MSRs from approximately 15% of MSRs in 2003 to only 11% in 2004. A
18   prudent auditor responding with professional skepticism would have concluded
19   that the decrease in the valuation allowance was illogical and presented yet another
20   red flag because, as the risk of nonpayment by borrowers increases, the risk of
21   receiving the expected future cash flows from net servicing income and retained
22   interests also increases. Hence, the valuation allowance for impairment should be
23   increased to reflect the aforementioned increased risks, not decreased. In the
24   absence of evidence that Countrywide’s loan portfolio was becoming less risky
25   rather than more risky, AU 316, 326 and 329 required KPMG to seek evidence to
26   determine why Countrywide was decreasing its valuation allowance and thereby
27   increasing the value of its MSRs. AU 329.02 (“A basic premise underlying the
28   application of analytical procedures is that plausible relationships among data may

                                            295                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 313 of 439 Page ID #:313



 1   reasonably be expected to exist and continue in the absence of known conditions to
 2   the contrary.”). Additionally, Countrywide was using an outdated model to
 3   calculate the fair value of its MSRs, which focused on historical trends. KPMG
 4   failed to appropriately consider GAAS, which stated that “historical information
 5   might not be representative of future conditions . . . if management intends to
 6   engage in new activities or circumstances change.” AU 328.37.
 7                6.    Red Flag: Based On Credit Risk Increases,
                        Flawed Assumptions Used To Value RI
 8

 9         788. Pursuant to AU 328, KPMG was also required to assess
10   management’s key assumptions used to value its RI to ascertain that the
11   assumptions are reasonable. KPMG knew that GAAS required it to “obtain
12   sufficient appropriate audit evidence to provide reasonable assurance that fair value
13   measurements and disclosures are in conformity with GAAP.” AU 328.03. KPMG
14   also knew that GAAP required fair value estimates “to be based on the best
15   information available in the circumstances.” AU 328.03. For the assumptions in
16   valuing RI (and MSRs) to be reasonable, GAAS set forth that the assumptions
17   “need to be realistic and consistent with (a) [t]he general economic environment,
18   the economic environment of the specific industry, and the entity’s economic
19   circumstances; (b) [e]xisting market information . . . ; and (g) [t]he risk associated
20   with cash flows. . . .including the potential variability in the amount and timing of
21   the cash flows. . . .” AU 328.36.
22         789. KPMG should have reviewed the reasonableness of the assumptions
23   used to calculate Countrywide’s net lifetime credit losses, a key assumption in
24   estimating the fair value of RI. Despite the increasing origination of nonprime
25   loans, the assumption for net lifetime credit losses in 2003 was 1.9% and was only
26   raised to 2.0% in 2004. Countrywide increased the fair value of RI from 2003 to
27   2004 because it made and used the unreasonable assumption that the weighted
28   average life of securitized loans increased from 2.0 years to 2.5 years. A prudent

                                             296                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 314 of 439 Page ID #:314



 1   auditor would have been skeptical of this unexpected or implausible increase in the
 2   RI because when credit risk increases, net lifetime credit losses are expected to
 3   increase accordingly and the weighted average life of the underlying loans is,
 4   therefore, expected to decrease. This red flag should have prompted KPMG to
 5   inquire further into the relevant assumptions by testing, for example, the
 6   underlying data supporting the assumption for net lifetime credit losses. In doing
 7   so, KPMG would have determined that Countrywide’s RI was overstated because
 8   changes in the Company’s credit risk strategy and loosened underwriting practices
 9   were not appropriately included in the assumptions for weighted average life and
10   net lifetime credit losses that were used to value RI.
11         790. If, in 2004, the audit procedures set forth above had been properly
12   performed, KPMG would have determined that a “clean” audit opinion on
13   Countrywide’s financial statements would have been false and misleading. Thus,
14   KPMG acted with deliberate recklessness, or, in the alternative, with negligence, in
15   conducting its 2004 audit of Countrywide’s financial statements and failed to
16   conduct its audit in accordance with GAAS.
17         D.     Financial Statement Misstatement
                  Risk Factors (“Red Flags”) In 2005
18

19         791. The risk factors present in 2004 were equally relevant for 2005.
20   Additionally, the AAG (Chs. 5, 8 and 9) and the ARA highlighted the following
21   risk factors signifying a risk of financial statement misstatements, which were
22   present at Countrywide and which KPMG should have considered:
23                (a)    aggressive measures undertaken to increase market share in
24                       nonprime markets;
25                (b)    inadequate      documentation    supporting   loan   origination
26                       decisions;
27                (c)    inappropriate classification of nonprime transactions as prime
28                       transactions;

                                              297                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 315 of 439 Page ID #:315



 1                (d)    unusual or inadequate review of the valuation of underlying
 2                       collateral and associated appraisals;
 3                (e)    increasing interest rates (AAM 8050.10); and
 4                (f)    “housing bubble effects.” This was a caution that the
 5                       calculation of risk should include consideration of the
 6                       possibility that the “housing bubble” would burst. AAM
 7                       8050.22. For Countrywide, the appropriate considerations
 8                       would have been the potential effects of such a housing bubble
 9                       burst on valuations of its ALL, LHI, MSRs and RIs, as well as
10                       the proper reserves for breaches of R&W.
11         792. During its 2005 audit, KPMG encountered the same red flags that
12   were apparent in 2004, and was required, in the face of those red flags, to perform
13   the same audit procedures it was required to perform in 2004. Further, depending
14   on its findings from initial audit procedures, KPMG was required to perform
15   expanded audit procedures until it had obtained sufficient competent evidential
16   matter to support its audit opinion.
17                1.     Red Flag: Implementation Of
                         Countrywide’s Exception Processing System
18

19         793. AU 319 and AAG Ch. 5 required KPMG to test the adequacy of
20   internal control over financial reporting and the operating effectiveness of those
21   internal controls. KPMG was required to have continuing discussions with
22   management and IT personnel to determine the types of IT systems used at
23   Countrywide in 2005. AU 319.59. Accordingly, KPMG should have been aware
24   of the implementation of EPS in 2005.
25         794. Being aware of EPS, KPMG should have performed audit procedures
26   to test the types of transactions processed by EPS because those transactions had a
27

28

                                              298                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 316 of 439 Page ID #:316


                                                  24
 1   greater risk of misstatement. AU 319.30.          GAAS recognizes that risks related to
 2   the processing and recording of financial data increase when “[n]ew or revamped
 3   information systems” are introduced. AU 319.38. Additionally, KPMG’s
 4   procedures to test EPS should have included the assessment of how EPS differed
 5   from Countrywide’s routine loan processing system.
 6         795. The existence of EPS by itself should have been a signal to KPMG of
 7   the continued rising risk of fraud at Countrywide. Specifically, the AAG observed
 8   that “frequent or unusual exceptions to credit policy” is a fraud risk factor. AAG
 9   Ch. 5. Here, the very name of the system “EPS” explicitly coincided with the fraud
10   risk factors highlighted by GAAS.
11         796. In accordance with AU 319 and AU 316, KPMG was required to
12   inquire further with Countrywide’s employees and expand the nature, timing and
13   extent of its testing on EPS. KPMG was required to ascertain that computer
14   controls over the EPS were in place and consistent with the intended goals of an
15   effective internal control over financial reporting as set forth by GAAS. KPMG
16   should have determined that EPS had been set up by management to override the
17   Company’s underwriting standards rather than adhere to them. An effective control
18   environment includes a well-defined lending approval and review system that
19   includes established credit limits, as well as limits and controls over the types of
20   loans made. AAG Ch. 8. Moreover, applicable GAAS instructs that “[e]ffective
21   internal control over financial reporting . . . should provide reasonable assurance
22   that errors or fraud in management’s financial statement assertions about the loan
23   portfolio - including those due to the failure to execute lending transactions in
24

25
     24
        AU 319.30 (“As an entity’s operations and systems become more complex and
26
     sophisticated, it becomes more likely that the auditor would need to increase his
27   or her understanding of the internal control components to obtain the
     understanding necessary to design tests of controls, when applicable, and
28
     substantive tests.”).
                                            299                                  COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 317 of 439 Page ID #:317



 1   accordance with management’s written lending policies - are prevented or
 2   detected.” AAG Ch. 8.
 3         797. KPMG should have also discovered that the transactions authorized
 4   by EPS created a high degree of risk of material misstatement because numerous
 5   loans were granted to borrowers that did not qualify under Countrywide’s already
 6   loosened written underwriting standards. AU 312, “Audit Risk and Materiality in
 7   Conducting an Audit,” AU 312.16 (“The auditor’s understanding of internal control
 8   may heighten or mitigate the auditor’s concern about the risk of misstatement.”).
 9   Moreover, the implementation of this system demonstrated the Officer Defendants’
10   commitment to achieving financial objectives at any cost and without regard to
11   preexisting internal controls. This is another fraud risk factor, as this behavior
12   demonstrates a disregard for effective internal control over financial reporting.
13                2.     Red Flag: Shocking 335% Increase
                         In Pay-Option ARM Loan Origination
14

15         798. As part of ensuring the effectiveness of internal control over financial
16   reporting, Countrywide was required to review loan files. KPMG, in turn, was
17   required to determine that the controls purportedly in place requiring the review of
18   loan files is operationally effective:
19         Loan file contents should be reviewed as part of the institution’s
20         internal loan review process to determine if credit reports, appraisals,
21         and other third-party information existed before the credit or renewal
22         was granted and if the quality of such information supported, and
23         continues to support, the credit decision. . . . Also, the value of
24         collateral should be estimated at the review date to identify
25         deficiencies in collateral margins. . . . Loan review may identify
26         weaknesses in the lending process or in the lending officers’ skill in
27         originating, supervising, and collecting loans. . . . In addition, loan
28         review may reveal the need for a loss accrual, as discussed in Chapter

                                              300                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 318 of 439 Page ID #:318



 1            9, “Credit Losses” . . . . Complete and accurate loan files are an
 2            element of internal control over financial reporting of loans. . . . An
 3            inspection of the files supporting loans originated in prior audit
 4            periods, as well as new loans (including some of the loans still in the
 5            process of disbursement), generally permits the independent
 6            accountant to understand the institution’s internal control in this
 7            area as a basis for planning substantive tests. AAG Ch. 8.
 8            799. During its 2005 audit, KPMG failed to inspect Countrywide’s loan
 9   files.    Had KPMG performed such review, KPMG would have learned that
10   Countrywide was issuing increasing numbers of Pay-Option ARMs to less
11   creditworthy borrowers, without proper documentation of income or assets or
12   adequate appraisals.
13            800. Through detailed loan testing in accordance with AU 319 and the
14   AAG, KPMG would have determined whether appraisals were included in
15   Countrywide’s files and were supportive of a reasonable collateral value, a
16   significant factor during a declining economic environment. Specifically, “an
17   inspection of loan documentation should include tests of the adequacy of both the
18   current value of collateral in relation to the outstanding loan balance and, if
19   needed, insurance coverage on the loan collateral.” AAG Ch. 8. This red flag
20   should have alerted KPMG that Countrywide was exposed to significantly
21   increased credit risk and as a result, the ALL, R&W reserve, MSRs and RIs were at
22   a high risk of material misstatement.
23            801. In testing the composition of the loan portfolio in 2005, KPMG would
24   have encountered evidence similar to that presented in Section VIII.A.2. above,
25   which compared loans originated in 2004 to 2005. In making this comparison, the
26   auditors would have determined that approximately 56% of loans originated by
27   Countrywide in 2005 were nonconforming loans, up from 50% in 2004. This was a
28   red flag to KPMG that Countrywide was increasing its rate of origination of high-

                                               301                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 319 of 439 Page ID #:319



 1   risk loans at a rapid pace. Also, KPMG would have detected that origination of
 2   Pay-Option ARMs had increased at the alarming rate of 335% over the prior year.
 3   This was also a red flag.
 4         802. In response to these red flags, and in accordance with AU 316 and
 5   2004 AAM 8050.12, KPMG should have once again reviewed methods of
 6   classifying its loan portfolio (prime versus nonprime loans) and to verify that
 7   Countrywide applied and disclosed these methods appropriately and consistently.
 8   Had KPMG properly performed such procedures, it would have determined that
 9   Countrywide was classifying a substantial number of loans with FICO scores
10   below 660, below 620 and indeed sometimes as low as 500 as prime loans. A
11   prudent auditor would have paid particular attention to the impact of this red flag
12   on the affected accounts and the related disclosures made by Countrywide, but
13   KPMG did not.
14                3.    Red Flag: 99% Increase
                        In HELOC Delinquencies
15

16         803. As a result of the red flags listed above, KPMG was required to
17   perform additional testing of Countrywide’s loans, including loan files, to
18   determine if delinquencies were rising related to high risk loans. AU 316, 326 and
19   329; AAG Chs. 5 and 9. For example, KPMG would have seen, as the chart below
20   illustrates, that delinquencies at Countrywide were increasing at a rapid pace. In
21   particular, HELOC delinquencies nearly doubled in 2005, and nonprime
22   delinquencies rose substantially to 15.20%. KPMG was required to perform
23   additional testing to determine the reasons for increasing delinquencies, including
24   whether the rise in delinquencies was a function of external economic conditions
25   or whether the nature of Countrywide’s loosened lending policies directly
26   contributed to the increased delinquencies.
27

28

                                            302                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 320 of 439 Page ID #:320



 1                                        2004             2005          % Increase
 2
      Total Delinquencies                3.83%            4.61%             20.4%
 3
      Nonprime Delinquencies            11.29 %           15.20 %           34.6%
 4

 5    Prime Home Equity                  0.79%            1.57%             98.7%
      Delinquencies
 6

 7               4.     Red Flag: Despite Increased Credit Risks,
                        ALL As A Percentage Of LHI Decreased
 8

 9         804. As in 2004, the risk factors highlighted above, in conjunction with the
10   red flags that should have become apparent, required KPMG to approach its audit
11   of Countrywide with increased professional skepticism, and hence, appropriate
12   substantive audit procedures. Accordingly, KPMG was required to perform audit
13   procedures similar to those it should have performed in 2004. Under increasingly
14   implausible relationships resulting from analytical procedures, KPMG was
15   required to expand its audit procedures until it had obtained sufficient competent
16   evidential matter supporting the reported amount of ALL. Among other things,
17   KPMG would have learned that Countrywide’s ALL as a percentage of LHI
18   continued to inexplicably decrease from 0.31% in 2004 to 0.27% in 2005. KPMG
19   knew this decrease for 2005 was implausible given the significant increase in total
20   loans and compounded increase in subprime loans. As in its 2004 audit, KPMG
21   failed to exercise the requisite professional skepticism and due care, failed to
22   perform the three approaches pursuant to GAAS, accepted Countrywide’s flawed
23   ALL methodology based upon outdated assumptions and unreliable information,
24   and consequently failed to adjust its audit procedures to obtain sufficient
25   competent evidence supporting the reported ALL for 2005.
26               5.     Red Flag: Increase In Prime Rate From 2004
27         805. By the end of 2005, the prime rate of interest increased to 7.25% from
28   5.25% at the end of 2004. This external economic factor posed risks to

                                            303                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 321 of 439 Page ID #:321



 1   Countrywide that KPMG should have considered due to the difficulty that
 2   borrowers would face in refinancing their ARM loans. KPMG knew that, with
 3   narrowing alternatives for borrowers to refinance, there was an increased
 4   likelihood for higher delinquency, default and foreclosure rates, thus affecting the
 5   accounting estimates underlying Countrywide’s ALL and R&W and its valuation
 6   of MSRs and RI. KPMG knew that Countrywide’s valuation models and ALL
 7   methodology failed to incorporate assumptions reflecting current economic
 8   conditions and data. Nevertheless, KPMG accepted the reported but misstated
 9   amounts for Countrywide’s ALL, R&W reserve, RIs and MSRs, even though these
10   amounts were generated using flawed methods, outdated or unreasonable
11   assumptions and unreliable information.
12               6.     Red Flag: Valuation Allowance For
                        Impairment Of Countrywide’s MSRs
13                      Dropped From 11% To Only 3% Of Gross MSRs
14         806. Despite the significant increase in credit risk assumed by
15   Countrywide, the valuation allowance for impairment of Countrywide’s MSRs
16   dropped from 11% to only 3% of gross MSRs. KPMG should have determined that
17   such relationship was implausible given the facts and circumstances KPMG knew
18   to exist at Countrywide and the increase in the prime rate. KPMG knew that such
19   valuation allowance was inadequate in light of the rising credit risk, which in turn
20   would result in increases in delinquency and foreclosure rates, and that the Officer
21   Defendants failed to incorporate expected increasing operating costs to service
22   these loans. AU 230, 316, 328 and 342; and AAG Chs. 9 and 10. Nevertheless,
23   KPMG accepted Countrywide’s reported MSRs, even though it knew that the
24   valuation model failed to incorporate assumptions reflecting current economic
25   conditions and data and, thus, systematically resulted in an overstated MSR.
26               7.     Red Flag: Decrease In Net Lifetime
                        Credit Losses And Unreasonable
27                      Weighted Average Life Of Retained Interests
28         807. In performing required analytical procedures, KPMG should have

                                            304                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 322 of 439 Page ID #:322



 1   learned that the net lifetime credit losses rate inexplicably dropped 15%, from
 2   2.0% in 2004 to 1.7% in 2005. Once again, this was an implausible relationship
 3   between an assumption and internal and external facts and circumstances. Such
 4   implausible decrease to the net lifetime credit losses rate was a red flag to KPMG
 5   that management’s assumptions were unreasonable and unsupportable because, as
 6   delinquencies and credit risk increased, net credit losses should have also increased
 7   accordingly. KPMG knew that GAAS required it to evaluate the reasonableness of
 8   this assumption, but KPMG failed to do so.
 9         808. KPMG should have also examined Countrywide’s weighted average
10   life assumption by reviewing the underlying assumptions and data. Had KPMG
11   done so, KPMG would have determined that Countrywide continued to maintain a
12   highly aggressive position with respect to the expected weighted average life of the
13   RIs that it had initially raised in 2004. KPMG knew that, in consideration of the
14   expected rise in defaults driven by Countrywide’s new strategy, it was
15   unreasonable to assume that the weighted average life of RI (2.4 years) in 2005
16   was appropriately greater than the weighted average life of RI (2.0 years) in 2003
17   when there was substantially less credit risk. KPMG continued to accept
18   Countrywide’s reported RIs even though it knew that the assumptions used by
19   Countrywide were outdated and conflicted with current economic conditions. As
20   such, KPMG failed to adhere to applicable GAAS, including AU 230, 316 and 328,
21   and AAG Chs. 5 and 10.
22                8.     Red Flag: 27% Drop In New R&W Provisions
                         As A Percentage Of Relevant Securitizations
23

24         809. KPMG knew that even though Countrywide substantially increased
25   the nature and extent of the credit risk associated with the loans it originated, it did
26   not appropriately increase its accruals for breaches in R&Ws. Countrywide
27   increased securitizations of prime home equity and nonprime loans from $57.8
28   billion in 2004 to $61.4 billion in 2005, a growth rate of 6%. However, in 2005,

                                              305                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 323 of 439 Page ID #:323



 1   Countrywide actually decreased its provisions for new R&W by 22%, from $85
 2   million in 2004 to $66 million in 2005. This year-over-year change in 2005
 3   represented an inexplicable 27% drop in new R&W provisions as a percentage of
 4   relevant securitizations. This simple analytical procedure provided KPMG with a
 5   red flag that the R&W reserve was likely understated, and KPMG should have
 6   adhered to GAAS by performing the procedures set forth in AU 342.
 7         810. KPMG knew that it was required to obtain and evaluate sufficient
 8   competent evidential matter to support the R&W reserve. AU 342.01. For the
 9   assumptions in valuing RI (and MSRs) to be reasonable, GAAS set forth that the
10   assumptions “need to be realistic and consistent with: (a) [t]he general economic
11   environment, the economic environment of the specific industry, and the entity’s
12   economic circumstances; (b) [e]xisting market information . . . ; (g) [t]he risk
13   associated with cash flows. . . . including the potential variability in the amount
14   and timing of the cash flows. . . .” AU 328.36.
15         811. GAAS set forth three approaches that KPMG was to perform in
16   auditing the R&W reserve, and required KPMG to use one or a combination of the
17   three approaches. KPMG knew that it was required to (a) review and test the
18   process used by Countrywide to develop the R&W reserve; (b) develop an
19   independent expectation of the R&W reserve to corroborate the reasonableness of
20   Countrywide’s estimated ALL; or (c) review subsequent events or transactions
21   occurring prior to completion of fieldwork. AU 342.10. KPMG failed to correctly
22   perform the procedures for the first approach as set forth in GAAS, and failed to
23   perform the other two approaches altogether. Consequently, Countrywide’s R&W
24   reserve as reported in its 2005 financial statements was misstated.
25         812. If, in 2005, KPMG had performed the audit procedures set forth
26   above, KPMG would have determined that a “clean opinion” on Countrywide’s
27   financial statements would have been false and misleading. Thus, KPMG acted
28   with deliberate recklessness, or, in the alternative, with negligence, in conducting

                                             306                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 324 of 439 Page ID #:324



 1   its 2005 audit of Countrywide’s financial statements and failed to conduct its audit
 2   in accordance with GAAS.
 3         E.    Financial Statement Misstatement
                 Risk Factors (“Red Flags”) In 2006
 4

 5         813. In 2006, all of the risk factors that were present in 2004 and 2005
 6   were equally relevant. In 2006, the risk of the “housing bubble effects” was noted
 7   in AAM 8050.37.
 8         814. In 2006, KPMG should have been aware of the same fraud risk factors
 9   and risks of material misstatements that were relevant in 2004 and 2005. AAG Ex.
10   5-1, Chs. 8 and 9. However, because there was a substantial increase in the
11   production of Pay-Option ARMs (an increase of 335%) and HELOCs (an increase
12   of 45%) in 2005, KPMG should have been aware as well of a risk factor that was
13   raised in the 2006 AAG. This AAG stated that a risk of material misstatement can
14   arise from “[s]ignificant concentrations of loan products with terms that give rise
15   to credit risk, such as negative amortization loans, loans with high loan-to-value
16   ratios, multiple loans on the same collateral that when combined result in a high
17   loan-to-value ratio, and interest-only loans.” AAG Ch. 8.
18         815. In 2006, KPMG encountered the same red flags as were present in
19   2005 and 2004, and was required, in the face of those red flags, to perform the
20   same audit procedures it was required to perform in 2005 and 2004. Further,
21   KPMG was required to perform expanded substantive audit procedures if its
22   planned audit procedures failed to elicit sufficient competent evidential matter,
23   including when KPMG encountered audit evidence that conflicted with another
24   piece of audit evidence.
25               1.     Red Flag: Accumulated Negative
                        Amortization On Pay-Option ARMS Increased 775%
26

27         816. Accumulated negative amortization on Pay-Option ARMs grew nearly
28   eight-fold during 2006, from $74.7 million in 2005 to $654 million in 2006. This

                                            307                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 325 of 439 Page ID #:325



 1   775% increase was a glaring red flag which provided further evidence of the
 2   increasingly poor quality of such loans and an increase in the risk of material
 3   misstatement in Countrywide’s financial statements. AAG Ch. 5 specifically
 4   observed that a risk of material misstatement can arise from “negative amortization
 5   loans.”
 6         817. Based upon the continued increase in the origination of Pay-Option
 7   ARMs and 2006 AAM 8050.35, KPMG should have determined whether
 8   Countrywide had developed an appropriate risk management policy to avoid
 9   negative amortization. Importantly, KPMG knew that negative amortization had a
10   direct impact on the ALL and MSRs. Further, KPMG knew that if Countrywide
11   included Pay-Option ARMs in its securitized or sold loans, negative amortization
12   also had a direct impact on Countrywide’s RIs and R&W reserves. Therefore,
13   KPMG was required to evaluate the risk of material misstatement arising from
14   increased level negative amortization in 2006.
15         818. KPMG knew it was required to test Countrywide’s methodologies,
16   models and assumptions for its ALL, R&W reserve, RIs, and MSRs, to determine
17   that the assumptions used in 2006 reflect the significant financial statement
18   misstatement risks arising from negative amortization in 2006. AU 342, 328; AAG
19   Chs. 5, 8, 9 and 10. However, KPMG failed to test the reasonableness of those
20   assumptions and failed to ensure that Countrywide included the impact of negative
21   amortization in building its assumptions for 2006.
22               2.     Red Flag: 87% Increase
                        In HELOC Delinquencies
23

24         819. As a result of the red flags listed above, KPMG was required to
25   perform additional testing of its loans, including loan files, to determine if
26   delinquencies were rising related to high risk loans. AU 316, 326 and 329; AAG
27   Chs. 5 and 9. For example, KPMG would have seen, as the chart below illustrates,
28   that delinquencies at Countrywide continued to increase at a rapid pace. In

                                            308                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 326 of 439 Page ID #:326



 1   particular, HELOC delinquencies nearly doubled in 2006, and nonprime
 2   delinquencies rose substantially to 19.03%. KPMG was required to perform
 3   additional testing to determine the reasons for increasing delinquencies, including
 4   whether the rise in delinquencies was a function of external economic conditions
 5   or whether the nature of Countrywide’s lending policies directly contributed to the
 6   increased delinquencies.
 7         820. Because the significant increases in delinquencies had significant
 8   financial statement implications, KPMG was required to perform appropriate audit
 9   procedures to test Countrywide’s loans to determine if delinquency rates on such
10   risky loans were increasing. The table below shows the accelerating delinquency
11   rates in 2006. Given the sheer volume of Countrywide’s loan portfolio, even small
12   increases in the delinquency rates indicated significant absolute dollar value
13   changes in the amounts at risk:
14                                         2005           2006          % Increase
15    Total Delinquencies                 4.61%          5.02%             8.9%
16    Nonprime Delinquencies             15.20%          19.03%            25.2%
17    Prime Home Equity                                                    86.6%
                                          1.57%           2.93%
18    Delinquencies
19   However, KPMG failed to test Countrywide’s loan files, even though it was
20   specifically required by GAAS.
21               3.     Red Flag: ALL As A
                        Percentage Of LHI Remained Flat
22

23         821. As in 2005, the risk factors highlighted above in conjunction with the
24   red flags required KPMG to approach its audit of Countrywide with increased
25   professional skepticism in the same manner as it was required to do in 2005 and
26   2004. KPMG should have performed audit procedures similar to, and at times,
27   more expansive than those it should have performed in 2005. In performing
28   analytical procedures, KPMG learned that Countrywide’s ALL as a percentage of

                                            309                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 327 of 439 Page ID #:327



 1   loans held for investment stayed essentially flat as compared to 2005, at a rate of
 2   0.33%, as discussed in Section VIII.A.2. above. This inexplicable static reserve
 3   rate was one of several obvious fraud risks exhibited by events and conditions at
 4   Countrywide throughout 2004, 2005 and 2006. AAG Ch. 5, Ex. 5-1 (“Rapid
 5   growth or unusual profitability, especially compared to that of other peer financial
 6   institutions; for example unusually large growth in the loan portfolio without a
 7   commensurate increase in the size of the [ALL].”).
 8         822. As in 2004 and 2005, KPMG was required to perform one or a
 9   combination of approaches to test the reasonableness of Countrywide’s ALL.
10   KPMG was also required to test whether Countrywide’s ALL methodology
11   contained the essential elements for an effective methodology. KPMG failed to
12   perform appropriate audit procedures when it purportedly reviewed and tested the
13   process used by Countrywide in developing the ALL estimate for 2006 (the first
14   approach). KPMG failed to test any of the assumptions used in the 2006 ALL
15   estimate, even though it was even more implausible than in 2005 that the ALL
16   would be adequate at a relatively unchanged level, given the layered credit risks
17   from increased subprime lending, delinquencies, widened underwriting guidelines,
18   increased negative amortization, and devalued housing prices. KPMG also failed
19   to perform any audit procedures for the other two approaches set forth in GAAS.
20   Consequently, KPMG merely accepted Countrywide’s reported ALL, which was
21   understated and contributed to the material misstatement of Countrywide’s
22   financial statements for 2006.
23               4.     Red Flag: No Modification To Fair
                        Value Assumptions Used In MSR Model
24

25         823. Similarly, KPMG failed to exercise professional skepticism in
26   auditing Countrywide’s MSRs. Despite the significant increase in the level of
27   credit risk that by then had been accumulated by Countrywide, the Company’s
28   reported balance of MSRs reflected a $432 million increase in fair value based

                                            310                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 328 of 439 Page ID #:328



 1   upon assumptions applied in its valuation model relating to SFAS No. 156. Given
 2   the deteriorating economic environment, devalued collateral values, significant
 3   increases in negative amortization, the increased volume of subprime loans
 4   originated, and worsening underwriting practices, KPMG knew that these
 5   conditions in 2006 presented a significant and serious risk to Countrywide relating
 6   to its receipt of expected future cash flows from servicing the related loans
 7   (virtually all of which were originated by Countrywide).        A prudent auditor
 8   exercising professional skepticism would have concluded that an increase in the
 9   MSRs’ fair value seemed implausible, and therefore, would have tested the
10   assumptions and model used in arriving at the reported fair value of the MSRs in
11   2006.    KPMG knew that delinquency and foreclosure rates were part of the
12   assumptions used in estimating the MSRs at Countrywide.           At a time when
13   delinquencies and eventual foreclosures were known to be increasing, KPMG
14   knew that these assumptions should be tested. However, KPMG failed to test those
15   assumptions. Instead, KPMG accepted Countrywide’s reported MSR in 2006,
16   even though it was faced with conflicting evidence from internal and external
17   factors surrounding Countrywide.
18                5.    Red Flag: Historical Performance Used To
                        Calculate Fair Value Of Retained Interests
19

20           824. KPMG failed to exercise professional skepticism when evaluating
21   Countrywide’s assumptions used in its fair value measurements related to its
22   reported RI in 2006. KPMG knew that as of 3Q 2006, Countrywide had completed
23   or “closed” 63 non-agency securitizations. Countrywide also referred to these non-
24   agency securitizations as “private-label” securitizations. 2006 Form 10-K, p. 102.
25   By the end of 2006, Countrywide claimed it had been “ranked second among Non-
26   Agency MBS Underwriters” by Inside MBS & ABS. 2006 Form 10-K, p. 13.
27   KPMG knew that the underlying loans that had been pooled into these non-agency
28   securitizations in 2006 and in years prior to 2006, contained significant volumes of

                                            311                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 329 of 439 Page ID #:329



 1   non-conforming, subprime and second lien loans.            KPMG also knew that
 2   Countrywide’s RIs in these non-agency securitizations represented a “first loss
 3   position” in credit risk. 2006 Form 10-K, p. 102. Therefore, KPMG knew that the
 4   fair value of Countrywide’s RIs should reflect the aforementioned factors and
 5   resulting significant credit risk. However, in violation of GAAS, KPMG failed to
 6   test the fair value assigned to Countrywide’s RIs to ascertain that these factors and
 7   related credit risk were incorporated in the assumptions used in the RI valuation
 8   model.
 9         825. While Countrywide did increase its expectation of net lifetime credit
10   loss from 1.7% in 2005 to 2.6% in 2006, this increase was inadequate as it did not
11   reasonably capture total credit-related losses expected as of that time as evidenced
12   by the continuing increase in the volume of riskier loans. KPMG knew that
13   management was using an assumption largely based upon historical performance,
14   which was inappropriate because the historical performance of Countrywide’s
15   loans was not a reliable indicator of future performance. Indeed, as alleged above,
16   KPMG knew that in 2006 many relevant delinquency trends indicated that credit
17   risk was increasing, and Countrywide was unlikely to avoid significant credit
18   losses, particularly on the most subordinated of equity interests in its
19   securitizations.
20         826. Moreover, KPMG should have tested the reasonableness of
21   Countrywide’s weighted average life assumption by reviewing underlying data and
22   supporting information. KPMG knew that, in consideration of the expected rise in
23   defaults driven by Countrywide’s new strategy, it was unreasonable to assume that
24   the weighted average life of RI (2.8 years) in 2006 was appropriately greater than
25   the weighted average life of RI (2.4 years) in 2005 when credit risk was high but
26   not as significant as 2006. KPMG continued to accept Countrywide’s reported RIs
27   even though it knew that the assumptions used by Countrywide were outdated and
28

                                             312                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 330 of 439 Page ID #:330



 1   conflicted with current economic conditions. As such, KPMG failed to adhere to
 2   applicable GAAS, including AU 230, 316 and 328; and AAG Chs. 5 and 10.
 3               6.     Red Flag: Insufficient R&W Reserve
                        Relative To Skyrocketing Delinquency Rates
 4

 5         827. In combination with KPMG’s knowledge that the Company had
 6   embarked on a marketing strategy that significantly increased credit risk, KPMG
 7   should have concluded that Countrywide’s liability for R&W continued to increase
 8   commensurately, particularly for 2006. KPMG knew that, as Countrywide’s non-
 9   agency securitizations and loan sales continued to rise, Countrywide was also
10   proportionately increasing the representations and warranties it made. KPMG
11   knew that the adequacy of the R&W reserve was impacted by these increases, and
12   yet failed to test the reported R&W reserve.
13         828. In accordance with AU 342, KPMG was required to test
14   management’s assumptions used to reserve for breaches in R&W. As set forth
15   above, KPMG was required to test the reasonableness of the R&W reserve by
16   performing one or a combination of three approaches.         KPMG purportedly
17   performed only one of the three approaches (the first approach, which was to
18   review and test the process used by management), but it, again, failed to test the
19   reasonableness of the assumptions used in arriving at the R&W reserve.
20         829. Had KPMG properly tested management’s assumptions, KPMG
21   would have determined the assumptions used in 2006, including the default rate,
22   were inconsistent with current economic events and conditions. KPMG knew that
23   the Company had assumed more risky loans and the delinquency rate on such loans
24   was skyrocketing. KPMG should have concluded, based upon this red flag, that
25   while Countrywide increased its R&W reserve for 2006, that increase was
26   insufficient in view of the Company’s continued origination and securitization of
27   large volumes of loans to less creditworthy borrowers with loosened underwriting
28

                                            313                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 331 of 439 Page ID #:331



 1   guidelines, lax or nonexistent due diligence and rising delinquencies in such high
 2   risk loans.
 3         830. Further, KPMG knew that Countrywide was required to record an
 4   initial liability pursuant to FIN 45 upon the inception of a guarantee. When HSBC
 5   demanded a repurchase in 1Q 2006, KPMG learned that Countrywide had not
 6   recorded the initial liability.   This was another red flag to KPMG indicating
 7   Countrywide’s noncompliance with GAAP with respect to the R&W reserve.
 8   Nevertheless, KPMG failed to exercise heightened professional skepticism and
 9   continued to accept Countrywide’s representation that the R&W reserve was
10   adequate, even though it was not.
11         831. If, in 2006, KPMG had properly performed the procedures set forth
12   above, KPMG would have determined that a “clean opinion” on Countrywide’s
13   financial statements would have been false and misleading. Thus, KPMG acted
14   with deliberate recklessness, or, in the alternative, with negligence, in conducting
15   its 2006 audit of Countrywide’s financial statements and failed to conduct its audit
16   in accordance with GAAS.
17         F.      KPMG Failed To Require Countrywide
                   To Correct Materially Misstated Disclosures
18

19         832. KPMG’s “clean” audit opinions for the Relevant Period included a
20   statement that Countrywide’s consolidated financial statements were, in all
21   material respects, “fairly stated” in accordance with United States GAAP.
22   However, KPMG’s statement was untrue based upon the GAAP misstatements in
23   the reported ALL, RIs, MSRs and R&W reserve, as alleged above. In addition,
24   Countrywide made certain disclosures pertaining to its ALL which KPMG knew to
25   be untrue.      Nevertheless, KPMG allowed Countrywide to include those
26   disclosures, which were inaccurate and misleading.
27         833. Countrywide made the following disclosures regarding its ALL in its
28   2006 Form 10K. Similar disclosures were made in the 2004 and 2005 Forms 10K:

                                             314                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 332 of 439 Page ID #:332



 1         The Company provides for incurred losses on loans with an allowance
 2         for loan losses.     The allowance for loan losses is a valuation
 3         allowance established to provide for estimated incurred credit losses
 4         in the portfolio of loans held for investment as of the balance sheet
 5         date. The allowance for loan losses is evaluated on a periodic basis by
 6         management and is based on a variety of factors, including historical
 7         default and loss rates for similar loans originated by the Company
 8         estimates of collateral value for individually evaluated loans and
 9         evaluations of the effect of current economic and market conditions
10         . . . . (2006 Form 10K, p. F13, Note, Credit Quality and Loan
11         Impairment).
12         834. KPMG knew that the disclosure above was untrue because it knew
13   that Countrywide’s ALL methodology and related formula failed to incorporate
14   updated assumptions about the current economic and market conditions. KPMG
15   knew that, as alleged above, Countrywide’s probability of default in its ALL
16   formula was consistently under-predicting the probability of default in the next
17   twelve months, and the multiplier, or correction factor, was inadequate to correct
18   the under-prediction, systematically resulting in an understated ALL. KPMG knew
19   that the under-prediction of the probability of default was, in fact, caused by
20   Countrywide’s failure to incorporate the effects of current economic and market
21   conditions. KPMG also knew that Countrywide’s ALL methodology was flawed
22   and failed to contain the necessary elements for an effective methodology. KPMG
23   knew that Countrywide’s ALL methodology, in particular the probability of default
24   factors: (a) failed to consider all known relevant internal and external factors that
25   may affect collectability; (b) was not based on current and reliable data; and (c)
26   failed to consider the particular risks inherent in the different kinds of lending,
27   particularly the Pay-Option ARM loans.             Nevertheless, KPMG allowed
28   Countrywide to make the misleading disclosure above, in violation of GAAS.

                                             315                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 333 of 439 Page ID #:333



 1   Further, KPMG knew that, based on the ALL formula that generated the reported
 2   ALL, Countrywide’s ALL methodology for the Relevant Period did not reflect an
 3   analysis of estimates of collateral value for individually evaluated loans. In fact,
 4   KPMG gathered no audit evidence showing Countrywide even reviewed or
 5   evaluated individual loans in its LHI portfolio for purposes of estimating the ALL.
 6         835. Countrywide’s 2006 Form 10-K included the following untrue
 7   statements in the MD&A section:
 8         The increase in our allowance for loan losses reflects prevailing real
 9         estate market and economic conditions and the seasoning of the
10         Bank’s investment loan portfolio.
11                                           ***
12         The provision for loan losses and the related allowance for loan losses
13         is impacted by many factors, including economic conditions (for
14         example, housing prices, interest rates and unemployment rates),
15         the borrower’s credit profile, the loan’s payment requirements,
16         delinquency, loan seasoning and prepayments.
17   2006 Form 10K, pp. 46, 63.
18         836. KPMG knew that the disclosures above were inaccurate and
19   misleading for the reasons set forth above. KPMG knew that Countrywide’s ALL
20   methodology and related formula failed to use updated assumptions to reflect the
21   factors enumerated in the disclosure above. KPMG knew that current housing
22   prices, interest rates, unemployment rates, the borrowers’ credit profile, loan
23   repayment requirements, delinquency, and prepayments were not incorporated into
24   the ALL formula components during the Relevant Period. KPMG was required by
25   GAAS to require Countrywide to correct the inaccurate and misleading disclosures
26   above, but it did not.
27

28

                                            316                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 334 of 439 Page ID #:334



 1         G.    KPMG’s Failure To Issue Adverse Opinions On
                 Countrywide’s Self-Assessment Of Internal Control
 2               Over Financial Reporting And On The Effectiveness
                 Of Countrywide’s Internal Control Over
 3               Financial Reporting Based On KPMG’s Audits
 4         837. For each of the years ended December 31, 2005, and 2006, KPMG
 5   issued an audit report on Countrywide management’s assessment of its internal
 6   control over financial reporting and on the effectiveness of Countrywide’s internal
 7   control over financial reporting based on its audits as required by the standards of
 8   the PCAOB (Auditing Standard No. 2, “An Audit of Internal Control Over
 9   Financial Reporting Performed in Conjunction with An Audit of Financial
10   Statements,” or AS 2). For both years, KPMG issued unqualified opinions. In a
11   report dated February 28, 2007, KPMG stated:
12         We have audited management’s assessment, included in the
13         accompanying Management’s Report on Internal Control Over
14         Financial Reporting, included in Item 9A(2), that Countrywide
15         Financial Corporation (the Company) maintained effective internal
16         control over financial reporting as of December 31, 2006, based on
17         criteria established in Internal Control – Integrated Framework issued
18         by the Committee of Sponsoring Organizations of the Treadway
19         Commission (COSO). The Company’s management is responsible for
20         maintaining effective internal control over financial reporting and for
21         its assessment of the effectiveness of internal control over financial
22         reporting. Our responsibility is to express an opinion on
23         management’s assessment and an opinion on the effectiveness of
24         the Company’s internal control over financial reporting based on
25         our audit.
26         We conducted our audit in accordance with the standards of the Public
27         Company Accounting Oversight Board (United States). Those
28         standards require that we plan and perform the audit to obtain

                                            317                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 335 of 439 Page ID #:335



 1       reasonable assurance about whether effective internal control over
 2       financial reporting was maintained in all material respects. Our audit
 3       included obtaining an understanding of internal control over financial
 4       reporting,   evaluating   management’s     assessment,    testing   and
 5       evaluating the design and operating effectiveness of internal control,
 6       and performing such other procedures as we considered necessary in
 7       the circumstances. We believe that our audit provides a reasonable
 8       basis for our opinion.
 9       A company’s internal control over financial reporting is a process
10       designed to provide reasonable assurance regarding the reliability of
11       financial reporting and the preparation of financial statements for
12       external purposes in accordance with generally accepted accounting
13       principles. A company’s internal control over financial reporting
14       includes those policies and procedures that (1) pertain to the
15       maintenance of records that, in reasonable detail, accurately and fairly
16       reflect the transactions and dispositions of the assets of the company;
17       (2) provide reasonable assurance that transactions are recorded as
18       necessary to permit preparation of financial statements in accordance
19       with generally accepted accounting principles, and that receipts and
20       expenditures of the company are being made only in accordance with
21       authorizations of management and directors of the company; and (3)
22       provide reasonable assurance regarding prevention or timely detection
23       of unauthorized acquisition, use, or disposition of the company’s
24       assets that could have a material effect on the financial statements
25       ....
26       In our opinion, management’s assessment that the Company
27       maintained effective internal control over financial reporting as of
28       December 31, 2006, is fairly stated, in all material respects, based on

                                          318                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 336 of 439 Page ID #:336



 1         criteria established in Internal Control – Integrated Framework
 2         issued by the Committee of Sponsoring Organizations of the
 3         Treadway Commission (COSO). Also, in our opinion, the Company
 4         maintained, in all material respects, effective internal control over
 5         financial reporting as of December 31, 2006, based on criteria
 6         established in Internal Control – Integrated Framework issued by
 7         the Committee of Sponsoring Organizations of the Treadway
 8         Commission (COSO).
 9         We also have audited, in accordance with the standards of the Public
10         Company      Accounting     Oversight   Board    (United   States),    the
11         consolidated balance sheets of Countrywide Financial Corporation
12         and subsidiaries as of December 31, 2006 and 2005, and the related
13         consolidated statements of earnings, changes in shareholders’ equity
14         and comprehensive income and cash flows for each of the years in the
15         three-year period ended December 31, 2006, and our report dated
16         February 28, 2007, expressed an unqualified opinion on those
17         consolidated financial statements.
18         838. KPMG issued the same opinion for the year ended December 31,
19   2005, in their report dated February 28, 2006.
20         839. In violation of GAAS, KPMG issued unqualified opinions on
21   management’s assessment of internal control over financial reporting and on the
22   effectiveness of internal control over financial reporting at Countrywide for the
23   years ended December 31, 2005, and 2006, even though KPMG knew there was a
24   material weakness in Countrywide’s internal control over financial reporting
25   during those reporting periods.
26         840. As explained in the GAAP section above, a “material weakness” is
27   defined as a “significant deficiency, or combination of significant deficiencies, that
28   results in more than a remote likelihood that a material misstatement of the annual

                                             319                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 337 of 439 Page ID #:337



 1   or interim financial statements will not be prevented or detected.” AS 2, ¶10. AS 2
 2   states, “[t]he auditor may issue an unqualified opinion only when there are no
 3   identified material weaknesses and when there have been no restrictions on the
 4   scope of the auditor’s work.”
 5         841. For 2005 and 2006, Defendants Mozilo and Sieracki falsely
 6   represented that Countrywide had maintained effective internal control over
 7   financial reporting. KPMG was required by AS 2 to issue an opinion on Defendant
 8   Mozilo’s and Sieraki’s conclusion (i.e., the Company’s assessment). Specifically,
 9   KPMG was required to issue an adverse opinion and was precluded by AS 2 from
10   issuing an unqualified opinion on management’s assessment of internal control
11   over financial reporting if management concludes that its internal control over
12   financial reporting was effective while, in fact, there were “significant deficiencies
13   that, individually or in combination, result in one or more material weaknesses.”
14   In violation of GAAS, KPMG concluded that Defendant Mozilo’s and Sieracki’s
15   assessment was “fairly stated,” even though KPMG encountered audit evidence
16   during its audits for 2005 and 2006 that there were significant deficiencies that,
17   either individually or in combination, created a material weaknesses in
18   Countrywide’s internal control over financial reporting for those years. These
19   significant deficiencies indeed resulted in the material misstatement of
20   Countrywide’s ALL, MSRs, RIs, and R&W reserves, thereby meeting the
21   definition of a material weakness. Equally reckless was KPMG’s disregard for
22   GAAS when it issued its opinion that Countrywide maintained effective internal
23   control over financial reporting for 2005 and 2006.
24         842. In its 2005 and 2006 audits, KPMG identified significant deficiencies
25   in its internal control over financial reporting that directly impacted the fair value
26   of MSRs and RIs and the estimation of the ALL and R&W reserve in accordance
27   with GAAP. Essentially, in 2006, Countrywide had not remediated the significant
28   deficiencies brought to their attention by KPMG in 2005.                Because the

                                             320                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 338 of 439 Page ID #:338



 1   misstatements in the ALL, R&W reserve, MSRs, and RIs as described in the
 2   GAAP section above were material, and Countrywide failed to prevent or detect
 3   such misstatements, the underlying significant internal control deficiencies were
 4   equivalent to a material weakness in Countrywide’s internal controls over financial
 5   reporting. Further, AS 2 sets forth that that the following “should be regarded as at
 6   least a significant deficiency and as a strong indicator that a material weakness in
 7   internal control over financial reporting exists” (shown in part): (a) “significant
 8   deficiencies that have been communicated to management and the audit committee
 9   remain uncorrected after some reasonable period of time,” and (b) “an ineffective
10   control environment.”
11         843. However, in violation of GAAS, KPMG inexplicably failed to
12   conclude that the aforementioned significant deficiencies in Countrywide’s internal
13   control over financial reporting comprised a material weakness in internal control
14   over financial reporting at Countrywide for 2005 and 2006.
15         844. Further, there were other deficiencies in internal control over financial
16   reporting at Countrywide during the Relevant Period that came to KPMG’s
17   attention which KPMG deemed to be not significant, even though these
18   deficiencies met the criteria for a significant deficiency. In violation of GAAS,
19   KPMG failed to evaluate whether these deficiencies were more serious, i.e.,
20   whether they were significant deficiencies or, worse, material weaknesses. For
21   example, KPMG failed to determine whether Countrywide’s continued under-
22   prediction of the probability of default in its ALL model (as discussed in the GAAP
23   section above) was a significant deficiency that contributed to a material weakness
24   in internal control over financial reporting. KPMG was required by AS 2 to
25   evaluate the significance of an identified deficiency in internal control over
26   financial reporting by determining: (a) “the likelihood that a deficiency, or a
27   combination of deficiencies, could result in a misstatement of an account balance
28   or disclosure,” and (b) “the magnitude of the potential misstatement resulting from

                                             321                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 339 of 439 Page ID #:339



 1   the deficiency or deficiencies.”    AS 2 confirms that “the significance of a
 2   deficiency in internal control over financial reporting depends on the potential for
 3   a misstatement, not on whether a misstatement actually occurred.” KPMG was
 4   reckless in its failure to determine that the consistent under-predicting of the
 5   probability of default and the inadequate PD multiplier in the ALL formula,
 6   causing the ALL to be systematically understated, represented at least a potential
 7   for a misstatement. KPMG also failed to determine the magnitude of the potential
 8   misstatement resulting from the consistent under-predicting of the probability of
 9   default factor and PD multiplier. Worse, KPMG failed to evaluate whether this
10   under-prediction of the probability of default in the ALL model, when combined
11   with the significant deficiencies it had identified, contributed to a material
12   weakness in internal control over financial reporting at Countrywide.
13         845. A prudent auditor would have concluded that the 2005 and 2006
14   deficiencies in internal control over financial reporting at Countrywide, which
15   KPMG identified in the course of its 2005 and 2006 audits, were significant
16   deficiencies that met the definition of a material weakness, but KPMG did not.
17   Under these circumstances, AS 2 required KPMG to issue an adverse opinion on
18   the 2005 and 2006 internal control over financial reporting, including a description
19   of the material weakness that provided “the users of the audit report with specific
20   information about the nature of the material weakness, and its actual and potential
21   effect on the presentation of the company’s financial statements issued during the
22   existence of the weakness,” but KPMG did not, in violation of GAAS. AS 2, ¶176.
23   X.    COUNTRYWIDE’S UNDISCLOSED UNDERWRITING
           AND LOAN ORIGINATION PRACTICES EXPOSED IT
24         TO UNDISCLOSED CREDIT RISKS AND LIQUIDITY RISK
25         846. Countrywide’s increasingly wide underwriting guidelines, excessive
26   origination of exception loans, and reckless loan origination practices materially
27   increased the Company’s credit risk from 2003 through the end of 2007. In late
28

                                            322                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 340 of 439 Page ID #:340



 1   2007, Countrywide began to suffer extensive credit problems as the undisclosed
 2   credit risks materialized.
 3         847. As detailed above, Countrywide originated loans with the primary
 4   intent to sell them into the secondary mortgage market. However, this model did
 5   not completely eliminate the credit risk to Countrywide. First, Countrywide owned
 6   all of the credit risk associated with the loans in the Bank’s Held for Investment
 7   portfolio. Second, Countrywide typically retained risk in the form of a residual
 8   interest in the securitizations it sold, typically the lowest rated, or first loss, tranche
 9   of the securitization. 25     Third, Countrywide had loss exposure due to the
10   representations and warranties it made to MBS and other secondary market
11   purchasers. That representation and warranty liability caused Countrywide to
12   suffer significant losses in the first quarter of 2006 related to repurchase requests
13   from HSBC. (As described herein, more recently, all of these credit risks have
14   materialized into billions of dollars of alleged losses that are the subject of a
15   myriad of lawsuits, settlements and claims against Bank of America,
16   Countrywide’s successor.)
17          848. For example, in September 2005, Countrywide made several sales to
18   HSBC of subprime second liens. HSBC found serious deficiencies with the loans,
19   both related to documentation and non-compliance with guidelines, and asked
20   Countrywide to repurchase many of them. The repurchases eventually caused
21

22

23

24   25
        Retained interest holders receive interest payments from the securitized loan
25   pools after all required regular interest has been paid to other investors in the
     higher priority securities tranches. This was done as a form of credit enhancement,
26
     because Countrywide’s retained interests would take the first losses if any
27   mortgage pool underperformed, giving the securitization investors limited default
     protection. Countrywide typically maintained retained interests in the mortgage
28
     pools it securitized for non-prime mortgages and HELOCs.
                                                323                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 341 of 439 Page ID #:341



 1   losses to Countrywide in the tens of millions of dollars.26 As a result of this event,
 2   Mozilo wrote several emails to both Sambol and Sieracki decrying what he called
 3   the “serious lack of compliance” in Countrywide’s underwriting of these loans and
 4   the disregard for guidelines that he had witnessed. For example, in April 2006,
 5   Mozilo wrote of Countrywide’s subprime 80/20 loans that he had “personally
 6   observed a serious lack of compliance within [Countrywide’s] origination system
 7   as it relates to documentation and generally a deterioration in the quality of the
 8   loans originated . . . .”
 9          849. In addition to the credit risk associated with its underwriting,
10   Countrywide ran the risk that if the loans Countrywide originated, packaged into
11   MBS and then sold to investors performed badly, Countrywide’s ability to continue
12   accessing the capital markets could be frustrated. Countrywide’s CRO, McMurray,
13   warned Sambol of just this eventuality, but this was not necessary – Sambol was
14   aware of the issue. In 2005, while he was still the head of loan production, Sambol
15   urged the Company to take on more risk, because he was concerned that one effect
16   of Countrywide’s practice of cherry-picking higher quality loans to keep in its
17

18
     26
19      Currently, Bank of America is facing billions of dollars in potential liabilities as
     a result of loans originated by Countrywide. According to Bank of America’s
20
     Form 10-K for 2010, it faces repurchase claims from private counterparties with an
21   estimated range of loss at $7-10 billion. As recently as April 15, 2011, Bank of
     America announced a settlement to pay monoline insurer Assured Guaranty a total
22
     of $1.6 billion (including $1.1 billion in cash) to make good on representations and
23   warranties by Countrywide for loans that were packaged into twenty-nine MBS
     transactions insured by Assured Guaranty. (In addition to the payout, Bank of
24
     America agreed to reimburse Assured Guaranty 80% of losses on the subject MBS
25   until the losses on those deals reach $6.6 billion.) On January 3, 2011, Bank of
     America announced a settlement to pay Fannie Mae and Freddie Mac a total of
26
     $2.8 billion to make good on R&Ws by Countrywide, who sold loans to these
27   GSE’s prior to the merger that turned out to be fraudulent or violated fair lending
     laws. Bank of America continues to face a myriad of lawsuits and other disputes
28
     involving alleged breaches of R&Ws by Countrywide and/or its affiliates.
                                              324                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 342 of 439 Page ID #:342



 1   portfolio would be to cause the secondary markets to lose confidence in the quality
 2   of Countrywide’s MBS securitizations:
 3         While it makes sense for us to be selective as to the loans which the
 4         Bank retains, we need to analyze the securitization implications on
 5         what remains if the bank is only cherry picking and what remains to
 6         be securitized/sold is overly concentrated with higher risk loans. This
 7         concern and issue gets magnified as we put a bigger percentage of our
 8         pay option production into the Bank because the remaining production
 9         then increasingly looks like an adversly [sic] selected pool.
10         850. In addition, Mozilo was concerned that a “reputational event” could
11   adversely affect Countrywide’s ability to sell Pay-Option loans. In September
12   2006, he wrote that he believed that Countrywide’s ability to sell Pay-Option loans
13   into the secondary market, a practice that was critical to Countrywide’s liquidity,
14   was at risk because the credit spread was likely to disappear.27
15         851. Ultimately, Countrywide was forced to begin disclosing the serious
16   problems caused by its lax underwriting. After Countrywide’s July 24, 2007
17   earnings call, where the Company made disclosures regarding its held for
18   investment portfolio, Countrywide experienced a series of significant declines in
19   stock price.   There was an 11% share price decline following Countrywide’s
20   July 24, 2007 earnings call when it provided investors with statistical information
21   regarding its portfolio of loans held for investment that revealed that its definition
22   of prime loans included loans to borrowers with FICO scores as low as 500, and
23

24   27
          In March 2007 Countrywide eliminated “piggyback” loans that allowed
25   borrowers to purchase a home with no money down. According to Reuters, an
     internal email advised loan officers: “Please get in any deals over 95 LTV (loan-to-
26
     value) today! . . . Countrywide BC [subprime] will no longer be offering any 100
27   LTV products as of Monday, March 12.” According to published reports,
     Countrywide waited until February 23, 2007, to stop originating no-doc loans with
28
     more than 95% LTV.
                                             325                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 343 of 439 Page ID #:343



 1   that 80% of its Pay-Option loans were based upon reduced documentation. There
 2   was an additional decline of approximately 11% in Countrywide’s share price on
 3   August 16, 2007, after Countrywide was forced to tap its entire $11.5 billion credit
 4   facility, an event it acknowledged was necessitated by the over 97% decline in
 5   Countrywide’s revenue from mortgage securitizations from 2006 to 2007, and by
 6   Countrywide’s inability to bridge the gap by selling commercial paper.
 7         852. Following those announcements, Countrywide’s share price began a
 8   precipitous decline that decoupled it from other companies in the Dow Jones
 9   Financial Services Index, with which it had previously been closely aligned. By
10   the end of November 2007, Countrywide had nearly exhausted its ability to borrow
11   from the Federal Home Loan Bank of Atlanta, and faced the looming prospect of
12   bankruptcy.
13         853. Countrywide’s explosive origination of nontraditional loans between
14   2003 and 2008 may have been highly lucrative for the Company in the short term
15   but, as Defendants knew, this constituted a high-risk activity that threatened the
16   Company’s core business, especially when the secondary market dried up as a
17   result of Countrywide’s reckless loan origination and underwriting practices and
18   the Company was forced to hold more risky loans for investment and retain more
19   interests in Pay-Option ARM and HELOC securitizations.
20   XI.   INVESTORS BEGIN TO LEARN THE TRUE
           FACTS ABOUT COUNTRYWIDE, CAUSING ITS
21         SECURITIES PRICES TO PLUMMET DESPITE
           DEFENDANTS’ EFFORTS TO CONCEAL THE TRUTH
22

23         854. Beginning on July 24, 2007, investors began to learn the truth about
24   Countrywide, causing its securities prices to plummet despite Defendants’
25   continued efforts to conceal the truth. In total, beginning with the first partial
26   corrective disclosure on July 24, 2007, Countrywide’s common stock share price
27   experienced a total loss of $27.51 per share as demonstrated below:
28

                                            326                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 344 of 439 Page ID #:344



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14         855. Plaintiffs’ consulting expert conducted an event study – a widely
15   recognized method for measuring the impact of new information on market prices.
16   Using an appropriate Peer Group and an appropriate Control Period28 that
17   explicitly adjusts for the changing volatility (standard deviation) in Countrywide’s
18   stock price and the market indices during the Relevant Period, Plaintiffs’ expert
19   determined that statistically significant corrective disclosure events occurred on
20   July 24, 2007, August 2, 2007, August 14-16, 2007 (mitigated for the rebound
21   through August 21, 2007), October 24, 2007, January 8-9, 2008 (mitigated for the
22   rebound through January 11, 2008), and March 8, 2008, as detailed below. These
23   stock price drops were the result of the market learning of and reacting to
24

25
     28
        For each trading day, Plaintiffs’ expert constructed a regression using data from
26
     the past 120 trading days. This “rolling” estimation period ensures that the
27   relationship between Countrywide’s stock and the market factors, as well as the
     volatility of the stock, updates over time according to the data observed over the
28
     most recent 120 trading day (roughly six month) period (the “Control Period”).
                                            327                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 345 of 439 Page ID #:345



 1   Defendants’ fraudulent practices, and not to Countrywide’s financial health
 2   generally. Through these disclosures, the market came to understand that what
 3   Defendants previously said was materially false.
 4         A.     Corrective Disclosures
 5         856. No later than July 24, 2007, Countrywide and various Officer
 6   Defendants were forced to begin partially revealing the truth about matters
 7   concerning which Defendants previously had made materially false and misleading
 8   statements. Those matters included Countrywide’s lending practices, underwriting
 9   standards, financial reporting and accounting practices, lack of financial stability,
10   lack of access to liquidity, and lack of business ethics and integrity. Additional
11   public revelations of the truth concerning these and other matters critical to
12   Countrywide’s business were issued by government agencies, including the FBI,
13   the SEC, various United States Trustees, and a series of state attorneys general; the
14   business media; and participants in the financial markets, including analysts and
15   rating agencies. As detailed below, the truth only gradually leaked out and was
16   often coupled with further misrepresentations to blunt the disclosures’ impact on
17   the value of Countrywide securities.
18         857. These revelations related to matters highly material to buyers of
19   Countrywide’s publicly traded securities, including Plaintiffs.              Between
20   July 24, 2007 and March 10, 2008, the revelation of the truth concerning such
21   material facts caused Plaintiffs to suffer substantial losses. Each new revelation
22   caused an additional drop in the value of Countrywide’s securities and additional
23   losses to Plaintiffs. Those losses were a direct result of the revelation of the truth
24   about the materially false and misleading statements alleged herein and were
25   dramatically larger, to a statistically significant degree, than any losses Plaintiffs
26   would have sustained due to ordinary market forces.
27

28

                                             328                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 346 of 439 Page ID #:346



 1                   1.   July 24, 2007 Partial Corrective Disclosure
 2         858. On July 24, 2007, Countrywide filed its Form 8-K and issued a press
 3   release announcing its financial results for the second quarter of 2007. Reuters
 4   reported that
 5         the largest U.S. mortgage lender, [Countrywide], posted a 33 percent
 6         decline in quarterly profit Tuesday and slashed its 2007 forecast as
 7         more homeowners fell behind on payments. Countrywide set aside
 8         $292.9 million for bad loans, up from $61.9 million a year earlier and
 9         took a $388 million write-off for prime home equity loans.
10   Countrywide’s quarterly release surprised the market with a series of revelations
11   that partially corrected Defendants’ earlier false and misleading statements, and
12   that caused a sharp decline in Countrywide’s stock price. However, Countrywide
13   and certain Officer Defendants, notably Mozilo, dampened the effect of
14   Countrywide’s July 24, 2007 partial corrective disclosures by making additional
15   fraudulent statements that day in an effort to bolster the Company’s stock price and
16   blunt the impact of the corrective disclosures on the market.
17         859. Significant revelations in Countrywide’s second quarter release
18   included the disclosure that delinquency rates had jumped sharply in a series of
19   loan categories. Countrywide disclosed, for example, that for subprime loans
20   serviced by the Company, the delinquency rate in the second quarter had more than
21   doubled to an extraordinary 23%, from just 9% as of March 31, 2007 (the end of
22   the previous quarter). Similarly, Countrywide disclosed that for “prime” home
23   equity loans (HELOCs) serviced by the Company, the delinquency rate had also
24   more than doubled in the second quarter to 4.5%, from 2.1% as of March 31, 2007.
25         860. This report also included dramatic new charges and loan loss
26   provisions, an additional revelation that the quality of Countrywide’s loans,
27   especially its “prime” loans, was weaker than had previously been represented.
28   The report disclosed, for example, that Countrywide had reserved $293 million for

                                             329                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 347 of 439 Page ID #:347



 1   loan losses in the quarter, compared to just $61.9 million in comparable loan loss
 2   reserves a year earlier. Countrywide earmarked $181 million of the increased loan
 3   loss reserve to “prime” HELOCs in the Company’s held-for-investment portfolio.
 4   In addition, Countrywide disclosed that it took a $417 million impairment charge
 5   largely on retained interests in Countrywide MBS, including a $388 million write-
 6   down of residual securities collateralized by prime home equity loans as
 7   delinquencies spread to “prime” mortgages. As a result of these charges and
 8   adjustments, Countrywide reported reduced second quarter earnings of 81 cents per
 9   share, down from $1.15 per share one year earlier. It also reduced its earnings
10   forecast for the remainder of the year.
11         861. In response, Morgan Stanley analyst Kenneth Posner stated:
12         credit performance has surfaced as a bigger risk factor than we expected
13         . . . . The biggest drivers were $400 mm in write-downs for prime home
14         equity residuals and a $246 mm provision in the bank. Credit quality in the
15         bank deteriorated sharply.
16   A Credit Suisse report wrote:
17         [t]he variance to our estimates resulted from continued residual
18         interest impairments and a sizeable reserve build at the bank . . . .
19         Coupled with rising delinquencies and [non-performing assets], these
20         drove a reserve build of $184 million or another $0.19 per share.
21   An HSBC report titled “Still Profitable, But An Ominous Warning,” stated:
22         We also know that there was probably more real estate speculation
23         going on in the ‘prime’ space – fueled by easy availability of
24         affordability products – than is imagined. To that point, management
25         acknowledged that the higher combined loan to value (CLTV) and
26         reduced documentation higher CLTV products – classic speculator
27         products – are accounting for a disproportionate share of credit costs.
28

                                               330                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 348 of 439 Page ID #:348



 1         862. In a related disclosure during the July 24, 2007 Conference Call,
 2   Countrywide revealed for the first time that it had classified loans to borrowers
 3   with FICO scores as low as 500 as “prime” – far below the industry norm of
 4   requiring a borrow to have a minimum FICO score of 660 in order for a loan to the
 5   borrow to be classified as “prime.”
 6         863. In particular, during the July 24, 2007 Conference Call, CRO
 7   McMurray claimed that the term “prime” is one that “covers a very vast spectrum,”
 8   and referred to “a prime loan with FICOs in the low 500s,” thereby disclosing that,
 9   contrary to industry norms, Countrywide might classify such a loan as “prime” for
10   purposes of its SEC filings, financial reporting, and in other public disclosures.
11         864. Later in the same July 24, 2007 Conference Call, McMurray declared
12   that, “[t]here is a belief by many that prime FICOs stop at 620. That is not the
13   case.” This second, more explicit, remark by McMurray demonstrates that senior
14   Countrywide officials were fully aware that it is a common understanding in the
15   lending industry that loans to borrowers with FICO scores below a certain
16   threshold cannot be classified as “prime” loans. Nevertheless, Countrywide chose
17   to secretly classify loans made to borrowers with dramatically lower FICO scores
18   as “prime” without disclosing that its internal use of “prime” differed from the
19   industry standard.
20         865. In addition, with respect to Countrywide’s origination and
21   underwriting standards, and its internal controls, the following was disclosed on
22   the July 24, 2007 Conference Call:
23                (a)     As of the end of the second quarter of 2007, 80% of
24                        Countrywide’s Pay-Option ARM loans, which Defendants
25                        persisted during the Relevant Period in referring to as a “prime”
26                        product offered mainly to high net worth borrowers, were
27                        actually low documentation loans; as McMurray noted at the
28                        same   conference,    “documentation     matters.     The       less

                                               331                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 349 of 439 Page ID #:349



 1                      documentation, the higher the serious delinquency, all else
 2                      equal”;
 3               (b)    Many of the charge-offs and delinquencies “stem from the
 4                      higher concentration of piggyback financing that we did and
 5                      that we have in the port[folio] . . . .”; as McMurray also stated
 6                      at the conference, “leverage at origination matters. More
 7                      leverage means more serious delinquencies”; and
 8               (c)    Countrywide “made many changes to [its] product offerings,
 9                      pricing, underwriting guidelines, and processes in order to
10                      improve the quality and secondary market execution of our
11                      production”) (according to Chief Investment Officer Kevin
12                      Bartlett), notwithstanding repeated statements during the
13                      Relevant Period as to the conservative and careful manner in
14                      which the Company handled these matters, in contrast to its
15                      competitors, and McMurray said the Company’s automated
16                      underwriting system needed to be “recalibrated.”
17         866. Countrywide’s 2Q 2007 results disclosed:            (a) the falsity of
18   Defendants’ prior statements regarding the stringency of Countrywide’s loan
19   origination and underwriting standards; (b) the falsity of Countrywide’s financial
20   reporting, especially Defendants’ representations concerning Countrywide’s loan
21   loss reserves and concerning the value of loan-related assets reflected on
22   Countrywide’s balance sheet, such as LHI and RIs; and (c) Countrywide’s practice
23   of classifying loans made to borrowers with FICO scores ranging down to the low
24   500s as “prime.”     Indeed, one analyst concluded from this July 24, 2007
25   Conference Call that Countrywide management “made serious miscalculations
26   (and possibly misrepresentations) about the quality of the loans added to the bank.”
27   Commenting on Countrywide’s characterization of “prime” to include FICO scores
28   “well below the bank regulator’s definition of subprime, which has a 660 cutoff,”

                                            332                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 350 of 439 Page ID #:350



 1   an HSBC analyst report on July 24, 2007, added that “we do not believe we are
 2   seeing deterioration in the traditional prime customer base, for it simply does not
 3   pass a smell test, given the low rate of unemployment and the fact that the housing
 4   market is just beginning to deteriorate.” Likewise, as discussed above in ¶¶237-39,
 5   both Merrill Lynch and Stifel Nicolaus questioned Countrywide’s newly disclosed
 6   definition of “prime,” including through Merrill Lynch’s July 27, 2007 analyst
 7   report entitled “The Kimono comes off; Prime is not what it seems.”
 8         867. Countrywide’s stock price declined on July 24, 2007, by
 9   approximately 10.5%, from $34.06 to $30.50, on volume of 51,251,256 shares –
10   over four times the volume of 12,731,891 shares during the prior trading day. The
11   loss, which was caused by the July 24, 2007 partial corrective disclosure, was
12   materially larger, to a statistically significant extent, than any losses that would
13   have occurred as a result of ordinary market forces. Indeed, Countrywide stock
14   was the worst performing stock in the S&P 500 Index on July 24, 2007. By
15   contrast, the S&P 500 fell by just 1.98%. During intraday trading, Countrywide
16   stock fell as low as $29.50, or 13%, the biggest intraday percentage drop for
17   Countrywide stock since the market crash of October 1987.             The abnormal
18   (company-specific) return for this event as calculated by Plaintiffs’ expert using the
19   event study methodology, which controls for market and industry returns, was
20   -5.78%; the abnormal return t-statistic (“t-stat”) was -3.66, which indicates
21   statistical significance at well above the 99% confidence level, and the abnormal
22   dollar movement was -$1.83 per share.
23         868. Nonetheless,      these    losses    were    tempered     by    additional
24   misrepresentations made by Defendants the same day. On the July 24, 2007
25   Conference Call, in which Defendants Mozilo, Sambol, and Sieracki participated,
26   Mozilo stated that the growing mortgage crisis would allow Countrywide to
27   leverage its strong liquidity position. Mozilo stated in his prepared remarks:
28

                                             333                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 351 of 439 Page ID #:351



 1         [W]e believe that the Company is well positioned to capitalize on
 2         opportunities during this transitional period in the mortgage business,
 3         which we believe will enhance the Company’s long-term earnings
 4         growth prospects.          We expect to leverage the strength of
 5         Countrywide’s capital liquidity positions . . . to emerge in a superior
 6         competitive position coming out of the current housing downcycle.
 7         869. Similarly, on the July 24, 2007 Conference Call, Mozilo commented
 8   on Countrywide’s strong liquidity position.       Specifically, Mozilo stated that
 9   Countrywide had excess capital in terms of equity and plenty of sources to get
10   through its current situation:
11         [W]e are certainly not going to have any issues funding the Company
12         . . . we have adequate diversified [and] reliable sources of liquidity
13         available . . . we still have plenty of liquidity cushion. . . . So, we
14         have abundant excess capital in terms of equity and we have
15         tremendous[] liquidity sources to fund ourselves through this
16         situation. And we feel very, very comfortable about our liquidity
17         scenario overall.
18         870. Also on the July 24, 2007 Conference Call, Mozilo responded sharply
19   to a question about his stock sales, asserting that they were made pursuant to a
20   10b5-1 Plan established “well over a year ago.” Later on the same call, Mozilo
21   returned to the question about his Countrywide stock sales and asserted:
22         [T]he shares that I have, actual stock I have, I have retained for 39 and
23         a half years. Not sold a share of the initial stock that I got when
24         David and I started this Company – that I got, that I purchased. The
25         only thing that is being sold under the 10b5-1 are options with
26         expiration dates.
27         871. The statements referenced above during the July 24, 2007 Conference
28   Call were materially false and misleading when made. Specifically, Mozilo’s

                                             334                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 352 of 439 Page ID #:352



 1   reassuring statements, including: “we have abundant excess capital in terms of
 2   equity”; “we have tremendous[] liquidity sources to fund ourselves through this
 3   situation”; and “we have adequate diversified [and] reliable sources of liquidity
 4   available”; were false and misleading because Countrywide had serious problems
 5   with respect to its liquidity position and liquidity sources, and for the same reasons
 6   set forth in Section X. Moreover, Mozilo’s statements regarding his stock sales
 7   were false for the same reasons set forth in Section VI.B.
 8                2.    August 2, 2007 Partial Corrective Disclosure
 9         872. Shortly thereafter, during the trading day on August 2, 2007, MBIA,
10   one of nation’s oldest and largest monoline insurers, which provides financial
11   guarantee insurance and other forms of credit protection generally on financial
12   obligations sold in the secondary market, announced that delinquencies on
13   Countrywide subprime home loans were increasing.             Specifically, Carl Webb
14   (“Webb”), a managing director and head of real estate and secondary markets at
15   MBIA, said on a conference call that delinquencies for subprime second-lien
16   mortgages and HELOCs serviced by Countrywide were rising, and that three
17   Countrywide MBS offerings insured by MBIA were performing so poorly that they
18   triggered credit enhancement mechanisms, meaning the deals were performing
19   worse than expected. When asked if MBIA’s Countrywide deals were performing
20   as expected, Webb responded by saying:
21         We have seen increased delinquency in both the closed end seconds
22         and HELOC pools. Either excess spread trigger or linkages have
23         tripped on three transactions. We’re closely monitoring the portfolio
24         and we’re in constant contact with Countrywide.
25   The August 2, 2007 disclosure served as a partial corrective disclosure with regard
26   to Countrywide’s false and misleading representations about the quality of its loan
27   origination and underwriting standards.
28

                                               335                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 353 of 439 Page ID #:353



 1         873. In response, on August 2, 2007, Morgan Stanley reported that “the
 2   near shut-down in mortgage securitization markets pose serious implications for
 3   the [Countrywide].”
 4         874. As a result of the August 2, 2007 partial corrective disclosure,
 5   Countrywide common stock declined following the disclosure by approximately
 6   1.65% on heavy volume to close at $26.77 on August 2. This loss, which was
 7   caused by the August 2, 2007 partial corrective disclosure, was dramatically larger,
 8   to a statistically significant extent, than any losses that would have occurred as a
 9   result of ordinary market forces. By contrast, on August 2, 2007, the S&P 500 rose
10   by 0.46%. The abnormal return for this event as calculated by Plaintiffs’ expert
11   using the event study methodology, was -3.60%; the abnormal return t-stat was -
12   2.15, which indicates statistical significance at above the 95% confidence level,
13   and the abnormal dollar movement was -$0.91 per share.
14         875. Nonetheless,       these    losses   were   tempered     by   additional
15   misrepresentations and omissions by Defendants made on the same day.
16   Specifically, on August 2, 2007, Countrywide and Sieracki made a series of
17   additional fraudulent statements in a further effort to deceive the investing public
18   about Countrywide’s liquidity and its net worth. A Countrywide press release that
19   day entitled “Countrywide Comments on Its Strong Funding Liquidity and
20   Financial Condition” asserted that:
21         Countrywide has longstanding and time-tested funding liquidity
22         contingency planning,” said Eric P. Sieracki, Chief Financial Officer.
23         “These planning protocols were designed to encompass a wide variety
24         of conditions, including recent secondary market volatility.       Our
25         liquidity planning proved highly effective earlier during 2007 when
26         market concerns first arose about subprime lending, and remains so
27         today. We place major emphasis on the adequacy, reliability and
28         diversity of our funding sources. . . .

                                              336                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 354 of 439 Page ID #:354



 1         Sieracki continued, “Our mortgage company has significant short-
 2         term funding liquidity cushions and is supplemented by the ample
 3         liquidity sources of our bank.”
 4   This statement was false and misleading for the reasons alleged in Section IX.
 5         876. In addition, the August 2, 2007 press release contained a false and
 6   misleading statement about Countrywide’s net worth.           Specifically, quoting
 7   Sieracki, the press release stated that “Countrywide’s financial condition remains
 8   strong, as evidenced by over $14 billion of net worth . . . .” However, this “$14
 9   billion” net worth figure was materially inflated for the reasons stated in Section
10   VIII.A. In stark contrast to what Sieracki told the investigating public on August 2,
11   2007, Countrywide senior executives knew the financial condition of the Company
12   was much more serious. For example, Mozilo told the FCIC, “When we talk
13   about [August 2] at Countrywide, that’s our 9/11,” he said. “We worked seven
14   days a week trying to figure this thing out and trying to work with the banks . . . .
15   Our repurchase lines were coming due billions and billions of dollars.”
16         877. One week later, after the stock market closed on August 9, 2007,
17   Countrywide filed with the SEC the Company’s Form 10-Q quarterly report for the
18   quarter ended June 30, 2007 (“2Q 2007 10-Q”), signed by Sambol and Sieracki.
19   The 2Q 2007 10-Q noted the existence of “unprecedented market conditions”
20   bearing on “Countrywide’s liquidity,” and by further noting that “[w]hile we
21   believe we have adequate funding liquidity, the situation is rapidly evolving and
22   the impact on the Company is unknown.” The Company also stated that its
23   impairment of the fair value of its retained interests equaled $268,117,000.
24         878. The 2Q 2007 10-Q contained several additional misrepresentations
25   and omissions as follows.
26         879. In the “Off-Balance Sheet Arrangements and Guarantees” section,
27   Countrywide described the R&W exposure associated with the securitization of its
28   loans as follows:     “We do not believe that any of our off-balance sheet

                                             337                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 355 of 439 Page ID #:355



 1   arrangements have had, or are reasonably likely to have, a current or future
 2   material effect on our financial condition, results of operations, liquidity, capital
 3   expenditures or capital resources.”
 4         880. In a section titled “Financial Statements,” the Company reported that
 5   the fair value of its MSRs for the quarter was $20,087,368,000.
 6         881. The Company also reported an allowance for loan losses of
 7   $512,904,000 as of the end of the quarter, having increased its provision for loan
 8   losses by $292,924,000 during the quarter, with net charge-offs of $154,387,000.
 9         882. The Company also claimed, again, in the 2Q 2007 10-Q that it had
10   adequate funding liquidity to accommodate marketplace changes:
11         We believe we have adequate funding liquidity to accommodate these
12         marketplace changes in the near term . . . . We also believe that the
13         challenges facing the industry should ultimately benefit Countrywide
14         as the mortgage lending industry contuse to consolidate.
15         883. Also, in the section titled “Controls and Procedures,” Countrywide
16   described the adequacy of its internal controls:
17         There has been no change in our internal control over financial
18         reporting during the quarter ended June 30, 2007 that was materially
19         affected, or is reasonably likely to materially affect, our internal
20         control over financial reporting.
21         884. Further assuring investors of the veracity of the information contained
22   in the 2Q 2007 10-Q, the report included a Sarbanes-Oxley Act certification signed
23   by Defendants Mozilo and Sieracki representing that the “report does not contain
24   any untrue statement of a material fact” and “the financial statements, and other
25   financial information included in this report, fairly present in all material respects
26   the financial condition” of Countrywide.
27         885. The statements referenced above from Countrywide’s 2Q 2007 10-Q
28   were materially false and misleading when made because the Company overstated

                                               338                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 356 of 439 Page ID #:356



 1   the fair value of its RIs, LHI and MSR, understated ALL, understated liabilities
 2   related to R&Ws, and overstated net earnings and total shareholders’ equity.
 3   Countrywide’s statement that “[w]e believe we have adequate funding liquidity to
 4   accommodate these marketplace changes in the near term,” its statements relating
 5   to its internal controls, and the Sarbanes-Oxley Act certifications, were false and
 6   misleading because Countrywide was not well-positioned with respect to its
 7   liquidity sources, the financial statements issued by Countrywide were materially
 8   misstated and violated GAAP and its internal controls were ineffective, and for the
 9   same reasons set forth in Sections X. and VIII.A.
10            886. Several   analysts   either     raised   or   maintained   their   high
11   recommendations and earnings estimates for Countrywide as a result of
12   Defendants’ reassuring misrepresentations.       For example, on August 2, 2007,
13   Morgan Stanley maintained an “Overweight” rating on Countrywide stock.
14   Analysts reported “[w]ith capital markets volatility raising questions about the
15   liquidity of securitization markets, the key issue in the short term for Countrywide
16   is liquidity. We don’t see any near-term liquidity challenges for the company . . .”
17                 3.    August 14-16, 2007 Partial Corrective Disclosure
18            887. On August 14, 2007, before the market opened, Countrywide issued a
19   press release and filed a Form 8-K releasing its monthly operational data for July
20   2007. In this report, Countrywide disclosed that it was lending less but facing
21   increased levels of foreclosures and homeowner delinquencies not seen in several
22   years.     For example, it disclosed that “tighter” underwriting caused monthly
23   production to decline 14% – from June’s $45.26 billion to July’s $39.06 billion,
24   and nonprime loans, including “subprime,” were $1.8 billion, down 46 percent
25   from a year earlier and down 3 percent from June. Defendant Sambol explained
26   “Our tighter lending guidelines [have] significantly curtailed total production.”
27   The Company further disclosed that by the end of July 2007, its rate of
28   delinquency as a percentage of unpaid principal balance had increased by

                                             339                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 357 of 439 Page ID #:357



 1   approximately 35% to 4.89%, compared to a 3.61% rate as of July 31, 2006.
 2   Countrywide also disclosed that, similarly, by the end of July 2007, its rate of
 3   pending foreclosures as a percentage of unpaid principal balance had more than
 4   doubled to 1.04%, compared to 0.46% as of July 31, 2006.
 5         888. In response, analysts and news reporters reflected the effects on
 6   Countrywide from the news about the increased riskiness of its loans and the
 7   tightening of its underwriting standards. An August 14, 2007, a JP Morgan report
 8   commented on Countrywide and how its
 9         [p]ending foreclosures rose to 0.79% of loans serviced from 0.74%
10         last month and 0.48% a year ago. This is the highest level in the 14
11         years of monthly data we have back to 1993. CFC generally does not
12         have much credit recourse on these loans, but the cost of servicing is
13         likely to increase.
14   Later, in the same JP Morgan report, the analyst commented on the overall
15   Countrywide sentiment:
16         S&P affirmed its ratings on CFC’s ABCP conduits . . . which should provide
17         some comfort to investors. However, the markets remain very volatile, and
18         we expect concerns over CFC’s access to financing to remain a near-term
19         overhang over the stock. . . . Pipeline and applications fell, as they should
20         have . . . CFC inexplicably grew headcount in July.
21   And an August 14, 2007 Bloomberg article wrote:
22         Countrywide . . . led shares of home lenders lower on concern bankers
23         will cut off cash as foreclosures and overdue payments surge
24         nationwide . . . . Concern about rising defaults has prompted bankers
25         to reduce credit lines for home lenders.         Countrywide . . . said
26         delinquencies rose for a fifth straight month.
27   And finally, an August 15, 2007 Los Angeles Times article about the July operating
28   report commented: “[i]n a grim report that helped send mortgage stocks reeling,

                                             340                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 358 of 439 Page ID #:358



 1   No. 1 home lender Countrywide Financial Corp. said Tuesday that foreclosures and
 2   delinquencies jumped in July to the highest levels in more than five years.”
 3         889. Countrywide’s August 14, 2007 disclosure of unexpectedly high rates
 4   of delinquencies and foreclosures, and lower monthly production from tighter
 5   underwriting, partially corrected Countrywide’s prior misrepresentations about the
 6   quality of its loan origination and underwriting standards and served as a partial
 7   corrective disclosure with respect to aspects of Countrywide’s financial reporting,
 8   including Countrywide’s loan loss reserves and its reported assets. For example,
 9   the “tighter” standards which caused the production decline were actually the
10   standards that Countrywide had represented it was employing throughout the entire
11   Relevant Period. It also partially disclosed the falsity of Countrywide’s prior
12   misstatements that Countrywide’s business was sound; that Countrywide was well-
13   positioned to withstand the downturn in the housing market; and that Countrywide
14   was poised to capture market share from weaker competitors.
15         890. Countrywide’s stock closed down on August 14, 2007, by 8.08%,
16   from $26.61 to $24.46, on high volume of almost 36 million shares. This loss,
17   which was caused by the August 14, 2007 partial corrective disclosure, was
18   dramatically larger, to a statistically significant extent, than any losses that would
19   have occurred as a result of ordinary market forces.               By contrast, on
20   August 14, 2007, the S&P 500 fell by just 1.8%. The abnormal return for this
21   event as calculated by Plaintiffs’ expert using the event study methodology, was -
22   5.84% after controlling for market and industry forces; the abnormal return t-stat
23   was -3.53 which indicates statistical significance well above the 99% confidence
24   level, and the abnormal dollar movement was -$1.46 per share.
25         891. On August 15, 2007, Merrill Lynch surprised the markets by
26   downgrading Countrywide from “buy” to “sell” based on serious perceived
27   liquidity problems and bankruptcy concerns. The report explained its reasons for
28   the downgrade as follows:

                                             341                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 359 of 439 Page ID #:359



 1         concerns that liquidity in the mortgage sector could further erode the
 2         value of CFC’s franchise. We fear that the acceleration of margin
 3         calls and forced asset sales in the capital markets could lead to more
 4         problems for CFC to finance its mortgage operations.          Should a
 5         liquidity event occur, for which the likelihood is increasing, CFC
 6         shares would probably witness further selling pressure. . . . The
 7         market is concerned that CFC could have difficulty with its credit
 8         facilities, which are critical to it operating in the near-term. CFC
 9         currently has about $185B in available credit facilities, though the
10         concern is that these facilities could be terminated or the terms
11         changed meaningfully, thus impacting CFC’s ability to operate
12         normally.
13         892. Reuters reported that “shares of Countrywide Financial dropped 6
14   percent to $23 before the bell on Wednesday” after MarketWatch reported that
15   Merrill Lynch had downgraded its rating on the largest U.S. mortgage lender to
16   “sell” from “buy.”‘
17         893. An August 17, 2007 The Wall Street Journal article also summarized
18   the impact of the August 15 Merrill Lynch analyst report on Countrywide’s stock:
19         When Merrill Lynch & Co. analyst Kenneth Bruce put a surprise
20         “sell” rating on Countrywide Financial Corp. this week, the stock fell
21         13%. Many on Wall Street clearly felt he knew what he was talking
22         about: He used to work at the troubled mortgage lender.
23         Mr. Bruce, 40, follows mortgage companies in Merrill’s San
24         Francisco office. But for 13 years before his arrival on Wall Street, he
25         worked in the mortgage business in different capacities. One of them
26         was a two-year stint working for Countrywide’s home-loans division
27         in Pasadena, California. His boss there was David Sambol, who is
28

                                            342                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 360 of 439 Page ID #:360



 1         now the firm’s president and heir apparent to its embattled chief
 2         executive, Angelo Mozilo.
 3         Mr. Bruce’s Wednesday report, entitled “Liquidity is the Achilles
 4         Heel” came just two days after he had reiterated his longstanding
 5         “buy” rating on the company. Pointing out that “funding markets are
 6         deteriorating quickly,” he suggested that Countrywide may even face
 7         bankruptcy. “Our view has changed, materially,” he wrote on the first
 8         page of the report.
 9         894. The August 15, 2007 Merrill Lynch analyst report further partially
10   corrected Defendants’ false statements that Countrywide was financially sound;
11   that Countrywide was well-positioned to weather the downturn in the housing
12   market; that Countrywide was poised to grow during the downturn and to capture
13   market share from weaker competitors; and that Countrywide had secure access to
14   ample sources of liquidity.
15         895. Countrywide common stock fell by approximately 13% that day, from
16   $24.46 to $21.29, on volume of 118,552,432 shares – over three times the trading
17   volume of 35,850,848 during the prior trading day. This loss, which was caused by
18   the August 15, 2007 partial corrective disclosure, was dramatically larger, to a
19   statistically significant extent, than any losses that would have occurred as a result
20   of ordinary market forces. By contrast, on August 15, 2007, the S&P 500 fell by
21   just 1.36%. The abnormal return for this event as calculated by Plaintiffs’ expert
22   using the event study methodology, was -10.89%, after controlling for market and
23   industry forces; the abnormal return t-stat was -6.56, which indicates statistical
24   significance at well above the 99% confidence level, and the abnormal dollar
25   movement was -$2.50 per share.
26         896. Before the market opened on the next day, August 16, 2007,
27   Countrywide announced that it drew its entire $11.5 billion credit facility to boost
28   its cash position and said it would shift its mortgage lending business into its bank

                                             343                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 361 of 439 Page ID #:361



 1   unit.    As reported by DJ Corporate Filings Alert, these were “moves that
 2   acknowledge the sharp funding pressure on the largest U.S. mortgage lender.” As a
 3   result, all three major credit rating agencies – Standard & Poor’s (“S&P”),
 4   Moody’s Investors Service (“Moody’s”), and Fitch Ratings (“Fitch”) – issued
 5   downgrades with respect to Countrywide securities. Moody’s sharply downgraded
 6   Countrywide and CHL’s senior debt rating to Baa3 from A3, just one notch above
 7   junk grade. Fitch sharply downgraded Countrywide’s long-term issuer default
 8   rating two notches to BBB+ from A, just two notches above junk grade, and also
 9   downgraded Countrywide’s CCIV and CCV preferred securities to BBB- from A-.
10   S&P downgraded Countrywide to A- from A.
11           897. An August 16, 2007 Dow Jones Newswire article quoted David
12   Sylvester, an executive Vice President in San Francisco-based Wells Capital
13   Management, on Countrywide’s inability to receive cheaper funding who wrote: “I
14   don’t think Countrywide can access the unsecured commercial paper market.” In
15   addition, an August 16, 2007 Fox-Pitt Kelton report commented on Countrywide
16   steps to protect its liquidity, however, it wrote: “We are cutting our 2007 estimate
17   to $2.10 from $2.55 and our 2008 estimate to $2.25 from $3.21 to take into account
18   higher funding costs, lower gain-on-sale margins and a decline in non-agency
19   conforming production.”
20           898. Countrywide’s decision to access its $11.5 billion credit facility and
21   the rating agency downgrades partially disclosed the falsity of Defendants’ false
22   and misleading statements, including with respect to: the soundness and stability
23   of Countrywide’s business and finances; Countrywide’s ability to weather the
24   downturn in the housing market; Countrywide’s ability to thrive and gain market
25   share from weaker competitors during the housing market downturn;
26   Countrywide’s access to liquidity; and the poor inherent quality of the loan
27   portfolio that formed the core of Countrywide’s business.
28

                                             344                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 362 of 439 Page ID #:362



 1         899. Countrywide’s       stock   declined   by    approximately    11%     on
 2   August 16, 2007, from $21.29 to $18.95, on extraordinary volume of 201,476,816
 3   shares. This loss, which was caused by the August 16, 2007 partial corrective
 4   disclosure, was dramatically larger, to a statistically significant extent, than any
 5   losses that would have occurred as a result of ordinary market forces. By contrast,
 6   on August 16, 2007, the S&P 500 rose by 0.33%. The abnormal return for this
 7   event as calculated by Plaintiffs’ expert using the event study methodology, was -
 8   19.58%, after controlling for market and industry forces; the abnormal return t-stat
 9   was -11.74, which indicates statistical significance at well above the 99%
10   confidence level, and the abnormal dollar movement was -$3.90 per share.
11         900. One week later, on August 23, 2007, before the stock market opened,
12   the media reported that Bank of America had announced a $2 billion investment in
13   Countrywide. In return for its investment, Bank of America received a non-voting
14   convertible Countrywide preferred security yielding 7.25% annually and
15   convertible to common stock at $18 per share. Later, on January 11, 2008, as
16   further discussed below, Bank of America announced that it was acquiring
17   Countrywide in a stock-for-stock merger, in which Countrywide shareholders
18   would receive 0.1822 shares of Bank of America stock for every share of
19   Countrywide stock.
20         901. Largely in response to the $2 billion Bank of America preferred
21   security purchase announced on August 23, 2007, as well as the misrepresentations
22   by Mozilo alleged below concerning the transaction and other material matters,
23   Countrywide’s stock price rose approximately 1% on August 23, 2007.
24         902. In an August 23, 2007 article in The Wall Street Journal, Defendant
25   Mozilo was quoted as saying that “Countrywide would have survived without help
26   from Bank of America. . . .”
27

28

                                            345                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 363 of 439 Page ID #:363



 1         903. That same day, August 23, 2007, Mozilo was again interviewed on
 2   CNBC by Maria Bartiromo. During the interview, Mozilo falsely assured the
 3   marketplace that the Company was not at risk of suffering a bankruptcy:
 4         Well, first of all let me comment [on a] couple of things. One is the,
 5         just the irresponsible behavior on part of that analyst from Merrill
 6         Lynch to, yell fire in a very crowded theater in [an] environment
 7         where you had panic already setting in the overall markets unrelated
 8         to Countrywide. Was totally irresponsible and baseless. . . . Has no
 9         basis whatsoever.
10                                             ***
11         I can tell you there is no more chance for bankruptcy today for
12         Countrywide than it was six months ago, two years ago, when the
13         stock was $45 a share. [We] are a very solid company.
14         904. Moreover, Mozilo stated in an October 5, 2007 press release, that his
15   stock sales were out of his hands and in line with investors’ interests:
16         The upcoming sales are driven by rules within the 10b5-1 plan that
17         were established long ago, and should in no way be viewed as any
18         indication of my future outlook for Countrywide. . . . As one of
19         Countrywide’s largest individual shareholders, my interests are firmly
20         aligned with those of our other investors.
21         905. Also on August 23, 2007, Mozilo was interviewed by Neil Cavuto of
22   Fox News. Mozilo responded to a question regarding Countrywide’s lending
23   practices:
24         We’re lending the money. It would be too foolhardy for us to lend
25         money to someone, A, by duping them, and, secondly, to think that
26         we wouldn’t be paid back. We never make a loan where we think that
27         we’re creating a situation where we couldn’t be paid back. We try to
28         underwrite these loans prudently.

                                              346                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 364 of 439 Page ID #:364



 1         906. Mozilo’s statements referenced above were materially false and
 2   misleading when made.         Specifically, Mozilo’s reassuring statements that
 3   “Countrywide would have survived without help from Bank of America” and that
 4   the Company had “no more chance for bankruptcy today . . . than it was six months
 5   ago,” and his statements that his “interest[s] are firmly aligned with those of our
 6   other investors” were false and misleading for the reasons set forth above in
 7   Section X.
 8         907. Analysts still maintained their faith in the Company in reliance on
 9   management’s false and misleading statements. For example, on August 23, 2007,
10   analysts at Piper Jaffray rated Countrywide’s shares “Outperform.” Several other
11   analysts also raised or maintained their high recommendations and earnings
12   estimates     for   Countrywide   as   a      result   of   Countrywide’s   fraudulent
13   misrepresentations:
14               x On August 23, 2007, Citigroup rates Countrywide’s stock a “Buy.”
15                 Analysts stated that the Bank of America $2 billion infusion “should
16                 enable CFC to continue to play a leadership role during the U.S.
17                 mortgage market’s return of normalcy.”
18               x On August 23, 2007, Credit Suisse rated Countrywide’s shares
19                 “Outperform.”
20         908. The next day, on Wednesday August 24, 2007, Fitch downgraded
21   Countrywide Home Loans, Inc.’s servicer ratings with respect to a series of loan
22   categories and placed the ratings on “Rating Watch Evolving” status – a signal that
23   the ratings could be cut again. In its press release announcing the downgrades,
24   Fitch noted “the continued pressure on CHL’s liquidity position and financial
25   flexibility” as well as “delinquency” challenges.
26         909. Fitch’s downgrade constituted an additional partial corrective
27   disclosure concerning prior false and misleading statements by Defendants with
28   respect to Countrywide’s access to liquidity, Countrywide’s lax loan origination

                                             347                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 365 of 439 Page ID #:365



 1   and underwriting standards, the soundness and stability of Countrywide’s business
 2   and finances, Countrywide’s ability to weather the downturn in the housing market,
 3   and Countrywide’s ability to thrive and gain marketshare from weaker competitors
 4   during the housing market downturn.
 5               4.     October 24, 2007 Partial Corrective Disclosure
 6         910. Thereafter, on that same day, before the markets opened, The Wall
 7   Street Journal reported that Countrywide Pay-Option ARM loans that were
 8   classified as “prime” when they were originated are now “going bad at a rapid
 9   pace” and that the deteriorating performance is evidence of “lax underwriting.”
10         911. The WSJ’s October 24 story began by explaining that:
11         Subprime mortgages aren’t the only challenge facing Countrywide
12         Financial Corp., the nation’s biggest home-mortgage lender. Some
13         loans classified as prime when they were originated are now going
14         bad at a rapid pace.
15         912. The WSJ further revealed that, based on the analysis by UBS AG,
16   losses ran above industry averages, including for “prime” loans:
17         An analysis prepared for The Wall Street Journal by UBS AG shows
18         that 3.55% of option ARMs originated by Countrywide in 2006 and
19         packaged into securities sold to investors are at least 60 days past due.
20         That compares with an average option-ARM delinquency rate of
21         2.56% for the industry as a whole and is the highest of six companies
22         analyzed by UBS.
23         913. The WSJ also noted that:
24         Among option ARMs held in its own portfolio, 5.7% were at least 30
25         days past due as of June 30, the measure Countrywide uses. That’s up
26         from 1.6% a year earlier. Countrywide held $27.8 billion of option
27         ARMs as of June 30, accounting for about 41% of the loans held as
28

                                             348                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 366 of 439 Page ID #:366



 1         investments by its savings bank. An additional $122 billion have been
 2         packaged into securities sold to investors, according to UBS.
 3         914. The WSJ declared that “the deteriorating performance of option
 4   ARMs is evidence that lax underwriting that led to problems in subprime loans is
 5   showing up in the prime market, where defaults typically are minimal.”             In
 6   addition, the WSJ quoted UBS analyst Shumin Li, who stated that “at Countrywide
 7   ‘they were giving these loans to riskier and riskier borrowers.’”
 8         915. This article partially corrected prior materially false and misleading
 9   statements, including Countrywide’s and Mozilo’s repeated representations that
10   Countrywide maintained conservative loan origination and underwriting standards,
11   that Countrywide was well-positioned to endure the housing industry downturn,
12   and that Countrywide would thrive during the downturn by capturing marketshare
13   from weaker competitors.
14         916. Also, on October 24, 2007, Countrywide’s stock price fell by 8.1%,
15   from $15.05 to $13.83 on volume of 66,182,840 shares, as compared to 29,945,110
16   shares the prior trading day. This loss, which was caused by the October 24, 2007
17   partial corrective disclosure, was dramatically larger, to a statistically significant
18   extent, than any losses that would have occurred as a result of ordinary market
19   forces. The same day, the S&P 500 fell only 0.24%. The abnormal return for this
20   event as calculated by Plaintiffs’ expert using the event study methodology, was
21   -6.32%, after controlling for market and industry forces; the abnormal return t-stat
22   was -2.63, which indicates statistical significance at above a 95% confidence level,
23   and the abnormal dollar movement was -$0.89 per share.
24         917. On November 9, 2007, Countrywide filed its Form 10-Q report for the
25   third quarter of 2007, ended September 30, 2007 (“3Q 2007 10-Q”). In the 3Q
26   2007 10-Q, which Defendants Sambol and Sieracki signed, Countrywide once
27   again stated that during the industry downturn, “[w]e also believe that many
28   opportunities will present themselves to the Company as a result of the market

                                             349                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 367 of 439 Page ID #:367



 1   transition taking place, and that Countrywide is well positioned to capitalize on
 2   these opportunities.”
 3         918. In a section titled “Valuation of MSRs and Other Retained Interests,”
 4   the Company reported that the fair value of the retained interests on its balance
 5   sheet as of September 30, 2007, was $2,463,528,000. The impairment taken on the
 6   fair value of its retained interests equaled $716,658,000.
 7         919. In the “Off-Balance Sheet Arrangements and Guarantees” section,
 8   Countrywide described the representations and warranties exposure associated
 9   with the securitization of its loans as follows: “We do not believe that any of our
10   off-balance sheet arrangements have had, or are reasonably likely to have, a current
11   or future material effect on our financial condition, result of operations, liquidity,
12   capital expenditures or capital resources.”
13         920. In a section titled “Credit Risk Management,” the Company also
14   stated the liabilities associated with the risk of representation and warranties as
15   “totaling $639,647,000.”
16         921. In a section titled “Securitizations,” the Company reported that the
17   fair value of MSRs as of September 30, 2007, was $20,068,153,000.
18         922. Also, in the section titled “Controls and Procedures,” Countrywide
19   described the adequacy of its internal controls:
20         There has been no change in our internal control over financial
21         reporting, other than discussed above, during the quarter ended
22         September 30, 2007 that has materially affected, or is reasonably
23         likely to materially affect, our internal control over financial
24         reporting.
25         923. Further assuring investors of the truthfulness of the information
26   contained in the 3Q 2007 10-Q, the report included a Sarbanes-Oxley Act
27   certification signed by Defendants Mozilo and Sieracki, representing that the
28   “report does not contain any untrue statement of a material fact” and “the financial

                                             350                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 368 of 439 Page ID #:368



 1   statements, and other financial information included in this report, fairly present in
 2   all material respects the financial condition” of Countrywide.
 3         924. The statements referenced above in the 3Q 2007 10-Q were materially
 4   false and misleading when made.         Countrywide’s statement that it “is well
 5   positioned to capitalize on . . . opportunities”; statement in the 3Q 2007 10-Q
 6   relating to the value of its retained interests and MSRs; statements relating to its
 7   representations and warranties; statements relating to internal controls; and the
 8   Sarbanes-Oxley Act certifications signed by Defendants Mozilo and Sieracki, were
 9   false and misleading because (1) Countrywide had serious problems with respect to
10   its liquidity position, (2) Countrywide overstated the fair value of its RIs and
11   MSRs, and understated liabilities related to R&Ws, and (3) the financial statements
12   issued by Countrywide were materially misstated and violated GAAP, and its
13   internal controls were ineffective, and for the same reasons stated in Sections X.
14   and VIII.A. above.
15         925. Thereafter, on December 13, 2007, before the market opened,
16   Countrywide issued a press release and filed a Form 8-K releasing its November
17   2007 operational data. In this monthly operating report, Countrywide disclosed a
18   further deterioration in its delinquency and foreclosure rates.        Among other
19   matters, for example, Countrywide disclosed that, as of November 30, 2007, its
20   rate of delinquency as a percentage of loans serviced had increased to 6.34%.
21         926. In addition, also on December 13, 2007, a New York Times article
22   reported that “[t]he Illinois attorney general is investigating the home loan unit of
23   Countrywide Financial as part of the state’s expanding inquiry into dubious lending
24   practices that have trapped borrowers in high-cost mortgages they can no longer
25   afford.” The Times further noted that “Lisa Madigan, the attorney general, has
26   subpoenaed documents from Countrywide relating to its loan origination
27   practices.” In addition, among other matters, the Times quoted Illinois Attorney
28   General Madigan as saying about “a Chicago mortgage broker,” for which

                                             351                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 369 of 439 Page ID #:369



 1   Countrywide was the primary lender, that “[t]his company’s conduct is a prime
 2   example of unscrupulous mortgage brokers that has led to a foreclosure crisis for
 3   many Illinois homeowners.”
 4         927. Also on December 13, 2007, Fitch Investment Research announced
 5   that it was downgrading 110 classes of residential mortgage-backed securities from
 6   28 Countrywide transactions.
 7               5.       January 8-9, 2008 Partial Corrective Disclosure
 8         928. Three weeks later, before the markets opened on January 8, 2008, The
 9   New York Times published an article that reported that Countrywide fabricated
10   documents related to the bankruptcy case of a Pennsylvania homeowner, court
11   records show, raising new questions about the business practices of the giant
12   mortgage lender at the center of the subprime mess. The Times noted that the
13   fabricated documents, which it described as “three letters from Countrywide
14   addressed to . . . [a] homeowner,” were written in connection with “one of 300
15   bankruptcy cases in which Countrywide’s practices have come under scrutiny in
16   western Pennsylvania.”      The Times quoted United States Bankruptcy Judge
17   Thomas P. Agresti, who presides over the case in connection with which the letters
18   were written as saying that “[t]hese letters are a smoking gun that something is not
19   right in Denmark.”
20         929. Similarly, on January 8, 2008, Bloomberg published an article that
21   reported that Countrywide “was ordered to provide documents and testimony to
22   federal officials probing possible false mortgage claims against bankrupt Florida
23   homeowners.” The Bloomberg article reported that this was “second such case in
24   Florida and part of a national probe . . . in at least three other states” probing
25   whether Countrywide and others were making false claims against bankrupt
26   homeowners or using questionable proof to make them pay.
27         930. On January 8, 2008, concerns that Countrywide would need to file
28   bankruptcy increased due to Countrywide’s need for cash to continue operating its

                                            352                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 370 of 439 Page ID #:370



 1   mortgage    business,   and    Countrywide      reported    rising    foreclosures   and
 2   delinquencies – resulting in the halting of trading in Countrywide stock in order for
 3   Countrywide to respond. As reported by Bloomberg, “Countrywide shares dropped
 4   28 percent today, the most since October 1987 on the New York Stock Exchange as
 5   investors speculated that a cash shortage and a declining lending business would
 6   force the company to seek court protection.”
 7         931. Countrywide stock plummeted by approximately 28.4% that day, from
 8   $7.64 to $5.47, on volume of 178,828,816 shares – over four times the trading
 9   volume of 38,088,772 shares during the prior trading day. This loss, which was
10   caused by the January 8, 2008 disclosures, was dramatically larger, to a statistically
11   significant extent, than any losses that would have occurred as a result of ordinary
12   market forces. By contrast, on January 8, 2008, the S&P 500 fell by just 1.80%.
13   The abnormal return for this event as calculated by Plaintiffs’ expert using the
14   event study methodology, was -20.22%, after controlling for market and industry
15   factors; the abnormal return t-stat was -4.43, which indicates statistical significance
16   at well above the 99% confidence level, and the abnormal dollar movement was -
17   $1.46 per share.
18         932. Nonetheless,       these    losses    were      tempered     by    additional
19   misrepresentations by Defendants made on the same day. On January 8, 2008,
20   Reuters reported in an article titled “Countrywide Rejects Bankruptcy Rumor” that
21   Countrywide had stated that “[t]here is no substance to the rumor that Countrywide
22   is planning to file for bankruptcy, and we are not aware of any basis for the rumor
23   that any of the major rating agencies are contemplating negative action relative to
24   the company.”
25         933. The Company’s statement on January 8, 2008, was false and
26   misleading for the same reasons set forth in Section X. above.
27         934. The next day, on January 9, 2008, before the market opened,
28   Countrywide disclosed that foreclosures and late payments rose to the highest level

                                              353                                 COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 371 of 439 Page ID #:371



 1   on record. Specifically, it issued a press release and filed a Form 8-K releasing its
 2   operational data for December 2007.            In this monthly operating report,
 3   Countrywide disclosed that by December 31, 2007, its rate of pending foreclosures
 4   as a percentage of unpaid principal balance had more than doubled to 1.44%,
 5   compared to 0.70% as of December 31, 2006.              Similarly, Countrywide also
 6   disclosed that by December 31, 2007, its rate of delinquency as a percentage of
 7   unpaid principal balance had increased by more than 50% to 7.20%, compared to
 8   4.6% as of December 31, 2006.
 9         935. As a Reuters article published after the markets closed on
10   January 9, 2008 explained, the rates of foreclosures and delinquencies that
11   Countrywide disclosed in its December monthly operating report were “the highest
12   on record, sending its shares tumbling . . . to their lowest in nearly 13 years.” As
13   Reuters noted, “[a]nalysts attributed Wednesday’s drop to deteriorating credit
14   quality reflected in Countrywide’s monthly operating report, and renewed concern
15   the lender might not survive the housing crunch and could seek bankruptcy
16   protection.” Reuters quoted Lehman Brothers analyst Bruce Harting’s statement
17   that “[t]he extent of the deterioration is a surprise and does not bode well for the
18   fourth-quarter results of companies with mortgage credit exposure that may have to
19   further add to reserves.”
20         936. Countrywide’s January 8 and January 9, 2008 revelations partially
21   revealed the falsity of Countrywide’s representations about the quality of its loan
22   origination and underwriting standards, Countrywide’s financial reporting,
23   including its loan loss reserves and its reported assets, and Countrywide’s false
24   statements on October 26, 2007, about the likelihood that Countrywide would
25   return to profitability in the fourth quarter of 2007 and in 2008.
26         937. Countrywide’s stock dropped on January 9, 2008, by approximately
27   6.4%, from $5.47 to $5.12, on heavy volume of 164,158,592 shares. This loss,
28   which was caused by the January 8-9, 2008 partial corrective disclosures, was

                                              354                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 372 of 439 Page ID #:372



 1   dramatically larger, to a statistically significant extent, than any losses that would
 2   have occurred as a result of ordinary market forces. By contrast, on January 9,
 3   2008, the S&P 500 rose by 1.37%.           The abnormal return for this event as
 4   calculated by Plaintiffs’ expert using the event study methodology, was -9.17%,
 5   after controlling for market and industry forces; the abnormal return t-stat was -
 6   2.00, which indicates statistical significance at the 95% confidence level; and the
 7   abnormal dollar movement was -$0.47 per share.
 8         938. At the end of the trading day on January 9, 2008, Moody’s cut
 9   Countrywide Alt-A mortgage loan deals, causing Countrywide’s securities prices to
10   fall further.   The next day, January 10, however, Countrywide stock rose by
11   approximately 51.4% to close at $7.75 after The Wall Street Journal first reported
12   at 2:15 p.m. that Bank of America was “in advanced talks to acquire . . .
13   Countrywide.”
14         939. The next day, before the securities markets opened on Friday, January
15   11, 2008, “Bank of America Corporation . . . announced a definitive agreement to
16   purchase Countrywide Financial Corp. in an all-stock transaction worth
17   approximately $4 billion.” Specifically, Bank of America agreed to offer 0.1822
18   shares of its stock to Countrywide shareholders for every Countrywide share.
19         940. After Bank of America disclosed the terms of the purchase on Friday,
20   January 11, however, Countrywide’s stock price slumped back down to close at
21   $6.33, giving up the majority of its gain the day before.
22         941. The approximately $4 billion that Bank of America announced on
23   January 11 that it was paying for Countrywide represented only about 27% of
24   Countrywide’s most recently reported book value of approximately $15.3 billion,
25   which was reported as of September 30, 2007.
26         942. A January 11, 2008 report by Wachovia Capital Markets commented:
27         The purchase price of roughly $4B is well below the most recently
28         reported equity capital base of $15B. We believe that BAC [Bank of

                                             355                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 373 of 439 Page ID #:373



 1         America Corporation] will use the difference (negative goodwill) to
 2         write down a large percentage of CFC’s assets. Candidates include
 3         residual securities, the $84B held for investment portfolio (mostly
 4         option ARMs and high LTV prime home equity loans) and the $31B
 5         held for sale portfolio, which includes a large portfolio of subprime
 6         loans.
 7         943. Countrywide’s stock price declined on January 11, 2008, by
 8   approximately 18.3%, from $7.75 to $6.33, on heavy volume of 234,155,264
 9   shares.
10                  6.     March 8, 2008 Partial Corrective Disclosure
11         944. On Saturday, March 8, 2008, The Wall Street Journal reported that the
12   FBI is probing Countrywide over possible securities fraud, including
13   misrepresentations regarding its financial condition and the quality of its loans in
14   securities filings.    It further disclosed that “[t]he inquiry involves whether
15   company officials made misrepresentations about the Company’s financial
16   position and the quality of its mortgage loans in securities filings, four people
17   with knowledge of the matter said.” The WSJ also noted that “Countrywide issued
18   more than $100 billion in mortgage-backed securities between 2004 and 2007” and
19   that “[m]ore than two dozen Wall Street firms helped construct those deals, making
20   it possible that some of them will also face law-enforcement scrutiny.” The WSJ
21   also reported that:
22         Federal investigators are looking at evidence that may indicate
23         widespread fraud in the origination of Countrywide mortgages, said
24         one person with knowledge of the inquiry. If borne out, that could
25         raise questions about whether company executives knew about the
26         prospect that Countrywide’s mortgage securities would suffer many
27         more defaults than predicted in offering documents. Another potential
28         issue facing the company is whether it has been candid in its

                                             356                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 374 of 439 Page ID #:374



 1         accounting for losses.     People familiar with the matter said that
 2         Countrywide’s losses may be several times greater than it has
 3         disclosed.
 4         945. The WSJ’s March 8, 2008 story further disclosed the falsity of
 5   Defendants’ prior statements and omissions in Countrywide’s financial statements
 6   and related SEC filings, including, but not limited to, representations concerning
 7   Countrywide’s loan loss reserves, earnings, and assets. In addition, the March 8
 8   WSJ story further disclosed the falsity of Defendants’ prior false and misleading
 9   statements and omissions about Countrywide’s institutional stability and its ability
10   to weather the housing crisis and to capture market share at the expense of
11   purportedly weaker competitors.        The story further disclosed the falsity of
12   Defendants’ prior false and misleading statements about the quality of
13   Countrywide’s loan origination and underwriting standards.
14         946. On Monday, March 10, 2008, the first day that the securities markets
15   were open following the publication of the WSJ’s March 8 story, Countrywide
16   stock declined by approximately 14%, from $5.07 to close at $4.36 – its lowest
17   level since April 1995 – on volume exceeding 35 million shares. This loss, which
18   was caused by the March 8, 2008 partial corrective disclosure, was dramatically
19   larger, to a statistically significant extent, than any losses that would have occurred
20   as a result of ordinary market forces. By contrast, on March 10, 2008, the S&P
21   500 fell by just 1.54%. The abnormal return for this event as calculated by
22   Plaintiffs’ expert using the event study methodology, was -11.22%, after
23   controlling for market and industry forces; the abnormal return t-stat was -2.50,
24   which indicates statistical significance well above the 95% confidence level; and
25   the abnormal dollar movement was -$0.55 per share.
26   XII. DEFENDANTS’ CONDUCT CAUSED PLAINTIFFS’ LOSS
27         947. Throughout the Relevant Period, as detailed above, the prices of the
28   Company’s securities were artificially inflated as a direct result of Defendants’

                                              357                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 375 of 439 Page ID #:375



 1   misrepresentations and omissions regarding the Company. When the truth about
 2   the Company was partially revealed to the market beginning July 24, 2007, and
 3   continuing throughout the Relevant Period, the inflation that had been caused by
 4   Defendants’ misrepresentations and omissions was eliminated from the price of the
 5   Company’s securities, causing significant damages to Plaintiffs.
 6         948. The Company’s false statements and omissions regarding its lending
 7   practices, underwriting standards, financial reporting and accounting practices,
 8   financial stability, access to liquidity and business ethics and integrity used by
 9   Defendants to paint a false picture of Countrywide, were material information to
10   Plaintiffs. Had the truth been disclosed to the market at or before the Relevant
11   Period, Plaintiffs would have been unwilling to purchase the Company’s securities
12   at the prices then being offered in the market.
13         949. No later than July 24, 2007, Countrywide and various Officer
14   Defendants finally began to partially reveal the truth about matters concerning
15   which Countrywide and the Officer Defendants had made materially false and
16   misleading statements and omissions.            Those matters included Countrywide’s
17   lending practices, underwriting standards, financial reporting and accounting
18   practices, lack of financial stability, lack of access to liquidity, and lack of business
19   ethics and integrity. Additional public revelations of the truth concerning these and
20   other matters critical to Countrywide’s business were issued by government
21   agencies, including the FBI, the SEC, various United States Trustees, and a series
22   of state Attorneys General; the business media; and participants in the financial
23   markets, including analysts and rating agencies.
24         950. These revelations related to matters highly material to buyers of
25   Countrywide’s publicly traded securities.             Between July 24, 2007, and
26   March 10, 2008, the revelation of the truth concerning such material facts caused
27   Plaintiffs to suffer substantial losses. Each new revelation caused an additional
28   drop in the value of Countrywide’s securities and additional losses to Plaintiffs.

                                               358                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 376 of 439 Page ID #:376



 1   Those losses were a direct result of the revelation of the truth about the materially
 2   false and misleading statements alleged herein and were dramatically larger, to a
 3   statistically significant degree, than any losses Plaintiffs would have sustained due
 4   to ordinary market forces.
 5         951. As alleged herein, throughout the Relevant Period, investors faced
 6   substantially greater risks than disclosed by Defendants. In particular, Defendants
 7   misled investors with regards to the quality of Countrywide’s loans and loan
 8   origination process and as a result disguised that the riskiness of Countrywide’s
 9   operations had increased so dramatically, that even an initial mild downturn in the
10   economy and/or housing prices would imperil the liquidity and survival of the
11   Company to a degree that was beyond what could have been predicted from
12   publicly available information. This undisclosed excess risk materialized in the
13   form of Company-specific announcements of surprisingly poor performance of
14   Countrywide’s loans and the evaporation of demand for Countrywide’s loans in the
15   secondary market. These events are the economically foreseeable consequences of
16   the type of excessive risk-taking in which Defendants engaged as alleged herein.
17         952. The risk of a credit crisis to Countrywide’s business was within the
18   zone of risks about which Countrywide defrauded investors. A key purpose of
19   Countrywide’s purported loan origination “guidelines” was to screen potential
20   borrowers and determine which were creditworthy and thus likely to repay their
21   mortgage loans, whether in good economic times or bad. Further, Countrywide’s
22   risk-taking with its mortgage originations, as detailed herein, created the real
23   possibility that if the loans it originated performed badly, Countrywide’s ability to
24   continue accessing the capital markets would be frustrated – a concern voiced
25   repeatedly by Countrywide’s top executives. In short, while the mortgage industry
26   generally faced a credit crunch, that does not mean that Countrywide’s widespread
27   underwriting violations did not cause the general predicament and/or place
28   Countrywide in a materially worse position in competing for remaining liquidity

                                             359                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 377 of 439 Page ID #:377



 1   than if it had not engaged in those previously concealed fraudulent practices as
 2   detailed herein. Indeed, Countrywide could have sustained the credit crunch if it
 3   had actually maintained quality lending and underwriting practices, rather than
 4   those that undermined confidence in the secondary market for Countrywide
 5   products. Indeed, as Judge Pfaelzer recognized in the related derivative case:
 6         the Company’s own SEC filings recognize that ongoing access to the
 7         secondary mortgage market requires the consistent production of quality
 8         mortgages and servicing of those mortgages at levels that meet or exceed
 9         secondary mortgage market standards. . . . Independent of any turmoil in the
10         capital markets, the widespread violations of underwriting standards, as
11         alleged, would significantly raise the risk of loan default. When combined
12         with what [Derivative] Plaintiffs allege are misrepresentations concerning
13         the quality of Countrywide’s loans, these underwriting issues would
14         ultimately undermine confidence in the secondary market for Countrywide
15         products.
16         953. In sum, as detailed herein, Countrywide’s operations so diverged from
17   soundness that Countrywide’s repeated assurances of good practices, quality loan
18   origination, and consistently prudent underwriting guidelines were rendered false.
19   This triggered a sharp decline in the value of Countrywide-related securities as the
20   truth emerged. Even as the market began its downturn, Countrywide held itself out
21   as situated differently from other subprime lenders. See Countrywide, 588 F. Supp.
22   2d at 1173-74.
23         954. Alan Hess, Ph.D., the SEC’s economic expert who was prepared to
24   testify in the SEC case, submitted as evidence an Expert Report (made publicly
25   available in the SEC case and reviewed by Plaintiffs’ counsel) that opined that “the
26   econometric evidence demonstrates that adverse changes in economic conditions
27   explain little if any of Countrywide’s stock price decrease.”      Rebuttal Expert
28   Report of Alan Hess, Ph.D., at 1.      Dr. Hess pointed out that if Defendants’

                                             360                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 378 of 439 Page ID #:378



 1   conjectures that adverse changes in economic conditions were the principal causes
 2   of the decline in Countrywide’s stock price were correct (which they are not), a
 3   market model for Countrywide that includes factors that represent housing market
 4   and liquidity conditions should explain Countrywide’s price decrease. Dr. Hess
 5   explained, however, that such market model does not explain Countrywide’s price
 6   decrease. Dr. Hess concluded that “[t]he housing and debt markets had little effect
 7   on Countrywide’s stock price.”      Indeed, as demonstrated in the chart below,
 8   Countrywide’s price decoupled sharply from those of its competitors 29 after having
 9   tracked them in the three year period preceding Countrywide’s July 24, 2007
10   Conference Call:
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26   29
         The “Peer Index” or “Peer Group” is the equally-weighted index of companies
27   in the KBW Mortgage Finance Index, excluding Countrywide and other companies
     accused of fraud during the Relevant Period, with allegations of fraud (e.g., Fannie
28
     Mae, Freddie Mac, Indy Mac, MGIC, and Washington Mutual).
                                            361                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 379 of 439 Page ID #:379



 1         955. Countrywide’s Company-specific stock price movement and the
 2   timing of events, belie the notion that economic factors unrelated to Countrywide’s
 3   own risk profile were the underlying cause of the declines in value on the
 4   corrective disclosure days.
 5         956. While the macroeconomic environment impacted Countrywide, the
 6   evidence will belie the notion that the credit crisis can wholly explain Plaintiffs’
 7   losses. First, Plaintiffs’ expert has explicitly controlled for market forces and
 8   industry forces on the alleged corrective disclosure events and therefore only
 9   includes Countrywide-specific price declines in determining how much of the
10   stock price movement was attributable to company-specific new information. The
11   result of this is that even under Plaintiffs’ expert’s analysis, a portion of the total
12   decline in Countrywide’s stock price is not attributable to the fraud, but rather is
13   attributed to other non-company specific factors.
14         957. Second, the timing of the decline in Countrywide’s stock price is
15   inconsistent with the notion that it was a stable financial institution that was simply
16   caught up in a macroeconomic wave of declining home prices that had nothing to
17   do with Plaintiffs’ allegations. The peak of the financial crisis did not occur until
18   September 2008, when Lehman Brothers Holdings, Inc. (“Lehman”) and other
19   major financial institutions failed. The vast majority of stock price declines that
20   Plaintiffs attribute to the alleged misstatements occur before or during August
21   2007, more than a year earlier.
22         958. Moreover, the chart below shows the S&P Case-Shiller Home Price
23   Index from January 2000 through August 2007, by which time Countrywide was
24   facing increasing liquidity concerns. The data shows that while housing prices had
25   leveled off and started to decline slightly, housing prices in August 2007 were still
26   100% higher than in 2000, 19.8% higher than in 2004, 3.8% higher than in 2005,
27   and only 4% lower than in 2006. If it were true, as Defendants professed, that
28   Countrywide would flourish during a housing downturn as a result of its superior

                                              362                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 380 of 439 Page ID #:380



 1   underwriting and that its pay-option ARM portfolio had relatively low LTV ratios
 2   (thus able to absorb declines in housing prices), the mild downturn in housing
 3   prices as of August 2007, would not have put Countrywide on a financial precipice.
 4
                                                               S&P Case-Shiller Composite-20 Home Price Index
 5                                                                      January 2000 to August 2007
            250

 6

 7          200


 8

 9          150


10                                                                                                                                                                           Case-Shiller Composite-20 Home Price Index Changes:

                                                                                                                                                                             June 2004 to August 2007:                                      +19.75%
11          100
                                                                                                                                                                             June 2005 to August 2007:                                      +3.82%
                                                                                                                                                                             June 2006 to August 2007:                                      -4.374%

12
             50
13

14
              0
15
                                    Jul-00




                                                                        Jul-01




                                                                                                            Jul-02




                                                                                                                                                 Jul-03




                                                                                                                                                                                     Jul-04




                                                                                                                                                                                                                         Jul-05




                                                                                                                                                                                                                                                             Jul-06




                                                                                                                                                                                                                                                                                                 Jul-07
                                             Oct-00




                                                                                 Oct-01




                                                                                                                     Oct-02




                                                                                                                                                          Oct-03




                                                                                                                                                                                              Oct-04




                                                                                                                                                                                                                                  Oct-05




                                                                                                                                                                                                                                                                      Oct-06
                  Jan-00




                                                      Jan-01




                                                                                          Jan-02




                                                                                                                              Jan-03




                                                                                                                                                                   Jan-04




                                                                                                                                                                                                       Jan-05




                                                                                                                                                                                                                                           Jan-06




                                                                                                                                                                                                                                                                               Jan-07
                           Apr-00




                                                               Apr-01




                                                                                                   Apr-02




                                                                                                                                       Apr-03




                                                                                                                                                                            Apr-04




                                                                                                                                                                                                                Apr-05




                                                                                                                                                                                                                                                    Apr-06




                                                                                                                                                                                                                                                                                        Apr-07
16

17         959. Moreover,                                                          Countrywide’s                                                            share                             price                           dropped                                      11%                            before
18   Countrywide was forced to draw down its line of credit on August 16, 2007.
19   Moreover, the risk of a credit crisis to Countrywide’s business was precisely within
20   the zone of risks about which Countrywide defrauded investors. Countrywide’s
21   risk-taking with its mortgages originations created the very real possibility that if
22   the loans it originated performed badly, Countrywide’s ability to continue
23   accessing the capital markets would be frustrated – a concern voiced repeatedly by
24   Countrywide’s top executives. A key purpose of Countrywide’s loan originating
25   guidelines was to screen potential borrowers and determine which were
26   creditworthy and thus likely to repay their mortgage loans, whether in good
27   economic times or bad.
28

                                                                                                                                                363                                                                                                                                     COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 381 of 439 Page ID #:381



 1          960. Finally, to the extent that Countrywide’s stock price declines
 2   purportedly correlate with industry indexes, much of the correlation is spurious.
 3   Countrywide represented a significant portion of many industry indexes, making
 4   Countrywide’s performance material to index performance. Further, there was
 5   extensive speculation in the markets that the problems disclosed at Countrywide
 6   were present in other peer companies, including peer companies similarly tainted
 7   by allegations of mortgage fraud.                 Numerous news articles published
 8   contemporaneous with revelations of the truth about matters concerning which
 9   Countrywide and the Officer Defendants had made materially false and misleading
10   statements and omissions attributed, at least in part, declines in market indexes or
11   other peer company stock price declines to negative news about Countrywide. For
12   example, on July 24, 2007, the Associate Press Newswires published a story titled
13   “Countrywide Financial warning drags down S&P 500,” which stated that:
14          The broadly monitored Standard & Poor’s 500 fell Tuesday, hurt by a
15          warning from Countrywide Financial Corp. The S&P 500 lost 30.53 points
16          to 1,511.04.
17   Likewise, on August 15, 2007, the Los Angeles Times published a news story titled:
18   “LOANS; Lender reports rising defaults; Countrywide home foreclosures and
19   delinquencies surge to five-year highs in July. Mortgage stocks tumble,” which
20   stated that:
21          In a grim report that helped send mortgage stocks reeling, No. 1 home
22          lender Countrywide Financial Corp. said Tuesday that foreclosures
23          and delinquencies jumped in July to the highest levels in more than
24          five years . . . Countrywide shares fell $2.15, or 8.1%, to $24.46,
25          bringing their loss this year to 42%. Other mortgage stocks also
26          tumbled Tuesday on bad news of their own and in reaction to
27          Countrywide’s difficulties . . . .
28

                                                 364                         COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 382 of 439 Page ID #:382



 1         961. In sum, Defendants cannot simply point to the “credit crisis” as the
 2   cause of Plaintiffs’ losses. Plaintiffs’ consulting expert has controlled for market
 3   forces in its causation analysis. Furthermore, most of the declines in Countrywide
 4   stock occurred when the housing market had only begun to decline – well before
 5   the calamitous market events at the apex of the credit crisis – thus demonstrating,
 6   rather than disproving – that Countrywide was a much riskier investment than
 7   portrayed in its public statements.
 8   XIII. PLAINTIFFS RELIED UPON DEFENDANTS’ FALSE
           AND MISLEADING STATEMENTS AND OMISSIONS
 9

10         962. Throughout the Relevant Period, Plaintiffs justifiably expected
11   Defendants to disclose material information as required by law and SEC
12   regulations in the Company’s periodic filings with the SEC and in the Company’s
13   offering documents for the sale of the Company’s securities. Plaintiffs would not
14   have purchased the Company’s securities at artificially inflated prices if
15   Defendants had disclosed all material information then known to them, as detailed
16   herein.
17         963. The market for Countrywide securities was at all times an efficient
18   market for the following reasons, among others:
19                (a)   Countrywide’s stock met the requirements for listing and was
20                      listed on the New York Stock Exchange;
21                (b)   As a regulated issuer, Countrywide filed periodic public reports
22                      with the SEC;
23                (c)   Countrywide’s securities volume was substantial during the
24                      Relevant Period;
25                (d)   Countrywide was followed by various analysts employed by
26                      major brokerage firms, including Deutsche Bank Securities
27                      Inc., JP Morgan, Jefferies & Company, Inc., Morgan Stanley,
28                      Raymond James & Associates, Inc. and others, who wrote

                                            365                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 383 of 439 Page ID #:383



 1                      reports which were distributed to the sales force and certain
 2                      customers of their respective brokerage firms and which were
 3                      available to various automated data retrieval services; and
 4               (e)    The market price of Countrywide securities reacted efficiently
 5                      to new information entering the market.
 6         964. The foregoing facts clearly indicate the existence of an efficient
 7   market for trading of Countrywide securities and support application of the fraud-
 8   on-the-market theory. Plaintiffs relied on the integrity of the market price for the
 9   Company’s securities and are entitled to a presumption of reliance with respect to
10   Defendants’ misstatements and omissions alleged in this Complaint.
11   XIV. TOLLING OF THE STATUTE OF LIMITATIONS
12         965. On August 14, 2007, George Pappas, on behalf of himself and all
13   others similarly situated, filed a class action complaint on behalf of purchasers of
14   publicly traded Countrywide securities against Defendants Countrywide, Mozilo,
15   and Sieracki alleging violations of Sections 10(b) and 20(a) of the Exchange Act.
16   See Pappas v. Countrywide Fin. Corp., No. 2:07-cv-05295 (C.D. Cal.)
17   (“Pappas”). On August 31, 2007, a similar class action complaint was filed
18   against Defendant Sambol (and others) alleging violations of the same securities
19   laws as in the Pappas complaint. See Norfolk Cnty. Ret. Sys. v. Countrywide Fin.
20   Corp., et al., No. 2:07-cv-05727 (C.D. Cal.) (“Norfolk”). On September 19, 2007,
21   a similar class action complaint on behalf of purchasers of CCV 7% Capital
22   Securities was filed against Defendants Countrywide, CCV, Mozilo, Sieracki, and
23   Sambol (and others) alleging violations of Sections 11 and 15 of the Securities
24   Act. See Jack McBride v. Countrywide Fin. Corp., et al., No. 2:07-cv-06083 (C.D.
25   Cal.) (“McBride”). On November 5, 2007, a similar class action complaint on
26   behalf of purchasers of the 7% Capital Securities was filed against Defendants
27   Countrywide, CCV, Mozilo, Sieracki, and Sambol (and others) alleging violations
28   of Sections 11, 12, and 15 of the Securities Act. See Barry Brahn v. Countrywide

                                            366                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 384 of 439 Page ID #:384



 1   Capital V, et al., No. 2:07-cv-07259 (C.D. Cal.) (“Brahn”). On January 25, 2008,
 2   a similar class action complaint on behalf of purchasers of publicly traded
 3   Countrywide securities (including, inter alia, the Series B Medium-Term Notes,
 4   6.25% Notes, and 7% Capital Securities) was filed against Defendants
 5   Countrywide, CCV, Mozilo, Sieracki, and Sambol (and others) alleging violations
 6   of Sections 10(b) and 20(a) of the Exchange Act and Sections 11, 12, and 15 of the
 7   Securities Act. See New York City Emps’ Ret. Sys., et al. v. Countrywide Fin.
 8   Corp., et al., No. 2:08-cv-00492 (C.D. Cal.) (“New York Funds”).
 9         966. The Pappas, Norfolk, McBride, Brahn and New York Funds actions, as
10   well as other class action cases filed against Defendants alleging securities law
11   violations with respect to Countrywide securities, were consolidated in November
12   2007 and March 2008 by United States District Judge Mariana R. Pfaelzer, in In re
13   Countrywide Fin. Corp. Sec. Litig., No. CV 07-05295 MRP (MANx) (C.D. Cal.).
14   On April 14, 2008, the court-appointed Lead Plaintiff in the consolidated cases
15   filed a Consolidated Amended Class Action Complaint (“Consolidated
16   Complaint”) against Defendants (and others) asserting claims for all of the above-
17   referenced securities law violations. On April 6, 2009, Judge Pfaelzer substantially
18   denied defendants’ motions to dismiss the Consolidated Complaint. On December
19   9, 2009, Judge Pfaelzer granted class certification (including with respect to claims
20   alleged herein) and, on August 2, 2010, preliminarily approved a proposed class
21   action settlement. On October 18, 2010, Plaintiffs timely submitted their requests
22   for exclusion from the proposed class action settlement.
23         967. The Pappas, Norfolk, McBride, Brahn and New York Funds class
24   action complaints, and the Consolidated Complaint, were all filed (a) less than one
25   year after Plaintiffs discovered or reasonably could have discovered the facts upon
26   which the Securities Act claims asserted herein are based, and less than three years
27   after the securities upon which such claims are based were bona fide offered to the
28   public and sold to Plaintiffs in the relevant transactions; and (b) less than two years

                                              367                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 385 of 439 Page ID #:385



 1   after Plaintiffs discovered or reasonably could have discovered the facts upon
 2   which the Exchange Act claims asserted herein are based, and less than five years
 3   after the date the misrepresentations upon which such claims are based were
 4   made. The filing of these class action complaints, or some of them, served to toll
 5   any applicable statute of limitations and repose for the claims set forth in this
 6   Complaint pursuant to the doctrine announced in Am. Pipe & Constr. Co. v. Utah,
 7   414 U.S. 538, 552 (1974).
 8         968. Further, on April 4, 2011, Plaintiffs and the Countrywide and Officer
 9   Defendants entered into a Tolling Agreement which tolled, inter alia, the claims
10   alleged in this Complaint, effective March 1, 2011, until March 1, 2012, or such
11   earlier time as one of the parties terminates the Tolling Agreement. Plaintiffs have
12   thus timely filed their claims.
13   XV. INAPPLICABILITY OF STATUTORY SAFE HARBOR
14         969.    The statutory safe harbor provided for forward-looking statements
15   under certain circumstances does not apply to any of the allegedly false statements
16   pleaded in this Complaint. Many of the specific statements pleaded herein were not
17   identified as and were not “forward looking statements” when made. To the extent
18   there were any forward-looking statements, there were no meaningful cautionary
19   statements identifying important factors that could cause actual results to differ
20   materially from those in the purportedly forward-looking statements. Alternatively,
21   to the extent that the statutory safe harbor does apply to any forward-looking
22   statements pleaded herein, the Officer Defendants are liable for those false
23   forward-looking statements because at the time each of those forward-looking
24   statements was made, the particular speaker knew that the particular forward-
25   looking statement was false, and/or the forward-looking statement was authorized
26   and/or approved by an executive officer of Countrywide who knew that those
27   statements were false.
28

                                            368                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 386 of 439 Page ID #:386



 1   XVI. AS COUNTRYWIDE’S SUCCESSOR, BANK OF
          AMERICA IS LIABLE FOR COUNTRYWIDE’S ACTIONS
 2

 3         970. On January 11, 2008, Bank of America announced that it would
 4   purchase Countrywide for $4.1 billion in an all-stock transaction. On July 1, 2008,
 5   Bank of America completed its merger with Defendant Countrywide.
 6         971. On October 6, 2008, Bank of America filed a Form 8-K announcing,
 7   among other things, that Countrywide would transfer all, or substantially all, of its
 8   assets to unnamed subsidiaries of Bank of America. Bank of America offered
 9   virtually no details about the contemplated asset sale. On information and belief,
10   the intended effect of this transaction was to integrate those assets further into the
11   operations of Bank of America while leaving the liabilities with Countrywide.
12         972. Countrywide transferred substantially all of its assets to Bank of
13   America on November 7, 2008. On or about that time, Countrywide ceased filing
14   its own financial statements, and its assets and liabilities have since been included
15   in Bank of America’s financial statements. As Bank of America reported to the
16   SEC, this transfer of assets occurred “in connection with the integration of
17   Countrywide Financial Corporation with [Bank of America’s] other businesses and
18   operations.” Again, virtually no details of this transaction were disclosed. On
19   information and belief, largely as a result of this transfer of assets, Countrywide
20   and a merger subsidiary (created to effectuate the merger) are now moribund
21   organizations, with few, if any, assets or operations. As admitted in the Notice of
22   Interested Parties Pursuant to L.R. 7.1-1 filed on May 20, 2011, in Children’s
23   Hospital & Medical Center Found. of Omaha v. Countrywide Fin. Corp., 11-CV-
24   02056-MRP-MAN (C.D. Cal.), Bank of America is the “ultimate parent” to
25   Countrywide Financial Corporation.
26         973. On April 27, 2009, Bank of America announced in a press release that
27   “[t]he Countrywide brand has been retired” and that it had rebranded Countrywide
28   Home Loans as “Bank of America Home Loans.” The press release announced

                                             369                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 387 of 439 Page ID #:387



 1   that Bank of America Home Loans “represents the combined operations of Bank of
 2   America’s mortgage and home equity business and Countrywide Home Loans.”
 3         974. The April 27, 2009, press release made clear that Bank of America
 4   planned to complete its integration of Countrywide into Bank of America in 2009.
 5   While the integration was being completed, Countrywide customers had access to
 6   Bank of America’s 6,100 banking centers. The press release explained that Bank
 7   of America was in the process of rebranding former Countrywide “locations,
 8   account statements, marketing materials and advertising” as Bank of America
 9   Home Loans, and stated that “the full systems conversion” to Bank of America
10   Home Loans would occur later in 2009.
11         975. As of September 21, 2009, former Countrywide bank deposit accounts
12   were reportedly converted to Bank of America accounts. On November 9, 2009,
13   online account services for Countrywide mortgages were reportedly transferred to
14   Bank of America’s Online Banking website. According to press reports, Bank of
15   America Home Loans operates out of Countrywide’s offices in Calabasas,
16   California with substantially the same employees as the former Countrywide
17   entities. On information and belief, Bank of America’s rebranded consumer real
18   estate business now operates out of over 1,000 former Countrywide offices
19   nationwide. Many former Countrywide locations, employees, assets, and business
20   operations now continue under the Bank of America Home Loans brand.
21   Countrywide has disclosed that its employees’ 401(k) plans were rolled into Bank
22   of America’s 401(k) plan, effective April 6, 2009. Countrywide’s former website
23   now redirects to the Bank of America website. Bank of America Home Loans is
24   thus a direct continuation of Countrywide’s operations and is operating
25   Countrywide’s mortgage origination business as its own.
26         976. Bank of America’s Form 10-Q for the period ending September 3,
27   2009 stated that, “[t]he acquisition of Countrywide significantly expanded the
28   Corporation’s mortgage originating and servicing capabilities, making it a leading

                                           370                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 388 of 439 Page ID #:388



 1   mortgage originator and servicer.”      The Form 10-Q acknowledged pending
 2   litigation against Countrywide and stated that “Countrywide’s results of operations
 3   were included in the Corporation’s results beginning July 1, 2008.”
 4         977. The Bank of America website has announced that the companies
 5   merged. Bank of America noted on its website that it was “combining the valuable
 6   resources and extensive product lines of both companies.” Under the “Merger
 7   History” tab of Bank of America’s website, Countrywide is included among the list
 8   of companies Bank of America has acquired. Under the “Time Line” tab, the
 9   website states that Bank of America “became the largest consumer mortgage lender
10   in the country” following its acquisition of Countrywide in 2008. Lastly, under the
11   “Our Heritage” tab, the website states that the acquisition of Countrywide “resulted
12   in the launch of Bank of America Home Loans in 2009, making the bank the
13   nation’s leading mortgage originator and servicer.” The Countrywide logo appears
14   on the page.
15         978. In many other public statements, Bank of America has described its
16   acquisition of Countrywide and its subsidiaries as a merger and made clear its
17   intent to fully integrate Countrywide and its subsidiaries into Bank of America.
18         979. For example, in a July 2008 Bank of America press release, Barbara
19   Desoer (“Desoer”), identified as the head of the “combined mortgage, home equity
20   and insurance businesses” of Bank of America and Countrywide, said: “Now we
21   begin to combine the two companies and prepare to introduce our new name and
22   way of operating.” The press release stated that the bank
23         anticipates substantial cost savings from combining the two companies. Cost
24         reductions will come from a range of sources, including the elimination of
25         positions announced last week, and the reduction of overlapping technology,
26         vendor and marketing expenses. In addition, Countrywide is expected to
27         benefit by leveraging its broad product set to deepen relationships with
28         existing Countrywide customers.

                                             371                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 389 of 439 Page ID #:389



 1         980. In October 2008, Desoer commented that the integration was
 2   proceeding on schedule, noting, “The company has named a mix of Bank of
 3   America and former Countrywide executives to leadership roles and will be
 4   tapping more managers through the end of the year.”
 5         981. Desoer was interviewed for the May 2009 issue of Housing Wire
 6   magazine, which reported that:
 7         While the move to shutter the Countrywide name is essentially
 8         complete, the operational effort to integrate across two completely
 9         distinct lending and service systems is just getting under way. One of
10         the assets [Bank of America] acquired with Countrywide was a vast
11         technology platform for originating and servicing loans, and Desoer
12         says that the bank will be migrating some aspects of [Bank of
13         America’s] mortgage operations over to Countrywide’s platforms.
14         982. Desoer was also quoted as saying: “We’re done with defining the
15   target, and we’re in the middle of doing the development work to prepare us to be
16   able to do the conversion of the part of the portfolio going to the legacy
17   Countrywide platforms.” Desoer explained that the conversion would happen in
18   the “late fall” of 2009, and that the integration of the Countrywide and Bank of
19   America platforms was a critical goal.
20         983. After the integration had further progressed, Desoer stated in the
21   October 2009 issue of Mortgage Banking that “the first year is a good story in
22   terms of the two companies [coming] together and meeting all the major [goals
23   and] milestones that we had set for ourselves for how we would work to integrate
24   the companies.” For Desoer, it was “the highlight of the year . . . when we retired
25   the Countrywide brand and launched the Bank of America Home Loans brand.” In
26   the same issue, Mary Kanaga, a Countrywide transition executive who helped
27   oversee integration, likened the process of integration to the completion of a
28   mosaic:

                                              372                           COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 390 of 439 Page ID #:390



 1         Everything [i.e., each business element] counts. Everything has to get there,
 2         whether it’s the biggest project or the smallest project. It’s very much
 3         putting a puzzle together. If there is a missing piece, we have a broken chain
 4         and we can’t complete the mosaic.
 5         984. Likewise, in its 2008 Annual Report, Bank of America confirmed that
 6   “[o]n July 1, 2008, we acquired Countrywide,” and stated that the merger
 7   “significantly improved our mortgage originating and servicing capabilities,
 8   making us a leading mortgage originator and servicer.” In the Q&A section of the
 9   same report, the question was posed: “How do the recent acquisitions of
10   Countrywide and Merrill Lynch fit into your strategy?”             Bank of America
11   responded that by acquiring Countrywide it became the “No. 1 provider of both
12   mortgage originations and servicing” and “as a combined company,” it would be
13   recognized as a “responsible lender who is committed to helping our customers
14   become successful homeowners.” Similarly, in a July 1, 2008 Countrywide press
15   release, Defendant Mozilo stated that “the combination of Countrywide and Bank
16   of America will create one of the most powerful mortgage franchises in the world.”
17         985. In purchasing Countrywide and its subsidiaries for only 27% of its
18   book value at the time, Bank of America was fully aware of the pending claims and
19   potential claims against Countrywide and factored them into the transaction.30
20   Bank of America has since confirmed, in numerous statements and actions, that it
21   has expressly or impliedly assumed Countrywide’s contractual and tort liabilities,
22   including claims and potential claims against Countrywide and its former officers
23   and directors.
24

25

26
     30
27       Bank of America’s purchase of Countrywide for just 27% of its book value
     further suggests that the acquisition was structured to strip the corporate shells left
28
     behind of recoverable assets.
                                              373                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 391 of 439 Page ID #:391



 1         986. For example, in an interview published on February 22, 2008, in the
 2   legal publication Corporate Counsel, a Bank of America spokesperson admitted
 3   that Bank of America had assumed Countrywide’s liabilities:
 4         Handling all this litigation won’t be cheap, even for Bank of America,
 5         the soon-to-be largest mortgage lender in the country. Nevertheless,
 6         the banking giant says that Countrywide’s legal expenses were not
 7         overlooked during negotiations. “We bought the company and all of
 8         its assets and liabilities,” spokesman Scott Silvestri says, “We are
 9         aware of the claims and potential claims against the company and
10         have factored these into the purchase.”
11         987. Further, on October 6, 2008, during an earnings call, Joe Price, Bank
12   of America’s CFO, stated that “As we transfer those operations (i.e., Countrywide
13   and its subsidiaries] our company intends to assume the outstanding Countrywide
14   debt totaling approximately $21 billion.” Asked about the “formal guaranteeing”
15   of Countrywide’s debt, Kenneth D. Lewis (“Lewis”), Bank of America’s former
16   Chairman and CEO, responded that:
17         The normal process we followed is what are the operational movements
18         we’ll make to combine the operations. When we do that we’ve said the debt
19         would fall in line and quite frankly that’s kind of what we’ve said the whole
20         time . . . . [T]hat’s been very consistent with deals we’ve done in the past
21         from this standpoint.
22         988. Similarly, Lewis was quoted in a January 23, 2009 New York Times
23   article reporting on the acquisition of Countrywide and its subsidiaries, in which he
24   acknowledged that Bank of America knew of the legal liabilities of Countrywide
25   and its subsidiaries and impliedly accepted them as part of the cost of the
26   acquisition:
27         We did extensive due diligence. We had 60 people inside the
28         company for almost a month. It was the most extensive due diligence

                                             374                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 392 of 439 Page ID #:392



 1         we have ever done. So we feel comfortable with the valuation. We
 2         looked at every aspect of the deal, from their assets to potential
 3         lawsuits and we think we have a price that is a good price.
 4         989. Bank of America made additional statements showing that it has
 5   assumed the liabilities of Countrywide. In a press release announcing the merger,
 6   Lewis stated that he was aware of the “issues within the housing and mortgage
 7   industries” and said that “the transaction [with Countrywide] reflects those
 8   challenges.” Despite these challenges, Lewis stated in October 2009 that “[t]he
 9   Merrill Lynch and Countrywide integrations are on track and returning value
10   already.”
11         990. Likewise, in Bank of America’s Form 10-K for 2009, Bank of
12   America acknowledged that “[W]e face increased litigation risk and regulatory
13   scrutiny as a result of the Merrill Lynch and Countrywide acquisitions.”
14         991. Brian Moynihan (“Moynihan”), Bank of America’s CEO and
15   President, testified before the FCIC on January 13, 2010, that
16         our primary window into the mortgage crisis came through the
17         acquisition of Countrywide.       The Countrywide acquisition has
18         positioned the bank in the mortgage business on a scale it had not
19         previously achieved. There have been losses, and lawsuits, from the
20         legacy of Countrywide operations, but we are looking forward.
21         992. Addressing investor demands for refunds on faulty loans sold by
22   Countrywide, Moynihan stated “There’s a lot of people out there with a lot of
23   thoughts about how we should solve this, but at the end of the day, we’ll pay for
24   the things that Countrywide did.” And, in a New York Times article published in
25   December 2010, Moynihan, speaking about Countrywide, stated that “[o]ur
26   company bought it and we’ll stand up; we’ll clean it up.”
27         993. Similarly, Jerry Dubrowski, a spokesman for Bank of America, was
28   quoted in an article published by Bloomberg in December 2010 that the bank will

                                             375                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 393 of 439 Page ID #:393



 1   “act responsibly” and repurchase loans in cases where there were valid defects
 2   with the loans. Through the third quarter of 2010, Bank of America has faced
 3   $26.7 billion in repurchase requests and has resolved, declined or rescinded $18
 4   billion of those claims. It has established a reserve fund against the remaining $8.7
 5   billion in repurchase requests, which at the end of the third quarter stood at $4.4
 6   billion.
 7          994. During an earnings call for the second quarter of 2010, Charles Noski
 8   (“Noski”), Bank of America’s CFO, stated that “we increased our reps and
 9   warranties expense by $722 million to $1.2 billion as a result of our continued
10   evaluation of exposure to repurchases including our exposure to repurchase
11   demands from certain monoline insurers.” And during the earnings call for the
12   third quarter of 2010, Noski stated that “[t]hrough September, we’ve received $4.8
13   billion of reps and warranties claims related to the monoline-insured deals, of
14   which $4.2 billion remains outstanding, and approximately $550 million were
15   repurchased.”
16          995. Consistent with its assumption of Countrywide’s liabilities, Bank of
17   America has reached various settlement agreements in which it has directly taken
18   responsibility for Countrywide’s liabilities and paid to restructure certain of
19   Countrywide’s home loans. On October 6, 2008, Bank of America settled lawsuits
20   brought against Countrywide by state Attorneys General by agreeing to loan
21   modifications for 390,000 borrowers, an agreement valued up to $8.68 billion
22   (including up to $3.5 billion to California borrowers). Bank of America also
23   agreed to pay $150 million to help Countrywide customers who were already in or
24   were at serious risk of foreclosure, and an additional $70 million to help
25   Countrywide customers who had already lost their homes to make the transition to
26   other living arrangements. The loans were made before Bank of America acquired
27   Countrywide. In 2008, Bank of America restructured 300,000 home loans of
28   which 87% had been originated or serviced by Countrywide. In announcing that

                                             376                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 394 of 439 Page ID #:394



 1   its loan modification program, known as the National Homeowners Retention
 2   Program (“NHRP”), will now have a “principal forgiveness” component, Bank of
 3   America noted that it “developed and launched the NHRP to provide assistance to
 4   Countrywide borrowers.”
 5         996. On January 3, 2011, Bank of America paid $2.8 billion to GSEs
 6   Freddie Mac and Fannie Mae to settle claims of misrepresentations on billions of
 7   dollars in loans that went sour after Fannie Mae and Freddie Mac bought them
 8   from Countrywide. In exchange for the payments, Freddie Mac and Fannie Mae
 9   agreed to drop their demands that Bank of America buy back the Countrywide
10   mortgages. The payment of $1.28 billion to Freddie Mac settled 787,000 loan
11   claims (current and future) sold by Countrywide through 2008. The payment of
12   $1.34 billion (after applying credits to an agreed upon settlement amount of $1.52
13   billion) to Fannie Mae settled repurchase claims on 12,045 Countrywide loans
14   (with approximately $2.7 billion of unpaid principal balance) and other specific
15   claims on 5,760 Countrywide loans (nearly $1.3 billion of unpaid principal
16   balance).
17         997. On June 29, 2011, Bank of America announced that it had reached an
18   $8.5 billion agreement to resolve nearly all of the legacy Countrywide-issued first-
19   lien RMBS repurchase exposure. The settlement covers about $424 billion of the
20   mortgage bonds created by Countrywide between 2004 and 2008.               Bank of
21   America stated that with this agreement and other mortgage-related actions in the
22   second quarter of 2011, the company believed it had recorded reserves in its
23   financial statements for a substantial portion of its exposure to representation and
24   warranties claims on loans issued by Countrywide. The amount of the provision
25   totaled $14 billion. The settlement was the third in six months for Bank of
26   America, following the Fannie Mae and Freddie Mac settlement, and a similar deal
27   with insurer Assured Guaranty. “This is another important step we are taking in
28   the interest of our shareholders to minimize the impact of future economic

                                            377                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 395 of 439 Page ID #:395



 1   uncertainty and put legacy issues behind us,” said Bank of America CEO
 2   Moynihan. “We will continue to act aggressively, and in the best interest of our
 3   shareholders, to clean up the mortgage issues largely stemming from our purchase
 4   of Countrywide.”
 5         998. Bank of America has also taken responsibility for liabilities arising out
 6   of litigation against Countrywide’s former officers and directors, including the
 7   Officer Defendants. In October 2010, The New York Times reported that Bank of
 8   America is “on the hook” for $20 million of the disgorgement that Defendant
 9   Mozilo agreed to pay in his settlement agreement with the SEC. The agreement
10   and plan of merger between Bank of America and Countrywide provided that all
11   indemnification provisions “shall survive the merger and shall continue in full
12   force and effect . . . . for a period of six years.” According to the article, “Because
13   Countrywide would have had to pay Mr. Mozilo’s disgorgement, Bank of America
14   took on the same obligation, even though it had nothing to do with the company’s
15   operations at the time.”
16         999. Still, Bank of America has generated significant earnings from the
17   absorption of Countrywide’s mortgage business.
18         1000. Bank of America’s 2009 annual report stated that “[r]evenue, net of
19   interest expense on a fully taxable-equivalent (FTE) basis, rose to $120.9 billion,
20   representing a 63% increase from $74.0 billion in 2008, reflecting in part the
21   addition of Merrill Lynch and the full-year impact of Countrywide.” Bank of
22   America also reported that “[m]ortgage banking income increased $4.7 billion
23   driven by higher production and servicing income . . . primarily due to increased
24   volume as a result of the full-year impact of Countrywide . . . .” Insurance income
25   also increased $927 million “due to the full-year impact of Countrywide’s property
26   and casualty businesses.”
27         1001. Based on the above, Bank of America has “de facto” merged with
28   Countrywide, consolidating and merging with the Countrywide Defendants and

                                              378                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 396 of 439 Page ID #:396



 1   acquiring substantially all of the assets of all the Countrywide Defendants. Indeed,
 2   based on the same facts, the Supreme Court of the State of New York in MBIA Ins.
 3   Corp. v. Countrywide Home Loans, et al., Index No. 602825/2008, held that MBIA
 4   sufficiently alleged a de facto merger “in which Bank of America intended to
 5   absorb and continue the operation of Countrywide.” Order on Motion to Dismiss
 6   at 15 (Apr. 29, 2010).
 7          1002. Bank of America is thus Countrywide’s successor in liability, and is
 8   liable for any all damages resulting to Plaintiffs from the wrongful actions of
 9   Countrywide.
10   XVII.CLAIMS FOR RELIEF
11                                           COUNT I
12          VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
               AND RULE 10b-5 PROMULGATED THEREUNDER
13        (AGAINST COUNTRYWIDE, MOZILO, SAMBOL, AND SIERACKI)
14          1003. Plaintiffs repeat and reallege each and every allegation set forth in the
15   foregoing paragraphs as if fully set forth herein.
16          1004. This Count is asserted against Countrywide and the Officer
17   Defendants.
18          1005. Throughout the Relevant Period, Countrywide and the Officer
19   Defendants individually and in concert, directly and indirectly, by the use and
20   means of instrumentalities of interstate commerce and/or of the United States mail,
21   engaged and participated in a continuous course of conduct to conceal adverse
22   material information about Countrywide, including its true financial condition and
23   results, underwriting and loan origination practices and internal controls and
24   prospects, as specified herein. This plan, scheme and course of conduct was
25   intended to and, throughout the Relevant Period, did: (a) deceive the investing
26   public, including Plaintiffs, as alleged herein; (b) artificially inflate the market
27   price of Countrywide securities; and (c) cause Plaintiffs to purchase Countrywide
28   securities at artificially inflated prices.

                                                   379                         COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 397 of 439 Page ID #:397



 1         1006. In furtherance of this unlawful scheme, plan and course of conduct,
 2   these Defendants, individually and jointly, took the actions set forth herein. While
 3   in possession of material, adverse non-public information, these Defendants (a)
 4   employed devices, schemes and artifices to defraud; (b) made untrue statements of
 5   material fact and/or omitted to state material facts necessary to make the
 6   statements made not misleading; (c) sold shares while in possession of material,
 7   adverse non-public information; and (d) engaged in acts, practices and a course of
 8   conduct which operated as a fraud and deceit upon the purchasers of the
 9   Company’s securities in an effort to create and maintain artificially high market
10   prices for Countrywide’s securities in violation of Section 10(b) of the Exchange
11   Act and Rule 10b-5 promulgated thereunder. Each of these Defendants was a
12   direct, necessary and substantial participant in the common course of conduct
13   alleged herein.
14         1007. These Defendants knew or, but for their deliberate recklessness,
15   should have known, that the Company’s reported financial conditions and results
16   during the Relevant Period, as filed with the SEC and disseminated to the investing
17   public, were materially misstated and were not presented in accordance with
18   GAAP. Further, these Defendants knew of existing adverse facts which
19   undermined their representations about Countrywide’s existing business,
20   underwriting and loan origination practices, internal controls and prospects during
21   the Relevant Period.
22         1008. In addition to the duties of full disclosure imposed on the Officer
23   Defendants, as a result of their responsibility for the Company’s financial
24   statements and making affirmative statements and reports to the investing public,
25   the Officer Defendants had a duty to promptly disseminate truthful information
26   that would be material to investors in compliance with the integrated disclosure
27   provisions of the SEC as embodied in SEC Regulation S-X (17 C.F.R. §§ 210.1-01,
28   et seq.) and Regulation S-K (17 C.F.R. §§ 229.10, et seq.) and other SEC

                                            380                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 398 of 439 Page ID #:398



 1   regulations, including accurate and truthful information with respect to the
 2   Company’s financial condition, earnings and expenses so that the market price of
 3   the Company’s securities would be based on truthful, complete and accurate
 4   information.
 5         1009. Countrywide and the Officer Defendants, the top executive officers of
 6   the Company, are liable as direct participants in the wrongs complained of herein.
 7   Through their positions of control and authority as officers of the Company, each
 8   of these Defendants was able to and did control the content of the public
 9   statements disseminated by Countrywide. With knowledge of the falsity and/or
10   misleading nature of the statements contained therein and in reckless disregard of
11   the true financial results of the Company, these Defendants caused the heretofore
12   complained of public statements to contain misstatements and omissions of
13   material facts as alleged herein.
14         1010. Countrywide and the Officer Defendants acted with scienter
15   throughout the Relevant Period in that they either had actual knowledge of the
16   misrepresentations and/or omissions of material facts set forth herein or acted with
17   deliberate reckless disregard for the truth in that they failed to ascertain and to
18   disclose the true facts, even though such facts were available to them. The Officer
19   Defendants were among the senior management of the Company and were
20   therefore directly responsible for the false and misleading statements and/or
21   omissions disseminated to the public through press releases, news reports and
22   filings with the SEC.
23         1011. Countrywide and the Officer Defendants’ misrepresentations and/or
24   omissions were intentional or reckless and in some instances done for the purpose
25   of enriching themselves at the expense of the Company’s investors, including
26   Plaintiffs, and to conceal the Company’s true operating condition from the
27   investing public. Countrywide and the Officer Defendants engaged in this scheme
28

                                            381                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 399 of 439 Page ID #:399



 1   to inflate the Company’s reported revenues and prospects in order to create the
 2   illusion that Countrywide was a successful, strong and growing company.
 3          1012. As a result of those deceptive practices and false and misleading
 4   statements and/or omissions, the market price of Countrywide’s securities was
 5   artificially inflated throughout the Relevant Period. In ignorance of the false and
 6   misleading nature of the representations and/or omissions described above and the
 7   deceptive and manipulative devices employed by Countrywide and the Officer
 8   Defendants, Plaintiffs, in reliance on the integrity of the market and/or directly on
 9   the statements and reports of Defendants and the statements for which they are
10   responsible, purchased Countrywide’s securities at artificially inflated prices and
11   were damaged thereby.
12          1013. Had Plaintiffs known of the material adverse information not
13   disclosed by Countrywide and the Officer Defendants, or been aware of the truth
14   behind these Defendants’ material misstatements, they would not have purchased
15   Countrywide securities at artificially inflated prices, or at all.
16          1014. By virtue of the foregoing, Countrywide and the Officer Defendants
17   have violated Section 10(b) of the Exchange Act and Rule 10b-5 promulgated
18   thereunder.
19                                          COUNT II
20           VIOLATIONS OF SECTION 10(b) OF THE EXCHANGE ACT
                AND RULE 10b-5 PROMULGATED THEREUNDER
21                           (AGAINST KPMG)
22          1015. Plaintiffs repeat and reallege each and every allegation set forth above
23   as if fully set forth herein.
24          1016. This Count is asserted pursuant to Section 10(b) of the Exchange Act
25   and Rule 10b-5 promulgated thereunder by the SEC, on behalf of Plaintiffs against
26   Defendant KPMG.
27          1017. As alleged herein, throughout the Relevant Period, KPMG, directly
28   and indirectly, by the use of the means or instrumentalities of interstate commerce,

                                               382                            COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 400 of 439 Page ID #:400



 1   the United States mail and/or the facilities of national securities exchanges, made
 2   untrue statements of material fact and/or omitted to state material facts necessary
 3   to make their statements not misleading and carried out a plan, scheme and course
 4   of conduct, in violation of Section 10(b) of the Exchange Act and Rule 10b-5
 5   promulgated thereunder. KPMG intended to and did, as alleged herein, (i) deceive
 6   the investing public, including Plaintiffs; (ii) artificially inflate and maintain the
 7   prices of Countrywide common stock and other publicly traded securities,
 8   including but not limited to public debt and preferred securities specifically alleged
 9   herein; and (iii) cause Plaintiffs to purchase Countrywide securities at artificially
10   inflated prices.
11         1018. KPMG was responsible for issuing its false and misleading audit
12   reports and opinions alleged herein and having engaged in a plan, scheme and
13   course of conduct designed to deceive Plaintiffs, by virtue of having prepared,
14   approved, signed and/or disseminated documents which contained untrue
15   statements of material fact and/or omitted facts necessary to make the statements
16   therein not misleading.
17         1019. As set forth above, KPMG made its false and misleading statements
18   and omissions and engaged in the fraudulent activity described herein knowingly
19   and intentionally, or in such a deliberately reckless manner as to constitute willful
20   deceit and fraud upon Plaintiffs who purchased Countrywide common stock and/or
21   other Countrywide public securities, including but not limited to the securities
22   specifically alleged herein, during the Relevant Period.
23         1020. In ignorance of the false and misleading nature of KPMG’s statements
24   and omissions, and relying directly or indirectly on those statements or upon the
25   integrity of the market prices for Countrywide common stock and other publicly
26   traded securities, Plaintiffs purchased Countrywide securities at artificially inflated
27   prices during the Relevant Period. But for the fraud, Plaintiffs would not have
28   purchased Countrywide securities at artificially inflated prices. As set forth herein,

                                              383                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 401 of 439 Page ID #:401



 1   when the true facts were subsequently disclosed, the prices of Countrywide
 2   common stock and other publicly traded securities declined precipitously and
 3   Plaintiffs were harmed and damaged as a direct and proximate result of their
 4   purchases of Countrywide securities at artificially inflated prices and the
 5   subsequent decline in the prices of those securities when the truth began to be
 6   disclosed.
 7         1021. By virtue of the foregoing, Defendant KPMG is liable to Plaintiffs for
 8   violations of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated
 9   thereunder.
10                                        COUNT III
11          VIOLATIONS OF SECTION 20(a) OF THE EXCHANGE ACT
                 (AGAINST MOZILO, SAMBOL, AND SIERACKI)
12

13         1022. Plaintiffs repeat and reallege each and every allegation set forth in the
14   foregoing paragraphs as if fully set forth herein.
15         1023. This Count is asserted against the Officer Defendants.
16         1024. Mozilo, by virtue of his position with Countrywide and his specific
17   acts, was, at the time of the wrongs alleged herein, a controlling person of
18   Countrywide within the meaning of Section 20(a) of the Exchange Act. He had the
19   power and influence, and even exercised same, to cause Countrywide to engage in
20   the illegal conduct and wrongful practices complained of herein. Mozilo was the
21   Company’s co-founder and the Chairman of the Board, and actively managed the
22   Company, its reporting to investors and its accounting practices. Mozilo was
23   thereby and otherwise liable as a control person under Section 20(a) for the fraud
24   perpetrated by Defendants as alleged herein.
25         1025. Sambol, by virtue of his position with Countrywide and his specific
26   acts, was, at the time of the wrongs alleged herein, a controlling person of
27   Countrywide within the meaning of Section 20(a) of the Exchange Act. He had the
28   power and influence, and even exercised same, to cause Countrywide to engage in

                                              384                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 402 of 439 Page ID #:402



 1   the illegal conduct and wrongful practices complained of herein. Sambol became
 2   the Company’s President and COO in September 2006 and a member of the Board
 3   from 2007 through the merger, and actively managed the Company, its reporting to
 4   investors and its accounting practices. Sambol was thereby and otherwise liable as
 5   a control person under Section 20(a) of the Exchange Act for the fraud perpetrated
 6   by Defendants as alleged herein.
 7         1026. Sieracki, by virtue of his position with Countrywide and his specific
 8   acts, was, at the time of the wrongs alleged herein, a controlling person of
 9   Countrywide within the meaning of Section 20(a) of the Exchange Act. He had the
10   power and influence, and even exercised same, to cause Countrywide to engage in
11   the illegal conduct and practices complained of herein. Sieracki was the
12   Company’s Executive Managing Director and CFO, and actively managed the
13   Company, its reporting to investors and its accounting practices. Sieracki was
14   thereby and otherwise liable as a control person under Section 20(a) of the
15   Exchange Act for the fraud perpetrated by Defendants as alleged herein.
16         1027. By reason of the conduct of Countrywide as alleged in this Complaint,
17   the Officer Defendants are liable for the aforesaid wrongful conduct of
18   Countrywide and liable to Plaintiffs for the substantial damages which they
19   suffered in connection with their purchases or acquisitions of securities as a result
20   of Countrywide’s violations of the Exchange Act.
21                                       COUNT IV
22           VIOLATIONS OF SECTION 20A OF THE EXCHANGE ACT
                      (AGAINST MOZILO AND SAMBOL)
23

24         1028. Plaintiffs repeat and reallege each and every allegation above as if
25   fully set forth herein.
26         1029. This Count is asserted pursuant to Section 20A of the Exchange Act
27   against Defendants Mozilo and Sambol on behalf of Plaintiffs that purchased
28   Countrywide common stock contemporaneously with any of these Defendants’

                                             385                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 403 of 439 Page ID #:403



 1   sales of Countrywide common stock during the Relevant Period (the “Section 20A
 2   Plaintiffs”).
 3          1030. Each of these Defendants sold substantial numbers of shares of
 4   Countrywide common stock during the Relevant Period while in possession of
 5   material, adverse, nonpublic information. This conduct violated Section 20A of the
 6   Exchange Act.
 7          1031. The Section 20A Plaintiffs purchased shares of Countrywide common
 8   stock on the same day as, or close in time to, sales of Countrywide common stock
 9   by the Defendants named in this Count while these Defendants were in possession
10   of material, adverse, nonpublic information. These sales and purchases were
11   contemporaneous within the meaning of Section 20A of the Exchange Act.
12          1032. Accordingly, under Section 20A of the Exchange Act, the Defendants
13   named in this Count are each liable to the Section 20A Plaintiffs for all profits
14   gained and losses avoided by them as a result of their stock sales.
15          1033. The Defendants named in this Count are required to account for all
16   such stock sales and to disgorge their profits or ill-gotten gains.
17                                         COUNT V
18        VIOLATIONS OF SECTION 11 OF THE SECURITIES ACT BY
             PURCHASERS OF SERIES B MEDIUM-TERM NOTES
19    (AGAINST COUNTRYWIDE, MOZILO, SAMBOL, SIERACKI AND KPMG)
20          1034. Plaintiffs repeat and reallege each and every allegation above as if
21   fully set forth herein except for allegations of fraudulent intent. For purposes of
22   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
23   disclaim any claim of fraud or intentional misconduct.
24          1035. This Count is brought pursuant to Section 11 of the Securities Act
25   against Defendants Countrywide, Mozilo, Sambol, Sieracki and KPMG by
26   Plaintiffs BlackRock Funds, Thrivent Funds, and T. Rowe Price Funds that, during
27   the Relevant Period, purchased or otherwise acquired Countrywide Series B
28

                                              386                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 404 of 439 Page ID #:404



 1   Medium-Term Notes issued pursuant or traceable to the Series B Medium-Term
 2   Notes Registration Statement (the “Series B Plaintiffs”).
 3         1036. Countrywide was the registrant for the Series B Medium-Term Notes
 4   Registration Statement, and issued Series B Medium-Term Notes pursuant to the
 5   Series B Medium-Term Notes Registration Statement.
 6         1037. Defendants Mozilo, Sambol, and Sieracki each signed the Series B
 7   Medium-Term Notes Registration Statement.
 8         1038. At the time the Series B Medium-Term Notes Registration Statement
 9   and Prospectus were filed, Defendant Mozilo was a director of Countrywide.
10         1039. Defendant KPMG was the auditor for Countrywide during the
11   Relevant Period and consented to being named in the Series B Medium-Term
12   Notes Registration Statement as a party that certified the audited financial
13   statements contained or incorporated by reference therein. KPMG’s audit report
14   incorrectly stated that its audits were performed in accordance with GAAS and that
15   the Company’s financial statements were fairly presented in accordance with
16   GAAP.
17         1040. As set forth above, the Series B Medium-Term Notes Registration
18   Statement contained untrue statements of material fact, including the financial
19   statements of Countrywide. In addition, the Series B Medium-Term Notes
20   Registration Statement omitted to state other facts required to be stated therein or
21   necessary to make the statements therein not misleading, including Countrywide’s
22   violations of GAAP. The facts misstated and omitted would have been material to a
23   reasonable person reviewing the Series B Medium-Term Notes Registration
24   Statement.
25         1041. Countrywide, as issuer of the Series B Medium-Term Notes, is strictly
26   liable for the material misstatements and omissions contained in the Series B
27   Medium-Term Notes Registration Statement.
28

                                             387                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 405 of 439 Page ID #:405



 1         1042. Defendants Mozilo, Sambol, Sieracki, and KPMG owed to the Series
 2   B Plaintiffs the duty to make a reasonable and diligent investigation of the
 3   statements contained in the Series B Medium-Term Notes Registration Statement,
 4   to ensure that the statements contained or incorporated by reference therein were
 5   true and that there was no omission to state a material fact required to be stated
 6   therein in order to make the statements contained therein not misleading.
 7         1043. These Defendants did not make a reasonable and diligent
 8   investigation of the statements contained or incorporated by reference in the Series
 9   B Medium-Term Notes Registration Statement, and did not possess reasonable
10   grounds for believing that the Series B Medium-Term Notes Registration
11   Statement did not contain an untrue statement or omit to state a material fact
12   required to be stated therein or necessary to make the statements therein not
13   misleading.
14         1044. Defendants Mozilo, Sambol, and Sieracki were negligent in failing to
15   conduct a reasonable investigation of the statements contained in the Series B
16   Medium-Term Notes Registration Statement regarding Countrywide’s financial
17   performance, internal controls, underwriting standards and lending practices and
18   did not possess reasonable grounds for believing that the statements contained
19   therein were true and not materially misstated.
20         1045. Defendant KPMG, which consented to the inclusion of its opinions in
21   the Series B Medium-Term Notes Registration Statement, negligently failed to
22   perform its audits of Countrywide in a reasonable manner and, thus, its audits did
23   not constitute a reasonable investigation of whether the Company’s financial
24   statements were presented in compliance with GAAP and whether management’s
25   assessment of internal controls was properly and accurately presented.
26         1046. The Series B Plaintiffs purchased Series B Medium-Term Notes
27   issued pursuant or traceable to the Series B Medium-Term Notes Registration
28   Statement and were damaged thereby.

                                             388                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 406 of 439 Page ID #:406



 1         1047. The Series B Plaintiffs did not know, nor in the exercise of reasonable
 2   diligence could have known, of the untrue statements of material fact or omissions
 3   of material facts in the Series B Medium-Term Notes Registration Statement when
 4   they purchased or acquired their securities.
 5         1048. By reason of the foregoing, the Defendants named in this Count are
 6   liable to the Series B Plaintiffs for violation of Section 11 of the Securities Act.
 7                                        COUNT VI
 8       VIOLATIONS OF SECTION 12(a)(2) OF THE SECURITIES ACT BY
             PURCHASERS OF SERIES B MEDIUM-TERM NOTES
 9                      (AGAINST COUNTRYWIDE)
10         1049. Plaintiffs repeat and reallege each and every allegation above as if
11   fully set forth herein except for allegations of fraudulent intent. For purposes of
12   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
13   disclaim any claim of fraud or intentional misconduct.
14         1050. This Count is brought pursuant to Section 12(a)(2) of the Securities
15   Act against Defendant Countrywide by Plaintiffs Thrivent Funds and T. Rowe
16   Price Funds that, during the Relevant Period, purchased or otherwise acquired
17   Countrywide Series B Medium-Term Notes issued pursuant to the Series B
18   Medium-Term Notes Prospectus.
19         1051. Countrywide was a statutory seller of the Series B Medium-Term
20   Notes, including under SEC Rule 159A, which provides that an issuer is a statutory
21   seller for purposes of Section 12(a)(2) of the Securities Act regardless of the form
22   of underwriting. In addition, Countrywide solicited the purchase of its Series B
23   Medium-Term Notes, to serve its own financial interests, by the use of means or
24   instruments of transportation or communication in interstate commerce or of the
25   United States mail and by means of the Series B Medium-Term Notes Prospectus.
26   Further, the Series B Medium-Term Notes Registration Statement, of which
27   Countrywide is the registrant, states that “for the purpose of determining liability
28   of a registrant under the Securities Act of 1933 to any purchaser in the initial

                                               389                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 407 of 439 Page ID #:407



 1   distribution of the securities, each undersigned registrant undertakes that in a
 2   primary offering of securities . . . regardless of the underwriting method used to
 3   sell the securities to the purchaser . . . the undersigned registrant will be a seller to
 4   the purchaser and will be considered to offer or sell such securities to such
 5   purchaser.”
 6         1052. As alleged herein, the Series B Medium-Term Notes Prospectus
 7   contained untrue statements of material fact, including the financial statements of
 8   Countrywide. In addition, the Series B Medium-Term Notes Prospectus omitted to
 9   state material facts required to be stated therein or necessary to make the
10   statements therein not misleading, including Countrywide’s violations of GAAP.
11   The facts misstated and omitted would have been material to a reasonable person
12   reviewing the Series B Medium-Term Notes Prospectus.
13         1053. Countrywide owed to Plaintiffs Thrivent Funds and T. Rowe Price
14   Funds the duty to make a reasonable and diligent investigation of the statements
15   contained in the Series B Medium-Term Notes Prospectus, to ensure that the
16   statements contained or incorporated by reference therein were true and that there
17   was no omission to state a material fact required to be stated therein in order to
18   make the statements contained therein not misleading.
19         1054. Countrywide did not make a reasonable and diligent investigation of
20   the statements contained or incorporated by reference in the Series B Medium-
21   Term Notes Prospectus and did not possess reasonable grounds for believing that
22   the Series B Medium-Term Notes Prospectus did not contain an untrue statement
23   of material fact or omit to state a material fact required to be stated therein or
24   necessary to make the statements therein not misleading.
25         1055. Plaintiffs Thrivent Funds and T. Rowe Price Funds did not know, nor
26   in the exercise of reasonable diligence could they have known, of the untrue
27   statements of material fact or omissions of material facts in the Series B Medium-
28   Term Notes Prospectus when they purchased or acquired the securities.

                                               390                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 408 of 439 Page ID #:408



 1         1056. Plaintiffs Thrivent Funds and T. Rowe Price Funds purchased Series B
 2   Medium-Term Notes pursuant to the Series B Medium-Term Notes Prospectus in
 3   an initial public offering, within 40 days of the relevant prospectus supplement,
 4   pricing supplement, or free writing prospectus, and were damaged thereby.
 5         1057. By reason of the foregoing, Countrywide and Bank of America are
 6   liable to Plaintiffs Thrivent Funds and T. Rowe Price Funds for violations of
 7   Section 12(a)(2) of the Securities Act. With respect to Series B Medium-Term
 8   Notes that Plaintiffs Thrivent Funds and T. Rowe Price Funds have retained,
 9   Plaintiffs Thrivent Funds and T. Rowe Price Funds have the right to rescind and
10   recover the consideration paid for such notes. Plaintiffs Thrivent Funds and T.
11   Rowe Price Funds are entitled to rescission by tendering the Series B Medium-
12   Term Notes, or proceeds from the sale thereof, to Countrywide and/or Bank of
13   America in exchange for the value of the consideration paid for such notes, plus
14   interest. In the alternative, Plaintiffs Thrivent Funds and T. Rowe Price Funds are
15   entitled to damages in an amount to be proven at trial.
16                                       COUNT VII
17         VIOLATIONS OF SECTION 15 OF THE SECURITIES ACT BY
              PURCHASERS OF SERIES B MEDIUM-TERM NOTES
18               (AGAINST MOZILO, SAMBOL, AND SIERACKI)
19         1058. Plaintiffs repeat and reallege each and every allegation above as if
20   fully set forth herein except for allegations of fraudulent intent. For purposes of
21   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
22   disclaim any claim of fraud or intentional misconduct.
23         1059. This Count is brought pursuant to Section 15 of the Securities Act
24   against Defendants Mozilo, Sambol, and Sieracki by the Series B Plaintiffs.
25         1060. Countrywide violated Section 11 of the Securities Act by issuing the
26   Series B Medium-Term Notes Registration Statement which contained untrue
27   statements of material fact and omitted to state material facts required to be stated
28   therein or necessary in order to make the statements therein not misleading. The

                                              391                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 409 of 439 Page ID #:409



 1   facts misstated and omitted would have been material to a reasonable person
 2   reviewing the Series B Medium-Term Notes Registration Statement.
 3         1061. Countrywide violated Section 12(a)(2) of the Securities Act by
 4   soliciting the purchase of Series B Medium-Term Notes by means of the Series B
 5   Medium-Term Notes Prospectus which contained untrue statements of material
 6   fact and omitted to state material facts required to be stated therein or necessary in
 7   order to make the statements therein not misleading. The facts misstated and
 8   omitted would have been material to a reasonable person reviewing the Series B
 9   Medium-Term Notes Prospectus.
10         1062. Defendants Mozilo and Sambol were controlling persons of
11   Countrywide when each of the Series B Medium-Term Notes Registration
12   Statement and Series B Medium-Term Notes Prospectus was filed and became
13   effective, because of their senior executive positions with Countrywide; their direct
14   involvement in the Company’s day-to-day operations, including its mortgage
15   banking and lending practices and financial reporting and accounting functions;
16   and their signatures on, and participation in, the preparation and dissemination of
17   this registration statement and prospectus.
18         1063. By virtue of the foregoing, Defendants Mozilo, Sambol, and Sieracki
19   each had the power to influence and control, and did influence and control, directly
20   or indirectly, the decision-making of Countrywide, including the content of its
21   financial statements and these registration statements and prospectuses.
22         1064. Defendants Mozilo, Sambol, and Sieracki acted negligently and
23   without reasonable care regarding the accuracy of the information contained and
24   incorporated by reference in these registration statements and prospectuses and
25   lacked reasonable grounds to believe that such information was accurate and
26   complete in all material respects.
27         1065. The Series B Plaintiffs purchased Countrywide Series B Medium-
28   Term Notes pursuant or traceable to the Series B Medium-Term Notes Registration

                                             392                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 410 of 439 Page ID #:410



 1   Statement, or pursuant to the Series B Medium-Term Notes Prospectus, and were
 2   damaged thereby.
 3          1066. The Series B Plaintiffs did not know, nor in the exercise of reasonable
 4   diligence could have known, of the untrue statements of material fact or omissions
 5   of material facts in the Series B Medium-Term Notes Registration Statement and
 6   Prospectus when they purchased or acquired the securities.
 7          1067. By reason of the foregoing, Defendants Mozilo, Sambol, and Sieracki
 8   are liable to the Series B Plaintiffs for violations of Section 15 of the Securities
 9   Act.
10                                       COUNT VIII
11        VIOLATIONS OF SECTION 11 OF THE SECURITIES ACT BY
                     PURCHASERS OF 6.25% NOTES
12    (AGAINST COUNTRYWIDE, MOZILO, SAMBOL, SIERACKI AND KPMG)
13          1068. Plaintiffs repeat and reallege each and every allegation above as if
14   fully set forth herein except for allegations of fraudulent intent. For purposes of
15   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
16   disclaim any claim of fraud or intentional misconduct.
17          1069. This Count is brought pursuant to Section 11 of the Securities Act
18   against Defendants Countrywide, Mozilo, Sambol, Sieracki and KPMG by
19   Plaintiffs Thrivent Funds, TIAA-CREF Funds, and T. Rowe Price Funds that
20   purchased or otherwise acquired Countrywide 6.25% Notes pursuant or traceable
21   to the 6.25% Notes Registration Statement (“6.25% Plaintiffs”).
22          1070. Countrywide was the registrant for the 6.25% Notes Registration
23   Statement, and issued 6.25% Notes pursuant to the 6.25% Notes Registration
24   Statement.
25          1071. Defendants Mozilo, Sambol, and Sieracki each signed the 6.25%
26   Notes Registration Statement.
27          1072. At the time the 6.25% Notes Registration Statement and Prospectus
28   were filed, Defendant Mozilo was a director of Countrywide.

                                              393                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 411 of 439 Page ID #:411



 1         1073. Defendant KPMG was the auditor for Countrywide during the
 2   Relevant Period and consented to being named in the 6.25% Notes Registration
 3   Statement as a party that certified the audited financial statements contained or
 4   incorporated by reference therein. KPMG’s audit report incorrectly stated that its
 5   audits were performed in accordance with GAAS and that the Company’s financial
 6   statements were fairly presented in accordance with GAAP.
 7         1074. As set forth above, the 6.25% Notes Registration Statement contained
 8   untrue statements of material fact, including the financial statements of
 9   Countrywide. In addition, the 6.25% Notes Registration Statement omitted to state
10   other facts required to be stated therein or necessary to make the statements therein
11   not misleading, including Countrywide’s violations of GAAP. The facts misstated
12   and omitted would have been material to a reasonable person reviewing the 6.25%
13   Notes Registration Statement.
14         1075. Countrywide, as issuer of the 6.25% Notes, is strictly liable for the
15   material misstatements and omissions contained in the 6.25% Notes Registration
16   Statement.
17         1076. Defendants Mozilo, Sambol, Sieracki, and KPMG owed to the 6.25%
18   Plaintiffs the duty to make a reasonable and diligent investigation of the statements
19   contained in the 6.25% Notes Registration Statement, to ensure that the statements
20   contained or incorporated by reference therein were true and that there was no
21   omission to state a material fact required to be stated therein in order to make the
22   statements contained therein not misleading.
23         1077. These Defendants did not make a reasonable and diligent
24   investigation of the statements contained or incorporated by reference in the 6.25%
25   Notes Registration Statement, and did not possess reasonable grounds for believing
26   that the 6.25% Notes Registration Statement did not contain an untrue statement or
27   omit to state a material fact required to be stated therein or necessary to make the
28   statements therein not misleading.

                                             394                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 412 of 439 Page ID #:412



 1         1078. Defendants Mozilo, Sambol, and Sieracki were negligent in failing to
 2   conduct a reasonable investigation of the statements contained in the 6.25% Notes
 3   Registration Statement regarding Countrywide’s financial performance, internal
 4   controls, underwriting standards and lending practices and did not possess
 5   reasonable grounds for believing that the statements contained therein were true
 6   and not materially misstated.
 7         1079. Defendant KPMG, which consented to the inclusion of its opinions in
 8   the 6.25% Notes Registration Statement, negligently failed to perform its audits of
 9   Countrywide in a reasonable manner and, thus, its audits did not constitute a
10   reasonable investigation of whether the Company’s financial statements were
11   presented in compliance with GAAP and whether management’s assessment of
12   internal controls was properly and accurately presented.
13         1080. The 6.25% Plaintiffs purchased 6.25% Notes issued pursuant or
14   traceable to the 6.25% Notes Registration Statement and were damaged thereby.
15         1081. The 6.25% Plaintiffs did not know, nor in the exercise of reasonable
16   diligence could have known, of the untrue statements of material fact or omissions
17   of material facts in the 6.25% Notes Registration Statement when they purchased
18   or acquired their securities.
19         1082. By reason of the foregoing, the Defendants named in this Count are
20   liable to the 6.25% Plaintiffs for violation of Section 11 of the Securities Act.
21                                        COUNT IX
22       VIOLATIONS OF SECTION 12(a)(2) OF THE SECURITIES ACT BY
                      PURCHASERS OF 6.25% NOTES
23                      (AGAINST COUNTRYWIDE)
24         1083. Plaintiffs repeat and reallege each and every allegation above as if
25   fully set forth herein except for allegations of fraudulent intent. For purposes of
26   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
27   disclaim any claim of fraud or intentional misconduct.
28

                                              395                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 413 of 439 Page ID #:413



 1         1084. This Count is brought pursuant to Section 12(a)(2) of the Securities
 2   Act against Defendant Countrywide by Plaintiffs TIAA-CREF Funds and T. Rowe
 3   Price Funds that, during the Relevant Period, purchased or otherwise acquired
 4   Countrywide 6.25% Notes issued pursuant to the 6.25% Notes Prospectus.
 5         1085. Countrywide was a statutory seller of the 6.25% Notes, including
 6   under SEC Rule 159A, which provides that an issuer is a statutory seller for
 7   purposes of Section 12(a)(2) of the Securities Act regardless of the form of
 8   underwriting. In addition, Countrywide solicited the purchase of its 6.25% Notes,
 9   to serve its own financial interests, by the use of means or instruments of
10   transportation or communication in interstate commerce or of the United States
11   mail and by means of the 6.25% Notes Prospectus. Further, the 6.25% Notes
12   Registration Statement, of which Countrywide is the registrant, states that “for the
13   purpose of determining liability of a registrant under the Securities Act of 1933 to
14   any purchaser in the initial distribution of the securities, each undersigned
15   registrant undertakes that in a primary offering of securities . . . regardless of the
16   underwriting method used to sell the securities to the purchaser . . . the undersigned
17   registrant will be a seller to the purchaser and will be considered to offer or sell
18   such securities to such purchaser.”
19         1086. As alleged herein, the 6.25% Notes Prospectus contained untrue
20   statements of material fact, including the financial statements of Countrywide. In
21   addition, the 6.25% Notes Prospectus omitted to state material facts required to be
22   stated therein or necessary to make the statements therein not misleading,
23   including Countrywide’s violations of GAAP. The facts misstated and omitted
24   would have been material to a reasonable person reviewing the 6.25% Notes
25   Prospectus.
26         1087. Countrywide owed to Plaintiffs TIAA-CREF Funds and T. Rowe
27   Price Funds the duty to make a reasonable and diligent investigation of the
28   statements contained in the 6.25% Notes Prospectus, to ensure that the statements

                                             396                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 414 of 439 Page ID #:414



 1   contained or incorporated by reference therein were true and that there was no
 2   omission to state a material fact required to be stated therein in order to make the
 3   statements contained therein not misleading.
 4         1088. Countrywide did not make a reasonable and diligent investigation of
 5   the statements contained or incorporated by reference in the 6.25% Notes
 6   Prospectus and did not possess reasonable grounds for believing that the 6.25%
 7   Notes Prospectus did not contain an untrue statement of material fact or omit to
 8   state a material fact required to be stated therein or necessary to make the
 9   statements therein not misleading.
10         1089. Plaintiffs TIAA-CREF Funds and T. Rowe Price Funds did not know,
11   nor in the exercise of reasonable diligence could they have known, of the untrue
12   statements of material fact or omissions of material facts in the 6.25% Notes
13   Prospectus when they purchased or acquired the securities.
14         1090. Plaintiffs TIAA-CREF Funds and T. Rowe Price Funds purchased
15   6.25% Notes pursuant to the 6.25% Notes Prospectus in an initial public offering,
16   within 40 days of the relevant prospectus supplement or free writing prospectus,
17   and were damaged thereby.
18         1091. By reason of the foregoing, Countrywide and Bank of America are
19   liable to Plaintiffs TIAA-CREF Funds and T. Rowe Price Funds for violations of
20   Section 12(a)(2) of the Securities Act. With respect to 6.25% Notes that Plaintiffs
21   TIAA-CREF Funds and T. Rowe Price Funds have retained, such Plaintiffs have
22   the right to rescind and recover the consideration paid for such notes. Plaintiffs
23   TIAA-CREF Funds and T. Rowe Price Funds are entitled to rescission by
24   tendering the 6.25% Notes, or proceeds from the sale thereof, to Countrywide
25   and/or Bank of America in exchange for the value of the consideration paid for
26   such notes, plus interest. In the alternative, Plaintiffs TIAA-CREF Funds and T.
27   Rowe Price Funds are entitled to damages in an amount to be proven at trial.
28

                                            397                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 415 of 439 Page ID #:415



 1                                        COUNT X
 2         VIOLATIONS OF SECTION 15 OF THE SECURITIES ACT BY
                      PURCHASERS OF 6.25% NOTES
 3              (AGAINST MOZILO, SAMBOL, AND SIERACKI)
 4         1092. Plaintiffs repeat and reallege each and every allegation above as if
 5   fully set forth herein except for allegations of fraudulent intent. For purposes of
 6   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
 7   disclaim any claim of fraud or intentional misconduct.
 8         1093. This Count is brought pursuant to Section 15 of the Securities Act
 9   against Defendants Mozilo, Sambol, and Sieracki by the 6.25% Plaintiffs.
10         1094. Countrywide violated Section 11 of the Securities Act by issuing the
11   6.25% Notes Registration Statement which contained untrue statements of material
12   fact and omitted to state material facts required to be stated therein or necessary in
13   order to make the statements therein not misleading. The facts misstated and
14   omitted would have been material to a reasonable person reviewing the 6.25%
15   Notes Registration Statement.
16         1095. Defendants Mozilo, Sambol, and Sieracki were controlling persons of
17   Countrywide when the 6.25% Notes Registration Statement was filed and became
18   effective, because of their senior executive positions with Countrywide; their direct
19   involvement in the Company’s day-to-day operations, including its mortgage
20   banking and lending practices and financial reporting and accounting functions;
21   and their signatures on and participation in the preparation and dissemination of
22   each of this registration statement and prospectus.
23         1096. By virtue of the foregoing, Defendants Mozilo, Sambol, and Sieracki
24   each had the power to influence and control, and did influence and control, directly
25   or indirectly, the decision-making of Countrywide, including the content of its
26   financial statements and these registration statements and prospectuses.
27         1097. Defendants Mozilo, Sambol, and Sieracki acted negligently and
28   without reasonable care regarding the accuracy of the information contained and

                                              398                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 416 of 439 Page ID #:416



 1   incorporated by reference in these registration statements and prospectuses and
 2   lacked reasonable grounds to believe that such information was accurate and
 3   complete in all material respects.
 4         1098. The 6.25% Plaintiffs purchased 6.25% Notes pursuant or traceable to
 5   the 6.25% Notes Registration Statement or Prospectus, and were damaged thereby.
 6         1099. The 6.25% Plaintiffs did not know, nor in the exercise of reasonable
 7   diligence could have known, of the untrue statements of material fact or omissions
 8   of material facts in the 6.25% Notes Registration Statement and Prospectus when
 9   they purchased or acquired the securities.
10         1100. By reason of the foregoing, Defendants Mozilo, Sambol, and Sieracki
11   are liable to the 6.25% Plaintiffs for violations of Section 15 of the Securities Act.
12                                        COUNT XI
13          VIOLATIONS OF SECTION 11 OF THE SECURITIES ACT BY
                 PURCHASERS OF 7% CAPITAL SECURITIES
14                      (AGAINST ALL DEFENDANTS)
15         1101. Plaintiffs repeat and reallege each and every allegation above as if
16   fully set forth herein except for allegations of fraudulent intent. For purposes of
17   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
18   disclaim any claim of fraud or intentional misconduct.
19         1102. This Count is brought pursuant to Section 11 of the Securities Act
20   against Defendants Countrywide, CCV, Mozilo, Sambol, Sieracki and KPMG by
21   Plaintiff Nuveen Funds that purchased or otherwise acquired CCV 7% Capital
22   Securities pursuant or traceable to the 7% Capital Securities Registration
23   Statement.
24         1103. Countrywide and CCV were the registrants for the 7% Capital
25   Securities Registration Statement, and CCV issued the 7% Capital Securities
26   pursuant to that registration statement.
27         1104. Defendants Mozilo, Sambol, and Sieracki each signed the 7% Capital
28   Securities Registration Statement.

                                                399                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 417 of 439 Page ID #:417



 1         1105. At the time the 7% Capital Securities Registration Statement and
 2   prospectus supplement were filed, Defendant Mozilo was a director of
 3   Countrywide.
 4         1106. Defendant KPMG was the auditor for Countrywide during the
 5   Relevant Period and consented to being named in the 7% Capital Securities
 6   Registration Statement as a party that certified audited financial statements
 7   contained or incorporated by reference therein. KPMG’s audit report incorrectly
 8   stated that its audits were performed in accordance with GAAS and that the
 9   Company’s financial statements were fairly presented in accordance with GAAP.
10         1107. As set forth above, the 7% Capital Securities Registration Statement
11   contained untrue statements of material fact, including the financial statements of
12   Countrywide. In addition, the 7% Capital Securities Registration Statement omitted
13   to state other facts required to be stated therein or necessary to make the statements
14   therein not misleading, including Countrywide’s violations of GAAP. The facts
15   misstated and omitted would have been material to a reasonable person reviewing
16   the 7% Capital Securities Registration Statement.
17         1108. CCV, as issuer of the 7% Capital Securities, is strictly liable for the
18   material misstatements and omissions contained in the 7% Capital Securities
19   Registration Statement.
20         1109. The other Defendants named in this Count owed Plaintiff Nuveen
21   Funds the duty to make a reasonable and diligent investigation of the statements
22   contained in the 7% Capital Securities Registration Statement, to ensure that the
23   statements contained or incorporated by reference therein were true and that there
24   was no omission to state a material fact required to be stated therein in order to
25   make the statements contained therein not misleading.
26         1110. These Defendants did not make a reasonable and diligent
27   investigation of the statements contained or incorporated by reference in the 7%
28   Capital Securities Registration Statement, and did not possess reasonable grounds

                                             400                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 418 of 439 Page ID #:418



 1   for believing that the 7% Capital Securities Registration Statement did not contain
 2   an untrue statement or omit to state a material fact required to be stated therein or
 3   necessary to make the statements therein not misleading.
 4         1111. Similarly, Defendants Mozilo, Sambol, and Sieracki were negligent in
 5   failing to conduct a reasonable investigation of the statements contained in the 7%
 6   Capital Securities Registration Statement regarding Countrywide’s financial
 7   performance, internal controls, underwriting standards and lending practices, and
 8   did not possess reasonable grounds for believing that the statements contained
 9   therein were true and not materially misstated.
10         1112. Defendant KPMG, which consented to the inclusion of its opinions in
11   the 7% Capital Securities Registration Statement, negligently failed to perform its
12   audits of Countrywide in a reasonable manner and, thus, its audits did not
13   constitute a reasonable investigation of whether the Company’s financial
14   statements were presented in compliance with GAAP and whether management’s
15   assessment of internal controls was properly and accurately presented.
16         1113. Plaintiff Nuveen Funds purchased 7% Capital Securities issued
17   pursuant or traceable to the 7% Capital Securities Registration Statement and was
18   damaged thereby.
19         1114. Plaintiff Nuveen Funds did not know, nor in the exercise of reasonable
20   diligence could have known, of the untrue statements of material fact or omissions
21   of material facts in the 7% Capital Securities Registration Statement when it
22   purchased or acquired its securities.
23         1115. By reason of the foregoing, the Defendants named in this Count are
24   liable to Plaintiff Nuveen Funds for violations of Section 11 of the Securities Act.
25

26

27

28

                                             401                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 419 of 439 Page ID #:419



 1                                        COUNT XII
 2         VIOLATIONS OF SECTION 12(a)(2) OF THE SECURITIES ACT
                BY PURCHASERS OF 7% CAPITAL SECURITIES
 3                   (AGAINST COUNTRYWIDE AND CCV)
 4         1116. Plaintiffs repeat and reallege each and every allegation above as if
 5   fully set forth herein except for allegations of fraudulent intent. For purposes of
 6   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
 7   disclaim any claim of fraud or intentional misconduct.
 8         1117. This Count is brought pursuant to Section 12(a)(2) of the Securities
 9   Act against Defendants Countrywide and CCV by Plaintiff Nuveen Funds that
10   purchased or otherwise acquired CCV 7% Capital Securities pursuant to the 7%
11   Capital Securities Registration Statement.
12         1118. Countrywide and CCV were statutory sellers of the 7% Capital
13   Securities including under SEC Rule 159A, which provides that an issuer is a
14   statutory seller for purposes of Section 12(a)(2) of the Securities Act regardless of
15   the form      of underwriting.   In addition, Countrywide and CCV solicited the
16   purchase of the 7% Capital Securities, to serve their own financial interests, by the
17   use of means or instruments of transportation or communication in interstate
18   commerce or of the United States mail and by means of the 7% Capital Securities
19   Prospectus. Further, the 7% Capital Securities Registration Statement, of which
20   Countrywide and CCV are registrants, states that “for the purpose of determining
21   liability of a registrant under the Securities Act of 1933 to any purchaser in the
22   initial distribution of the securities, each undersigned registrant undertakes that in a
23   primary offering of securities . . . regardless of the underwriting method used to
24   sell the securities to the purchaser . . . the undersigned registrant will be a seller to
25   the purchaser and will be considered to offer or sell such securities to such
26   purchaser.”
27         1119. As alleged herein, the 7% Capital Securities Prospectus contained
28   untrue statements of material fact, including the financial statements of

                                               402                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 420 of 439 Page ID #:420



 1   Countrywide. In addition, the 7% Capital Securities Prospectus omitted to state
 2   material facts required to be stated therein or necessary to make the statements
 3   therein not misleading, including Countrywide’s violations of GAAP. The facts
 4   misstated and omitted would have been material to a reasonable person reviewing
 5   the 7% Capital Securities Prospectus.
 6         1120. Countrywide and CCV owed to Plaintiff Nuveen Funds the duty to
 7   make a reasonable and diligent investigation of the statements contained in the 7%
 8   Capital Securities Prospectus, to ensure that the statements contained or
 9   incorporated by reference therein were true and that there was no omission to state
10   a material fact required to be stated therein in order to make the statements
11   contained therein not misleading.
12         1121. Countrywide and CCV did not make a reasonable and diligent
13   investigation of the statements contained or incorporated by reference in the 7%
14   Capital Securities Prospectus and did not possess reasonable grounds for believing
15   that the 7% Capital Securities Prospectus did not contain an untrue statement of
16   material fact or omit to state a material fact required to be stated therein or
17   necessary to make the statements therein not misleading.
18         1122. Plaintiff Nuveen Funds purchased 7% Capital Securities pursuant to
19   the 7% Capital Securities Prospectus in an initial public offering, within 40 days of
20   the relevant prospectus supplement, and was damaged thereby.
21         1123. Plaintiff Nuveen Funds did not know, nor in the exercise of reasonable
22   diligence could have known, of the untrue statements of material fact or omissions
23   of material facts in the 7% Capital Securities Prospectus when it purchased or
24   acquired the securities.
25         1124. By reason of the foregoing, Countrywide, CCV, and Bank of America
26   are liable to Plaintiff Nuveen Funds for violations of Section 12(a)(2) of the
27   Securities Act. With respect to 7% Capital Securities that Plaintiff Nuveen Funds
28   has retained, Nuveen Funds has the right to rescind and recover the consideration

                                             403                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 421 of 439 Page ID #:421



 1   paid for such notes. Plaintiff Nuveen Funds is entitled to rescission by tendering
 2   the 7% Capital Securities, or proceeds from the sale thereof, to Countrywide and/or
 3   Bank of America in exchange for the value of the consideration paid for such
 4   notes, plus interest. In the alternative, the Plaintiff Nuveen Funds is entitled to
 5   damages in an amount to be proven at trial.
 6                                       COUNT XIII
 7            VIOLATIONS OF SECTION 15 OF THE SECURITIES ACT
                 BY PURCHASERS OF 7% CAPITAL SECURITIES
 8                (AGAINST MOZILO, SAMBOL, AND SIERACKI)
 9         1125. Plaintiffs repeat and reallege each and every allegation above as if
10   fully set forth herein except for allegations of fraudulent intent. For purposes of
11   this Count, Plaintiffs assert only strict liability and negligence claims and expressly
12   disclaim any claim of fraud or intentional misconduct.
13         1126. This Count is brought pursuant to Section 15 of the Securities Act
14   against Defendants Mozilo, Sambol, and Sieracki by Plaintiff Nuveen Funds.
15         1127. Countrywide and CCV violated Section 11 of the Securities Act by
16   issuing the 7% Capital Securities Registration Statement which contained untrue
17   statements of material fact and omitted to state material facts required to be stated
18   therein or necessary in order to make the statements therein not misleading. The
19   facts misstated and omitted would have been material to a reasonable person
20   reviewing the 7% Capital Securities Registration Statement.
21         1128. Countrywide and CCV violated Section 12(a)(2) of the Securities Act
22   by soliciting the purchase of 7% Capital Securities by means of the 7% Capital
23   Securities Prospectus which contained untrue statements of material fact and
24   omitted to state material facts required to be stated therein or necessary in order to
25   make the statements therein not misleading. The facts misstated and omitted would
26   have been material to a reasonable person reviewing the 7% Capital Securities
27   Prospectus.
28

                                              404                               COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 422 of 439 Page ID #:422



 1          1129. Defendants Mozilo, Sambol, and Sieracki were controlling persons of
 2   Countrywide and CCV when the 7% Capital Securities Registration Statement and
 3   7% Capital Securities Prospectus were filed and became effective, because of their
 4   senior executive positions with Countrywide; their direct involvement in the
 5   Company’s day-to-day operations, including its mortgage banking and lending
 6   practices and financial reporting and accounting functions; and their signatures on,
 7   and participation in, the preparation and dissemination of the 7% Capital Securities
 8   Registration Statement and 7% Capital Securities Prospectus.
 9          1130. By virtue of the foregoing, Defendants Mozilo, Sambol, and Sieracki
10   each had the power to influence and control, and did influence and control, directly
11   or indirectly, the decision-making of Countrywide and CCV, including the content
12   of Countrywide’s financial statements and the 7% Capital Securities Registration
13   Statement and 7% Capital Securities Prospectus.
14          1131. Defendants Mozilo, Sambol, and Sieracki acted negligently and
15   without reasonable care regarding the accuracy of the information contained and
16   incorporated by reference in the 7% Capital Securities Registration Statement and
17   7% Capital Securities Prospectus and lacked reasonable grounds to believe that
18   such information was accurate and complete in all material respects.
19          1132. Plaintiff Nuveen Funds purchased the 7% Capital Securities pursuant
20   or traceable to the 7% Capital Securities Registration Statement, or pursuant to the
21   7% Capital Securities Prospectus, and was damaged thereby.
22          1133. Plaintiff Nuveen Funds did not know, nor in the exercise of reasonable
23   diligence could have known, of the untrue statements of material fact or omissions
24   of material facts in the 7% Capital Securities Registration Statement and 7%
25   Capital Securities Prospectus when it purchased or acquired the securities.
26          1134. By reason of the foregoing, Defendants Mozilo, Sambol, and Sieracki
27   are liable to Plaintiff Nuveen Funds for violations of Section 15 of the Securities
28   Act.

                                             405                              COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 423 of 439 Page ID #:423



 1                                        COUNT XIV
 2             SUCCESSOR LIABILITY AGAINST BANK OF AMERICA
                        (AGAINST BANK OF AMERICA)
 3

 4          1135. Plaintiff repeats and realleges each and every allegation as if set forth
 5   in full herein.
 6          1136. Bank of America is liable for any and all damages resulting from the
 7   wrongful actions of Countrywide, as alleged herein, because it is the successor-in-
 8   interest to Countrywide and is vicariously liable for the conduct of Countrywide as
 9   a result of a de facto merger of the two entities.
10          1137. This acquisition was a de facto merger because Bank of America
11   intended to take over and effectively took over Countrywide and its subsidiaries in
12   their entirety and, thus, should carry the liabilities of Countrywide as a
13   concomitant to the benefits it derived from the purchase.
14          1138. The acquisition resulted in continuity of ownership – a hallmark of a
15   de facto merger – because the shareholders of Countrywide became shareholders
16   of Bank of America as a result of Bank of America’s acquisition of Countrywide
17   on July 1, 2008, through an all-stock transaction involving a wholly-owned Bank
18   of America subsidiary that was created for the sole purpose of facilitating the
19   acquisition of Countrywide. Bank of America has described the transaction as a
20   merger, and has actively incorporated Countrywide’s mortgage business into Bank
21   of America.
22          1139. Bank of America assumed the liabilities ordinarily necessary for the
23   uninterrupted continuation of the business of Countrywide – another hallmark of a
24   de facto merger. Among other things, the Countrywide brand has been retired and
25   the old Countrywide website redirects customers to the mortgage and home loan
26   sections of Bank of America’s website. On April 27, 2009, Bank of America
27   announced that “[t]he Countrywide brand has been retired.” Instead, Bank of
28   America operated its home loan and mortgage business through a new division

                                               406                             COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 424 of 439 Page ID #:424



 1   named Bank of America Home Loans, which “represents the combined operations
 2   of Bank of America’s mortgage and home equity business and Countrywide Home
 3   Loans.” The integration of Countrywide into Bank of America is complete.
 4          1140. The ordinary business of Countrywide was ceased and the Company
 5   dissolved soon after the acquisition – another hallmark of a de facto merger. On
 6   November 7, 2008, Bank of America acquired substantially all of the assets of
 7   Countrywide. And, at that time, Countrywide ceased submitting filings to the
 8   SEC; Countrywide’s assets and liabilities are now included in Bank of America’s
 9   filings.
10          1141. Bank of America has also taken responsibility for the pre-merger
11   liabilities of Countrywide, including restructuring hundreds of thousands of loans
12   created and serviced by Countrywide. As a spokesperson for Bank of America
13   admitted: “We bought the company and all of its assets and liabilities.”
14          1142. Because Bank of America has merged with Countrywide, and
15   acquired substantially all of the assets of Countrywide, Bank of America is the
16   successor-in-interest to the Countrywide Defendants, and is vicariously liable for
17   the wrongful conduct, as alleged herein, of the Countrywide Defendants.
18   XVIII.       PRAYER FOR RELIEF
19          WHEREFORE, Plaintiffs pray for judgment as follows:
20          1.    Awarding Plaintiffs compensatory and general damages, including
21   rescissionary damages where applicable, according to proof;
22          2.    Awarding special damages according to proof;
23          3.    Awarding punitive and exemplary damages according to proof;
24          4.    Awarding Plaintiffs pre-judgment and post-judgment interest, as well
25   as reasonable attorneys’ fees, expert witness fees and other costs;
26          5.    Awarding extraordinary, equitable and/or injunctive relief as
27   permitted by law and equity; and
28          6.    Awarding such other relief as this Court may deem just and proper.

                                             407                                COMPLAINT
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 425 of 439 Page ID #:425
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 426 of 439 Page ID #:426
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 427 of 439 Page ID #:427
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 428 of 439 Page ID #:428
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 429 of 439 Page ID #:429
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 430 of 439 Page ID #:430
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 431 of 439 Page ID #:431
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 432 of 439 Page ID #:432
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 433 of 439 Page ID #:433
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 434 of 439 Page ID #:434
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 435 of 439 Page ID #:435
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 436 of 439 Page ID #:436
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 437 of 439 Page ID #:437
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 438 of 439 Page ID #:438
Case 2:11-cv-06239-MRP-MAN Document 1 Filed 07/28/11 Page 439 of 439 Page ID #:439
